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                 IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF PENNSYLVANIA
_______________________________

DIAMONIK HOUGH; ANDRE               :
BULLOCK; TYRONE BROWN;              :
PAMELA CAMPBELL; SHYANNE            :
DAMON; LEO HABBS; KAREN             :
HOFFMANN; GLORIA HOSTEN; DR.        :
DAMONE B. JONES, SR.; MARSHALL      :
KAVANAUGH; ALLEGRA KING;            :
M.K., A MINOR BY AND THROUGH        :
HIS GUARDIAN, ALLEGRA KING;         :
A.K. 1, A MINOR BY AND THROUGH      :
HIS GUARDIAN, ALLEGRA KING;         :
A.K. 2, A MINOR BY AND THROUGH      :
HIS GUARDIAN, ALLEGRA KING;         :
ANJAHNEE KING; CRYSTAL              :
MCBEE; DARRYL MCMILLIAN;            :
JESSICA ROSENBERG; BETTY            :
RUDD; SABRINA RUDD; GWEN            :
SNYDER; GREGORY SPEARMAN;           :
MALIK SPENCER; MATTHEW              :    CIVIL ACTION
SULLIVAN; ABBEY TENNIS; SYLVIA      :
TOWNS; VAUGHN TOWNS; DR.            :    No. 20-____________
MARK K. TYLER; TIMOTHY TYLER;       :
KAYLA WATKINS; ELANA                :    JURY TRIAL DEMANDED
WILLINSKY; ERIC WHITE; KWELI        :
AFIBA-BEARD; CARLOS APONTE;         :
ANNA ARMSTRONG; LAURA               :
BARDWELL; ALEJANDRA                 :
BARMASH; ISABEL BARRIE; ELIJAH      :
BLANTON; MARCUS BONNER; ZACH        :
BORZONE; SARAH BOUAYAD;             :
NASSIER BOYCE-DAVIS; TAYLOR         :
ANN BROWN; MECCA BULLOCK;           :
F.B., A MINOR BY AND THROUGH        :
HIS GUARDIAN, CHRISTINE             :
BURTON; SASHA BURTON;               :
JEREMIAH BUTTRAM; THOMAS            :
CALDER; CHRISTOPHER CANNITO;        :
HEIDI CANNON; JORDAN CARRICK;       :
SARAH CASSANO; JOSEPH CERASI;       :
GREGORY CHARNOCK; JULIANA           :
CONCEPCION; DAISY CONFOY;           :
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ERICA CORBO; MICHAEL                :
CORMIER; LYDIA CORNELIUS;           :
ALEX COX; JUSTIN CURTIS; VIOLET     :
CUTLER; CONLAN DALY; AMANDA         :
DAMRON; DAKOTA DAVIS; ZOE           :
DEMKOVITZ; EMMIE DICICCO; JON       :
DILKS; RYAN DONOHOE; DONKEY         :
DOVER, JR.; DOUGLAS DREISBACH;      :
ADAM DUNLOP; SAPTARSHI DUTT;        :
GABRIELLE EISENHOWER;               :
GABRIEL ELSHEAKH; HANNAH            :
EMILY; ASHLYN ERNST; ALICIA         :
FALCO; LISA FANNING;                :
KEAGAN FARR; LINDSEY FARRELL;       :
DANIEL FEDER; RACHEL FIFER;         :
ALEXANDRA FISHER; MATTHEW           :
FITZPATRICK; LIAM FLETCHER;         :
CEA FORTAREZZO; AINE FOX;           :
HANNAH GALLO; KEVIN GARY;           :
BROOKLYN GERTH; JAMES               :
GESUALDI; HEATHER GETTIS;           :
EZRA GHIZZONE; MIA GITZES;          :
NATHAN GIELLO; HAYLEY               :
GODDARD; HANNAH GALLO;              :
JACOB GOTTSHALL; DALTON             :
GOUGH; ROBERT GROTE; LAUREN         :
HALLMAN; SAVANNAH HAMILTON;         :
AHMAD HANKINSON; ALESSANDRA         :
HANKINSON; JAMILA HANKINSON;        :
SUSAN HANKINSON; ASHLEY             :
HANSLER; PHILIP HARDER;             :
WILLARD HARRIS; BLAKE               :
HASTINGS; LEAH HEATHERSHAW;         :
SAMANTHA HETH; MAXWELL              :
HIBBARD; JESSICA MAXWELL            :
HICKS; ANNA LYNN HIGGINS;           :
THOMAS HIGHAM; TIMOTHY HUFF;        :
KERRI HUGHES; JAMES                 :
HULTQUIST-TODD; TSARINA             :
ISLAM; ERYN JOHNSON; IVAN           :
JUAREZ; SOPHIA KHAN; DELANEY        :
KEEFE; KARA KHAN; COOPER            :
KIDD; ANHANN KING; SARAH            :
KINNEY; ADAM KNAPP; RAEANN          :
KNIGHT; KYRA KOCHMANSKY;            :
JOSEPH KOEHLER; PETER               :



                                    2
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KOURAHANIS; BERNARD M.             :
LAMBERT; JUSTINE LEDONNE;          :
MICHAEL LONG; SEBASTIAN            :
LOPEZ; SHAWN LYNCH; GREGORY        :
MAZUR; LILLY MCBRIDE; BRIAN        :
MCCAFFREY; CHRISTOPHER             :
MCDANIEL; SCARLETT MCINTOSH;       :
DERRICK MCNEW; DOMINIQUE           :
MCQUADE; ELLE MICHELI; BRIAN       :
GORDON MILLER; KATHERINE           :
MILLER; NATHANIEL MILLER;          :
RAHKIA MITCHUMI; NANCY             :
MITCHELL; ADAM MONTGOMERY;         :
ANZALETTE MUSLIM; BENJAMIN         :
NEATES; LINH NGO; MEGAN            :
OEHLBECK; BRYAN ORTIZ; GAVIN       :
OSWALD; JAMIE PAPADA;              :
CHRISTOPHER PARISH; MALIA          :
PAULMIER; IL SHIM PEARLMAN;        :
LEILA PEARLMAN; TESSA              :
PEOPLES; JOSEPH PIETTE; ADAM       :
PINES; JAMES PITTS; ANDREW         :
POWERS; STEVEN CHASE POWERS;       :
JACOB PRANTE; STEPHEN              :
PRESSMAN; BRAD PULLEY; EMILY       :
QUAST; KAITLYN RAFFERTY;           :
KATHRYN RAUTH; JAMES               :
RICHARDSON; KATELYN                :
REIERSEN; BRITTANY ROBINSON;       :
SHANNON ROCHE; CHRISTOPHER         :
ROMANO; KELSEY ROMANO;             :
ALLISON RUFFNER; MASAKI            :
SAITOH; ASHLYN SANDERS;            :
GUILLERMO SANTOS; NINA             :
SALIGMAN; MORGAN SARAO;            :
JONATHAN SATLOW; JACK              :
SAWULA; ERIN SCHECKENBACH;         :
MALLORY SCHNEIDER; ELIAS           :
SELL; MAHEEN SHAFI; JAY            :
SHARMA; WALTER SMOLAREK;           :
GWENDOLYN SNYDER; ALYSSA           :
SPENGLER; CHRISTINA SORENSON;      :
QUINTEN STATON; CEDRIC             :
STEENBERGHS; MACKENZIE             :
STOCUM; MATTHEW SULLIVAN;          :
ABBEY TENNIS; ALLISON TERRY;       :



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 NIAMA THOMAS; JEFF TODD;                      :
 WILLIAM TOMS; NICHOLAS                        :
 TONETTI; LAUREN TRAMONTINA ;                  :
 HOAN TRAN; MINH TRAN; KAYLA                   :
 TRIMBLE; SANDY TRINH; SPIROS                  :
 TSONOS; CAROLINE UDELL;                       :
 MADELYN VAN TRIESTE; JOSHUA                   :
 WALKER; SARAH WALSH; PATRICK                  :
 WARGO; KAYLA WATKINS;                         :
 SKYLAR WATKINS; SEAN WELCH;                   :
 MIKE WHALEN; FAITH WILLIAMS;                  :
 KATHLEEN WILLIAMS; RAND                       :
 WILLIAMSON; ELANA WILLINSKY;                  :
 CALLUM WILSON; HOPE WILSON;                   :
 SEAMUS WILSON; DANIEL                         :
 WOFFORD; AMBER WRIGHT; LEAH                   :
 YANCOSKIE; ZOE ZAZZERA;                       :
 ROBERT ZOLITOR; DANIEL                        :
 ZUBRZYCKI,                                    :
                                               :
                                               :
                          Plaintiffs,          :
                                               :
                 v.                            :
                                               :
 CITY OF PHILADELPHIA; JAMES                   :
 KENNEY; DANIELLE OUTLAW;
 DENNIS WILSON; RICHARD
 NICOLETTI JR.; JANE/JOHN DOES 1-
 100,


                          Defendants.



                                        COMPLAINT

I.     PRELIMINARY STATEMENT

       1.       On May 31, 2020 and June 1, 2020, officials who hold some of the City of

Philadelphia’s highest-level positions ordered and directed extraordinary abuses of police power

against peaceable protesters and uninvolved Philadelphia residents. Many of the victims of these




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unprovoked acts of aggression and violence by the Philadelphia Police Department were engaged

in a peaceable demonstration and police observation in the area of 51 st and Chestnut Streets in

Philadelphia and in a massive and peaceable demonstration on the Vine Street Expressway.

Following the orders of City of Philadelphia officials, Philadelphia police officers fired chemical

weapon canisters and ostensible “less-lethal” projectiles in unwarranted and ill-advised efforts to

clear a mostly residential neighborhood in West Philadelphia and an area in which victims had

limited pathways of escape on the Vine Street Expressway. At no time were the actions of law

enforcement officers justified. Their actions were grossly excessive and caused unnecessary

physical and emotional injury to the peaceable protesters, observers, and residents.

       2.       Free speech, as embodied by the First Amendment to the United States

Constitution, is a cornerstone of our constitutional democracy. The First Amendment is the

people’s protection against the government infringing upon the free expression of ideas –

particularly dissenting ideas. Born out of the struggle against tyranny more than two centuries

ago, the First Amendment embodies the heart and soul of our democracy: the right to speak freely,

to assemble in protest, and to express shared ideas through a collective public voice. Those voices

often express unpopular, dissenting views. Drafted in 1787, the First Amendment states:

                “Congress shall make no law respecting an establishment of
                religion, or prohibiting the free exercise thereof, or abridging the
                freedom of speech, or of the press; or the right of the people
                peaceably to assemble, and to petition the Government for a redress
                of grievances.”

       3.       Without this protection, freedom cannot survive. In ensuring that the right to

political protest is protected under the First Amendment, we have long recognized the right to free

expression and association, which includes occupying public spaces in order to protest,

demonstrate, march, and openly express opinions on political matters of public concern. The

burgeoning Black Lives Matter movement is an essential part of the continuing struggle for racial


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equality and social justice. This lawsuit seeks to vindicate the rights of those whose rights were

violated during the protests against the historic, racist brutality of the Philadelphia Police

Department.

II.        BACKGROUND

      A.         History of Misconduct by the Philadelphia Police Department

           4.       The brutality of the Philadelphia Police Department against African Americans is

an infamous part of the historical landscape of the City of Philadelphia. 1 The murder of George

Floyd was the metaphorical straw that broke the camel’s back and sparked the latest set of

international protests and political debate over racial injustice. However, during the last decade in

Philadelphia, Black people have been killed by police at an alarming rate. Dennis Plowden Jr.,

Tyreas Carlyle, Jamil Moses, David Jones, Hassan Pratt, Albert Purnell, Bryan Jones, and Brandon

Tate Brown are the names of just a few of the young Black men killed by Philadelphia police

officers in the past several years.

           5.       The Philadelphia Police Department’s culture of systemic misconduct, brutality,

and racism has been the subject of inquiries by journalists, government commissions, and human

rights advocates for decades. During the 1960s and 1970s, while Frank Rizzo served as Police

Commissioner and then Mayor, the Philadelphia Police Department was infamous for the extreme

police brutality officers leveled against the residents of the City.

           6.       Between the years of 1970 and 1978, the Philadelphia Police Department, on

average, shot one civilian per week. This statistic exemplifies Frank Rizzo’s legacy of unchecked




1
 Saint, D., McCoy, C., Rowan, T. and Russ, V., 2020. Black And Blue: 190 Years Of Police Brutality Against
Black People In Philadelphia. [online] https://www.inquirer.com. Available at:
<https://www.inquirer.com/news/inq/philadelphia-police-brutality-history-frank-rizzo-20200710.html> [Accessed
12 July 2020].


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police brutality.

        7.       In 1979, the United States Department of Justice filed a civil rights suit against the

Philadelphia Police Department for systemic misconduct and brutality. In 1981, the United States

Commission on Civil Rights recounted the failure of the Philadelphia Police Department to

effectively address the pattern of misconduct. In 1998, seventeen years later, Human Rights Watch

reported on the same pattern of misconduct:

                        “Philadelphia’s police are grappling with the latest of the
                        corruption and brutality scandals that have earned them one
                        of the worst reputations of big city police departments in
                        the United States. The persistence and regularity of the
                        cycles indicate that between the front-page news stories the
                        city and its police force are failing to act to hold police
                        accountable. The result is an undisturbed culture of
                        impunity that surfaces and is renewed with each successive
                        scandal, as each new generation of police officers is taught
                        through example that their leadership accepts corruption
                        and excessive force.”2

        8.       The Philadelphia Police Department, historically, has disregarded civil rights. In

addition to Fourth Amendment protections, the Philadelphia Police Department has also infringed

upon citizens’ rights to free speech and peaceable assembly. The Philadelphia Police Department,

like many police departments across the country, engaged in operations to spy on progressive

political movements – treating those groups as if they were terrorist organizations. An integral part

of this legacy of brutality by the Philadelphia Police Department is the decades-old effort to

undermine the right to free speech, association, and assembly. In 1967, one of the Philadelphia

Police Departments’ most notable attempts to quell free speech occurred when then-police official

Frank Rizzo ordered a brutal attack on students who were protesting racist policies in the



2
  SHIELDED FROM JUSTICE: Police Brutality and Accountability in the United States, Human Rights Watch
1998 p.499) https://www.hrw.org/reports/pdfs/u/us/uspol986.pdf



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Philadelphia public school system. While student protesters gathered at the headquarters of the

School Board of Philadelphia, Frank Rizzo ordered police to end the peaceable protest by using

force.

         9.       During the mid-1970s, the MOVE organization, a back to nature progressive group

living in West Philadelphia, engaged in protests against racism and brutality by the police

department. As the result of the MOVE organization’s continued protests against police brutality

in the African-American community, the Philadelphia Police Department began a campaign of

harassment, intimidation, and assault. In 1977, under the direction of Mayor Rizzo, the

Philadelphia Police Department erected a barricade around the MOVE headquarters. After a

fifteen- month siege, police attacked the MOVE home with a military-style assault. Police officers

fired thousands of rounds of ammunition into the home. A police officer was killed. Following the

arrests of all of the residents, one of the MOVE members, Delbert Africa, was almost killed as the

result of being beaten by Philadelphia police officers. The beating was captured by a local news

crew and broadcast around the world, solidifying the reputation of the Philadelphia Police

Department as one of the most violent and brutal police forces in the United States.

         10.      In 1985, the Philadelphia Police Department attacked the MOVE organization a

second time. In one of the most infamous police attacks on civilians in history of this country, the

Philadelphia Police fired more than 10,000 rounds of ammunition before dropping a military-grade

explosive on the MOVE row home in West Philadelphia. Eleven people were killed, including five

children. Sixty-two homes were burned to the ground. No police officers were ever charged with

a crime related to that incident.

         11.      In 2003, the Ceisler Report was issued. The report outlined the failure of the

Philadelphia Police Department to discipline officers guilty of misconduct. Despite reports and




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calls for reform, the cycle of police sanctioned violence remains unchanged.

       12.     The origin of this current “culture of brutality” is rooted in the militarization of

local police forces throughout this country. It is no coincidence that the “War on Crime,” initiated

under the Johnson administration in the mid-1960s and expanded by the Nixon administration in

the late 1960s and early 1970s, was at its core, a war on civil liberties. With vast federal resources

pouring into urban police forces throughout the country, the militarization of police departments

was the political response to burgeoning movements for racial justice. Similarly, the “War on

Drugs,” expanded the scope of attacks during the Reagan, H. W. Bush, and Clinton

administrations, creating a perpetual and decades-long war with devastating consequences for

impoverished communities. With the infusion of federal money and the mandate to militarize, the

traditional policing functions expanded from solving crimes to preventing future criminal conduct.

       13.     That dominant right-wing political atmosphere led to a law enforcement approach

in which police officers perceived the expansion of civil rights as a threat to the power structure

and, therefore, a threat to national security. The process of criminalizing dissent was backlash

against civil rights and an attempt by police officers to use expanding police power to maintain the

status quo.

       14.     The War on Crime and the War on Drugs, as noted above, provided the impetus for

local law enforcement to enter into community neighborhoods as though police officers were an

occupying force.

       15.     Police began employing aggressive forms of “law enforcement.” The proliferation

of SWAT teams across the country and their paramilitary tactics spread a violent form of policing

that was designed for the extraordinary circumstances. SWAT was an elite force reserved for

uniquely dangerous incidents, such as active shooters, hostage situations, or large-scale




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disturbances.3 However, in recent decades, these extreme tactics have become ordinary. When the

concept of SWAT arose out of the Philadelphia4 and Los Angeles Police5 Departments, it was

quickly picked up by big city police officials nationwide.

           16.      In 1990, Congress authorized the Defense Department to transfer surplus weapons

and vehicles, free of charge, to local police departments throughout the country. The weapons were

provided to police departments, without any training, to continue this unending “War on Drugs.”

In 1997, Congress expanded authorized the use of these weapons of war to include

“counterterrorism.” According to the Defense Department, state and local police departments have

received more than $4.3 billion worth of military hardware since the program’s inception. 6

           17.      In 2011, a report by investigative reporters revealed that police departments

throughout this country have used $34 billion in grant funding from the Department of Homeland

Security.7

           18.      In 2014, it was reported that the Commonwealth of Pennsylvania had received

34,000 pieces of military equipment, which were acquired over twenty years. Almost 2,000 of

these weapons of war were classified as tactical equipment, tanks, mine-resistant vehicles, and

automatic weapons. The records show that the Philadelphia Police Department received an




3
 The use of SWAT teams on May 31st and June 1, 2020 are direct manifestations of this aggressive and dangerous
military style approach toward policing in this City.
4
 PhillyPolice Blog. 2012. Phillypolice Unit Profile: Special Weapons And Tactics (SWAT_. [online] Available at:
<https://pr.phillypolice.com/phillypolice-unit-profile-special-weapons-and-tactics-swat/> [Accessed 11 May 2012].
5
    Balko, R., 2013. Rise of The Warrior Cop. 1st ed. Perseus Books Group.
6
    (Rise of the Warrior Cop: : The Militarization of America’s Police Forces, by Radley Balko)
7
 DHS program to militarize the departments for counterterrorism. (Rise of the Warrior Cop: The Militarization of
America’s Police Forces, by Radley Balko)



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armored truck and 255 automatic assault rifles.8

         19.     Further broadening the scope of police power, police departments across the nation

made powerful use of the 1968 Supreme Court decision in Terry v. Ohio. Terry fundamentally

changed the way in which the power of government, through the police, could invade the liberty

of individuals. The holding in Terry enabled police officers to intrude upon the liberty interests of

all persons, including law abiding citizens, with only reasonable suspicion of a present crime or

reasonable suspicion that a crime is about to be committed. During the past almost-five decades,

the Terry decision has far too often been used by police to justify profile stops of African

Americans.

         20.     Since the Supreme Court’s decision in Terry v. Ohio, there has been 50 years of

unprecedented, court-sanctioned expansion of police power. As reported by the ACLU in 2014,

over one third of the stops conducted by the Philadelphia Police Department were without

reasonable suspicion. Furthermore, the racial disparity reflected in the following statistics

reinforces the existence of systemic and institutional racism: Although Philadelphia’s population

is 42.26 percent white, 43.22 percent Black, Black and Hispanic residents accounted for 80 percent

of the stops and 89 percent of the frisks conducted by the police.9

         21.     The racial disparity in the number of unlawful stops and frisks by Philadelphia

Police mirrors the statistics involving the use of deadly force. As reported by the Justice

Department in 2015, from 2007 to 2014 there were 394 police involved shootings and 81% of the




8
    NBC Local News, 2014
9
 Collaborative Reform Institute As Assessment on Deadly Force in the Philadelphia Police Department. George
Fachner and Steven Carter. Community Oriented Policing Services Justice Department 2013.



                                                      11
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those shot by police during this time period were African-American. 10

            22.      Over the course of the last 30 years there, have only been two police officers

charged with murder for the killing of a person while on duty in Philadelphia. It is this historical

backdrop that provided the impetus for the burgeoning movement for racial justice. During the

period between 2013 and 2014, there were 56 police involved shootings, zero criminal

prosecutions, and almost no discipline against the officers involved in those incidents.

       A.         Criminalization of First Amendment Expression in the City of Philadelphia

            23.      From the 1950s through the 1970s, peaceful, progressive movements seeking

political change were labeled by the United States government as “threats” to national security.

The COINTELPRO program established by the FBI was designed to infiltrated, discredit, disrupt,

and criminalize those fighting for racial justice and opposed to the war in Vietnam. Following

September 11, 2001, the United States government increased surveillance programs in order to spy

on citizens. Government agencies undermined the First Amendment rights of thousands of people

engaged in lawful, peaceable protests. The Philadelphia Police Department, like many departments

across the country, engaged in spying on progressive political movements as if those movements

were terrorist organizations.

            24.      Viewing peaceable, progressive protesters as a threat to national security has been

fueled by an age-old paradigm perpetuated by the FBI and other law enforcement agencies. The

War on Crime morphed into the War on Drugs and, then, into the “War on Terror.” These are all

wars on the civil liberties of our civilian population.

            25.      In August 2000, the Philadelphia Police Department prevented a group of activists




10
     Id.



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and artists from Philadelphia from expressing their political views at the Republican National

Convention. Prior to the convention, organizers sought permits to allow meaningful free speech

activity. They were repeatedly rebuffed. During the Convention, Police Commissioner Timoney,

District Attorney Lynn Abraham, and the other city officials carried out mass arrests without any

lawful basis. The police targeted for arrest individuals perceived to be leaders. Police and

prosecutors pushed for excessive bail and incarcerated protesters for the purpose of curtailing their

exercise of First-Amendment-protected rights during the convention.

        26.    In Spring and early Summer 2000, law enforcement officials from the FBI,

Pennsylvania State Police, Washington, D.C. Police Department, and Philadelphia Police

Department met in Philadelphia for the purpose of coordinating efforts to undermine, intimidate,

and thwart political speech during the Republican National Convention in Philadelphia. As early

as July 2000, law enforcement conducted surveillance and harassed activists and artists at various

locations. During the Convention, people perceived as potential leaders of protest activity in

Philadelphia were targeted for arrest without any evidence of illegal activity.

        27.    On July 25, 2000, Pennsylvania State Police agents infiltrated a warehouse located

at 4100 Haverford Avenue in Philadelphia (the Puppet Space), which activists rented as a studio

for puppet making, street theater rehearsal, meetings, and preparations for demonstrations. The

Pennsylvania State Police conducted this infiltration rather than the Philadelphia Police in order to

avoid restrictions on the Philadelphia Police Department due to a previous agreement not to

infiltrate activist groups. All of the activists in the Puppet Space were arrested for preparing for

demonstrations protected by the First Amendment. All activists were eventually exonerated of the

false charges brought by the District Attorney’s Office.

        28.    Prior to August 1, 2000, the Philadelphia Police Department, along with the




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Pennsylvania State Police and in consultation with officials from the Washington, D.C. Police

Department, compiled unsubstantiated and inaccurate information gleaned from the FBI and a

right-wing political thinktank. This information became the basis for the affidavit of probable

cause to search the Puppet Warehouse. The affidavit characterized prospective demonstrators as

potential criminals.         The affiant demonized the protesters in an effort to circumvent the

requirement of the First and Fourth Amendments to the U.S. Constitution. Most of the over-four-

hundred people charged with criminal offenses related to protest activity during the RNC were

found not guilty. The civil rights suits filed on behalf of many of the protesters wrongfully arrested

were settled for hundreds of thousands of dollars.

            29.     The “War on Terror” brought with it an expansion of police power to conduct

domestic surveillance. As noted by the Brennan Center for Justice in a report published in 2013,

prior to 9/11, police departments loosened restrictions for monitoring First-Amendment-protected

activity, under the discredited theory that “acts of terrorism are preceded by many legal activities”

that could be uncovered by authorizing the police to spy on religious and political organizations. 11

            30.     In 2011, a spontaneous nationwide protest movement emerged. The Occupy

movement challenged corporate power and its impact on our democracy. The “Occupy Philly”

members, as part of this national movement for economic equality, gathered to express individual

and collective voices in protest against corporate control over our government, which usurps our

democracy. Formed spontaneously in early October 2011, the association, known as "Occupy

Philly," organized as a protest gathering (frequently referred to as an “encampment”) on Dilworth

Plaza, outside of City Hall. This gathering, or encampment, served as an ongoing demonstration



11
     Brennan Center For Justice, National Security and Local Police, Michael Price 2013




                                                          14
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in a public space – an expression of the cherished freedoms we enjoy under the First Amendment

to the United States Constitution. During the existence of the Occupy Philly encampment, there

were four mass arrests that resulted in the protesters being charged with various criminal offenses

related to their First-Amendment-protected activities. All of the protesters were found not guilty,

and a civil suit vindicating their First and Fourth Amendment rights was eventually settled.

        31.    In 2013, the Black Lives Matter movement emerged following the 2012 shooting

death of teenager Trayvon Martin in Sanford, Florida and the subsequent acquittal of vigilante

George Zimmerman in a criminal trial. The movement gained momentum in 2014 following two

events. First, a Black man named Eric Garner was killed when New York City Police Department

officer Daniel Pantaleo used a chokehold to subdue the unarmed Mr. Garner. Secondly, teenager

Michael Brown was shot and killed by police officer Darren Wilson in Ferguson, Missouri.

Protests were met with heavily armed SWAT teams in riot gear. Peaceable protest was once again

met with military force.

        32.    The movement soon spread across the country to many cities, including

Philadelphia. The Black Lives Matter movement focused on police brutality, profile stops, and

mass incarceration. The killing of African-American men in Philadelphia, Brandon Tate Brown,

David Jones, and Dennis Plowden Jr. by Philadelphia Police intensified the calls for meaningful

criminal justice reform. Advocating for equal justice by marching in the streets and protesting at

the sites of police-involved shootings and courthouses are both significant expressions of our

democratic system at work. In an effort to criminalize this peaceful civil rights movement, the FBI

labeled the Black Lives Matter movement a “domestic terrorist organization,” escalating the war

on dissent and a fundamental attack on our First Amendment rights.

        33.    The tragic death of George Floyd brought resurgence to a movement that reflects




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centuries-old struggles to achieve equal justice. Mr. Floyd’s death did not change the response of

law enforcement in Philadelphia. Developed over the course of decades, the peaceable protests

that occurred on May 31, 2020 and June 1, 2020, as described below, were met with violent and

brutal military style attacks. This lawsuit serves as the answer to those brutal attacks.

        34.    The plaintiffs are a diverse group of people who were peaceably protesting against

the long history of systemic police misconduct and brutality in this country, peaceably observing

the protests, and/or otherwise peaceably existing in their neighborhood. The plaintiffs were

subjected to law enforcement officers’ shocking and unlawful actions. They bring this civil rights

action under 42 U.S.C. § 1983 seeking to hold the City of Philadelphia accountable for its

violations of their First and Fourth Amendment rights.

        35.    On February 23, 2020, Ahmaud Marquez Arbery, a 25-year-old Black man, was

shot and killed by vigilante Travis McMichael, who was acting in concert with his father, fellow

vigilante Gregory McMichael, and a third vigilante named William Bryan. The elder McMichael

is a former member of the Glynn County Police Department and former investigator for the

Brunswick Judicial Circuit District Attorney's Office. At the time of the incident that led to his

murder, Mr. Arbery was jogging in the Satilla Shores neighborhood of Glynn County, Georgia. At

least one resident called 911 to report seeing a person enter an under-construction home in the

neighborhood. The person who entered the unfinished dwelling is widely speculated to have been

Mr. Arbery. Video evidence shows an individual resembling Mr. Arbery exit empty-handed. A

subsequent video captured by suspect Bryan shows Mr. Arbery jogging down a street delete

comma while being followed by suspect Bryan in a vehicle and being cut off by the McMichaels

in pickup truck up ahead. Mr. Arbery attempted to go around the McMichaels and their vehicle.

Mr. Arbery was confronted instead. A struggle ensued and Mr. Arbery was seen defensively




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tussling with the younger McMichael over a shotgun. Three distinct shots were heard, and Mr.

Arbery stumbled and fell to the ground shortly after the last shot. The elder McMichael jumped

from the bed of the pickup truck, pointing a handgun in the direction of Mr. Arbery. For more than

two months, no arrests were made and multiple prosecutors either declined to bring charges against

anyone involved or recused themselves from the case due to personal ties to Gregory McMichael.

The case largely flew under the radar during this time. On May 5, 2020, a local radio station

obtained and posted online a copy of suspect Bryan’s video. The video and Mr. Arbery’s story

went viral and became the subject of national and international debate.

        36.    On March 13, 2020, Breonna Taylor, a 26-year-old Black woman, was shot and

killed by members of the Louisville Metro Police Department dressed in plainclothes and serving

a no-knock search warrant on Ms. Taylor’s home at or about midnight. Her boyfriend, Kenneth

Walker, justifiably fired a legally-possessed firearm, reasonably believing that the unidentified and

plainclothes police officers were intruders breaking into the couple’s home. In response, police

officers Jonathan Mattingly, Brett Hankison, and Myles Cosgrove fired more than 20 shots,

striking Ms. Taylor eight times. Mr. Walker called 911, exclaiming to the operator that someone

had broken into his home and shot his girlfriend. Mr. Walker was arrested and charged with

attempted murder of a law enforcement officer and assault. The primary targets of the police

investigation were two individuals who were suspected of selling drugs more than ten miles away

from Ms. Taylor’s home. One of the targets previously had a relationship with Ms. Taylor. No

narcotics were found in the home or in possession of Ms. Taylor or Mr. Walker. Ms. Taylor’s

death at the hands of law enforcement officers garnered international attention and outrage.

        37.    On May 25, 2020, George Perry Floyd Jr., a 46-year-old Black man, became yet

another victim of state-sanctioned violence against Black people when he was killed by police




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officers in Minneapolis, Minnesota. Mr. Floyd’s arrest and subsequent murder were captured on

video by at least one civilian witness, multiple police-worn body cameras, and multiple

surveillance cameras in the area of the incident. Darnella Frazier, a 17-year-old witness to Mr.

Floyd’s murder, posted on social media the video she recorded. . By the next morning, that video

had gone viral, having been viewed millions of times and broadcast by numerous media outlets.

The video depicts a brutal killing in which former Minneapolis police officer Derek Michael

Chauvin kneeled and pressed his knee on Mr. Floyd’s neck continuously for eight minutes and 46

seconds. During the eight minutes and 46 seconds, Minneapolis police officers Tou Thao, James

Alexander Kueng, and Thomas Kiernan Lan stood by and took no action to rescue Mr. Floyd from

his tragic fate. Bystanders begged Derek Chauvin to get off Mr. Floyd’s neck. Before he became

unresponsive, Mr. Floyd pled for his life, desperately and repeatedly crying: “I can’t breathe.”

        38.    Mr. Arbery, Ms. Taylor, and Mr. Floyd’s murders were merely the latest

internationally-publicized examples in a long and sordid history of active, former, and wannabe

law enforcement officers committing acts of brutality against Black people in the United States.

Within 24 hours of the video depicting George Floyd’s murder being released, protests started in

Minneapolis. Within days, tens of thousands of demonstrators took to the streets in small towns

and major cities across the United States. By week’s end, public protests were occurring on a daily

basis all over the world. In each protest, demonstrators expressed frustration and anger over an

unending line of racist murders of Black people, culminating in the killing of Mr. Floyd. At the

core of each protest were three central demands: an end to police brutality, accountability for police

brutality, and the fair and equitable treatment of Black people.

        39.    These constitutionally protected and essential protests occurred and continue amid

an unprecedented public health crisis. Novel coronavirus, COVID-19, has killed over 138,000




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people in the United States and continues to spread. The virus is commonly understood to be

transmittable through exposure to respiratory droplets. Public health officials advised people to

wear masks if they were outside and to stay at least six feet apart. Philadelphia, as set forth in detail

herein, is a city with a long history of racist and violent police practice. Here in the city, people

participated in multiple demonstrations in the week after George Floyd’s death. As was widely

reported in local media, the Philadelphia Police Department (“PPD”) was ill-prepared for such

demonstrations, and, instead of acting to ensure the safety of people engaged in peaceable protest,

the City’s officials and officers responded with violent and aggressive tactics, resulting in

increasing public anger and frustration.

         40.    On May 31, 2020, in residential and commercial areas in West Philadelphia, PPD

used violent crowd control tactics against peaceable demonstrators and police observers, including

indiscriminately firing tear gas canisters and flashbangs into crowds and at individuals and

shooting projectiles at residents, demonstrators, and observers. The residents, demonstrators, and

observers remained peaceable.

         41.    Plaintiffs were among those residents, protesters, and observers were present in

West Philadelphia and fired upon by Philadelphia police.

         42.    Without provocation or warning, officers began to fire tear gas canisters at the

residents, demonstrators, and observers who were peaceably gathered in West Philadelphia.

Residents, demonstrators, and observers can be seen in videos crouching in fear for their lives and

hiding behind parked vehicles to avoid being targeted by Philadelphia police officers dressed in

full body armor and flanking armored police vehicles. These residents, demonstrators, and

observers can be seen cautiously backing away from Philadelphia police officers because they

were too terrified to turn their backs on the heavily-armed and aggressive officers.




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       43.     Philadelphia police continued to fire tear gas canisters at the residents,

demonstrators, and observers even as they were walking away. Video recordings were streamed

live to Facebook and other media platforms, showing residents, demonstrators, and observers

narrowly escaping being hit by tear gas canisters fired at them and causing them to be overcome

by the gas, rendering them unable to breathe or see.

       44.     On June 1, 2020, the largest demonstration yet took place in Philadelphia.

Thousands of protesters marched through the streets of Center City and made their way to the Vine

Street Expressway. Philadelphia police officers on the scene did not attempt to stop them and

allowed them onto the highway. Protesters marched along the highway, chanting, and waving

signs. Drivers whose cars were stopped by the demonstration honked horns in support of the

protesters. Many drivers and passengers got out of their cars and chanted with the protesters to

show their support. The demonstration remained peaceable.

       45.     Plaintiffs were among those protesters who were allowed by Philadelphia police to

march onto the Vine Street Expressway. Without provocation or warning, however, police officers

began to fire tear gas canisters at the demonstrators. As demonstrators began to frantically flee,

police officers fired at demonstrators what were later described as ostensible “less than lethal”

munitions. Through their use of tear gas and their positioning of personnel, officers began kettling

the protesters by closing off all exit points and pinning hundreds of demonstrators onto a steep

grassy embankment on the north side of the highway. Kettling is a police tactic whereby officers

effectively control people’s movements. Kettling leads to the unlawful seizure of people without

a reasonable basis, creates panic, elevates tensions, and chills speech.

       46.     As demonstrators were trapped on that embankment, officers continued to fire tear

gas canisters and ostensible “less-lethal” rubber projectiles, leaving the protesters trapped in a




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suffocating cloud of smoke, gas, and projectiles. Video recordings made by people at the scene

were rapidly posted to social media platforms showing protesters overcome by the gas, screaming

– in a disturbing echo of George Floyd’s last words – “I can’t breathe.”

       47.     The people subjected to these unlawful actions had gone into the city streets to

protest police brutality. In return for their actions, they too were victimized by police brutality.

Many of the people subjected to tear gas and fired munitions, including the plaintiffs who bring

this action, suffered substantial harms, including physical injuries, difficulty breathing, nausea,

vomiting, and significant emotional trauma and distress.

       48.     The police violence that plaintiffs and other lawful, peaceable demonstrators were

met with on May 31, 2020 and June 1, 2020 is a continuation of a reprehensible history of

oppression of civil rights activists. The peaceable assembly of people seeking systemic change in

the criminal justice system, like the assembly of plaintiffs and others on May 31, 2020 in West

Philadelphia and on June 1, 2020 on the Vine Street Expressway, is based on a decades-old history

of civil rights activism in this nation. Following the long tradition of those who marched for voting

rights on Sunday, March 7, 1965, in Selma, Alabama, plaintiffs sought to address racial inequities.

But like that “Bloody Sunday” 55 years ago, Plaintiffs’ peaceable, lawful assembly was met by

police violence.

       49.     On June 2, 2020, the day after the incident on the Vine Street Expressway,

Philadelphia Police Commissioner Danielle Outlaw issued a memorandum to all PPD officers

making changes to the PPD use of force policy and acknowledging that the decision to use the

force on the Vine Street Expressway was a decision made by the City of Philadelphia and that the

decision was a deliberate one. Commissioner Outlaw, while inexplicably failing to address the

unfettered violent behavior of Philadelphia police officers in West Philadelphia on May 31, 2020,




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thus confirmed that the harms caused to the peaceable demonstrators who entered the highway on

June 1, 2020 were the result of the City’s policy choice.

           50.      During the next several weeks, City officials were subjected to persistent and vocal

criticism for the use of force they authorized on the Vine Street Expressway and in West

Philadelphia. In response, these officials gave shifting explanations for who made the decision to

use that force while claiming that the force was justified by the circumstances of the demonstration

on the Vine Street Expressway and refusing to accept any responsibility for the unlawful conduct

of PPD officers in West Philadelphia.

           51.      On June 25, 2020, The New York Times published a visual investigation, based on

an online compilation of videos collected from the scene. 12 That investigation concluded that the

protest on the Vine Street Expressway was not violent and that the police use of force on protesters

was excessive.

           52.      Within hours of publication of the investigation, Philadelphia Mayor James “Jim”

Kenney and Commissioner Outlaw conducted a news conference in which they both apologized

for the use of force against peaceable protesters. Immediately after the news conference, Mayor

Kenney sent a tweet conceding that “members of the Police Department used completely

unacceptable force” and stating, “I also am accountable. 13

           53.      Defendants’ actions to shut down the Vine Street Expressway and West

Philadelphia demonstrations are the manifestation of the very authoritarianism against which the

First Amendment was intended to protect. Plaintiffs seek to uphold, against uncivil, unwarranted,




12
  Christopher Koettl et al., How the Philadelphia Police Tear-Gassed a Group of Trapped Protesters, New York
Times (June 25, 2020), available at, https://www.nytimes.com/video/us/100000007174941/philadelphia-tear-gas-
george-floyd-protests.html.
13
     Jim Kenney, Twitter (June 25, 2020), available at, https://twitter.com/PhillyMayor/status/1276242680612347907.


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unjust, and blatantly unconstitutional attack, cherished rights enshrined in the First and Fourth

Amendments to the United States Constitution and foundation to our democracy: the rights to

peaceable assembly, petition for redress of grievances, freedom of speech, freedom of the press,

and freedom from unwarranted seizures by the government.

       54.     Through this action, plaintiffs seek to hold the City and its policymakers to their

promise of accountability.

III.   JURISDICTION

       55.     This Court has jurisdiction over the subject matter of this Complaint under 42

U.S.C. § 1983 and 28 U.S.C. §§ 1331, 1343(a)(3), 1343(a)(4), and 1367(a).

IV.    PARTIES

       56.     Plaintiff Andre Bullock, a resident of Philadelphia, Pennsylvania, was a bystander,

peaceable police observer, and/or peaceable protester in the area of 52nd Street and Market Streets

on May 31, 2020.

       57.     Plaintiff Tyrone Brown, a resident of Philadelphia, Pennsylvania, was a bystander,

peaceable police observer, and/or peaceable protester in the area of 52nd Street and Market Streets

on May 31, 2020.

       58.     Plaintiff Pamela Campbell, a resident of Philadelphia, Pennsylvania, was a

bystander, peaceable police observer, and/or peaceable protester in the area of 52nd Street and

Market Streets on May 31, 2020.

       59.     Plaintiff Shyanne Damon, a resident of Philadelphia, Pennsylvania, was a

bystander, peaceable police observer, and/or peaceable protester in the area of 52nd Street and

Market Streets on May 31, 2020.




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       60.     Plaintiff Leo Habbs, a resident of Philadelphia, Pennsylvania, was a bystander,

peaceable police observer, and/or peaceable protester in the area of 52nd Street and Market Streets

on May 31, 2020.

       61.     Plaintiff Karen Hoffmann, a resident of Philadelphia, Pennsylvania, was a

bystander, peaceable police observer, and/or peaceable protester in the area of 52nd Street and

Market Streets on May 31, 2020.

       62.     Plaintiff Gloria Hosten, a resident of Philadelphia, Pennsylvania, was a bystander,

peaceable police observer, and/or peaceable protester in the area of 52nd Street and Market Streets

on May 31, 2020.

       63.     Plaintiff Dr. Damone B. Jones, Sr., a resident of Philadelphia, Pennsylvania, was a

bystander, peaceable police observer, and/or peaceable protester in the area of 52nd Street and

Market Streets on May 31, 2020.

       64.     Plaintiff Marshall Kavanaugh, a resident of Philadelphia, Pennsylvania, was a

bystander, peaceable police observer, and/or peaceable protester in the area of 52nd Street and

Market Streets on May 31, 2020.

       65.     Plaintiff Allegra King, a resident of Philadelphia, Pennsylvania, was a bystander,

peaceable police observer, and/or peaceable protester in the area of 52nd Street and Market Streets

on May 31, 2020.

       66.     Plaintiff M.K., a minor and a resident of Philadelphia, Pennsylvania, was a

bystander, peaceable police observer, and/or peaceable protester in the area of 52nd Street and

Market Streets on May 31, 2020.




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       67.     Plaintiff A.K. 1, a minor and a resident of Philadelphia, Pennsylvania, was a

bystander, peaceable police observer, and/or peaceable protester in the area of 52nd Street and

Market Streets on May 31, 2020.

       68.     Plaintiff A.K. 2, a minor and a resident of Philadelphia, Pennsylvania, was a

bystander, peaceable police observer, and/or peaceable protester in the area of 52nd Street and

Market Streets on May 31, 2020.

       69.     Plaintiff Anjahnee King, a resident of Philadelphia, Pennsylvania, was a bystander,

peaceable police observer, and/or peaceable protester in the area of 52nd Street and Market Streets

on May 31, 2020.

       70.     Plaintiff Crystal McBee, a resident of Philadelphia, Pennsylvania, was a bystander,

peaceable police observer, and/or peaceable protester in the area of 52nd Street and Market Streets

on May 31, 2020.

       71.     Plaintiff Darryl McMillian, a resident of Philadelphia, Pennsylvania, was a

bystander, peaceable police observer, and/or peaceable protester in the area of 52nd Street and

Market Streets on May 31, 2020.

       72.     Plaintiff Jessica Rosenberg, a resident of Philadelphia, Pennsylvania, was a

bystander, peaceable police observer, and/or peaceable protester in the area of 52nd Street and

Market Streets on May 31, 2020.

       73.     Plaintiff Betty Rudd, a resident of Philadelphia, Pennsylvania, was a bystander,

peaceable police observer, and/or peaceable protester in the area of 52nd Street and Market Streets

on May 31, 2020.




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       74.     Plaintiff Sabrina Rudd, a resident of Philadelphia, Pennsylvania, was a bystander,

peaceable police observer, and/or peaceable protester in the area of 52nd Street and Market Streets

on May 31, 2020.

       75.     Plaintiff Gwendolyn Snyder, a resident of Philadelphia, Pennsylvania, was a

bystander, peaceable police observer, and/or peaceable protester in the area of 52nd Street and

Market Streets on May 31, 2020.

       76.     Plaintiff Gregory Spearman, a resident of Philadelphia, Pennsylvania, was a

bystander, peaceable police observer, and/or peaceable protester in the area of 52nd Street and

Market Streets on May 31, 2020.

       77.     Plaintiff Malik Spencer, a resident of Philadelphia, Pennsylvania, was a bystander,

peaceable police observer, and/or peaceable protester in the area of 52nd Street and Market Streets

on May 31, 2020.

       78.     Plaintiff Matthew Sullivan, a resident of Philadelphia, Pennsylvania, was a

bystander, peaceable police observer, and/or peaceable protester in the area of 52nd Street and

Market Streets on May 31, 2020.

       79.     Plaintiff Abbey Tennis, a resident of Philadelphia, Pennsylvania, was a bystander,

peaceable police observer, and/or peaceable protester in the area of 52nd Street and Market Streets

on May 31, 2020.

       80.     Plaintiff Sylvia Towns, a resident of Philadelphia, Pennsylvania, was a bystander,

peaceable police observer, and/or peaceable protester in the area of 52nd Street and Market Streets

on May 31, 2020.




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       81.     Plaintiff Vaughn Towns, a resident of Philadelphia, Pennsylvania, was a bystander,

peaceable police observer, and/or peaceable protester in the area of 52nd Street and Market Streets

on May 31, 2020.

       82.     Plaintiff Dr. Mark K. Tyler, a resident of Philadelphia, Pennsylvania, was a

bystander, peaceable police observer, and/or peaceable protester in the area of 52nd Street and

Market Streets on May 31, 2020.

       83.     Plaintiff Timothy Tyler, a resident of Philadelphia, Pennsylvania, was a bystander,

peaceable police observer, and/or peaceable protester in the area of 52nd Street and Market Streets

on May 31, 2020.

       84.     Plaintiff Kayla Watkins, a resident of Philadelphia, Pennsylvania, was a bystander,

peaceable police observer, and/or peaceable protester in the area of 52nd Street and Market Streets

on May 31, 2020.

       85.     Plaintiff Elana Willinsky, a resident of Philadelphia, Pennsylvania, was a

bystander, peaceable police observer, and/or peaceable protester in the area of 52nd Street and

Market Streets on May 31, 2020.

       86.     Plaintiff Eric White, a resident of Philadelphia, Pennsylvania, was a bystander,

peaceable police observer, and/or peaceable protester in the area of 52nd Street and Market Streets

on May 31, 2020.

       87.     Plaintiff Kweli Afiba-Beard, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       88.     Plaintiff Carlos Aponte, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.




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       89.    Plaintiff Anna Armstrong, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       90.    Plaintiff Laura Bardwell, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       91.    Plaintiff Alejandra Barmash, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       92.    Plaintiff Isabel Barrie, a resident of Philadelphia, Pennsylvania, was demonstrating

peaceably on or near the Vine Street Expressway on June 1, 2020.

       93.    Plaintiff Elijah Blanton, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       94.    Plaintiff Marcus Bonner, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       95.    Plaintiff Zach Borzone, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       96.    Plaintiff Sarah Bouayad, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       97.    Plaintiff Nassier Boyce-Davis, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       98.    Plaintiff Taylor Ann Brown, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       99.    Plaintiff Mecca Bullock, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.




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       100.   Plaintiff F.B., a minor by and through his guardian, Christine Burton, a resident of

Philadelphia, Pennsylvania, was demonstrating peaceably on or near the Vine Street Expressway

on June 1, 2020.

       101.   Plaintiff Sasha Burton, a resident of Philadelphia, Pennsylvania, was demonstrating

peaceably on or near the Vine Street Expressway on June 1, 2020.

       102.   Plaintiff Jeremiah Buttram, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       103.   Plaintiff Thomas Calder, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       104.   Plaintiff Christopher Cannito, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       105.   Plaintiff Heidi Cannon, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       106.   Plaintiff Jordan Carrick, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       107.   Plaintiff Sarah Cassano, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       108.   Plaintiff Joseph Cerasi, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       109.   Plaintiff Gregory Charnock, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       110.   Plaintiff Juliana Concepcion, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.




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       111.   Plaintiff Daisy Confoy, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       112.   Plaintiff Erica Corbo, a resident of Philadelphia, Pennsylvania, was demonstrating

peaceably on or near the Vine Street Expressway on June 1, 2020.

       113.   Plaintiff Michael Cormier, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       114.   Plaintiff Lydia Cornelius, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       115.   Plaintiff Alex Cox, a resident of Philadelphia, Pennsylvania, was demonstrating

peaceably on or near the Vine Street Expressway on June 1, 2020.

       116.   Plaintiff Justin Curtis, a resident of Philadelphia, Pennsylvania, was demonstrating

peaceably on or near the Vine Street Expressway on June 1, 2020.

       117.   Plaintiff Violet Cutler, a resident of Philadelphia, Pennsylvania, was demonstrating

peaceably on or near the Vine Street Expressway on June 1, 2020.

       118.   Plaintiff Conlan Daly, a resident of Philadelphia, Pennsylvania, was demonstrating

peaceably on or near the Vine Street Expressway on June 1, 2020.

       119.   Plaintiff Amanda Damron, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       120.   Plaintiff Dakota Davis, a resident of Philadelphia, Pennsylvania, was demonstrating

peaceably on or near the Vine Street Expressway on June 1, 2020.

       121.   Plaintiff Zoe Demkovitz, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.




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       122.   Plaintiff Emmie DiCicco, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       123.   Plaintiff Jon Dilks, a resident of Philadelphia, Pennsylvania, was demonstrating

peaceably on or near the Vine Street Expressway on June 1, 2020.

       124.   Plaintiff Ryan Donohoe, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       125.   Plaintiff Donkey Dover, Jr., a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       126.   Plaintiff Douglas Dreisbach, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       127.   Plaintiff Adam Dunlop, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       128.   Plaintiff Saptarshi Dutt, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       129.   Plaintiff Gabrielle Eisenhower, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       130.   Plaintiff Gabriel Elsheakh, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       131.   Plaintiff Hannah Emily, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       132.   Plaintiff Ashlyn Ernst, a resident of Philadelphia, Pennsylvania, was demonstrating

peaceably on or near the Vine Street Expressway on June 1, 2020.




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       133.   Plaintiff Alicia Falco, a resident of Philadelphia, Pennsylvania, was demonstrating

peaceably on or near the Vine Street Expressway on June 1, 2020.

       134.   Plaintiff Lisa Fanning, a resident of Philadelphia, Pennsylvania, was demonstrating

peaceably on or near the Vine Street Expressway on June 1, 2020.

       135.   Plaintiff Keagan Farr, a resident of Philadelphia, Pennsylvania, was demonstrating

peaceably on or near the Vine Street Expressway on June 1, 2020.

       136.   Plaintiff Lindsey Farrell, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       137.   Plaintiff Daniel Feder, a resident of Philadelphia, Pennsylvania, was demonstrating

peaceably on or near the Vine Street Expressway on June 1, 2020.

       138.   Plaintiff Rachel Fifer, a resident of Philadelphia, Pennsylvania, was demonstrating

peaceably on or near the Vine Street Expressway on June 1, 2020.

       139.   Plaintiff Alexandra Fisher, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       140.   Plaintiff Matthew Fitzpatrick, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       141.   Plaintiff Liam Fletcher, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       142.   Plaintiff Cea Fortarezzo, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       143.   Plaintiff Aine Fox, a resident of Philadelphia, Pennsylvania, was demonstrating

peaceably on or near the Vine Street Expressway on June 1, 2020.




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       144.   Plaintiff Hannah Gallo, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       145.   Plaintiff Kevin Gary, a resident of Philadelphia, Pennsylvania, was demonstrating

peaceably on or near the Vine Street Expressway on June 1, 2020.

       146.   Plaintiff Brooklyn Gerth, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       147.   Plaintiff James Gesualdi, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       148.   Plaintiff Heather Gettis, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       149.   Plaintiff Ezra Ghizzone, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       150.   Plaintiff Mia Gitzes, a resident of Philadelphia, Pennsylvania, was demonstrating

peaceably on or near the Vine Street Expressway on June 1, 2020.

       151.   Plaintiff Nathan Giello, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       152.   Plaintiff Hayley Goddard, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       153.   Plaintiff Hannah Gallo, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       154.   Plaintiff Jacob Gottshall, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.




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       155.   Plaintiff Dalton Gough, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       156.   Plaintiff Robert Grote, a resident of Philadelphia, Pennsylvania, was demonstrating

peaceably on or near the Vine Street Expressway on June 1, 2020.

       157.   Plaintiff Lauren Hallman, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       158.   Plaintiff Savannah Hamilton, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       159.   Plaintiff Ahmad Hankinson, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       160.   Plaintiff Alessandra Hankinson, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       161.   Plaintiff Jamila Hankinson, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       162.   Plaintiff Susan Hankinson, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       163.   Plaintiff Ashley Hansler, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       164.   Plaintiff Philip Harder, a resident of Philadelphia, Pennsylvania, was demonstrating

peaceably on or near the Vine Street Expressway on June 1, 2020.

       165.   Plaintiff Willard Harris, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.




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       166.   Plaintiff Blake Hastings, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       167.   Plaintiff Leah Heathershaw, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       168.   Plaintiff Samantha Heth, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       169.   Plaintiff Maxwell Hibbard, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       170.   Plaintiff Jessica Maxwell Hicks, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       171.   Plaintiff Anna Lynn Higgins, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       172.   Plaintiff Thomas Higham, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       173.   Plaintiff Diamonik Hough, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       174.   Plaintiff Timothy Huff, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       175.   Plaintiff Kerri Hughes, a resident of Philadelphia, Pennsylvania, was demonstrating

peaceably on or near the Vine Street Expressway on June 1, 2020.

       176.   Plaintiff James Hultquist-Todd, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.




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       177.   Plaintiff Tsarina Islam, a resident of Philadelphia, Pennsylvania, was demonstrating

peaceably on or near the Vine Street Expressway on June 1, 2020.

       178.   Plaintiff Eryn Johnson, a resident of Philadelphia, Pennsylvania, was demonstrating

peaceably on or near the Vine Street Expressway on June 1, 2020.

       179.   Plaintiff Ivan Juarez, a resident of Philadelphia, Pennsylvania, was demonstrating

peaceably on or near the Vine Street Expressway on June 1, 2020.

       180.   Plaintiff Sophia Khan, a resident of Philadelphia, Pennsylvania, was demonstrating

peaceably on or near the Vine Street Expressway on June 1, 2020.

       181.   Plaintiff Delaney Keefe, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       182.   Plaintiff Kara Khan, a resident of Philadelphia, Pennsylvania, was demonstrating

peaceably on or near the Vine Street Expressway on June 1, 2020.

       183.   Plaintiff Cooper Kidd, a resident of Philadelphia, Pennsylvania, was demonstrating

peaceably on or near the Vine Street Expressway on June 1, 2020.

       184.   Plaintiff Anhann King, a resident of Philadelphia, Pennsylvania, was demonstrating

peaceably on or near the Vine Street Expressway on June 1, 2020.

       185.   Plaintiff Sarah Kinney, a resident of Philadelphia, Pennsylvania, was demonstrating

peaceably on or near the Vine Street Expressway on June 1, 2020.

       186.   Plaintiff Adam Knapp, a resident of Philadelphia, Pennsylvania, was demonstrating

peaceably on or near the Vine Street Expressway on June 1, 2020.

       187.   Plaintiff Raeann Knight, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.




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       188.   Plaintiff Kyra Kochmansky, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       189.   Plaintiff Joseph Koehler, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       190.   Plaintiff Peter Kourahanis, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       191.   Plaintiff Bernard M. Lambert, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       192.   Plaintiff Justine LeDonne, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       193.   Plaintiff Michael Long, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       194.   Plaintiff Sebastian Lopez, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       195.   Plaintiff Shawn Lynch, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       196.   Plaintiff Gregory Mazur, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       197.   Plaintiff Lilly McBride, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       198.   Plaintiff Brian McCaffrey, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.




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       199.   Plaintiff Christopher McDaniel, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       200.   Plaintiff Scarlett McIntosh, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       201.   Plaintiff Derrick McNew, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       202.   Plaintiff Dominique McQuade, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       203.   Plaintiff Elle Micheli, a resident of Philadelphia, Pennsylvania, was demonstrating

peaceably on or near the Vine Street Expressway on June 1, 2020.

       204.   Plaintiff Brian Gordon Miller, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       205.   Plaintiff Katherine Miller, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       206.   Plaintiff Nathaniel Miller, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       207.   Plaintiff Rahkia Mitchumi, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       208.   Plaintiff Nancy Mitchell, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       209.   Plaintiff Adam Montgomery, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.




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       210.   Plaintiff Anzalette Muslim, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       211.   Plaintiff Benjamin Neates, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       212.   Plaintiff Linh Ngo, a resident of Philadelphia, Pennsylvania, was demonstrating

peaceably on or near the Vine Street Expressway on June 1, 2020.

       213.   Plaintiff Megan Oehlbeck, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       214.   Plaintiff Bryan Ortiz, a resident of Philadelphia, Pennsylvania, was demonstrating

peaceably on or near the Vine Street Expressway on June 1, 2020.

       215.   Plaintiff Gavin Oswald, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       216.   Plaintiff Jamie Papada, a resident of Philadelphia, Pennsylvania, was demonstrating

peaceably on or near the Vine Street Expressway on June 1, 2020.

       217.   Plaintiff Christopher Parish, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       218.   Plaintiff Malia Paulmier, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       219.   Plaintiff Il Shim Pearlman, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       220.   Plaintiff Leila Pearlman, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.




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       221.   Plaintiff Tessa Peoples, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       222.   Plaintiff Joseph Piette, a resident of Philadelphia, Pennsylvania, was demonstrating

peaceably on or near the Vine Street Expressway on June 1, 2020.

       223.   Plaintiff Adam Pines, a resident of Philadelphia, Pennsylvania, was demonstrating

peaceably on or near the Vine Street Expressway on June 1, 2020.

       224.   Plaintiff James Pitts, a resident of Philadelphia, Pennsylvania, was demonstrating

peaceably on or near the Vine Street Expressway on June 1, 2020.

       225.   Plaintiff Andrew Powers, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       226.   Plaintiff Steven Chase Powers, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       227.   Plaintiff Jacob Prante, a resident of Philadelphia, Pennsylvania, was demonstrating

peaceably on or near the Vine Street Expressway on June 1, 2020.

       228.   Plaintiff Stephen Pressman, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       229.   Plaintiff Brad Pulley, a resident of Philadelphia, Pennsylvania, was demonstrating

peaceably on or near the Vine Street Expressway on June 1, 2020.

       230.   Plaintiff Emily Quast, a resident of Philadelphia, Pennsylvania, was demonstrating

peaceably on or near the Vine Street Expressway on June 1, 2020.

       231.   Plaintiff Kaitlyn Rafferty, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.




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       232.   Plaintiff Kathryn Rauth, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       233.   Plaintiff James Richardson , a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       234.   Plaintiff Katelyn Reiersen, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       235.   Plaintiff Brittany Robinson, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       236.   Plaintiff Shannon Roche, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       237.   Plaintiff Christopher Romano, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       238.   Plaintiff Kelsey Romano, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       239.   Plaintiff Allison Ruffner, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       240.   Plaintiff Masaki Saitoh, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       241.   Plaintiff Ashlyn Sanders, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       242.   Plaintiff Guillermo Santos, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.




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       243.   Plaintiff Nina Saligman, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       244.   Plaintiff Morgan Sarao, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       245.   Plaintiff Jonathan Satlow, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       246.   Plaintiff Jack Sawula, a resident of Philadelphia, Pennsylvania, was demonstrating

peaceably on or near the Vine Street Expressway on June 1, 2020.

       247.   Plaintiff Erin Scheckenbach, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       248.   Plaintiff Mallory Schneider, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       249.   Plaintiff Elias Sell, a resident of Philadelphia, Pennsylvania, was demonstrating

peaceably on or near the Vine Street Expressway on June 1, 2020.

       250.   Plaintiff Maheen Shafi, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       251.   Plaintiff Jay Sharma, a resident of Philadelphia, Pennsylvania, was demonstrating

peaceably on or near the Vine Street Expressway on June 1, 2020.

       252.   Plaintiff Walter Smolarek, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       253.   Plaintiff Gwendolyn Snyder, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.




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       254.   Plaintiff Alyssa Spengler, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       255.   Plaintiff Christina Sorenson, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       256.   Plaintiff Quinten Staton, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       257.   Plaintiff Cedric Steenberghs, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       258.   Plaintiff Mackenzie Stocum, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       259.   Plaintiff Matthew Sullivan, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       260.   Plaintiff Abbey Tennis, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       261.   Plaintiff Allison Terry, a resident of Philadelphia, Pennsylvania, was demonstrating

peaceably on or near the Vine Street Expressway on June 1, 2020.

       262.   Plaintiff Niama Thomas, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       263.   Plaintiff Jeff Todd, a resident of Philadelphia, Pennsylvania, was demonstrating

peaceably on or near the Vine Street Expressway on June 1, 2020.

       264.   Plaintiff William Toms, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.




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       265.   Plaintiff Nicholas Tonetti, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       266.   Plaintiff Lauren Tramontina, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       267.   Plaintiff Hoan Tran, a resident of Philadelphia, Pennsylvania, was demonstrating

peaceably on or near the Vine Street Expressway on June 1, 2020.

       268.   Plaintiff Minh Tran, a resident of Philadelphia, Pennsylvania, was demonstrating

peaceably on or near the Vine Street Expressway on June 1, 2020.

       269.   Plaintiff Kayla Trimble, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       270.   Plaintiff Sandy Trinh, a resident of Philadelphia, Pennsylvania, was demonstrating

peaceably on or near the Vine Street Expressway on June 1, 2020.

       271.   Plaintiff Spiros Tsonos, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       272.   Plaintiff Caroline Udell, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       273.   Plaintiff Madelyn Van Trieste, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       274.   Plaintiff Joshua Walker, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       275.   Plaintiff Sarah Walsh, a resident of Philadelphia, Pennsylvania, was demonstrating

peaceably on or near the Vine Street Expressway on June 1, 2020.




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       276.   Plaintiff Patrick Wargo, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       277.   Plaintiff Kayla Watkins, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       278.   Plaintiff Skylar Watkins, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       279.   Plaintiff Sean Welch, a resident of Philadelphia, Pennsylvania, was demonstrating

peaceably on or near the Vine Street Expressway on June 1, 2020.

       280.   Plaintiff Mike Whalen, a resident of Philadelphia, Pennsylvania, was demonstrating

peaceably on or near the Vine Street Expressway on June 1, 2020.

       281.   Plaintiff Faith Williams, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       282.   Plaintiff Kathleen Williams, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       283.   Plaintiff Rand Williamson, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       284.   Plaintiff Elana Willinsky, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       285.   Plaintiff Callum Wilson, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       286.   Plaintiff Hope Wilson, a resident of Philadelphia, Pennsylvania, was demonstrating

peaceably on or near the Vine Street Expressway on June 1, 2020.




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       287.   Plaintiff Seamus Wilson, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       288.   Plaintiff Daniel Wofford, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       289.   Plaintiff Amber Wright, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       290.   Plaintiff Leah Yancoskie, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       291.   Plaintiff Zoe Zazzera, a resident of Philadelphia, Pennsylvania, was demonstrating

peaceably on or near the Vine Street Expressway on June 1, 2020.

       292.   Plaintiff Robert Zolitor, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       293.   Plaintiff Daniel Zubrzycki, a resident of Philadelphia, Pennsylvania, was

demonstrating peaceably on or near the Vine Street Expressway on June 1, 2020.

       294.   Defendant City of Philadelphia is a municipality in the Commonwealth of

Pennsylvania and owns, operates, manages, directs, and controls the Philadelphia Police

Department. At all times relevant to this Complaint, each of the City officials referenced below,

including Mayor Kenney, Commissioner Outlaw, and Deputy Commissioner Dennis Wilson was

a policymaker for the City of Philadelphia with respect to police matters. To the extent any of

these or other officials is not deemed a policymaker under relevant law, each official had

policymaker authority delegated to them with respect to the matters in this Complaint.

       295.   Defendants Jane/John Doe 1-100 were at all times relevant to this Complaint police

officers employed by the City of Philadelphia, Pennsylvania State Police, and other law




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enforcement agencies who acted under the direction of, and in concert and conspiracy with, the

City of Philadelphia. The identities of these defendants are not presently known, and plaintiffs will

amend this Complaint to properly name all defendants after preliminary discovery.

        296.    At all times relevant to this Complaint, all defendants acted under color of state law

and in concert and conspiracy. All defendants are jointly and severally responsible for the harms

caused to plaintiffs.

V.      FACTS

        297.    Despite the lessons learned from protests, press, research, and lawsuits through the

early 2010s, the City of Philadelphia continued in its acquiescence to unconstitutional conduct by

its officers. In that time period, as the use of smartphones to record videos of police engaged in

misconduct grew rapidly, Philadelphia police officers routinely retaliated against civilians who

sought to lawfully observe and record public police activity. When police arrested and physically

abused people for the mere act of lawfully recording video, the City failed to train, supervise,

and/or discipline its officers. Instead, in response to lawsuits brought by people subjected to such

unlawful retaliation, the City argued in federal courts that its officers were protected by the legal

doctrine of qualified immunity.

        298.    In late 2019, Philadelphia Mayor Kenney announced the hiring of Danielle Outlaw

as Philadelphia Police Commissioner. Mayor Kenney did so, knowing that Commissioner Outlaw

had been the subject of extensive criticism for her handling of political protest in her position as

police commissioner in Portland, Oregon. While Commissioner Outlaw was running the Portland

Police Department, officers under her supervision engaged in violent assaults against protesters,

and Commissioner Outlaw refused to punish any of those officers. In her first public appearance

in Philadelphia, Commissioner Outlaw was questioned about how she would address political




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demonstrations in the City of Philadelphia given its rich history of activist culture. She responded

by asserting that she is “a firm believer in upholding free speech and the right to assembly.” 14

Commissioner Outlaw began her duties as Commissioner in February 2020. Three months later,

her assurance that Philadelphia police under her supervision would protect the right to engage in

peaceable political demonstration was proven to be a hollow promise.

     A.      Protest in Philadelphia Following the Murder of George Floyd and the Decision
             of Policymakers to use Excessive Force through Ostensible “Less Than Lethal”
             Munitions

          299.   Following the murder of George Floyd, on May 25, 2020, protests grew around the

country, including Philadelphia. As the first weekend following Floyd’s murder approached, City

officials knew or should have known to expect massive demonstrations throughout the city.

          300.   Based on prior experience, the City and the named Defendants, had developed plans

to address massive protests. The plans were focused on activating hundreds of officers to engage

in crowd control with the goal of allowing peaceable protesters to march with minimal

interference.

          301.   Despite their knowledge and expectation that massive protests would occur

throughout the City, by May 30, 2020, the Philadelphia Police Department and the named

Defendants had not implemented any of their previously existing operational plans to ensure

demonstrators’ safety.

          302.   Throughout the day, peaceable protests grew in size. In Center City Philadelphia,

large groups marched in different directions at the same time. Officers had no coordinated plan




14
  Max Marin, New PPD chief sparred with demonstrators in Portland. How will she handle Philly’s protest
culture?, BillyPenn (Dec. 31, 2019), available at, https://billypenn.com/2019/12/31/new-ppd-chief-sparred-with-
demonstrators-in-portland-how-will-she-handle-phillys-protest-culture/.



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with officers haphazardly dispatched from one location to another in attempts to keep up with the

crowds. Separately, some small groups of people, acting on their own, began to vandalize stores

in major retail corridors. Scores of people were injured and properties were damaged.

     B.      The May 31, 2020 Philadelphia Police Assault on West Philadelphia Residents
             and Demonstrators

          303.    The next day, May 31, 2020, Commissioner Outlaw acknowledged that the

Philadelphia Police Department had been slow to implement a plan to respond to protests, telling

reporters that a coordinated strategy “did not happen as quickly as I would’ve liked it to occur.”15

          304.    On May 31, 2020, after Commissioner Outlaw acknowledged PPD’s poor planning

for demonstrations, a large group of protesters gathered on 52nd Street, known as one of West

Philadelphia’s main thoroughfares. The named Defendants and Jane/John Doe Defendants of the

Philadelphia Police Department activated the para-military units of the Police Department, such

as SWAT and the Counterterrorism Unit. These officers brought into the area military-style

armored vehicles. Officers in those vehicles, outfitted in full body armor with gas masks, face

shields, helmets, and weapons exited those vehicles and fired tear gas and ostensible “less-lethal”

rubber bullets at alleged “looters.” Officers did not stop there. They continued to fire tear gas

canisters and rubber bullets on peaceable protestors and bystanders throughout residential streets

adjacent to 52nd and Market Streets, causing extreme physical and mental harm to residents who

were, inter alia, many of whom were merely observing from the sidewalk, standing on their front

porches, or simply existing inside their homes.




15
   Chris Palmer et al., As unrest spreads, Philly officials struggle to assess police response to the violence and
looting, The Philadelphia Inquirer (May 31, 2020), available at, https://www.inquirer.com/news/philadelphia-
police-department-george-floyd-protests-looting-violence-vandalism-20200531.html.



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       305.    It thus became clear that, in order to address the initial lack of planning that

Commissioner Outlaw acknowledged on May 31, 2020, by that afternoon, before the activity on

52nd Street, the City’s policymakers, along with the named and yet to be named Jane/John Doe

Defendants, had developed a plan to use extreme force against political protesters, including tear

gas canisters, pepper spray, and ostensible “less-lethal” projectiles, commonly referred to as rubber

bullets. The City’s policymakers seemed to coordinate with police departments across the country,

including New York City and Los Angeles, in its handling of protesters by using military tactics

to intentionally trap them spaces and then employ these measures of extreme force.

       306.    Tear gas, or “CS gas,” is a synthetic compound that causes irritation of mucous

membranes, the skin, and the eyes, resulting in tearing, extreme pain, coughing, and difficulty

breathing. Tear gas is usually disbursed through the firing of canisters, which explode and release

the compound in the air. When used in close spaces or in large amounts, these effects can be

enhanced or even fatal. Under the Geneva Convention, the use of tear gas is banned in warfare.

       307.    Pepper spray, also known as oleoresin capsicum, or OC spray, is different from tear

gas in that it is not synthetic. It causes extreme pain in the eyes, often described as a “bubbling”

or “boiling” sensation. Pepper spray is disbursed through aerosolizing the compound in liquid

streams or mists. It is also sometimes fired in a projectile known as a “pepper ball.” Pepper spray

is particularly dangerous to people with preexisting breathing deficits, such as asthma.

       308.    Ostensible “less-lethal” projectiles, broadly defined, are munitions made from

many different substances, including rubber, wood, or wax, that are fired from specially designed

weapons. Although intended not to cause fatalities, such projectiles are known to cause severe

incapacitating, often permanent, injuries, including the loss of eyes, broken bones, and damaged

internal organs as well as death in some circumstances.




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        309.     Given the dangerous and potentially fatal nature of tear gas, pepper spray, and

ostensible less-lethal projectiles, standard police practices limit their usage to the most extreme

circumstances. At a minimum, such tactics require the presence of severe danger to the physical

safety of other persons. Indeed, published Philadelphia police directives provide, with respect to

pepper spray, that it is not to be used “[f]or the dispersal of non-violent persons,” “[f]or disorderly

crowds,” or “[i]n situations where people are peacefully exercising their Constitutional Rights of

free speech of assembly.”16

        310.     The use of each of these mechanisms designed to deploy military style force as a

means of crowd control in the context of political demonstrations is highly dangerous,

inappropriate and antithetical to a democracy whose foundation is the right to free expression,

association and assembly. The use of such methods against peaceable protesters not only poses

substantial risks to the health and safety of the individuals engaged in the protest, as well as the

bystanders, it is a threat to our democracy.

        311.     On May 31, 2020, Plaintiff Tyrone Brown was visiting Plaintiff Vaughn Towns at

his residence on the 5100 Block of Locust Street in Philadelphia, Pennsylvania. While visiting his

neighbor in his back yard, Plaintiff Tyrone Brown experienced irritation in his eyes and throat.

Plaintiff Tyrone Brown made his way to the front of the house after hearing a loud commotion.

Once he arrived at the front of the house, Plaintiff Tyrone Brown witnessed Defendants Jane/John

Doe, Philadelphia Police officers, fire tear gas into the neighborhood causing people to flee. While

standing near the street in front of his neighbor’s home, Plaintiff Tyrone Brown suffered tear gas

inhalation for a second time. The irritation to Plaintiff Tyrone Brown’s eyes and throat continued




16
  Philadelphia Police Department Directive 10.2, Use of Moderate/Limited Force at 9-10 (Sept. 18, 2015),
available at, https://www.phillypolice.com/assets/directives/D10.2-UseOfModerateLimitedForce.pdf


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for twenty-four hours. Plaintiff Tyrone Brown suffered tear gas inhalation, psychological injury,

and emotional distress as a direct result of the actions by Defendants Jane/John Doe, Philadelphia

Police officers, and co-conspirators.

       312.    On May 31, 2020, Plaintiff Andre Bullock was sitting on his front steps on the 200

Block of South 52nd Street near Locust Street. While sitting on his steps, Plaintiff Andre Bullock

was approached by three Defendants John Doe, Philadelphia Police officers, who ordered him to

go inside. Plaintiff Andre Bullock responded that he lived at the residence. Following the

interaction, the three Defendants John Doe, Philadelphia Police officers, fired a stream of tear gas

directly at Plaintiff Andre Bullock. The sustained tear gas attack lasted for approximately one

minute. Plaintiff Andre Bullock experienced severe burning in his eyes and struggled to breathe.

Plaintiff Andre Bullock yelled at Defendants that he lived there, and he did nothing wrong. In

response, Defendants John Doe, Philadelphia Police officers, continued the brutal attack as they

fired approximately eight rubber bullets into Plaintiff Andre Bullock’s house. Plaintiff Andre

Bullock ran into his house and flushed out his eyes to try and relieve the burning. Plaintiff Andre

Bullock felt the effects of the tear gas for two to three weeks. Plaintiff Andre Bullock suffered tear

gas inhalation, psychological injury, and emotional distress as a direct result of the actions by

Defendants Jane/John Doe, Philadelphia Police officers.

       313.    On May 31, 2020, Plaintiff Pamela Campbell was standing in front of a store in her

neighborhood at the intersection of 52nd and Locust Streets in Philadelphia, Pennsylvania. While

standing at that location, Plaintiff Pamela Campbell observed a police truck barreling down the

street, forcing a large crowd of people to flee. Defendants Jane/John Doe, Philadelphia Police

officers, were indiscriminately deploying tear gas throughout the area. Plaintiff Pamila Campbell

felt the immediate impact of the attack as her lungs filled with tear gas deployed by the Defendants




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Jane/John Doe, Philadelphia Police officers. After about fifteen minutes of extreme pain, she was

to regain her ability to see and breathe and was assisted by others from a nearby house. The

residents helped to provide some relief from the pain and discomfort caused by the tear gas

inhalation. Once Plaintiff Pamela Campbell was able to breathe, Plaintiff Pamela Campbell headed

home as she suffers from Chronic Obstructive Pulmonary Disease (COPD) and was in desperate

need of her inhaler. As a result of the actions of the Defendants Jane/John Doe, Philadelphia Police

officers, Plaintiff Pamela Campbell suffered tear gas inhalation, causing problems with her eyes,

throat and lungs, psychological injury, and emotional distress.

       314.    On May 31, 2020, Plaintiff Shyanne Damon, daughter of Sabrina Rudd, was at 51st

and Locust Streets, on the porch of her house, when the Defendants Jane/John Doe, Philadelphia

Police officers, began deploying tear gas in her residential neighborhood. The burglaries

committed on 52nd Street were nowhere near Plaintiff Shyanne Damon’s home at 51st and Locust

Streets. Defendants Jane/John Doe, Philadelphia Police officers, fired tear gas down her street, 51 st

Street. As the tear gas was being deployed, Plaintiff Shyanne Damon told her mother to run into

the house to escape the tear gas attack by Defendants Jane/John Does, Philadelphia Police

officers. Plaintiff Shyanne Damon ran into the house as she suffered tear gas inhalation as she had

difficulty breathing and, later that night, Plaintiff Shyanne Damon suffered a panic attack.

       315.    On May 31, 2020, Plaintiff Hannah Gallo, a resident of the neighborhood in the

area of 52nd and Chestnut Streets in Philadelphia, Pennsylvania and a minister at the First Unitarian

Church of Philadelphia, went along with fellow clergy members to peaceably observe the

protesters and provide aid. Standing several blocks from the area of 52 nd and Market Streets,

Plaintiff Gallo observed Defendants Jane/John Doe, Philadelphia Police officers, and co-

conspirators, dressed in SWAT/Riot gear, fire tear gas into the residential neighborhood for no




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apparent reason as the military response by the Defendant Philadelphia Police Department was not

in response to any criminal conduct presently occurring. After about forty minutes, Defendants

Jane/John Doe, Philadelphia Police officers, and co-conspirators started moving toward the crowd

as they launched tear gas in an effort to force the crowd to disperse. Plaintiff Gallo observed many

of her fellow residents, protesters, and observers suffering in pain with tears and mucous covering

many of their faces. Plaintiff Hannah Gallo suffered tear gas inhalation, psychological harm, and

emotional distress, which was directly caused by Defendants Jane/John Doe, Philadelphia Police

officers, or co-conspirators. Plaintiff Hannah Gallo’s participation in this peaceable protest ended

as the direct result of the brutal force deployed by Defendants Jane/John Doe, Philadelphia Police

officers, and their co-conspirators against Plaintiff and fellow protesters.

       316.    On May 31, 2020, Plaintiff Leo Habbs, a resident of the neighborhood in the area

of 52nd and Chestnut Streets in Philadelphia, Pennsylvania, went to observe the protesters and

provide aid, specifically water and baking soda for victims of the tear gas assault. Upon his arrival,

Plaintiff Leo Habbs observed a small crowd, most of whom appeared to be neighborhood

residents. Standing several blocks from the area of 52nd and Market Streets, Plaintiff Leo Habbs

observed Defendants Jane/John Doe, Philadelphia Police officers, and co-conspirators, dressed in

SWAT/Riot gear, fire tear gas into the residential neighborhood for no apparent reason as the

military response by the Defendant Philadelphia Police Department was not in response to any

criminal conduct presently occurring. After about forty minutes, Defendants Jane/John Doe,

Philadelphia Police Officers, and co-conspirators, started moving toward the crowd as they

launched tear gas in an effort to force the crowd to disperse. As Plaintiff Leo Habbs turned to leave

the area, he felt a sharp burning pain in the back of his left leg. He had been shot in the back of the

calf with a rubber bullet fired by Defendant Jane/John Doe, Philadelphia Police officer. Plaintiff




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Leo Habbs suffered tear gas inhalation, a bruise on his left leg, psychological injury, and emotional

distress caused by the Defendants Jane/John Doe, Philadelphia Police officers, and co-

conspirators.

       317.     On May 31, 2020, Plaintiff Karen Hoffmann, an attorney and resident of the

neighborhood in the area of 52nd Street, went to observe the peaceable protest in support of the

Black Lives Matter movement in the area near 52nd Street in West Philadelphia. As Plaintiff Karen

Hoffmann walked north to 52nd and Walnut Streets, she observed people running south and then

observed a Philadelphia Police armored vehicle turn the corner and fired tear gas in her direction.

Defendants Jane/John Doe, Philadelphia Police officers, operating the armored vehicle continued

to move south on 52nd Street and continued to fire tear gas indiscriminately at neighbors as there

were no protests in that area. The cloud of tear gas pushed through the entire area including the

playground at Malcolm X Park. As a result of the actions of the Jane/John Does, Philadelphia

Police officers, and their co-conspirators, Plaintiff Karen Hoffmann suffered tear gas inhalation,

psychological harm, and emotional distress. As a result of the tear gas, Plaintiff Karen Hoffmann

developed ulcers in her that lasted about a week and it made it difficult for her to eat or drink.

       318.     On May 31, 2020, Plaintiff Gloria Hosten was inside her home in the 5100 Block

of Locust Street in Philadelphia, Pennsylvania with her husband, Plaintiff Darryl McMillian.

Sometime between 3:00 and 4:00 p.m., Plaintiff Gloria Hosten left her kitchen and walked upstairs

to the front bedroom. While in her bedroom, Plaintiff Gloria Hosten noticed thick smoke rising

upward and assumed her front porch was on fire. Plaintiff Gloria Hosten ran downstairs, and she

and her husband, Plaintiff Darryl McMillian, opened the front door and just as quickly closed it as

tear gas poured into their home. Plaintiff Gloria Hosten began to choke, gag, and for several

minutes struggled to breathe from tear gas and/or pepper spray launched by Defendants Jane/John




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Doe, Philadelphia Police officers. Eventually, Plaintiff Gloria Hosten’s entire home was engulfed

by tear gas which lingered for almost two hours. Despite Plaintiff Gloria Hosten’s attempts to use

cold water and towels, she not could relieve the pain and discomfort. The tear gas and/or pepper

spray aggravated Plaintiff Gloria Hosten’s achalasia (a disorder of the esophagus that interferes

with her ability to swallow normally). The impact of the tear gas and/or pepper spray aggravated

her achalasia for several weeks. As a result of the actions of Defendants Jane/John Doe,

Philadelphia Police officers, Plaintiff Gloria Hosten suffered tear gas and/or pepper spray

inhalation, psychological injury, and emotional distress.

       319.    Plaintiff Dr. Damone B. Jones, Sr. is the Senior Pastor of the Bible Way Baptist

Church in West Philadelphia and a former President of the Police Clergy Program in the 19th

Philadelphia police district. On May 31, 2020, Plaintiff Jones, Sr. met with fellow clergy members

to peaceably observe the events occurring in the area of 52nd and Chestnut Streets in Philadelphia,

Pennsylvania. Standing several blocks from the area of 52nd and Chestnut Streets, Plaintiff Jones,

Sr. observed Defendants Jane/John Doe, Philadelphia Police officers, and co-conspirators, dressed

in SWAT/Riot gear, fire tear gas into the residential neighborhood for no apparent reason as the

military response by the Defendant Philadelphia Police Department was not in response to any

criminal conduct presently occurring. Defendants Jane/John Doe, Philadelphia Police officers, and

co-conspirators fired tear gas canisters in the direction of Plaintiff Jones, Sr. that narrowly avoided

striking him directly. Plaintiff Jones, Sr. suffered tear gas inhalation, psychological harm, and

emotional distress, which was directly caused by Defendants Jane/John Doe, Philadelphia Police

officers, or co-conspirators. Plaintiff Jones, Sr.’s participation in this peaceable protest ended as

the direct result of the brutal force deployed by Defendants Jane/John Doe, Philadelphia Police

officers, and their co-conspirators against Plaintiff and his fellow protesters and observers.




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       320.    On May 31, 2020, Plaintiff Marshall Kavanaugh was in the area of 52 nd and Market

Street in West Philadelphia, Pennsylvania. He observed a group of Defendants Jane/John Doe,

Philadelphia Police officers, near a black Humvee standing in the center of the intersection of 52nd

and Chestnut Streets. Several of the Defendants Jane/John Doe, Philadelphia Police officers,

without warning, fired tear gas and rubber bullets. Plaintiff Marshall Kavanaugh was approached

by Defendant John Doe, a Philadelphia Police officer, who attempted to shoot him in the head with

a rubber bullet. Plaintiff Marshall Kavanaugh used his bike to block attempts to shoot him by

Defendant John Doe, a Philadelphia Police officer. Plaintiff Marshall Kavanaugh was at 52nd and

Market Streets for around five hours, where he was tear gassed multiple times by Defendants

Jane/John Doe, Philadelphia Police officers, and their co-conspirators. Plaintiff Marshall

Kavanaugh suffered tear gas inhalation, psychological harm, and emotional distress, which was

directly caused by Defendants Jane/John Doe, Philadelphia Police officers, or co-conspirators.

Plaintiff Marshall Kavanaugh’s participation in this peaceable protest march ended as the direct

result of the brutal force deployed by the Defendants Jane/John Doe, Philadelphia Police officers,

and their co-conspirators against the Plaintiff and fellow protesters.

       321.    On May 31, 2020, Plaintiff Allegra King was in the area of 52nd and Market Streets.

A Philadelphia Police SWAT vehicle described as a “tank” at or near the intersection of 52nd and

Locust Streets began firing tear gas canisters from ground level while a Philadelphia Police SWAT

helicopter began spraying tear gas from above the rooftops at or near the north side of the 5100

block of Locust Street. Plaintiff Allegra King suffered gas inhalation, nasal irritation, skin

irritation, skin rash, tearing, coughing, difficulty breathing, pain sensation, emotional trauma,

and/or psychological anguish as a result of what was described as “being under siege in a war

zone” inside the neighborhood.




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        322.    Plaintiff Allegra King on behalf of her minor children, M.K., her ten (10) year-old

son, A.K. 1, her twelve (12) year-old daughter, and A.K. 2, her two (2) year-old daughter, asserts

their interests in this cause of action as their guardian and submits the following on their behalf.

On May 31, 2020, Plaintiff Allegra King was in her home, along with her minor children M.K.,

A.K. 1, and A.K. 2. in the 5100 Block of Locust Street in Philadelphia, Pennsylvania. Plaintiff

Allegra King observed a Philadelphia Police SWAT vehicle described as a “tank” at or near the

intersection of 52nd and Locust Streets. Defendants Jane/John Doe, Philadelphia Police officers,

began firing tear gas canisters from ground level, while a Philadelphia Police helicopter began

spraying tear gas from above the rooftops at or near the north side of the 5100 Block of Locust

Street. Plaintiff Allegra King, along with her minor children, M.K., A.K. 1, and A.K. 2., suffered

tear gas inhalation, nasal irritation, skin irritation, skin rash, tearing, coughing, difficulty breathing,

psychological injury, and emotional distress as a result of the actions of the Defendants Jane/John

Doe, Philadelphia Police officers.

        323.    On May 31, 2020, Plaintiff Anjahnee King was on her porch in the 5100 Block of

Locust Street in Philadelphia, Pennsylvania. At approximately 3:00 or 4:00 p.m., while emptying

her trash, Plaintiff Anjahnee King heard “a lot of commotion” and was immediately overwhelmed

by tear gas and/or pepper spray deployed by Defendants Jane/John Doe, Philadelphia Police

officers. The tear gas and/or pepper spray caused Plaintiff Anjahnee King’s asthma to flare up.

Struggling to breathe, Plaintiff Anjahnee King rushed back inside her home. Suffering with watery

eyes and gasping for air, Plaintiff Anjahnee King attempted to use her nebulizer. However, it failed

to work. Despite trying several remedies, she could not relieve the pain and discomfort. She had

trouble breathing for several weeks. As a result of the actions by Defendants Jane/John Doe,




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Philadelphia Police officers, Plaintiff Anjahnee King suffered tear gas and/or pepper spray

inhalation, psychological injury, and emotional distress.

       324.    On May 31, 2020, Plaintiff Crystal McBee went to retrieve her granddaughter who

had joined the peaceable protest in the area of 52nd and Market Streets. Upon her arrival at 52nd

and Market Streets, Plaintiff Crystal McBee observed a Philadelphia Police armored vehicle arrive.

Immediately, Defendants Jane/John Doe, Philadelphia Police officers, and co-conspirators fired

tear gas into the peaceable crowd of protesters and bystanders. In fear for the safety of herself and

her grandchild, Plaintiff Crystal McBee fled. When she got to Sansom Street, Plaintiff Crystal

McBee was struck in the head by a rubber bullet fired by Defendant Jane/John Doe, a Philadelphia

Police officer, or a co-conspirator. Following the assault, Plaintiff Crystal McBee still suffers from

the physical pain, psychological injury, and emotional distress as a victim of a military style assault

committed by the Defendants Jane/John Doe, Philadelphia Police officers.

       325.    On May 31, 2020, Plaintiff Darryl McMillian was inside his home with his wife,

Plaintiff Gloria Hosten, in the 5100 Block of Locust Street in Philadelphia, Pennsylvania. As

Plaintiff Darryl McMillian was watching television with his windows open, he noticed thick smoke

rising upward and assumed his porch was on fire. Immediately, Plaintiff Darryl McMillian ran

downstairs and, along with his wife Plaintiff Gloria Hosten, opened the front door and just as

quickly closed it as tear gas poured into their home. Plaintiff Darryl McMillian began to choke,

gag, and for several minutes struggled to breathe from tear gas and/or pepper spray launched by

Defendants Jane/John Doe, Philadelphia Police officers. Eventually, Plaintiff Darryl McMillian’s

entire home was engulfed by tear gas and/or pepper spray which lingered for almost two hours.

Despite Plaintiff Darryl McMillian’s attempts to treat his injuries with cold water and towels, he

could not relieve the pain and discomfort. The tear gas/pepper spray aggravated the hole in his




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retina, a preexisting injury that left him blind in his left eye. Plaintiff Darryl McMillian later

discovered a tear gas canister in his front yard. As a result of the actions of Defendants Jane/John

Doe, Philadelphia Police officers, Plaintiff Darryl McMillian suffered gas inhalation,

psychological injury, and emotional distress.

       326.    On May 31, 2020, Plaintiff Betty Rudd, mother of Sabrina Rudd, was at home on

her porch in the area of 51st Street and Locust Streets in Philadelphia, Pennsylvania. At one point

a Philadelphia Police SWAT vehicle described as a “tank” arrived at or near the intersection of

52nd and Locust Streets. Defendants Jane/John Doe, Philadelphia Police officers, and co-

conspirators began to fire tear gas canisters from ground level while a Philadelphia Police SWAT

helicopter, flying overhead in a coordinated attack, sprayed tear gas from above the rooftops at or

near the north side of the 5100 block of Locust Street. As tear gas was deployed all around her

home, Plaintiff Betty Rudd’s daughter told her to run into the house. However, there was no escape

as the tear gas had permeated the house, forcing Plaintiff Betty Rudd to suffer tear gas

inhalation. As a result of the actions of Defendants Jane/John Doe, Philadelphia Police officers,

and co-conspirators, Plaintiff Betty Rudd suffered gas inhalation, nasal irritation, skin irritation,

skin rash, tearing, coughing, difficulty breathing, pain sensation, psychological injury, and

emotional distress as a result of what was described as “being under siege in a war zone” inside

the neighborhood. In the evening, Plaintiff Betty Rudd’s granddaughter suffered a panic attack

from the horrific assault experienced earlier in the day.

       327.    On May 31, 2020, Plaintiff Sabrina Rudd, the manager of a residential mental

health facility, was sitting on her porch located at 51st and Locust Streets in Philadelphia,

Pennsylvania, when the Defendants Jane/John Doe, Philadelphia Police officers, began deploying

tear gas in her residential neighborhood. Plaintiff Sabrina Rudd was in the area of 52nd and Market




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Streets on May 31, 2020. A Philadelphia Police SWAT vehicle described as a “tank” at or near the

intersection of 52nd and Locust Streets, without warning, fired tear gas canisters from ground level

while a Philadelphia Police SWAT helicopter began spraying tear gas from above the rooftops at

or near the north side of the 5100 block of Locust Street. Plaintiff Sabrina Rudd suffered tear gas

inhalation, nasal irritation, skin irritation, skin rash, tearing, coughing, difficulty breathing, pain

sensation, psychological injury, and emotional distress caused by Defendants Jane/John Doe,

Philadelphia Police officers, and co-conspirators.

       328.    On May 30, 2020, Plaintiff Gwendolyn Snyder went out to observe the events

occurring in the area of 52nd Street and Baltimore Avenue. Plaintiff Gwendolyn Snyder and her

husband, Plaintiff Matthew Sullivan, walked north on Market Street when they witnessed

Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators launch a tear

gas attack against peaceable protesters, neighborhood residents, and innocent bystanders. As

Plaintiff Gwendolyn Snyder and Plaintiff Matthew Sullivan ran down the street, Defendants

Jane/John Doe, Philadelphia Police officers, and their co-conspirators fired from an armored

vehicle tear gas canisters into the crowd of people, which included Plaintiff Gwendolyn Snyder

and Plaintiff Matthew Sullivan. Plaintiff Gwendolyn Snyder felt as if she had walked into a

warzone. Plaintiff Gwendolyn Snyder, in recalling the attack by Defendants Jane/John Doe,

Philadelphia Police officers, and co-conspirators, stated that the attack “left us crying, disabled,

weeping, and terrified. It was like nothing I had ever seen – a total attack on our bodies and our

dignities.” Plaintiff Gwendolyn Snyder suffered gas inhalation, psychological injury, and

emotional distress as a result of the actions of Defendants Jane/John Doe, Philadelphia Police

officers, and their co-conspirators.




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       329.    On May 31, 2020 Plaintiff Gregory Spearman was standing outside his place of

employment (i.e., The Chicken Shack) at 52nd and Locust Streets in Philadelphia, Pennsylvania.

Sometime between 3:00 and 4:00 p.m., he observed a police vehicle occupied by Defendants

Jane/John Doe, Philadelphia Police officers, stop at the intersection. Defendant Jane/John Doe, a

Philadelphia Police officer, began to indiscriminately spray a hard mist of tear gas, which hit

several persons, including Plaintiff Gregory Spearman on his back, neck, and hands. Plaintiff

Gregory Spearman suffered immediate pain, shortness of breath, and impaired vision. In an

attempt to alleviate the pain and discomfort, Plaintiff Gregory Spearman poured milk onto the

areas impacted by the pepper spray. As a direct result of the actions of the Defendants Jane/John

Doe, Philadelphia Police officers, Plaintiff Gregory Spearman suffered tear gas inhalation; injury

to his back, neck, and hands; psychological injury; and emotional distress.

       330.    On May 31, 2020, Plaintiff Malik Spencer was inside of his home in the 5100

Block of Locust Street in Philadelphia, Pennsylvania, along with Plaintiff Allegra King and

several of her minor children, M.K., A.K. 1, and A.K. 2. At approximately 3:00 or 4:00 p.m., they

were all inside the residence listening to music. Plaintiff Malik Spencer noticed a foul odor coming

from outside of the house. Plaintiff Anjahee King came into the house and told everyone inside

that the police were spraying the block with gas and instructed everyone to close the windows.

Plaintiff Malik Spencer was eventually overwhelmed by tear gas and/or pepper spray deployed by

Defendants Jane/John Doe, Philadelphia Police officers. As a result of the actions by Defendants

Jane/John Doe, Philadelphia Police officers, Plaintiff Malik Spencer suffered tear gas and/or

pepper spray inhalation, psychological injury, and emotional distress.

       331.    On May 31, 2020, Plaintiff Matthew Sullivan, who lives in the area of 52 nd and

Market Streets in Philadelphia, Pennsylvania, was alerted that a large group of Philadelphia Police




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Officers had arrived in the neighborhood. Plaintiff, along with his wife, Plaintiff Gwendolyn

Snyder, went to observe the events near their home. When the Plaintiff Matthew Sullivan arrived,

he observed that near a large group of protesters, there was an armored police vehicle with an

LRAD (Long Range Acoustic Device) noise cannon on top of the vehicle. Plaintiff Matthew

Sullivan had heard from others that Philadelphia Police had been tear gassing in that area all

day. One person told Plaintiff Sullivan that he left his home because the tear gas had been coming

through the window. Suddenly, without warning, Plaintiff Matthew Sullivan observed Defendants

Jane/John Doe, Philadelphia Police officers, fire tear gas toward the peaceable protesters,

bystanders, and residents. Plaintiff Matthew Sullivan and Plaintiff Gwendolyn Snyder began

running on 52nd Street and then onto a side street to escape the tear gas attack. Plaintiff Matthew

Sullivan had trouble breathing from tear gas. Plaintiff Matthew Sullivan suffered tear gas

inhalation, psychological injury, and emotional distress caused by the actions of Defendants

Jane/John Doe, Philadelphia Police officers, and their co-conspirators.

       332.    On May 31, 2020, Plaintiff Abbey Tennis, a resident of the neighborhood in the

area of 52nd and Chestnut Streets in Philadelphia, Pennsylvania and the lead minister of the First

Unitarian Church of Philadelphia, went along with fellow clergy members to peaceably observe

the protesters and provide aid. Standing several blocks from the area of 52 nd and Market Streets,

Plaintiff Tennis observed Defendants Jane/John Doe, Philadelphia Police officers, and co-

conspirators, dressed in SWAT/Riot gear, fire tear gas into the residential neighborhood for no

apparent reason as the military response by Defendant Philadelphia Police Department was not in

response to any criminal conduct presently occurring. After about forty minutes, Defendants

Jane/John Doe, Philadelphia Police officers, and co-conspirators started moving toward the crowd

as they launched tear gas in an effort to force the crowd to disperse. Plaintiff Tennis observed




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many of her fellow residents, protesters, and observers suffering in pain with tears and mucous

covering many of their faces. Plaintiff Abbey Tennis suffered tear gas inhalation, psychological

harm, and emotional distress, which was directly caused by Defendants Jane/John Doe,

Philadelphia Police officers, or co-conspirators. Plaintiff Abbey Tennis’ participation in this

peaceable protest ended as the direct result of the brutal force deployed by Defendants Jane/John

Doe, Philadelphia Police officers, and their co-conspirators against Plaintiff and her fellow

protesters and observers.

       333.    On May 31, 2020, Plaintiff Sylvia Towns was driving to her home to the 5100

Block of Locust Street in Philadelphia, Pennsylvania. As Plaintiff Sylvia Towns approached that

location, she noticed many people running and clogging the streets, forcing her to drive the wrong

way on Irving Street to escape the pedestrian and vehicular congestion. As Plaintiff Sylvia Towns

pulled into a parking space across the street from her home, she was surrounded by tear gas and

began to suffer tear gas inhalation due to tear gas canisters deployed by Defendants Jane/John Doe,

Philadelphia Police officers. At that moment, Plaintiff Sylvia Towns noticed two armored police

vehicles, one on Locust Street and one on 52nd Street, spraying tear gas or pepper spray that burned

her throat and caused a burning sensation on her skin. Plaintiff Sylvia Towns also noticed a low-

flying helicopter directly above her block shooting tear gas down onto the neighborhood. After

leaving her vehicle, Plaintiff Sylvia Towns was shot in the ankle with a rubber bullet by Defendant

Jane/John Doe, a Philadelphia Police officer. Upon Plaintiff Sylvia Town’s arrival home

Defendants Jane/John Doe, Philadelphia Police officers fired tear gas into her neighbor’s yard.

Shortly after she inhaled tear gas, Plaintiff Sylvia Towns was hit with pepper spray which impacted

her vision and breathing. The tear gas made her face feel like she was “on fire.” Plaintiff Sylvia

Towns later sought medical treatment. As a direct result of the actions committed by Defendants




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Jane/John Doe, Philadelphia Police officers, Plaintiff Sylvia Towns suffered tear gas and pepper

spray inhalation; eye, throat, and breathing difficulties; an injury to her ankle; psychological injury;

and emotional distress.

        334.    On May 31, 2020, Plaintiff Vaughn Towns was outside his residence in the 5100

Block of Locust Street in Philadelphia, Pennsylvania. At around 2:30 p.m., Plaintiff Vaughn

Towns noticed a cloud of smoke in front of his door and then observed people fleeing the tear gas

attack launched by Defendants Jane/John Doe, Philadelphia Police officers. The tear gas attack

lasted for three hours and, at one point, was so overwhelming that it completely engulfed his front

yard. Plaintiff Vaughn Towns suffered gas inhalation, watery eyes, itchy skin, throat irritation, and

difficulty breathing. In addition to Defendants Jane/John Doe, Philadelphia Police officers, firing

tear gas from vehicles, Plaintiff Vaughn Towns observed a police helicopter hovering only a few

feet above a neighbor’s house, while firing tear gas into the neighborhood. As a result of the actions

of Defendants Jane/John Doe, Philadelphia Police officers, Plaintiff Vaughn Towns suffered tear

gas inhalation, psychological injury, and emotional distress.

        335.    Plaintiff Dr. Mark K. Tyler is the pastor of Mother Bethel African Methodist

Episcopal Church in Philadelphia. On May 31, 2020, Plaintiff Tyler met with fellow clergy

members to peaceably observe the events occurring in the area of 52 nd and Chestnut Streets in

Philadelphia, Pennsylvania. Standing several blocks from the area of 52 nd and Chestnut Streets,

Plaintiff Tyler observed Defendants Jane/John Doe, Philadelphia Police officers, and co-

conspirators, dressed in SWAT/Riot gear, fire tear gas into the residential neighborhood for no

apparent reason as the military response by the Defendant Philadelphia Police was not in response

to any criminal conduct presently occurring. Defendants Jane/John Doe, Philadelphia Police

officers, and co-conspirators fired tear gas canisters in the direction of Plaintiff Tyler that narrowly




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avoided striking him directly. Plaintiff Tyler suffered tear gas inhalation, psychological harm, and

emotional distress, which was directly caused by Defendants Jane/John Doe, Philadelphia Police

officers, or co-conspirators. Plaintiff Tyler’s participation in this peaceable protest ended as the

direct result of the brutal force deployed by Defendants Jane/John Doe, Philadelphia Police

officers, and their co-conspirators against Plaintiff and fellow protesters.

       336.    On May 31, 2020, Plaintiff Timothy Tyler parked his vehicle on Locust Street near

52nd Street in Philadelphia, Pennsylvania. Shortly after leaving his vehicle, Plaintiff Timothy Tyler

was immediately overwhelmed by tear gas and/or pepper spray deployed by Defendants Jane/John

Doe, Philadelphia Police officers. As a result of the tear gas inhalation, Plaintiff Timothy Tyler

started to gag and cough uncontrollably. According to Plaintiff Timothy Tyler, the area around

52nd and Locust Street was “like a war zone.” In an attempt to escape the tear gas and/or pepper

spray, Plaintiff Timothy Tyler fled inside The Chicken Shack. There was no relief inside the

restaurant as the tear gas and/or pepper spray engulfed the entire restaurant. Despite trying

numerous remedies, Plaintiff Timothy Tyler could not alleviate the pain and discomfort. The

impact of the tear gas and/or pepper spray inhalation lasted for several days. As a result of the

actions of Defendants Jane/John Doe, Philadelphia Police officers, in deploying tear gas and/or

pepper spray in a residential neighborhood, Plaintiff Timothy Tyler suffered tear gas and/or pepper

spray inhalation, psychological injury, and emotional distress.

       337.    On May 31, 2020, Plaintiff Kayla Watkins was on her porch in the area of 50th and

Pine Streets in Philadelphia, Pennsylvania. Plaintiff Kayla Watkins stood on her porch when she

was hit with a cloud of tear gas causing her to suffer tear gas inhalation, resulting in burning eyes

and a coughing fit. As the direct result of Defendants Jane/John Doe, Philadelphia Police officers,

and their co-conspirators, Plaintiff Kayla Watkins suffered tear gas inhalation, psychological




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injury, and emotional distress inside her residence in West Philadelphia, blocks away from 52 nd

Street and Walnut Street.

        338.    On May 31, 2020, Plaintiff Eric White, a veteran of the War in Iraq, observed a

police vehicle occupied by Defendants Jane/John Doe, Philadelphia Police officers, in the area of

52nd and Locust Streets in Philadelphia, Pennsylvania. The police vehicle was facing Locust Street.

After 1:30 p.m., Defendants Jane/John Doe, Philadelphia Police officers, inside the vehicle fired

five or six canisters of pepper spray and/or tear gas down 52 nd Street. In addition, Plaintiff Eric

White observed a dangerously low flying helicopter directly above his roof at 5131 Locust Street.

The tear gas was so thick that it created a fog that engulfed the entire block and seeped into Plaintiff

Eric White’s home. Upon entering his home Plaintiff Eric White rushed throughout the house to

close the windows. Unfortunately, his mother and son had already inhaled the tear gas causing

them to cough uncontrollably. Plaintiff Eric White, as a veteran, had access to a 3M military gas

mask. However, even that was ineffective in preventing gas inhalation. Defendants Jane/John Doe,

Philadelphia Police officers, launched three separate tear gas attacks on the neighborhood. It took

three hours for the smoke to clear. The odor lingered in the air for three days. The tear gas attack

by Defendants Jane/John Doe, Philadelphia Police officers caused Plaintiff Eric White to suffer

flashbacks to his war experience – specifically, surface to air missile attacks he experienced in

2002-2003. As a result of the action taken by Defendants Jane/John Doe, Philadelphia Police

officers, Plaintiff Eric White suffered tear gas inhalation, psychological injury, which exacerbated

his military related PTSD, and emotional distress.

        339.    On May 31, 2020, Plaintiff Elana Willinsky became aware that peaceable protesters

had been tear gassed in the area of 52nd and Market Streets, near her home on Regent Street.

Plaintiff Elana Willinsky decided to bring a case of water to the protesters in order to help alleviate




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the suffering from tear gas. As Plaintiff Elana Willinsky approached 52 nd and Market Streets, she

observed groups of young people, mostly residents of the neighborhood, standing and watching

the police. Plaintiff Elana Willinsky observed Defendants Jane/John Doe, Philadelphia Police

officers, operating military SWAT vehicles that were moving toward the peaceable protesters.

Plaintiff Elana Willinsky observed Defendants Jane/John Doe, Philadelphia Police officers, throw

flash bang grenades and tear gas canisters indiscriminately onto the residential streets as the

residents become engulfed in the cloud of tear gas. Plaintiff Elana Willinsky suffered tear gas

inhalation, psychological injury, and emotional distress as the result of the military-style attack on

her and the residents in the area of 52nd and Market Streets as a result of the actions of the

Defendants Jane/John Doe, Philadelphia Police officers.

        340.   The indiscriminate use of tear gas that continued for several hours on May 31, 2020

(and again on June 1, 2020, as shown below) forced protesters, including many of the named

Plaintiffs, to frequently remove their masks in order to breathe and to clean their faces, rendering

them more vulnerable and susceptible to COVID-19 infections.

   C.      The June 1, 2020 Philadelphia Police Assault on Vine Street Expressway
           Demonstrators

        341.   As of the morning of June 1, 2020, the City’s policymakers and the named and yet-

to-be-named Defendants Jane/John Doe, Philadelphia Police officers, knew that the military-style

assault deployed on 52nd Street the night before had caused severe harm to dozens of innocent

people, peaceable protesters, and residents of the neighborhood surrounding 52nd and Market

Streets. Despite that knowledge, they made no changes with regard to the previous day’s tactics.

On June 1, 2020, City policymakers proceeded to mobilize the tactical and other units, including

Defendants Jane/John Doe, Philadelphia Police officers, in preparation for deployment against

peaceable protesters.



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       342.    On the afternoon of June 1, 2020, thousands of demonstrators, including many of

the named plaintiffs gathered in Center City Philadelphia and began peaceably marching through

the streets in support of the Black Lives Matter movement for racial justice. As with protests that

had previously occurred in Philadelphia and around the world, demonstrators were protesting

police violence against Black people, chanting “Black Lives Matter” and holding signs demanding

accountability and systemic reform.

       343.    Shortly before 5:00 p.m., the march made its way to the intersection of North 22nd

Street and Benjamin Franklin Parkway. From there, many of the protesters, including some of the

plaintiffs, marched down an entrance ramp from North 22nd Street onto Interstate 676 (known

locally as the “Vine Street Expressway,” a below-ground-level highway that traverses Center City

Philadelphia from east to west and west to east). Many of the other protesters, including some of

the plaintiffs, remained in the area of Benjamin Franklin Parkway, and the intersecting streets,

20th, 21st, and 22nd Streets.

       344.    Philadelphia Police officers were stationed at the top of the entrance ramp; they did

not attempt to prevent the protesters, including many of the plaintiffs, from entering the highway.

       345.    Evening traffic on the highway was immediately stopped as protesters, including

many of the named plaintiffs, began to flood into all lanes of traffic. The occupants of the vehicles

stopped along the expressway showed their support for the political message expressed by the

protest by repeatedly honking their horns and waving to the protesters. Many drivers and

passengers got out of their vehicles and momentarily joined the protesters’ chanting.

       346.    Protesters, including many of the named plaintiffs, continued to peaceably march

east on the highway. At no time was any violence or physical forced used by the protesters,

including many of the named plaintiffs. No one during the course of the march on the expressway,




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Benjamin Franklin Parkway, or any of the adjacent streets – including police present for the

purported purpose of crowd control – was ever in any physical danger.

       347.    As protesters continued to march east under the North 21st Street overpass, they

entered a long tunnel.

       348.    Before they reached the other side of the tunnel, which ends just to the east of North

20th Street, Defendants Jane/John Doe, Philadelphia Police officers, and co-conspirators were

stationed at the far end of the tunnel waiting to confront the protesters. Defendants Jane/John Doe,

Philadelphia Police officers, were, like the officers present on 52nd Street the night before, dressed

in full body armor, with helmets and face shields, and armed with tear gas cannisters and weapons.

       349.    Upon observing Defendants Jane/John Doe, Philadelphia Police officers, lined up

at the other end of the tunnel, the protesters stopped marching forward but proceeded to protest by

chanting and waving the banners and posters. At no time did Defendants Jane/John Doe,

Philadelphia Police officers, inform the protesters, including many of the Plaintiffs, that they must

disperse or they would be subject to tear gas, pepper spray, rubber bullets, and arrest.

Demonstrators were thus caught without any indication that they would be subject to an extreme,

dangerous, and harmful use of force.

       350.    Defendants Jane/John Doe, Philadelphia Police officers, were armed with tear gas,

pepper spray, and guns loaded with ostensible “less-lethal” rubber bullets entered the tunnel from

the east side, approaching the protesters. Without any verbal warning or command, Defendants

Jane/John Doe, Philadelphia Police officers, began firing tear gas cannisters and rubber bullets as

if they were engaged in combat with an armed enemy. Without warning or any verbal command,

Defendants Jane/John Doe, Philadelphia Police officers, began firing tear gas cannisters, pepper

spray, and “less-lethal” rubber bullets at the protesters, including some of the named Plaintiffs.




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Shocked and full of terror, many of the protesters dropped to their knees and put their hands in the

air in order to signal the Defendants Jane/John Doe, Philadelphia Police officers, that they were

peaceable. Terrorized by the military assault, many of the protesters, including many of the named

Plaintiffs, began to flee from the approaching clouds of tear gas and hail of rubber bullets.

Defendants Jane/John Doe, Philadelphia Police officers, along with Defendant Nicoletti, used

pepper spray against the protesters, even when the demonstrators were attempting to turn around

and go back the other way. Defendants Jane/John Doe, Philadelphia Police officers, also used

pepper spray to target members of the press who were witnessing and filming the peaceable actions

of the demonstrators.

       351.    In order to escape the huge clouds of tear gas, pepper spray, and “less-lethal” rubber

bullets, the protesters climbed a hill and scaled the barrier and fence to reach Benjamin Franklin

Parkway and adjacent streets only to be hit with a second attack by Defendants Jane/John Doe,

Philadelphia Police officers, launching tear gas into the crowds at street level. To get away from

the tear gas that Defendants Jane/John Doe, Philadelphia Police officers, had disbursed, the

remaining demonstrators, attempted to climb the hill. However, many of the protesters were

trapped on the hill in the bottleneck created by the only means of escape.

       352.    Shortly after police fired the first tear gas canisters, all of the protesters that were

not arrested on the 676, left the highway, and police ordered the traffic that had been stopped on

the highway to resume.

       353.    At this point, all demonstrators were either on the embankment or had exited the

highway. Defendants Jane/John Doe, Philadelphia Police officers, could not hide behind the

pretext later used by the named defendants to justify the violence leveled against peaceable

protesters. The excessive use of force on hundreds of peaceable protesters who were no longer




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blocking traffic underscored the intention of Defendants Jane/John Doe, Philadelphia Police

officers, both on I-676, as well as on Benjamin Franklin Parkway and adjacent streets, to physically

harm and punish protesters for engaging in a march and demonstration protected by the First

Amendment.

        354.    Clear evidence of the intention of Defendants Jane/John Doe, Philadelphia Police

officers, was the fact that they fired multiple tear gas canisters directly at the demonstrators trapped

on the hill.

        355.    As police were firing tear gas canisters, other officers using pepper spray were

forcing demonstrators up the hill.

        356.    Unable to breath or exit the hill because of the bottleneck, several protesters

descended the hill towards the officers with hands raised in surrender simply to escape the tear

gas, only to be directed by officers wearing gas masks to climb back up the hill and into the clouds

of tear gas.

        357.    These actions left hundreds of demonstrators stuck on the hill, unable to leave,

while standing in clouds of smoke and tear gas. Demonstrators were overcome with tear gas,

coughing, vomiting, crying, and unable to breathe.

        358.    The purported purpose of tear gas in a law enforcement context is to disperse unruly

and violent crowds. Given the actions of the officers, however, the demonstrators who were

attacked with tear gas were unable to disperse, thus resulting in enhanced and prolonged exposure

to the gas.

        359.    The indiscriminate use of tear gas that continued for several hours on May 31, 2020

and June 1, 2020, forced many protesters to remove their masks in an attempt to breathe and to

clean their faces, making them more susceptible to COVID-19 infections.




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        360.   While Defendants Jane/John Doe, Philadelphia Police officers, subjected protesters

to the harmful effects of tear gas, they began to discharge ostensible less-lethal munitions at the

demonstrators. Multiple demonstrators were struck with rubber bullets tear gas cannisters and

other projectiles that resulted in injury and severe physical pain.

   D.      Defendant Richard Nicoletti, Jr. Attacks Three Kneeling And Surrendering
           Protesters By Removing Their Face Coverings And Spraying Tear Gas Directly
           Into Their Faces

        361.   Plaintiff Diamonik Hough did not initially flee the police assault. Plaintiff

Diamonik Hough chose to exercise his right to peaceably protest and was willing to be arrested for

his act of alleged civil disobedience in the manner Rev. Dr. Martin Luther King Jr. and other non-

violent civil rights activists of the 1960s. Plaintiff Diamonik Hough sat down on the road with his

hands raised in an act of surrender facing the oncoming Philadelphia Police officers and their

armored vehicles.

        362.   Plaintiff Katharine Miller, a white female, observed Plaintiff Diamonik Hough, a

Black male, sitting on the ground with his hands raised and saw officers advancing towards him.

Given the history of police abuse against Black bodies, and the very nature of the day’s protest,

Plaintiff Katharine Miller feared for Plaintiff Diamonik Hough’s safety and sat down on the road

in front of Hough in an attempt to protect him from being potentially fatally attacked by police

officers. Plaintiff Katharine Miller also raised her hands in act of surrender assuming that she

would be arrested by police.

        363.   Plaintiff Christina Sorenson, a white female, observed Plaintiff Diamonik Hough,

a Black male, sitting on the ground with his hands raised and saw officers advancing towards him.

Given the history of police abuse against Black bodies, and the very nature of the day’s protest,

Plaintiff Christina Sorenson feared for Hough’s safety and sat down on the road in front of Hough




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in an attempt to protect him from being potentially fatally attacked by police officers. Plaintiff

Christina Sorenson knelt on the ground with her hands behind her back expecting to be arrested

by the police officers approaching them.

        364.   Defendant Nicoletti approached Plaintiffs Hough, Miller, and Sorenson as they

were peaceably seated/kneeling on the expressway. Instead of placing the plaintiffs under arrest,

defendant Nicoletti sprayed Plaintiffs Hough, Miller, and Sorenson with a chemical agent as he

approached them. Defendant Nicoletti began spraying Plaintiff Christina Sorenson as he

approached her. Seeing that Plaintiff Christina Sorenson was wearing safety goggles to protect

her eyes, Defendant Nicoletti got close enough to touch Plaintiff Christina Sorenson, pulled her

elastic safety goggles away from her face, sprayed the chemical agent directly into her eyes, and

then released the goggles, causing them to snap back onto her face.

        365.   Defendant Nicoletti then moved to Plaintiff Katharine Miller, bent down to get

closer to her, and sprayed her directly in the face. When Defendant Nicoletti got to Plaintiff

Diamonik Hough, he physically assaulted Plaintiff Hough by shoving him to the ground to expose

his face and then sprayed Plaintiff Hough in the face multiple times at point blank range. None of

the police officers ever made an effort to arrest Plaintiffs Hough, Miller, or Sorenson.

        366.   As a result of being sprayed directly in the face by Defendant Nicoletti, Plaintiffs

Sorenson, Miller, and Hough’s vision and breathing were severely compromised and they cried

out in pain.

        367.   As Plaintiff Diamonik Hough blindly tried to escape the attack of Defendant

Nicoletti, he was struck by multiple ostensible “less-lethal” rubber bullets. Plaintiff Diamonik

Hough was struck at least five times as an officer hunted him on the expressway. He was struck in

his groin as he blindly waved his hands in surrender. He then was struck in his back as he moved




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away in pain. He was struck several more times in the arms and leg as he squatted and moved

around a vehicle in an attempt to avoid being shot and to escape the assault.

        368.   Once Defendants Jane/John Doe, Philadelphia Police officers, began the assault,

the march abruptly halted, ending the peaceable protest. Within moments, the military-style attack

turned a peaceful day of celebratory protest into fear and panic as the protesters scrambled to

escape a rapidly approaching armed contingent. In fear for their physical safety, many of the

protesters, including many of the named plaintiffs fled west. The protesters in and around

Benjamin Franklin Parkway and adjacent streets, including many of the named plaintiffs, still

engaged in peaceable protest, began to observe the terrifying events unfold below them on the

Vine Street Expressway.

        369.   With thirty foot walls on either side, the exit ramps blocked by additional

Defendants Jane/John Doe, Philadelphia Police officers, and two heavily-armed contingents of the

Defendants Jane/John Doe, Philadelphia Police officers, converging from the east and west,

hundreds of protesters were trapped with seemingly no means to escape the tear gas canisters and

ostensible “less-lethal” rubber bullets. Some of the protesters were able to escape through the exit

ramps back onto 22nd Street.

        370.   Several hundred protesters remained trapped between the two teams of Defendants

Jane/John Doe, Philadelphia Police officers. The only feasible means of escape was a steep grassy

hill on the north side of the highway to the east of North 21 st Street. At the top of that hill was a

concrete barrier with a tall metal fence on top.

   E.      Philadelphia Police Department Takes Aim At Panicked Protesters, Showering
           Them With A Hail Of Rubber Bullets And Tear Gas Canisters, While The
           Protesters Attempted To Scale A Grassy Slope And Iron Fence




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       371.    On June 1, 2020, Plaintiff Kweli Afiba-Beard joined a peaceable protest march in

support of the Black Lives Matter movement. The peaceable protest march began near Race Street

and eventually the protesters, including Plaintiff Kweli Afiba-Beard, ended up on Benjamin

Franklin Parkway near I-676. Plaintiff Kweli Afiba-Beard and his fellow protesters continued the

peaceable protest march onto highway I-676. As the Plaintiff Kweli Afiba-Beard entered the

underpass, he heard a loud bang and then observed the protesters in front of him running back out

of the underpass. Soon after, Plaintiff Kweli Afiba-Beard felt the effect of the tear gas fired into

the crowd by Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators.

Plaintiff Kweli Afiba-Beard and his fellow protesters left the highway and climbed a hilly

embankment adjacent to the highway in an effort to escape the tear gas. While on the hill, Plaintiff

Kweli Afiba-Beard helped many of his fellow protesters climb the fence at the top of the hill while

the Defendants Jane/John Doe, Philadelphia Police officers, continued to fire tear gas canisters at

the crowd of protesters. Plaintiff Kweil Afiba-Beard suffered tear gas inhalation, psychological

harm, and emotional distress as the direct result of the actions of Defendants Jane/John Doe,

Philadelphia Police officers, and their con-conspirators. The tear gas became so thick that the

Plaintiff observed many of his fellow protesters suffering in pain with tears and mucous covering

many of their faces. Eventually, Plaintiff Kweli Afiba-Beard left the embankment as he observed

Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators falsely arresting

many of his fellow protesters on the hill who were unable to make it over the wall and fence.

Plaintiff Kweli Afiba-Beard’s participation in this peaceable protest march ended as the direct

result of the brutal force deployed by Defendants Jane/John Doe, Philadelphia Police officers, and

their co-conspirators against the Plaintiff Kweli Afiba-Beard and his and fellow protesters.




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        372.   On June 1, 2020, Plaintiff Carlos Aponte participated in a peaceable protest march

in support of the Black Lives Matter movement in Philadelphia, Pennsylvania. Plaintiff Carlos

Aponte and his fellow protestors made their way from Benjamin Franklin Parkway onto I-676 to

continue their peaceable protest march on the highway. While on the highway, Plaintiff Carlos

Aponte heard flash bangs and observed many of his fellow peaceable protesters start to run in a

panic in the direction from which they came. Plaintiff Carlos Aponte observed the Defendants

Jane/John Doe, Philadelphia Police officers, and their co-conspirators in pursuit of the fleeing

protesters firing tear gas canisters and pepper spray. Chaos ensued as Plaintiff Carlos Aponte

became fearful for his physical safety. He joined his fellow protestors in seeking refuge from the

attack as they all ran up onto a hilly embankment on the north side of the highway in an effort to

escape the tear gas, pepper spray, and rubber bullets. After Plaintiff Carlos Aponte had left the

highway, Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators

continued to throw tear gas canisters into the crowd of where the Plaintiff Carlos Aponte and others

were located. Plaintiff Carlos Aponte suffered tear gas inhalation, psychological harm, and

emotional distress as a direct result of the actions of Defendants Jane/John Doe, Philadelphia

Police officers, and their co-conspirators and was horrified by the suffering he witnessed his fellow

protesters endured from this attack. Eventually, Plaintiff Carlos Aponte made his way onto

Benjamin Franklin Parkway, where he was treated for the tear gas inhalation by his fellow

peaceable protesters. Plaintiff Carlos Aponte’s participation in this peaceable protest march ended

as the direct result of the brutal force deployed by the Defendants Jane/John Doe, Philadelphia

Police officers, and their co-conspirators against the Plaintiff Carlos Aponte and his fellow

protesters.




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       373.    On June 1, 2020, Plaintiff Anna Armstrong participated in a peaceable protest

march in support of the Black Lives Matter movement in Philadelphia, Pennsylvania. Plaintiff

Anna Armstrong and her fellow protestors walked on Benjamin Franklin Parkway. The Plaintiff

along with many of her fellow protestors decided to continue their peaceable protest onto the

highway I-676. As Plaintiff Anna Armstrong began to move through the underpass, she heard

screaming and observed many of her fellow peaceable protestors running back toward her and in

the direction from which they came. The Plaintiff Anna Armstrong began to run and then stopped

and stood in the highway with her arms raised, chanting, “hands up! don’t shoot!” as the

Defendants    Jane/John    Doe,   Philadelphia    Police   officers,   and   their   co-conspirators

approached. Immediately, Plaintiff Anna Armstrong began hearing loud booms and, shortly

thereafter, experienced burning in her eyes and on the surface of her skin. A thick cloud of smoke

engulfed her and her fellow protesters as she observed Defendants Jane/John Doe, Philadelphia

Police officers, and their co-conspirators fire tear gas into the crowd. The tear gas became so thick

that Plaintiff Anna Armstrong could barely breathe as she watched people screaming and

scrambling onto a hilly embankment on the north side of the highway in a desperate effort to

escape the attack. While Plaintiff Anna Armstrong and other protestors struggled to get over the

fence, Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators continued

to fire tear gas into the crowd on the hill. With the help of other protesters, Plaintiff Anna

Armstrong was able to reach the top of the fence at the top of the hill dividing the highway from

Benjamin Franklin Parkway and surrounding areas. As Plaintiff Anna Armstrong was going over

the fence, the sharp prongs at the top of the fence snagged and ripped her pants from the zipper

halfway down her thigh causing a huge scratch on her leg. While the Plaintiff Anna Armstrong

was able to escape onto Benjamin Franklin Parkway, Defendants Jane/John Doe, Philadelphia




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Police officers, and their co-conspirators continued to fire tear gas into the crowd of peaceable

protesters on Benjamin Franklin Parkway. The Plaintiff Anna Armstrong suffered tear gas

inhalation, psychological harm, emotional distress, a huge gash on her leg, and pain throughout

her body that lasted approximately one week as a result of the brutal force used by Defendants

Jane/John Doe, Philadelphia Police officers, and their co-conspirators. Plaintiff Anna Armstrong’s

participation in this peaceable protest march ended as the direct result of the brutal force deployed

by the Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators against

the Plaintiff Anna Armstrong and her fellow protesters.

        374.   On June 1, 2020, Plaintiff Laure Bardwell joined a peaceable protest march in

support of the Black Lives Matter movement in Philadelphia, Pennsylvania. As the Plaintiff Laura

Bardwell and fellow protestors marched along Benjamin Franklin Parkway, she and her fellow

protesters were stopped at the intersection on the 21st or 22nd Street overpass by Defendants

Jane/John Doe, Philadelphia Police officers. While Plaintiff Laura Bardwell was peaceably

protesting with others on the overpass, a large police vehicle approached. Without any

provocation or warning, Defendants Jane/John Doe, Philadelphia Police officers, and/or their co-

conspirators began shooting tear gas into the crowd of protestors standing in front of the vehicle

including Plaintiff Laura Bardwell. Plaintiff Laura Bardwell suffered tear gas inhalation, which

prevented her from breathing or seeing as she tried to escape the cloud of gas that engulfed the

overpass. Plaintiff Laura Bardwell also suffered psychological harm and emotional distress as the

result of the attack. Plaintiff Laura Bardwell’s participation in this peaceable protest march ended

as the direct result of the brutal force deployed by the Defendants Jane/John Doe, Philadelphia

Police officers, and their co-conspirators against the Plaintiff Anna Armstrong and her fellow

protesters.




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       375.    On June 1, 2020, Plaintiff Alejandra Barmash participated in a peaceable protest

march in support of the Black Lives Matter movement in Philadelphia, Pennsylvania. Plaintiff

Alejandra Barmash, along with many of her fellow protesters, continued the peaceable protest

march from Benjamin Franklin Parkway onto the highway at I-676. As Plaintiff Alejandra

Barmash moved through an underpass, she heard people screaming and observed her fellow

protesters running away from the front of the march. Plaintiff Alejandra Barmash observed

Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators firing tear gas

at the protestors from all directions. Desperate to escape the assault, Plaintiff Alejandra Barmash

left the highway and began climbing the hilly embankment adjacent to the highway. While on the

embankment, Plaintiff Alejandra Barmash was forced into a small space with other protesters who

were trying to escape. She suffered tear gas inhalation, psychological harm, and emotional distress

as the result of the Defendants Jane/John Doe, Philadelphia Police officers, and their co-

conspirators. While struggling to breathe, Plaintiff Alejandra Barmash was able to scale the fence

on top of the ten-foot high cement wall in order to escape the brutal assault. Plaintiff Alejandra

Barmash’s participation in this peaceable protest march ended as the direct result of the brutal

force deployed by the Defendants Jane/John Doe, Philadelphia Police officers, and their co-

conspirators against the Plaintiff Alejandra Barmash and her fellow protesters.

       376.    On June 1, 2020, Plaintiff Isabel Barrie joined a peaceable protest march in support

of the Black Lives Matter movement in Philadelphia, Pennsylvania. By the time Plaintiff Isabel

Barrie arrived at the protest march, the protesters had made their way onto Benjamin Franklin

Parkway near 21 st Street. After the protest march, she and her friend, Plaintiff Liam Fletcher,

walked to the area of 15th Street and JFK towards their car to head home. While standing in the

area near Dilworth Park, Plaintiff Isabel Barrie observed Defendant Jane/John Doe, a Philadelphia




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Police officer, tackle a small woman protestor to the ground. Plaintiff Isabel Barrie then observed

Defendants Jane/John Doe, Philadelphia Police officers, shoving protestors off their bicycles,

which prompted her to start recording the police abuse with her cellphone. As Plaintiff Isabel

Barrie approached a group of police officers assaulting another protestor on the ground in an effort

to record the excessive force, she was grabbed by Defendants Jane/John Doe, Philadelphia Police

officers, as Defendant John Doe, a Philadelphia Police officer, instructed the others to “lock them

up” because she was in violation of curfew. Defendant John Doe, a Philadelphia Police officer,

immediately tackled Plaintiff Isabel Barrie to the ground, causing her breast to be exposed by the

force of the impact. Plaintiff Isabel Barrie was then zip-tied and falsely arrested and detained.

During her unlawful detention, she witnessed other peaceable protesters in custody being

interrogated by agents from the Federal Bureau of Investigation (FBI). Plaintiff Isabel Barrie was

issued a citation for a curfew violation and disorderly conduct, both of which were dismissed by

Defendant Mayor Kenney. As a direct result of the actions of Defendant John Doe, a Philadelphia

Police officer, Plaintiff Isabel Barrie suffered psychological harm and emotional distress from the

excessive force used when she was tackled to the ground, as well as from the false arrest and

unlawful detention. Furthermore, her right to protest and to record misconduct by the Philadelphia

Police officers was terminated by the actions of Defendants Jane/John Doe, Philadelphia Police

officers, that ordered and effectuated her false arrest.

       377.    On June 1, 2020, Plaintiff Elijah Blanton participated in a peaceable protest march

in support of the Black Lives Matter movement in Philadelphia, Pennsylvania. Plaintiff Elijah

Blanton, along with many of his fellow protestors, decided to continue their peaceable protest from

Benjamin Franklin Parkway onto I-676. While protesting on I-676, Defendants Jane/John Doe,

Philadelphia Police officers, and their co-conspirators fired tear gas canisters and rubber bullets at




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Plaintiff Elijah Blanton and his fellow peaceable protestors. As a result of the Defendant’s actions

in firing tear gas, Plaintiff Elijah Blanton suffered burns to his face, as well as tear gas inhalation,

which caused him to convulse on the highway. In an effort to escape the tear gas, Plaintiff Elijah

Blanton eventually made his way up a grassy embankment adjacent to the highway. While on the

grassy embankment, Plaintiff Elijah Blanton suffered a second tear gas attack as Defendants

Jane/John Doe, Philadelphia Police officers, and their co-conspirators fired additional tear gas

canisters at him and the crowd on the hill. Once again, Plaintiff Elijah Blanton convulsed and

eventually threw up. Plaintiff Elijah Blanton made it midway up the hill where he observed an

older woman in her fifties pushed by Defendant Jane/John Doe, a Philadelphia Police

officer. Plaintiff Elijah Blanton grabbed the woman in an effort to help her from falling down the

hill. Defendant Jane/John Doe, a Philadelphia Police officer, grabbed both of them and falsely

arrested them, placing them in zip ties. Following his false arrest, Plaintiff Elijah Blanton was

detained for several hours. Plaintiff Elijah Blanton was issued a citation that was eventually

dismissed by Defendant Mayor Kenney. Plaintiff Elijah Blanton suffered tear gas inhalation,

psychological harm, and emotional distress as a result of the tear gas attack by Defendants

Jane/John Doe, Philadelphia Police officers, and their co-conspirators. Plaintiff Elijah Blanton

also suffered a wrist injury due to zip ties being pulled too tight during the false arrest. Plaintiff

Elijah Blanton’s participation in this peaceable protest march ended as the direct result of the brutal

force deployed by Defendants Jane/John Doe, Philadelphia Police officers, and their co-

conspirators against Plaintiff Elijah Blanton and his and fellow protesters.

        378.    On June 1, 2020, Plaintiff Marcus Bonner participated in a peaceable protest march

in support of the Black Lives Matter movement in Philadelphia, Pennsylvania. Plaintiff Marcus

Bonner marched with many others to Benjamin Franklin Parkway. Plaintiff Marcus Bonner did




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not enter the highway but rather maintained his protest with many others along Benjamin Franklin

Parkway in a grassy area between 22nd Street and the I-676 on-ramp adjacent to Benjamin Franklin

Parkway. Without warning or provocation, Defendants Jane/John Doe, Philadelphia Police

officers, and their co-conspirators began firing tear gas canisters into the peaceable crowd of

protestors from their armored vehicles near 22nd Street. While Plaintiff Marcus Bonner was

attempting to neutralize a tear gas canister, he was struck in the elbow with a rubber bullet fired

by Defendant Jane/John Doe, a Philadelphia Police officer, and/or a co-conspirator from about

twenty-five (25) feet away. Plaintiff Marcus Bonner observed Defendant Jane/John Doe, a

Philadelphia Police officer, and/or co-conspirator pointing the gun at him from the top hatch of an

armored patrol carrier. Plaintiff Marcus Bonner suffered a serious bone bruise and laceration from

the rubber projectile fired by Defendant Jane/John Doe, a Philadelphia Police officer, and/or co-

conspirator. The injury suffered by Plaintiff Marcus Bonner limited mobility of his arm for

approximately a month. In addition to his elbow injury, Plaintiff Marcus Bonner suffered

psychological harm and emotional distress. Plaintiff Marcus Bonner’s participation in this

peaceable protest march ended as the direct result of the brutal force deployed by Defendants

Jane/John Doe, Philadelphia Police officers, and their co-conspirators against Plaintiff Marcus

Bonner and his and fellow protesters.

       379.    On June 1, 2020, Plaintiff Zach Borzone joined a peaceable protest march in

support of the Black Lives Matter movement in Philadelphia, Pennsylvania. As the protest moved

from Benjamin Franklin Parkway to the I-676, Plaintiff Zach Borzone joined many of his fellow

protesters on I-676 to continue the peaceable protest. As Plaintiff Zach Borzone entered the

underpass with the other protesters, he felt a searing pain in his stomach as he was struck by a

rubber bullet fired by Defendant Jane/John Doe, a Philadelphia Police officer, or a co-conspirator.




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While on the highway, Plaintiff Zach Borzone observed Defendants Jane/John Doe, Philadelphia

Police officers, operating a helicopter that was flying low over the highway. The helicopter

dropped a tear gas canister onto the peaceable protesters as it blasted siren sounds. Immediately,

Plaintiff Zach Borzone backed away and climbed onto the hilly embankment next to the

highway. As Plaintiff Zach Borzone climbed the embankment, he was caught in a cloud of tear

gas launched from Defendant Jane/John Doe Police Officers and their co-conspirators at him and

his fellow protesters as they tried to escape the attack. Plaintiff Zach Borzone struggled to breathe

as he suffered tear gas inhalation, psychological harm, and emotional distress as the canisters were

fired into the crowd on the hill. Plaintiff was able to escape the attack as he made his way onto

Benjamin Franklin Parkway. Plaintiff Zach Borzone’s participation in this peaceable protest march

ended as the direct result of the brutal force deployed by Defendants Jane/John Doe, Philadelphia

Police officers, and their co-conspirators against Plaintiff Zach Borzone and his and fellow

protesters.

        380.   On June 1, 2020, Plaintiff Sarah Bouayad joined a peaceable protest march in

support of the Black Lives Matter movement in Philadelphia, Pennsylvania. As the march reached

Benjamin Franklin Parkway, Plaintiff Sarah Bouayad joined a group of peaceable protesters down

the ramp and onto I- 676 to continue the protest. As Plaintiff Sarah Bouayad and the other

protestors walked onto the ramp, Police officers stepped aside. While on 676, Defendants

Jane/John Doe, Philadelphia Police officers, standing only yards away from Plaintiff, fired tear gas

canisters at Plaintiff and her fellow protesters without warning or provocation. Suffering from

asthma, Plaintiff Sarah Bouayad struggled to breathe as she ran to the hilly embankment in an

effort to escape. Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators

continued to fire tear gas at Plaintiff and others on the hill, causing Plaintiff Sarah Bouayad to




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suffer tear gas inhalation, psychological harm, and emotional distress. She thought she was going

to die as she could not breathe for several agonizing seconds. Eventually, Plaintiff Sarah Bouayad

was able to make it onto Benjamin Franklin Parkway. Plaintiff Sarah Bouayad’s participation in

this peaceable protest march ended as the direct result of the brutal force deployed by Defendants

Jane/John Doe, Philadelphia Police officers, and their co-conspirators against Plaintiff Sarah

Bouayad and her fellow protesters.

       381.    On June 1, 2020, Plaintiff Nassier Boyce -Davis participated in a peaceable protest

march in support of the Black Lives Matter movement in Philadelphia, Pennsylvania. Plaintiff

Nassier Boyce-Davis decided, along with many of his fellow protestors, to take their peaceable

protest march from Benjamin Franklin Parkway onto I-676. While on the highway, Plaintiff

Nassier Boyce-Davis observed many of his fellow protestors begin to run in a panic in his

direction. Plaintiff Nassier Boyce-Davis observed Defendants Jane/John Doe, Philadelphia Police

officers, and their co-conspirators coming down the on-ramp from behind them, firing tear gas in

all directions. Plaintiff Nassier Boyce-Davis was able to reach the grassy embankment but

suffered tear gas inhalation, psychological harm, and emotional distress as a result of the actions

of Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators. Plaintiff

Nassier Boyce-Davis’s participation in this peaceable protest march ended as the direct result of

the brutal force deployed by Defendants Jane/John Doe, Philadelphia Police officers, and their co-

conspirators against plaintiffs and their fellow protesters.

       382.    On June 1, 2020, Plaintiff Taylor Ann Brown joined a peaceable protest march in

support of the Black Lives Matter movement in Philadelphia, Pennsylvania. As the march reached

Benjamin Franklin Parkway, Plaintiff Taylor Brown was one of the first marchers onto I-

676. Plaintiff Taylor Brown, who works as a freelance photographer, was taking photos of the




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protest. As she was photographing the protest, Plaintiff Taylor Brown observed tear gas deployed

by Defendants Jane/John Doe, Philadelphia Police officers, as protestors began running towards

her. Plaintiff Taylor Brown began running to the hilly embankment to escape the attack on the

highway. Once Plaintiff Taylor Brown reached the hilly embankment, she began to climb the hill

but was pushed and then trampled by the stampeding crowd of protesters as Defendants Jane/John

Doe, Philadelphia Police officers, and their co-conspirators launched tear gas canisters into the

crowd. While on the hill, Plaintiff Taylor Brown observed one of the protesters get shot with a

rubber bullet or canister fired by Defendant Jane/John Doe, a Philadelphia Police officer, or co-

conspirator. Plaintiff escaped the attack when other protesters were assisted over the fence where

she could clear her eyes out. Plaintiff Taylor Ann Brown suffered tear gas inhalation,

psychological harm, and emotional distress as a direct result of the brutal tear gas attack by

Defendant Philadelphia Police Officers and co-conspirators. Additionally, Plaintiff’s camera was

broken as a result of the actions of the same Defendants. Plaintiff Taylor Brown’s participation in

this peaceable protest march ended as the direct result of the brutal force deployed by Defendants

Jane/John Doe, Philadelphia Police officers, and their co-conspirators against Plaintiff Taylor

Brown and her fellow protesters.

       383.    On June 1, 2020, Plaintiff Mecca Bullock participated in a peaceable protest march

in support of the Black Lives Matter movement in Philadelphia, Pennsylvania. Plaintiff Mecca

Bullock joined many of her fellow peaceable protestors to continue their peaceable protest march

onto the highway at I-676. While on I-676, Plaintiff Mecca Bullock observed smoke coming from

the underpass and heard loud bangs which he believed to be tear gas canisters fired by Defendants

Jane/John Doe, Philadelphia Police officers, and their co-conspirators. Plaintiff Mecca Bullock

attempted to escape the tear gas attack by climbing the hilly embankment adjacent to the highway.




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While on the hilly embankment, Plaintiff Mecca Bullock assisted other protesters to escape over

the fence. Defendant Jane/John Doe, a Philadelphia Police officer, and/or co-conspirator fired a

tear gas canister right at Plaintiff Mecca Bullock’s feet, causing burns to his face. As Plaintiff

Mecca Bullock was repelled by the heat of the burning canister back away from the burning tear

gas canister in front of him, he fell backward and tumbled down the hill. Plaintiff Mecca Bullock

could hear fearful screams all around him but was unable to see as he was blinded by the tear gas

fired by Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators.

Plaintiff Mecca Bullock was eventually able to climb back up the hill and climb the fence but not

before suffering tear gas inhalation, psychological harm, and emotional distress caused by

Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators. Plaintiff Mecca

Bullock’s participation in this peaceable protest march ended as the direct result of the brutal force

deployed by Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators

against Plaintiff Mecca Bullock and her fellow protesters.

       384.    Plaintiff Kristine Burton, on behalf of her minor sixteen (16) year old son F.B.,

asserts his interests in this cause of action as his guardian and submits the following on his behalf.

On June 1, 2020, Plaintiff Kristine Burton’s minor son F.B. joined his sister, Plaintiff Sasha Burton

in a peaceable protest march in support of the Black Lives Matter movement in Philadelphia,

Pennsylvania. As the march reached Benjamin Franklin Parkway, Plaintiff Kristine Burton’s minor

son F.B. along with many other peaceable protesters, including his sister, decided to continue their

protest march onto highway I-676. While protesting on the highway, Plaintiff Kristine Burton’s

juvenile minor son F.B. observed tear gas fired into the crowd by Defendants Jane/John Doe,

Philadelphia Police officers, and their co-conspirators. Defendants Jane/John Doe, Philadelphia

Police officers, and their co-conspirators fired tear gas canisters into the crowd on the hill where




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F.B. was located, causing him to suffer tear gas inhalation and burns to his skin. As Plaintiff

Kristine Burton’s minor son F.B. was climbing the hill, Defendant John Doe, a Philadelphia Police

officer, tried to grab him from behind in an attempt to falsely arrest him and ripping his shorts in

the process. Plaintiff Kristine Burton’s minor son F.B., suffering from gas inhalation, moved to a

different part of the fence to escape the attack. While on the top of the fence, Plaintiff Kristine

Burton’s minor son F.B. was shot with a rubber bullet by Defendant John Doe, a Philadelphia

Police officer, from about six feet away, striking him on the left side of his torso, causing a serious

contusion. Plaintiff Kristine Burton’s minor son F.B. was still able to make it over the fence and

onto Benjamin Franklin Parkway. As a result of the brutal attack by Defendants Jane/John Doe,

Philadelphia Police officers, and their co-conspirators, Plaintiff Kristine Burton’s minor son F.B.

suffered tear gas inhalation and burns to his skin. Additionally, as a result of the action of

Defendant John Doe, a Philadelphia Police officer, by firing a rubber bullet at Plaintiff Kristine

Burton’s minor son F.B., he suffered physical injury, pain and suffering, psychological harm, and

emotional distress. Plaintiff Kristine Burton’s minor son F.B. participation in this peaceable

protest march ended as the direct result of the brutal force deployed by Defendants Jane/John Doe,

Philadelphia Police officers, and their co-conspirators against Plaintiff’s minor son F.B. and his

fellow protesters.

       385.    On June 1, 2020, Plaintiff Sasha Burton, along with her brother Plaintiff Kristine

Burton’s minor son F.B. joined a peaceable protest march in support of the Black Lives Matter

movement in Philadelphia, Pennsylvania. As the march reached Benjamin Franklin Parkway,

Plaintiff Sasha Burton, along with many other peaceable protesters, including her minor brother

F.B., continued their peaceable protest onto I-676. As Plaintiff Sasha Burton marched on the

highway, she suffered tear gas inhalation as Defendants Jane/John Doe, Philadelphia Police




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officers, and co-conspirators fired tear gas at her and her fellow protesters. Plaintiff Sasha Burton

attempted to escape the attack by exiting the highway onto the hilly embankment. Plaintiff Sasha

Burton was caught in the crowd of protesters who were attempting to escape the attack by climbing

the embankment. While jammed in the crowd of panicking protesters, Plaintiff Sasha Burton

witnessed several of her fellow protesters cry out in pain and heard a man nearby scream, “this is

how I’m going to die” as Defendants Jane/John Doe, Philadelphia Police officers, fired tear gas at

her and the crowd. As a direct result of Defendants Jane/John Doe, Philadelphia Police officers,

and their co-conspirators, Plaintiff Sasha Burton suffered tear gas inhalation, psychological harm,

and emotional distress. Plaintiff Sasha Burton was falsely arrested, zip-tied, and made to bend over

on the highway while she was unlawfully searched by Defendant Jane/John Doe, a Philadelphia

Police officer, who grabbed and touched her during the search. Eventually, Plaintiff was taken to

a police district. After she was questioned and photographed, Plaintiff Sasha Burton observed her

information placed in a file. Prior to release, she was issued a citation for failure to disperse, even

though there was no warning to disperse and nowhere for her to go once she was attacked. The

citation was eventually dismissed by Defendant Mayor Kenney. Plaintiff Sasha Burton, an avid

runner, continued to have difficulty breathing weeks after she suffered the tear gas inhalation.

Plaintiff Sasha Burton’s participation in this peaceable protest march ended as the direct result of

the brutal force deployed by Defendants Jane/John Doe, Philadelphia Police officers, and their co-

conspirators against plaintiffs and their fellow protesters.

       386.    On June 1, 2020, Plaintiff Jeremiah Buttram joined a peaceable protest march in

support of the Black Lives Matter movement in Philadelphia, Pennsylvania. The march reached

Benjamin Franklin Parkway, and Plaintiff Jeremiah Buttram and many of his fellow protesters

continued their peaceable protest onto highway I-676. While on the highway, Plaintiff Jeremiah




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Buttram went down on one knee as the march continued on 676 for several blocks. Within a short

period of time, Plaintiff Jeremiah Buttram heard explosions as his fellow protesters began running

out of the underpass in his direction. Plaintiff Buttram ran with the crowd of protestors. While on

the highway, Plaintiff Jeremiah Buttram witnessed protesters leave the highway and climb a hilly

embankment in an effort to escape the attack. As his fellow protesters were on the hill, he witnessed

Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators being fired upon

with tear gas canisters and pulling people from the fence. Once on the hill Plaintiff Jeremiah

Buttram was hit with a tear gas canister shot by Defendant John Doe, a Philadelphia Police officer,

which caused him an injury. Plaintiff Jeremiah Buttram suffered tear gas inhalation, an injury from

the tear gas canister striking him, psychological injury and emotional harm caused by the actions

of Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators. Eventually,

Plaintiff Jeremiah Buttram was able to make it over the fence and onto Benjamin Franklin Parkway

with the assistance of his fellow protesters. He had difficulty deep breathing and seeing for several

hours after suffering the gas inhalation, psychological injury, and emotional distress. Plaintiff

Jeremiah Buttram’s participation in this peaceable protest march ended as the direct result of the

brutal force deployed by Defendants Jane/John Doe, Philadelphia Police officers, and their co-

conspirators against plaintiffs and their fellow protesters.

       387.    On June 1, 2020, Plaintiff Thomas Calder participated in a peaceable protest march

in support of the Black Lives Matter movement in Philadelphia, Pennsylvania. The march reached

Benjamin Franklin Parkway, and Plaintiff Thomas Calder and many of his fellow protesters

continued their peaceable protest onto highway I-676. While marching on the highway Plaintiff

Thomas Calder observed tear gas launched into the crowd of peaceable protesters by Defendants

Jane/John Doe, Philadelphia Police officers, and their co-conspirators. Plaintiff Thomas Calder




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suffered tear gas inhalation, psychological injury, and emotional distress as a result of the actions

of Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators as he ran

across the highway to escape the attack. Plaintiff Thomas Calder was able to climb the hill and

scale the fence to escape onto Benjamin Franklin Parkway. Plaintiff Thomas Calder’s participation

in this peaceable protest march ended as the direct result of the brutal force deployed by Defendants

Jane/John Doe, Philadelphia Police officers, and their co-conspirators against plaintiffs and their

fellow protesters.

       388.    On June 1, 2020, Plaintiff Christopher Cannito joined a peaceable protest march in

support of the Black Lives Matter movement in Philadelphia, Pennsylvania. The march reached

Benjamin Franklin Parkway, and Plaintiff Christopher Cannito along with many of his fellow

protesters continued their peaceable protest onto highway I-676. Once on I-676 Plaintiff

Christopher Cannito crossed the median strip and began walking eastbound. As Plaintiff

Christopher Cannito arrived at the second underpass, he observed a line of Jane/John Doe

Philadelphia Police Officers and their co-conspirators at the other end of the underpass. Shortly

after he heard shots fired and his fellow protestors scream as smoke filled the underpass. Once

Plaintiff Christopher Cannito realized tear gas was being deployed, he ran with many of his fellow

protesters up a hilly embankment adjacent to the highway and climbed over the fence at the top.

Plaintiff Christopher Cannito suffered tear gas inhalation, psychological harm, and emotional

distress as a result of Defendants Jane/John Doe, Philadelphia Police officers, and their co-

conspirators firing tear gas at him and the crowd of peaceable protesters he was with. Plaintiff

Christopher Cannito’s participation in this peaceable protest march ended as the direct result of

the brutal force deployed by Defendants Jane/John Doe, Philadelphia Police officers, and their co-

conspirators against plaintiffs and their fellow protesters.




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       389.    On June 1, 2020, Plaintiff Heidi Cannon joined a peaceable protest march in support

of the Black Lives Matter movement in Philadelphia, Pennsylvania. The march reached Benjamin

Franklin Parkway, and Plaintiff Heidi Cannon along with many of her fellow protesters continued

their peaceable protest onto highway I-676. While on the median strip between east and

westbound lanes and with a large number of people ahead of her, Plaintiff Heidi Cannon heard

loud bangs and immediately realized tear gas canisters were being deployed. Plaintiff Heidi

Cannon suffered tear gas inhalation, psychological harm and emotional distress as a result of the

actions of Defendants Jane/John Doe, Philadelphia Police officers, firing tear gas at her and her

fellow protesters after they left the highway and were on the hilly embankment. Although Plaintiff

Heidi Cannon was able to climb the fence at the top of the hill, she described the experience as

terrifying, “it was like a war zone.” Plaintiff Heidi Cannon’s participation in this peaceable protest

march ended as the direct result of the brutal force deployed by Defendants Jane/John Doe,

Philadelphia Police officers, and their co-conspirators against plaintiffs and their fellow protesters.

       390.    On June 1, 2020, Plaintiff Jordan Carrick joined a peaceable protest march in

support of the Black Lives Matter movement in Philadelphia, Pennsylvania. The march reached

Benjamin Franklin Parkway, and Plaintiff Jordan Carrick along with many of her fellow protesters

continued their peaceable protest onto highway I-676. As Plaintiff Jordan Carrick entered the

underpass without warning, she felt extreme pain in her arm and chest as she was shot twice with

rubber bullets fired by a Jane/John Doe Philadelphia Police Officer or co-conspirator. Panic

ensued and everyone began to flee as Plaintiff Jordan Carrick struggled to get on her bike and

made her way out of the underpass. Plaintiff Jordan Carrick observed Defendants Jane/John Doe,

Philadelphia Police officers, and their co-conspirators charging from every direction as they

launched tear gas canisters at her and her fellow protesters. Plaintiff Jordan Carrick was eventually




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able to escape. Plaintiff Jordan Carrick has a condition that inhibits her ability to breathe so once

she inhaled the tear gas, she really struggled to get oxygen into her lungs. As a result of Defendants

Jane/John Doe, Philadelphia Police officers, and their co-conspirators Plaintiff Jordan Carrick

suffered injuries to her arm and chest, tear gas inhalation, psychological harm, and emotional

distress. Plaintiff Jordan Carrick’s participation in this peaceable protest march ended as the direct

result of the brutal force deployed by Defendants Jane/John Doe, Philadelphia Police officers, and

their co-conspirators against plaintiffs and their fellow protesters.

       391.    On June 1, 2020, Plaintiff Sarah Cassano joined a peaceable protest march in

support of the Black Lives Matter movement in Philadelphia, Pennsylvania. Plaintiff Sarah

Cassano along with many of her fellow protesters made their way from Benjamin Franklin

Parkway onto I-676 to continue the peaceable protest. Plaintiff Sarah Cassano marched on the

highway with the other protesters for several minutes when Defendants Jane/John Doe,

Philadelphia Police officers, and co-conspirators began their military style attack, unleashing tear

gas canisters and rubber bullets. Plaintiff Sarah Cassano ran to the hill all the while struggling to

breathe and see, as she fled from the brutal attack. Along with suffering from tear gas inhalation,

Plaintiff Sarah Cassano found out a week after the attack that she is pregnant, and is now left with

fear and uncertainty as to the impact the tear gas could have on her unborn child. Plaintiff Sarah

Cassano suffered tear gas inhalation, psychological injury, and emotional distress caused by

Defendants Jane/John Doe, Philadelphia Police officers, and co-conspirators. Plaintiff Sarah

Casssano’s participation in this peaceable protest march ended as the direct result of the brutal

force deployed by Defendants Jane/John Doe, Philadelphia Police officers, and their co-

conspirators against plaintiffs and their fellow protesters.




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       392.    On June 1, 2020, Plaintiff Joseph Cerasi joined a peaceable protest march in support

of the Black Lives Matter movement in Philadelphia, Pennsylvania. The march reached Benjamin

Franklin Parkway, when Plaintiff Joseph Cerasi along with many of his fellow protesters continued

their peaceable protest onto highway I-676. While on 676 Plaintiff Joseph Cerasi noticed a

stampede of his fellow protesters running back toward his direction and began to feel the tear gas.

As Plaintiff Joseph Cerasi ran, Defendants Jane/John Doe, Philadelphia Police officers, launched

a tear gas canister which landed right in front of him. Plaintiff Joseph Cerasi immediately ran off

the highway, climbed the embankment and hopped over the fence at the top. As a result of the

actions of Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators

Plaintiff Joseph Cerasi suffered tear gas inhalation, psychological harm, and emotional

distress. Plaintiff Joseph Cerasi’s participation in this peaceable protest march ended as the direct

result of the brutal force deployed by Defendants Jane/John Doe, Philadelphia Police officers, and

their co-conspirators against plaintiffs and their fellow protesters.

       393.    On June 1, 2020, Plaintiff Gregory Charnock joined a peaceable protest march in

support of the Black Lives Matter movement in Philadelphia, Pennsylvania. The march reached

Benjamin Franklin Parkway, as Plaintiff Gregory Charnock along with many of his fellow

protesters continued their peaceable protest onto highway I-676. While on 676 Plaintiff Gregory

Charnock noticed a stampede of his fellow protesters running back in his direction. Plaintiff

Gregory Charnock observed Defendants Jane/John Doe, Philadelphia Police officers, at the other

end of the underpass and began to hear pops but could not tell where it was coming from. Once he

realized tear gas was fired into the crowd Plaintiff Gregory Charnock immediately ran off the

highway, climbed the embankment, and scaled the fence at the top. Plaintiff Gregory Charnock

suffered tear gas inhalation, psychological harm, and emotional distress as a direct result of the




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actions of Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators by

firing tear gas at him and his fellow protesters. Plaintiff Gregory Charnock’s participation in this

peaceable protest march ended as the direct result of the brutal force deployed by Defendants

Jane/John Doe, Philadelphia Police officers, and their co-conspirators against plaintiffs and their

fellow protesters.

       394.    On June 1, 2020, Plaintiff Juliana Concepcion joined a peaceable protest march in

support of the Black Lives Matter movement in Philadelphia, Pennsylvania. The march reached

Benjamin Franklin Parkway, and Plaintiff Juliana Concepcion along with many of her fellow

protesters continued their march onto highway I-676. While on 676 Plaintiff Juliana Concepcion

noticed a stampede of her fellow protesters running back in her direction. Plaintiff Juliana

Concepcion observed Defendants Jane/John Doe, Philadelphia Police officers, fire tear gas

canisters into the crowd of peaceable protesters. Plaintiff Juliana Concepcion ran to a hill next to

the highway. While on the hill Defendants Jane/John Doe, Philadelphia Police officers, and their

co-conspirators continued to launch tear gas at Plaintiff Juliana Concepcion and her fellow

protesters who were stuck on the hill trying to escape. As the result of the actions of Defendants

Jane/John Doe, Philadelphia Police officers, Plaintiff Juliana Concepcion suffered tear gas

inhalation, psychological harm and emotional distress as she could not breathe or see as the thick

cloud of tear gas enveloped the entire hill. Plaintiff Juliana Concepcion eventually was able to

escape the attack as she climbed the hill. Plaintiff Juliana Concepcion’s participation in this

peaceable protest march ended as the direct result of the brutal force deployed by Defendants

Jane/John Doe, Philadelphia Police officers, and their co-conspirators against plaintiffs and their

fellow protesters.




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        395.    On June 1, 2020, Plaintiff Daisy Confoy joined a peaceable protest march in support

of the Black Lives Matter movement in Philadelphia, Pennsylvania. The march reached Benjamin

Franklin Parkway, and Plaintiff Daisy Confoy along with many of her fellow protesters continued

their march onto highway I-676. While on 676 Plaintiff Daisy Confoy observed a stampede of her

fellow protesters running back in her direction. Plaintiff Daisy Confoy made her way to the only

escape route available, an hilly embankment adjacent to the highway. While on the hill Defendants

Jane/John Doe, Philadelphia Police officers, and their co-conspirators launched tear gas at Plaintiff

Daisy Confoy and her fellow protesters who were stuck on the hill trying to escape. Plaintiff Daisy

Confoy suffered tear gas inhalation, psychological harm and emotional distress as the result of the

actions of Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators as

they fired tear gas at Plaintiff Daisy Confoy and her fellow protesters. Plaintiff Daisy Confoy was

able to escape the attack as she climbed the hill. Plaintiff Daisy Confoy’s participation in this

peaceable protest march ended as the direct result of the brutal force deployed by Defendants

Jane/John Doe, Philadelphia Police officers, and their co-conspirators against plaintiffs and their

fellow protesters.

        396.    On June 1, 2020, Plaintiff Erica Corbo joined a peaceable protest march in support

of the Black Lives Matter movement in Philadelphia, Pennsylvania. As the march reached

Benjamin Franklin Parkway, Plaintiff Erica Corbo and a group of her fellow protesters decided to

continue their peaceable protest onto highway I-676. While on the highway, Plaintiff Erica Corbo

began to inhale teargas fired by Defendants Jane/John Doe, Philadelphia Police officers, and their

co-conspirators. At first, the tear gas created a slight stinging in her throat and eyes. Plaintiff Erica

Corbo, along with other peaceable protesters, began running toward the ramp that they used for

entry onto the highway. As they approached the ramp, clouds of tear gas quickly enveloped them.




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They were forced onto the embankment adjacent to the highway. While climbing the hill the tear

gas was getting thicker and it became more difficult for Plaintiff Corbo to breathe. Plaintiff Erica

Corbo was smashed up against the fence by fellow protestors who were trying to escape the attack

by climbing the fence at the top of the hill. Plaintiff Corbo suffers with chronic muscle pain and

spasms and, therefore, climbing the fence was exceedingly difficult and painful. Once over the

fence, a tear gas canister was shot over the fence onto Benjamin Franklin Parkway and the wind

blew the cloud of tear gas towards her. She felt stinging in her eyes so intensely that she could not

see. Plaintiff Corbo screamed from the pain and eventually someone sprayed baking soda water

into her face which did not abate the stinging. Plaintiff Erica Corbo suffered tear gas inhalation,

psychological harm, and emotional distress as a direct result of the actions by Defendants

Jane/John Doe, Philadelphia Police officers, and their co-conspirators. Plaintiff Erica Corbo

struggled to breathe and suffered from back spasms for several weeks following the attack.

Plaintiff Erica Corbo’s participation in this peaceable protest march ended as the direct result of

the brutal force deployed by Defendants Jane/John Doe, Philadelphia Police officers, and their co-

conspirators against plaintiffs and their fellow protesters.

       397.    On June 1, 2020, Plaintiff Michael Cormier participated in a peaceable protest

march in support of the Black Lives Matter movement in Philadelphia, Pennsylvania. As the march

reached Benjamin Franklin Parkway, Plaintiff Michael Cormier along, with a group of his fellow

protesters, continued their peaceable protest onto highway I-676. As he was participating in a

peaceable protest a stampede ensued as protestors started running back towards a steep

embankment. Plaintiff Michael Cormier, along with other protesters, crawled onto the steep hilly

embankment adjacent to the highway as Defendants Jane/John Doe, Philadelphia Police officers,

and their co-conspirators launched tear gas canisters at them. As a result of the actions of




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Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators Plaintiff

Michael Cormier suffered tear gas inhalation, psychological harm, and emotional distress.

Eventually, Plaintiff Michael Cormier was able to escape the attack by scaling the fence. the hill

when he was gassed. Plaintiff Michael Cormier’s participation in this peaceable protest march

ended as the direct result of the brutal force deployed by Defendants Jane/John Doe, Philadelphia

Police officers, and their co-conspirators against plaintiffs and their fellow protesters.

       398.    On June 1, 2020, Plaintiff Lydia Cornelius joined a peaceable protest march in

support of the Black Lives Matter movement in Philadelphia, Pennsylvania. Plaintiff Lydia

Cornelius, along with other protesters, marched their way through the streets and down onto

highway I-676. Plaintiff Lydia Cornelius was in the middle of the march on the highway and

noticed that Defendants Jane/John Doe, Philadelphia Police officers, and co-conspirators, dressed

in SWAT /Riot gear surrounded her and fellow protesters on the highway. Plaintiff Lydia

Cornelius and her fellow protesters fled the highway toward the hill. As she was on the hill

Plaintiff, Lydia Cornelius suffered tear gas inhalation as Defendants Jane/John Doe, Philadelphia

Police officers, and conspirators tried to escape over the fence and onto Benjamin Franklin

Parkway. Stuck on the hill in a cloud of tear gas Plaintiff Lydia Cornelius thought she was going

to die. Eventually, Plaintiff Lydia Cornelius suffered tear gas inhalation, psychological injury, and

emotional distress describing the experience as the scariest in her life, all caused by Defendants

Jane/John Doe, Philadelphia Police officers, and their co-conspirators. Plaintiff’s participation in

this peaceable protest march ended as the direct result of the brutal force deployed by Defendants

Jane/John Doe, Philadelphia Police officers, and their co-conspirators against plaintiffs and their

fellow protesters.




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       399.    On June 1, 2020, Plaintiff Alex “Laura” Cox participated in a peaceable protest

march in support of the Black Lives Matter movement in Philadelphia, Pennsylvania. As Plaintiff

Alex “Laura” Cox, along with fellow protesters, continued the peaceable protest march from

Benjamin Franklin Parkway onto highway I-676. As Plaintiff Alex “Laura” Cox moved into the

second underpass, they observed the crowd suddenly reverse direction and begin running in the

direction of Plaintiff Alex “Laura” Cox. Plaintiff Alex “Laura” Cox heard loud bangs and

observed large clouds of tear fired by Defendants Jane/John Doe, Philadelphia Police officers, and

their co-conspirators firing tear gas. The crowd quickly began to stampede as Plaintiff Alex

“Laura” Cox moved onto the hilly embankment in order to escape the tear gas. Once on the hill

the tear gas engulfed the area and Plaintiff Alex “Laura” Cox could hear screaming and witnessed

coughing and vomiting by many of the protestors. Plaintiff Alex “Laura” Cox suffered tear gas

inhalation, psychological harm, and emotional distress as a result of the actions of Defendants

Jane/John Doe, Philadelphia Police officers, and their co-conspirators. Plaintiff Alex “Laura”

Cox’s participation in this peaceable protest march ended as the direct result of the brutal force

deployed by Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators

against plaintiffs and their fellow protesters.

       400.    On June 1, 2020, Plaintiff Justin Curtis participated in a peaceable protest march in

support of the Black Lives Movement in Philadelphia, Pennsylvania. As the protest march reached

Benjamin Franklin Parkway, Plaintiff Justin Curtis along with many of his fellow peaceable

protesters made their way onto I-676 to continue the peaceable protest march. As Plaintiff Justin

Curtis entered the underpass, he observed a group of protestors turning and running in the opposite

direction in which they had been marching. In an effort to escape Plaintiff Justin Curtis exited the

highway and ran up a hilly embankment towards the fence at the top. While on the hill Plaintiff




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Justin Curtis suffered tear gas inhalation caused by Defendants Jane/John Doe, Philadelphia Police

officers, and their co-conspirators. As Plaintiff Justin Curtis reached the top of the fence, he was

struck in the face by a rubber bullet or some other projectile fired by Defendant John Doe, a

Philadelphia Police officer, or co-conspirator. Plaintiff Justin Curtis suffered gas inhalation, injury

to his face, psychological harm, and emotional distress as a direct result of the actions of Defendant

Jane/John Doe Philadelphia and/or co-conspirators. He suffered injury to his face and tear gas

inhalation. Plaintiff Justin Curtiss participation in this peaceable protest march ended as the direct

result of the brutal force deployed by Defendants Jane/John Doe, Philadelphia Police officers, and

their co-conspirators against plaintiffs and their fellow protesters.

       401.    On June 1, 2020, Plaintiff Violet Cutler joined a peaceable protest march in support

of the Black Lives Matter movement in Philadelphia, Pennsylvania., along with other protesters,

Plaintiff Violet Cutler made their way onto I- 676. While on the highway, Plaintiff Violet

Cutler observed many of the drivers stopped in traffic showing support for the protesters. As

Plaintiff Violet Cutler entered the underpass, they observed a line of what they described as “riot

cops'' Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators at the

other end of the underpass. Suddenly, Plaintiff Violet Cutler observed the protesters in front begin

running in the opposite direction. Plaintiff Violet Cutler left the highway and ran to the

embankment just off the highway. Without any order to disperse or warning Defendant Jaen/John

Doe Philadelphia Police Officer and their co-conspirators fired tear gas at Plaintiff Violet Cutler

and the peaceable protesters trying to climb the hill to escape the attack. Immediately, Plaintiff

Violet Cutler began to choke from the tear gas. Plaintiff Violet Cutler suffering from the tear gas

inhalation had a panic attack. Plaintiff Cutler ripped the mask off in order to facilitate

breathing. Defendant John Doe, a Philadelphia Police officer, falsely arrested Plaintiff Violet




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Cutler forcibly removed Plaintiff from the hill and onto the highway and placed Plaintiff Violet

Cutler in a kneeling position. Plaintiff Violet Cutler is transgender and therefore requested not to

be transported in the men’s bus. Plaintiff Violet Cutler was issued a citation for failure to disperse

and eventually that citation was dismissed by Defendant Mayor Kenney. As a direct result of

Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators Plaintiff, Violet

Cutler suffered tear gas inhalation, psychological harm, emotional distress and bruises from wrist

to elbow during the course of his false arrest. Plaintiff Violet Cutler’s participation in this

peaceable protest march ended as the direct result of the brutal force deployed by Defendants

Jane/John Doe, Philadelphia Police officers, and their co-conspirators against plaintiffs and their

fellow protesters.

       402.    On June 1, 2020, Plaintiff Conlan Daly participated in a peaceable protest march in

support of the Black Lives Matter movement in Philadelphia, Pennsylvania. During the course of

the march Plaintiff Conlan Daly marched with other protesters from Benjamin Franklin Parkway

onto I-676. As Plaintiff Conlan Daly entered the underpass with many other protestors, he heard

a lot of screaming and started climbing onto the embankment adjacent to the highway. While he

was waiting for people to climb over the fence at the top of the embankment Defendants Jane/John

Doe, Philadelphia Police officers, and co-conspirators fired tear gas at Plaintiff Conlan Daly

causing him to suffer tear gas inhalation, psychological harm and emotional distress. While

Plaintiff Conlan Daly was on the embankment he started to feel a burning sensation in his eyes

and was quickly engulfed by the tear gas before he was able to make it over the fence. Plaintiff

Conlan Daly injured his right arm as he tried to get over the fence to escape the assault by

Defendants Jane/John Doe, Philadelphia Police officers. Plaintiff Conlan Daly’s participation in

this peaceable protest march ended as the direct result of the brutal force deployed by Defendants




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Jane/John Doe, Philadelphia Police officers, and their co-conspirators against plaintiffs and their

fellow protesters.

       403.    On June 1, 2020, Plaintiff Amanda Damron participated in a peaceable protest

march in support of the Black Lives Matter movement in Philadelphia, Pennsylvania. As the march

reached Benjamin Franklin Parkway, Plaintiff Amanda Damron made her way down onto I-676

with her fellow peaceable protesters. While on the highway, Plaintiff observed a line of Defendants

Jane/John Doe, Philadelphia Police officers, moving towards the protesters walking

slowly. Plaintiff Damron then observed Defendants Jane/John Doe, Philadelphia Police officers,

firing tear gas towards her and her fellow protesters. Plaintiff Amanda Damron immediately ran

towards the hilly embankment adjacent to the highway. As the result of the actions of Defendants

Jane/John Doe, Philadelphia Police officers, and their co-conspirators Plaintiff Amanda Damron

suffered tear gas inhalation, psychological harm and emotional distress. Plaintiff Amanda Damron

eventually made her way onto Benjamin Franklin Parkway and continued to suffer tear gas

inhalation on Benjamin Franklin Parkway. Plaintiff Amanda Damron’s participation in this

peaceable protest march ended as the direct result of the brutal force deployed by Defendants

Jane/John Doe, Philadelphia Police officers, and their co-conspirators against plaintiffs and their

fellow protesters.

       404.    On June 1, 2020, Plaintiff Dakota Davis participated in a peaceable protest march

in support of the Black Lives Matter movement in Philadelphia, Pennsylvania. Plaintiff Dakota

Davis along with many other peaceable protestors decided to take the peaceable protest from

Benjamin Franklin Parkway onto highway I-676. As Plaintiff Dakota Davis began moving

towards the underpass, he noticed a tear gas canister going off on the on-ramp where he had entered

the highway. Plaintiff Dakota Davis observed a large group of protesters fleeing in the direction




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of Plaintiff. Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators

fired tear gas canisters at Plaintiff Dakota Davis and other peaceable protesters causing Plaintiff

Dakota Davis, who has asthma, to suffer from tear gas inhalation, psychological harm and

emotional distress. Plaintiff Dakota Davis could not breathe as a result of the tear gas. Eventually,

Plaintiff Dakota Davis was able to climb the hill and flee onto Benjamin Franklin Parkway.

Plaintiff Dakota Davis’s participation in this peaceable protest march ended as the direct result of

the brutal force deployed by Defendants Jane/John Doe, Philadelphia Police officers, and their co-

conspirators against plaintiffs and their fellow protesters.

       405.    On June 1, 2020, Plaintiff Zoe demonists participated in a peaceable protest march

in support of the Black Lives Matter movement in Philadelphia, Pennsylvania. Plaintiff Zoe

Demkovitz observed that Philadelphia Police Officers did not stop individuals from marching from

Benjamin Franklin Parkway onto highway I-676. Plaintiff Zoe Demkovitz believed that Police

were permitting the protesters to continue to march onto the highway. While on the highway, the

occupants of the vehicles stopped by the marchers were incredibly supportive of the

protest. Eventually, Plaintiff Zoe Demkovitz observed a stampede of protesters and she and her

fellow protesters fled from the highway onto the hilly embankment in order to escape the attack

by Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators. Plaintiff Zoe

Demkovitz observed Defendants Jane/John Doe, Philadelphia Police officers, and their co-

conspirators throw tear gas into the crowd where she was located. Plaintiff Zoe Demkovitz suffered

tear gas inhalation, psychological harm, emotional distress as she struggled to breathe. Plaintiff

Zoe Demkovitz was able to escape the highway. Plaintiff Zoe Demkovitz’s participation in this

peaceable protest march ended as the direct result of the brutal force deployed by Defendants




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Jane/John Doe, Philadelphia Police officers, and their co-conspirators against plaintiffs and their

fellow protesters.

       406.    On June 1, 2020, Plaintiff Emmie DiCicco participated in a peaceable protest march

in support of the Black Lives Matter movement in Philadelphia, Pennsylvania. As the march

reached Benjamin Franklin Parkway, Plaintiff Emmie DiCicco, along with many of her fellow

peaceable protesters entered highway I-676. Shortly after Plaintiff Emmie DiCicco entered the

highway, she observed the peaceable protesters run toward the embankment adjacent to the

highway. As Plaintiff Emmie DiCicco joined her fellow protesters on the embankment Defendants

Jane/John Doe, Philadelphia Police officers, and their co-conspirators threw tear gas canisters

toward Plaintiff Emmie DiCicco and her fellow protesters. Plaintiff Emmie DiCicco suffered tear

gas inhalation, psychological harm and emotional distress. She was able to make it up the hill and

onto Benjamin Franklin Parkway. Plaintiff Emmie DiCicco’s participation in this peaceable

protest march ended as the direct result of the brutal force deployed by Defendants Jane/John Doe,

Philadelphia Police officers, and their co-conspirators against plaintiffs and their fellow protesters.

       407.    On June 1, 2020, Plaintiff Jon Dilks participated in a peaceable protest march in

support of the Black Lives Matter movement in Philadelphia, Pennsylvania. Plaintiff Jon Dilks,

along with many other peaceable protesters entered highway I-676 and began marching on toward

22nd Street. As Plaintiff Dilks reached the 20th Street underpass he took some photographs of the

protest. Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators became

visible on the opposite side of the underpass. Protesters began to panic and run as Defendant

Jane/John Doe, a Philadelphia Police officer, jumped onto the median and sprayed the crowd of

peaceable protesters with pepper spray. At that same moment Defendants Jane/John Doe,

Philadelphia Police officers, and their co-conspirators stationed on the opposite side of the




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highway began to fire tear gas at Plaintiff Jon Dilks and his fellow protesters. Plaintiff Jon Dilks

immediately left the highway and began to climb the hill to escape the tear gas. While on the hill,

Plaintiff Dilks observed Defendant Jane/John Doe, a Philadelphia Police officer, launched a tear

gas canister which struck Plaintiff Jon Dilks on the left side of his forehead. Plaintiff Jon Dilks

was dazed by the blow. Eventually, Plaintiff Jon Dilks scaled the fence and reached Benjamin

Franklin Parkway. Once on Benjamin Franklin Parkway Defendants Jane/John Doe, Philadelphia

Police officers, and their co-conspirators continued their assault by throwing tear gas canisters over

the fence in the area where Plaintiff Jon Dilks and other protesters sought refuge. Plaintiff Dilks

was engulfed by tear gas. Plaintiff Jon Dilks received medical attention from someone on the

scene. As Plaintiff Jon Dilks was walking away Benjamin Franklin Parkway a Defendant

Jane/John Doe Philadelphia police in an armored military vehicle fired more tear gas at Plaintiff

Jon Dilks and other protestors as they were leaving the protest. As a result of the actions of the

Jane/John Doe Philadelphia Police Officers and co-conspirators Plaintiff Jon Dilks suffered tear

gas inhalation, an injury to his head and his leg, psychological injury, and emotional

distress. Plaintiff Jon Dilks’ participation in this peaceable protest march ended as the direct result

of the brutal force deployed by Defendants Jane/John Doe, Philadelphia Police officers, and their

co-conspirators against plaintiffs and their fellow protesters.

       408.    On June 1, 2020, Plaintiff Ryan Donohoe participated in a peaceable protest march

in support of the Black Lives Matter movement in Philadelphia, Pennsylvania. As the march made

its way from Benjamin Franklin Parkway many of the peaceable protestors along with Plaintiff

Ryan Donohoe continued their peaceable protest march onto highway I-676. While marching

peaceably on the highway Plaintiff Ryan Donohoe heard a flash bang and observed a crowd of

protestors charging in his direction. Plaintiff Ryan Donohoe ran up the hill along with a large




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crowd of protestors as he observed Defendants Jane/John Doe, Philadelphia Police officers, and

their co-conspirators fire tear gas at him, as well as the other peaceable protestors on the

hill. Plaintiff Ryan Donohoe suffered tear gas inhalation, psychological harm, emotional distress

as a result of the actions of Defendants Jane/John Doe, Philadelphia Police officers, and their co-

conspirators. Plaintiff Ryan Donohoe’s participation in this peaceable protest march ended as the

direct result of the brutal force deployed by Defendants Jane/John Doe, Philadelphia Police

officers, and their co-conspirators against plaintiffs and their fellow protesters.

        409.    On June 1, 2020, in Philadelphia, Pennsylvania, Plaintiff Donkey Dover, Jr.

participated in a peaceable protest march Philadelphia, Pennsylvania, in support of the Black Lives

Matter movement. As the march reached Benjamin Franklin Parkway, Plaintiff Donkey Dover

observed fellow protestors on I-676 smothered by tear gas launched by Defendants Jane/John Doe,

Philadelphia Police officers, and their co-conspirators. Plaintiff Donkey Dover assisted many of

the protesters to escape the attack by climbing over the fence onto Benjamin Franklin Parkway.

While Plaintiff Donkey Dover was helping people over the fence, he suffered tear gas inhalation,

psychological harm, emotional distress, and contusions on both arms caused by Defendants

Jane/John Doe, Philadelphia Police officers, and their co-conspirators. Plaintiff Donkey Dover, a

trained EMT, had never seen people so terrified by the brutal military assault caused by Defendants

Jane/John Doe, Philadelphia Police officers, and their co-conspirators. Plaintiff Donkey Dover’s

participation in this peaceable protest march ended as the direct result of the brutal force deployed

by Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators against

plaintiffs and their fellow protesters.

        410.    On June 1, 2020, Plaintiff Douglas Dreisbach participated in a peaceable protest

march Philadelphia, Pennsylvania, in support of the Black Lives Matter movement. Along with




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many of his fellow protesters, Plaintiff Dreisbach entered I- 676 to continue the peaceable protest.

After marching on the highway for several minutes, Plaintiff Douglas Dreisbach observed half of

the group of protestors running back towards his direction. At one-point Plaintiff Douglas

Dreisbach pulled his friend onto the median and observed Defendants Jane/John Doe, Philadelphia

Police officers, and their con-conspirators charging down the exit ramp. Immediately there were

clouds of tear gas that engulfed Plaintiff Douglas Dreisbach and the crowd of protesters on the

highway. Many of the protesters began to climb the hill to try to reach the fences in order to escape

the tear gas. As Plaintiff Dreisbach reached the hill he observed Defendants Jane/John Doe,

Philadelphia Police officers, and their co-conspirators coming closer with tear gas flying into the

crowd. Plaintiff Douglas Dreisbach observed a police helicopter use the LRAD, a weapon that

blasts deafening noise at the protesters in an attempt to disperse the protesters. Eventually,

Plaintiff Douglas Dreisbach was able to climb and scale over the fence. As a result of Defendants

Jane/John Doe, Philadelphia Police officers, and their co-conspirators Plaintiff Douglas Dreisbach

suffered tear gas inhalation, psychological harm, specifically, post- traumatic stress, and emotional

distress. For several days after Plaintiff Douglas Dreisbach suffered tear gas inhalation his face

remained swollen and he continued to suffer for more than a month after the attack. Specifically,

Plaintiff Douglas Dreisbach’s dormant abscess was activated by the tear gas inhalation, He also

suffered post-traumatic stress from the assault. assault caused by Defendants Jane/John Doe,

Philadelphia Police officers, and their co-conspirators. Plaintiff Douglas Dreisbach’s participation

in this peaceable protest march ended as the direct result of the brutal force deployed by Defendants

Jane/John Doe, Philadelphia Police officers, and their co-conspirators against plaintiffs and their

fellow protesters.




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        411.    On June 1, 2020, Philadelphia, Pennsylvania, Plaintiff Adam Dunlop participated

in a peaceable protest march in support of the Black Lives Matter movement in Philadelphia,

Pennsylvania. Plaintiff Adam Dunlop joined a group of his fellow protesters on Benjamin Franklin

Parkway and marched onto highway I-676. Shortly after Plaintiff Adam Dunlop entered the

highway, he observed the peaceable protesters run toward the embankment adjacent to the

highway. As Plaintiff Adam Dunlop joined his fellow protesters on the embankment Defendants

Jane/John Doe, Philadelphia Police officers, and their co-conspirators threw tear gas canisters

toward Plaintiff Adam Dunlop and his fellow protesters. Plaintiff Adam Dunlop suffered tear gas

inhalation, psychological harm, and emotional distress. Plaintiff Adam Dunlop was able to make

it up the hill over the fence and onto Benjamin Franklin Parkway. Plaintiff Adam Dunlop’s

participation in this peaceable protest march ended as the direct result of the brutal force deployed

by Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators against

plaintiffs and their fellow protesters.

        412.    On June 1, 2020, Plaintiff Saptarshi Dutt participated in a peaceable protest march

Philadelphia, Pennsylvania, in support of the Black Lives Matter movement. Plaintiff Saptarshi

Dutt, along with many of her fellow protestors continued their protest march onto highway I- 676

where the traffic was blocked by the peaceable march. Plaintiff Dutt assumed that the march was

going to proceed through the underpass and then leave I-676 at the Broad Street exit. However,

before Plaintiff Saptarshi Dutt reached the underpass a line of Defendants Jane/John Doe,

Philadelphia Police officers, and their co-conspirators dressed in riot gear began firing rubber

bullets into the peaceable protest crowd. Plaintiff Dutt put her hands up and tried to move up the

hill but was smothered by tear gas launched by Defendants Jane/John Doe, Philadelphia Police

officers, and their co-conspirators. Once over the fence, Plaintiff Saptarshi Dutt was again engulfed




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by tear gas. As a result of the actions of Defendants Jane/John Doe, Philadelphia Police officers,

and their co-conspirators Plaintiff twice suffered tear gas inhalation, psychological harm, and

emotional distress. Plaintiff Dutt’s chest hurt for approximately a week and even weeks later

continues to recover from the effects of the tear gas inhalation. Plaintiff Saptarshi Dutt’s

participation in this peaceable protest march ended as the direct result of the brutal force deployed

by Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators against

plaintiffs and their fellow protesters.

        413.    On June 1, 2020, in Philadelphia, Pennsylvania, Plaintiff Gabrielle Eisenhower

participated in a peaceable protest march in support of the Black Lives Matter movement. As the

march reached Benjamin Franklin Parkway, Plaintiff Gabrielle Eisenhower joined a group of her

fellow protesters on the overpass above highway I-676. While on the overpass Plaintiff Gabrielle

Eisenhower observed Defendants Jane/John Doe, Philadelphia Police officers, and their co-

conspirators launching tear gas into the peaceable protesters on the highway. Defendants Jane/John

Doe, Philadelphia Police officers, and their co-conspirators deploy tear gas from the overpass

down onto the protesters on the highway. While on the overpass Plaintiff Gabrielle Eisenhower

observed a SWAT team with a military vehicle which appeared to a Humvee deploy tear gas. As

a result of the actions of Defendants Jane/John Doe, Philadelphia Police officers, and their co-

conspirators Plaintiff Gabrielle Eisenhower suffered tear gas inhalation, psychological harm, and

emotional distress. Plaintiff Gabrielle Eisenhower continues to suffer the aftermath of the attacks

with nightmares. Plaintiff Gabrielle Eisenhower’s participation in this peaceable protest march

ended as the direct result of the brutal force deployed by Defendants Jane/John Doe, Philadelphia

Police officers, and their co-conspirators against plaintiffs and their fellow protesters.




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        414.    On June 1, 2020, Plaintiff Gabriel Elsheakh was with his friends, Plaintiff, Patrick

Wargo and Plaintiff Maheen Shafi, participated in a peaceable protest march in support of the

Black Lives Matter movement in Philadelphia, Pennsylvania. While on the highway, at 676 with

many of his fellow protestors Defendants Jane/John Doe, Philadelphia Police officers, began firing

rubber bullets at the peaceable protests even while many were kneeling on the ground with their

hands up. This did not deter Defendants Jane/John Doe, Philadelphia Police officers, who

continued to fire rubber bullets at the peaceable protestors. Plaintiff Gabriel Elsheakh observed

tear gas in the distance and began to run to the embankment next to the highway in order to escape

the military style assault. As Plaintiff Gabriel Elsheakh climbed the hill Defendants Jane/John Doe,

Philadelphia Police officers, fired tear gas canisters at his feet causing him to suffer gas inhalation.

For a few terrifying seconds Plaintiff Gabriel Elsheakh thought his life was going to end as he

could not breathe, hear, or see as he was immersed by the tear gas. Plaintiff Gabriel Elsheakh was

able to escape the attack by climbing the hill. Plaintiff Gabriel Elsheakh suffered tear gas,

psychological harm, and emotional distress as a result of the actions of the military style assault

committed by Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators.

Plaintiff Gabriel Elsheakh’s participation in this peaceable protest march ended as the direct result

of the brutal force deployed by Defendants Jane/John Doe, Philadelphia Police officers, and their

co-conspirators against plaintiffs and their fellow protesters.

        415.    On June 1, 2020, Plaintiff Hannah Emily joined a peaceable protest march

Philadelphia, Pennsylvania, in support of Black Lives Matter movement. Plaintiff Hannah Emily

joined many of her fellow protestors by walking down a ramp onto highway I- 676 to continue the

peaceable protest onto the highway. As soon as Plaintiff Hannah Emily arrived on the highway

many of her fellow protesters began to run and scramble to leave the highway. Plaintiff Hannah




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Emily witnessed Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators

bombard Plaintiff Hannah Emily and her fellow protesters with tear gas canisters as they made

their way to the hilly embankment to escape the attack. Tear gas quickly engulfed Plaintiff Hannah

Emily as she struggled to climb the hill. By the time Plaintiff Hannah Emily reached the top of

the hill she could barely breathe. As a result of the tear gas inhalation caused by Defendants

Jane/John Doe, Philadelphia Police officers, and their co-conspirators Plaintiff Hannah Emily

suffered tear gas inhalation, damage to her vocal cords, an ankle injury, cuts from climbing the

fence, psychological harm and emotional distress. Plaintiff Hannah Emily’s participation in this

peaceable protest march ended as the direct result of the brutal force deployed by Defendants

Jane/John Doe, Philadelphia Police officers, and their co-conspirators against plaintiffs and their

fellow protesters.

       416.    On June 1, 2020, in Philadelphia, Pennsylvania, Plaintiff Ashlyn Ernst joined a

peaceable protest march in support of the Black Lives Movement. As the march reached Benjamin

Franklin Parkway, Plaintiff Ashlyn Ernst joined many of her fellow protestors onto highway I-

676. While on the highway, Plaintiff Ashlyn Ernst began hearing loud bangs and observed tear gas

being deployed by Defendants Jane/John Doe, Philadelphia Police officers, and their co-

conspirators. Plaintiff Ashlyn Ernst eventually made it to the embankment in an effort to escape

the tear gas. While on the hill Plaintiff Ashlyn Ernst was tear gassed Plaintiff, Ashlyn Ernst was

unable to make it over the fence as she suffered tear gas inhalation due the actions of Defendants

Jane/John Doe, Philadelphia Police officers, and their co-conspirators. Unable to escape the tear

gas Plaintiff Ashlyn Ernst put her hands up as Defendant John Doe, a Philadelphia Police officer,

grabbed her and brought her down the hill where she was bent over the side of the highway barrier.

Another Defendant John Doe, a Philadelphia Police officer, ripped her backpack off of her as she




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was being zip-tied. Plaintiff Ashlyn Ernst suffered tear gas inhalation, psychological harm,

emotional distress, and bruises from Defendants Jane/John Doe, Philadelphia Police officers, as

she was trying to regain possession of her backpack. Plaintiff Ashlyn Ernst was falsely arrested,

zip-tied and unlawfully detained for several hours. Plaintiff Ashlyn Ernst was issued a citation for

failure to disperse which was dismissed by Defendant Mayor Kenney. Plaintiff Ashlyn Ernst was

never so afraid in her life and thought she was going to die from the military style assault and the

tear gas inhalation caused by Defendants Jane/John Doe, Philadelphia Police officers, and co-

conspirators. Plaintiff Ashlyn Ernst’s participation in this peaceable protest march ended as the

direct result of the brutal force deployed by Defendants Jane/John Doe, Philadelphia Police

officers, and their co-conspirators against Plaintiff and her fellow protester.

       417.    On June 1, 2020, Plaintiff Alicia Falco joined a peaceable protest march in support

of the Black Lives Matter movement. Plaintiff Alicia Falco along with many of his fellow

protesters made their way from Benjamin Franklin Parkway onto I-676 to continue the peaceable

protest. While marching on the highway Plaintiff Alicia Falco observed Defendants Jane/John

Doe, Philadelphia Police officers, and co-conspirators line the highway, blocking the exit where

the protesters could have gotten off. Plaintiff Alicia Falco heard loud popping noises go off and

the crowd of protesters, including Plaintiff Alicia Falco took off running. Defendants Jane/John

Doe, Philadelphia Police officers, started to throw tear gas canisters and shoot rubber bullets into

the crowd of peaceable protesters. Plaintiff Alicia Falco ran with other protesters to the

embankment where she struggled to get up the hill due to the crowd of people, and the

overwhelming amount of tear gas, making it hard for her to see and breathe. While she was running

up the hill, Plaintiff Alicia Falco fell resulting in a large gash to her elbow that has since scarred.

Plaintiff Alicia Falco suffered tear gas inhalation and a wound to her elbow, as a direct result of




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the actions by Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators.

Plaintiff Alicia Falco's participation in this peaceable protest march ended as the direct result of

the brutal force deployed by Defendants Jane/John Doe, Philadelphia Police officers, and their co-

conspirators against plaintiffs and their fellow protesters.

        418.   On June 1, 2020, Plaintiff Lisa Fanning engaged in a peaceable protest march in

support of the Black Lives Matter movement in Philadelphia, Pennsylvania. As the march reached

Benjamin Franklin Parkway, Plaintiff Lisa Fanning along with her fellow protestors entered

highway I-676 to continue the peaceable protest march. Shortly after entering the highway Plaintiff

Lisa Fanning noticed people running back in her direction. Plaintiff Lisa Fanning ran to the hill in

order to escape the attack. While on the hill next to the highway Plaintiff Lisa Fanning suffered

tear gas inhalation, psychological harm and emotional distress as a result of the actions of

Defendants Jane/John Doe, Philadelphia Police officers, and co-conspirators. Plaintiff Lisa

Fanning’s participation in this peaceable protest march ended as the direct result of the brutal force

deployed by Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators

against plaintiffs and their fellow protesters.

        419.   On June 1, 2020, Plaintiff Keagan Farr participated in a peaceable protest march in

support of the Black Lives Matter movement in Philadelphia, Pennsylvania. Plaintiff Keagan Farr

along with many of his fellow peaceable protestors marched along highway I-676. While on the

highway, Plaintiff Keagan Farr observed his fellow protestors run to a hill adjacent to the highway.

As Plaintiff Keagan Farr was on the hill, he suffered tear gas inhalation, psychological harm and

emotional distress as a result of the actions of Defendants Jane/John Doe, Philadelphia Police

officers, and their co-conspirators. Eventually, Plaintiff Keagan Farr was able to climb the hill and

reach the overpass above I-676. While Plaintiff Keagan Farr was on the overpass Defendants




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Jane/John Doe, Philadelphia Police officers, and their co-conspirators continued to fire tear gas

into the crowd of protesters down onto I-676 and at one point while he was on the bridge, police

continued to shoot tear gas canisters at the protesters, including Plaintiff Keagan Farr who was

standing on the overpass. Plaintiff Keagan Farr’s participation in this peaceable protest march

ended as the direct result of the brutal force deployed by Defendants Jane/John Doe, Philadelphia

Police officers, and their co-conspirators against plaintiffs and their fellow protesters.

       420.    On June 1, 2020, Plaintiff Lindsey Farrell participated in a peaceable march in

support of the Black Lives Matter movement in Philadelphia, Pennsylvania. As the march reached

Benjamin Franklin Parkway, Plaintiff Lindsey Farrell. along with several other peaceable

protestors made their way onto highway I- 676. Before Plaintiff Lindsey Farrell realized what was

taking place, she and her fellow protesters were engulfed in a cloud of tear gas launched by

Defendant Philadelphia Police Officers and their co-conspirators. Plaintiff Lindsey Farrell suffers

with an anxiety disorder and immediately began to experience a panic attack. The tear gas

inhalation which interfered with her ability to breathe, in conjunction with the panic attack caused

her to collapse. Plaintiff Lindsey Farrell believed she was going to die as she was laying on the

ground. Several other her fellow protesters helped her up the hill. As she was assisted up the hill

a second round of tear gas was deployed by Defendant Philadelphia Police Officers and their co-

conspirators at Plaintiff Lindsey Farrell and her fellow protesters trying to escape the military style

attack. As a result of the actions of Defendants Jane/John Doe, Philadelphia Police officers, and

their co-conspirators Plaintiff Lindsey Farrell suffered gas inhalation, psychological harm,

including two panic attacks, emotional distress and cuts and bruises as a result of the assault

committed by Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators.

Plaintiff Lindsey Farrell’s participation in this peaceable protest march ended as the direct result




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of the brutal force deployed by Defendants Jane/John Doe, Philadelphia Police officers, and their

co-conspirators against plaintiffs and their fellow protesters.

        421.   On June 1, 2020, Plaintiff Daniel Feder participated in a peaceable protest march

in support of the Black Lives Matter movement in Philadelphia, Pennsylvania. While marching

throughout the city a group of peaceable protestors decided to take their protest onto highway I-

676. At one point while on 676 Plaintiff Daniel Feder observed many of his fellow protesters run

out from the underpass as by Defendant Philadelphia Police Officers and their co-conspirators

deployed pepper spray at the peaceable protesters. Immediately following the deployment of

pepper spray, Defendants Jane/John Doe, Philadelphia Police officers, fired tear gas from every

direction. Plaintiff Daniel Feder left the highway and tried to scramble up the embankment but

collapsed from the tear gas inhalation caused by Defendant Philadelphia Police Officers and their

co-conspirators. While Plaintiff Daniel Feder was lying on the ground in a state of confusion, he

was grabbed and picked up by Defendants Jane/John Doe, Philadelphia Police officers, who

forcibly pulled his mask and glasses from his face as Defendant Officer pushed him down the hill.

Once at the bottom of the hill Defendant Philadelphia Police Officers released Plaintiff Daniel

Feder to walk up the highway and leave on his own accord. Plaintiff Daniel Feder suffered tear

gas inhalation, psychological harm, physical harm, and emotional distress from the assault

committed by Defendant Philadelphia Police Officers and their co-conspirators. Plaintiff Daniel

Feder’s participation in this peaceable protest march ended as the direct result of the brutal force

deployed by Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators

against plaintiffs and their fellow protesters.

        422.   On June 1, 2020, Plaintiff Rachel Fifer participated in a peaceable protest march in

support of the Black Lives Matter movement in Philadelphia, Pennsylvania. As the march reached




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Benjamin Franklin Parkway, Plaintiff Rachel Fifer observed many of her fellow protesters

marching onto highway I-676. Defendants Jane/John Doe, Philadelphia Police officers, came up

the ramp leading onto I-676 and began pushing the protesters including Plaintiff Rachel Fifer off

the 20th Street overpass. Shortly after Plaintiff Rachel Fifer and her fellow protesters were forcibly

removed from the 20th Street overpass, one of the police armored vehicles drove close to where

Plaintiff and others were located. Along with several other peaceable protesters Plaintiff Rachel

Fifer went down on her knees with her hands in the air. Without any warning or provocation

Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators began firing tear

gas and rubber bullets at Plaintiff and other peaceable protestors who were kneeling with their

hands in the air. Plaintiff Rachel Fifer was struck several times with rubber bullets fired by

Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators. Plaintiff Rachel

Fifer suffered physical injuries, psychological harm and emotional distress as a result of

Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators firing rubber

bullets striking her. Plaintiff Rachel Fifer’s participation in this peaceable protest march ended as

the direct result of the brutal force deployed by Defendants Jane/John Doe, Philadelphia Police

officers, and their co-conspirators against plaintiffs and their fellow protesters.

       423.    On June 1, 2020, Plaintiff Alexandra Fisher participated in a peaceable protest

march in support of the Black Lives Matter movement in Philadelphia, Pennsylvania. As the

march made its way towards Benjamin Franklin Parkway Plaintiff Alexander Fisher and many of

her fellow protestors continued their protest onto the highway at I-676. As they made their way

towards the Broad Street exit Plaintiff Alexandra Fisher heard loud bangs and pops and then

observed people running back in her direction. Plaintiff Alexandra Fisher eventually observed

clouds of tear gas enveloping her and her fellow peaceable protestors. Once Plaintiff Alexandra




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Fisher suffered tear gas inhalation, psychological harm, and emotional distress caused by

Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators. Plaintiff

Alexandra Fisher did escape the highway and then observed a police helicopter flying very close

to the highway and it appeared that Defendants Jane/John Doe, Philadelphia Police officers, inside

the helicopter were dropping items from the helicopter onto the highway. Plaintiff Alexandra

Fisher’s participation in this peaceable protest march ended as the direct result of the brutal force

deployed by Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators

against plaintiffs and their fellow protesters.

        424.   On June 1, 2020, Plaintiff Matt Fitzpatrick participated in a peaceable protest march

in support of Black Lives Matter movement in Philadelphia, Pennsylvania. Once the march

reached Benjamin Franklin Parkway, Plaintiff Matthew Fitzpatrick along with many of his fellow

peaceable protesters marched onto highway I-676. As he was under the first underpass many of

his fellow protesters began sprinting in his direction. Plaintiff Matthew Fitzpatrick heard flash

bangs as tear gas was being thrown by Defendants Jane/John Doe, Philadelphia Police officers,

and their co-conspirators at Plaintiff and his fellow protesters. Plaintiff Matthew Fitzpatrick ran

up the embankment to escape the tear gas and joined the effort to help people up the hill. At no

time did he hear any warning from Defendants Jane/John Doe, Philadelphia Police officers, and

the co-conspirators. While on the hill Matthew Fitzpatrick suffered tear gas inhalation, a chemical

burn, psychological harm, and emotional distress. Eventually, Plaintiff Matthew Fitzpatrick was

able to climb the hill and scale the fence. While on Benjamin Franklin Parkway Plaintiff observed

a police helicopter blast a deafening LRAD, a weapon using a loud noise in order to disperse the

peaceable protest. Plaintiff Matthew Fitzpatrick’s participation in this peaceable protest march




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ended as the direct result of the brutal force deployed by Defendants Jane/John Doe, Philadelphia

Police officers, and their co-conspirators against plaintiffs and their fellow protesters.

       425.    On June 1, 2020, Plaintiff Liam Fletcher participated in a peaceable protest march

Philadelphia, Pennsylvania, in support of the Black Lives Matter movement. As the march reached

Benjamin Franklin Parkway, Plaintiff Liam Fletcher participated in the protest near I- 676 and

suffered tear gas inhalation by Defendants Jane/John Doe, Philadelphia Police officers, and their

co-conspirators. Eventually, Plaintiff Liam Fletcher made his way to City Hall to escape the tear

gas assault. At one point, Plaintiff Fletcher observed seven to eight Defendants Jane/John Doe,

Philadelphia Police officers, restraining a young, African American man after pushing him off his

bike. Plaintiff Liam Fletcher’s girlfriend, Plaintiff Isabel Barrie, began to video tape the assault in

the event that the young man was hurt in the struggle. One Defendant John Doe, a Philadelphia

Police officer, noticed that their actions were being recorded. That Defendant John Doe, a

Philadelphia Police officer, along with three other Defendants Jane/John Doe, Philadelphia Police

officers, rushed towards Plaintiff Liam Fletcher and his girlfriend Plaintiff Isabel Barrie. Plaintiff

Liam Fletcher was physically assaulted by Defendant John Doe, a Philadelphia Police officer, as

well as falsely arrested, zip-tied, and detained. Plaintiff Liam Fletcher was issued a citation for a

curfew violation which was eventually dismissed by Defendant Mayor Kenney. Plaintiff Fletcher

suffered tear gas inhalation, false arrest, use of excessive force, assault and battery, psychological

harm, and emotional distress caused by Defendants Jane/John Doe, Philadelphia Police officers.

       426.    On June 1, 2020, Plaintiff Cea Fortarezzo joined a peaceable protest march in

support of the Black Lives Matter movement in Philadelphia, Pennsylvania. The Plaintiff Cea

Fortarezzo, along with many of her fellow protesters, made their way from Benjamin Franklin

Parkway onto I-676 to continue their peaceable protest. Plaintiff Cea Fortarezzo was marching for




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only a few short minutes when she observed several protesters ahead of her scream and run back

in her direction. Plaintiff Cea Fortarezzo moved to the front of the crowd and observed Defendants

Jane/John Doe, Philadelphia Police officers, and co-conspirators deploy tear gas canisters and

rubber bullets. Immediately, Plaintiff Cea Fortarezzo ran with her fellow protesters up the hill

adjacent to the highway. As Plaintiff Cea Fortarezzo was running, a cloud of tear gas completely

surrounded her. Plaintiff Cea Fortarezzo, who suffers from asthma, struggled to breathe as she

made her way through the thick cloud of tear gas. Once Plaintiff Cea Fortarezzo made it over the

fence at the top of the hill, she was able to catch her breath. While walking away from the fence,

Plaintiff Cea Fortarezzo was hit with more tear gas that was thrown over the fence by Defendants

Jane/John Doe, Philadelphia Police officers, and co-conspirators. Plaintiff Cea Fortarezzo suffered

from tear gas inhalation, psychological injury, and emotional distress as a direct result of the

actions by Defendants Jane/John Doe, Philadelphia Police officers, and co-conspirators. Plaintiff

Cea Fortarezzo’s participation in this peaceable protest march ended as the direct result of the

brutal force deployed by Defendants Jane/John Doe, Philadelphia Police officers, and their co-

conspirators against the Plaintiff and fellow protesters.

       427.    On June 1, 2020, Plaintiff Aine Fox was serving as a legal observer during the

peaceable protest march in support of the Black Lives Matter movement in Philadelphia,

Pennsylvania. While Plaintiff Aine Fox followed the protesters on highway I-676 in order to

protect the protesters rights as a legal observer. While on the highway, Plaintiff Aine Fox suffered

tear gas inhalation by Defendants Jane/John Doe, Philadelphia Police officers, and their co-

conspirators. Even though Plaintiff Aine Fox was wearing a bright colored shirt with “Legal

Observer” plainly set forth in bold letters she was assaulted by Defendant John Doe, a Philadelphia

Police officer, who shot pepper spray in her face causing severe pain to her right eye. After Plaintiff




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was assaulted with pepper- spray she climbed the embankment to escape the attack and again was

engulfed by tear gas thrown by Defendants Jane/John Doe, Philadelphia Police officers, and their

co-conspirators while she was on the embankment. Eventually, Plaintiff Aine Fox was able to

leave the embankment. After leaving the embankment Plaintiff Aine Fox witnessed many

peaceable protesters dragged off the hill by Defendants Jane/John Doe, Philadelphia Police

officers, and their co-conspirators. Plaintiff Aine Fox suffered tear gas inhalation, pepper-spray,

psychological harm, and emotional distress as a result of the actions of Defendants Jane/John Doe,

Philadelphia Police officers, and their co-conspirators.

       428.    On June 1, 2020, Plaintiff Kevin Gary participated in a peaceable protest march in

support of the Black Lives Matter movement in Philadelphia, Pennsylvania. Plaintiff Kevin Gary

along with a group of his fellow peaceable protesters entered highway I-676 where he suffered

tear gas inhalation caused by Defendants Jane/John Doe, Philadelphia Police officers, and their

co-conspirators firing tear gas at him and his fellow protesters. After Plaintiff Kevin Gary left the

highway, he suffered gas inhalation a second time on 22nd Street when an armored police vehicle

traveling on 22nd Street stopped and Defendants Jane/John Doe, Philadelphia Police officers, or

co-conspirator fired off flash bangs and then threw a tear gas canister from the top of the vehicle.

Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators threw additional

tear gas canisters at Plaintiff Kevin Gary and the protesters nearby. Plaintiff Kevin Gary twice

suffered tear gas inhalation, also psychological harm, and emotional distress based on the actions

of Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators. Plaintiff

Kevin Gary’s participation in this peaceable protest march ended as the direct result of the brutal

force deployed by Defendants Jane/John Doe, Philadelphia Police officers, and their co-

conspirators against plaintiffs and their fellow protesters.




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       429.     On June 1, 2020, Plaintiff Brooklyn Gerth participated in a peaceable protest march

in support of the Black Lives Matter movement in Philadelphia, Pennsylvania. As the march made

its way down Benjamin Franklin Parkway Plaintiff Brooklyn Gerth realized that Defendants

Jane/John Doe, Philadelphia Police officers, had blocked both sides of Benjamin Franklin Parkway

preventing the protesters from leaving as they approached the area around the Art Museum.

Plaintiff Brooklyn Gerth along with many of her fellow protesters took the peaceable protest from

Benjamin Franklin Parkway onto highway I-676. While on the highway, Plaintiff Brooklyn Gerth

observed many of the protesters turn around and run in her direction. Plaintiff Brooklyn Gerth

along with many of the peaceable protesters were hit by a cloud of tear gas caused by Defendants

Jane/John Doe, Philadelphia Police officers, and co-conspirators. Plaintiff Brooklyn Gerth took

the only escape route available, a hilly embankment adjacent to the highway. Once Plaintiff

Brooklyn Gerth reached Benjamin Franklin Parkway, she suffered tear gas inhalation a second

time by Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators.

Plaintiff Brooklyn Gerth suffered gas inhalation on two occasions, psychological harm, and

emotional distress caused by Defendants Jane/John Doe, Philadelphia Police officers, and co-

conspirators.

       430.     Plaintiff Brooklyn Gerth’s participation in this peaceable protest march ended as

the direct result of the brutal force deployed by Defendants Jane/John Doe, Philadelphia Police

officers, and their co-conspirators against plaintiffs and their fellow protesters.

       431.     On June 1, 2020, Plaintiff James Gesualdi joined a peaceable protest march in

support of the Black Lives Matter movement in Philadelphia, Pennsylvania. Plaintiff James

Gesualdi joined many fellow peaceable protestors as they moved the protest from Benjamin

Franklin Parkway onto highway I-676. While Plaintiff James Gesualdi was on the highway, he




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heard people screaming and watched fellow protesters run in his direction. With no verbal warning

Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators fired tear gas

and pepper spray at Plaintiff James Gesualdi and his fellow protesters from all directions. Plaintiff

James Gesualdi climbed the hilly embankment next to the highway in an effort to escape the attack.

Plaintiff James Gesualdi observed Defendants Jane/John Doe, Philadelphia Police officers, and

their co-conspirators continue to throw tear gas canisters into the crowd on the hilly embankment

causing Plaintiff James Gesualdi to suffer tear gas inhalation which blinded him and made it

difficult for him to breathe. Eventually, Plaintiff James Gesualdi was able to escape the hilly

embankment onto Benjamin Franklin Parkway but not before suffering tear gas inhalation a second

time. Plaintiff suffered tear gas inhalation, twice, psychological harm and emotional distress as a

result of the actions of Defendants Jane/John Doe, Philadelphia Police officers, and their co-

conspirators. Plaintiff Kevin Gary’s participation in this peaceable protest march ended as the

direct result of the brutal force deployed by Defendants Jane/John Doe, Philadelphia Police

officers, and their co-conspirators against plaintiffs and their fellow protesters.

       432.    On June 1, 2020, in Philadelphia, Pennsylvania, Plaintiff Heather Gettis

participated in a peaceable protest march in support of the Black Lives Matter movement. Once

the march reached Benjamin Franklin Parkway, Plaintiff Heather Gettis, along with many other

peaceable protestors, went onto highway I-676. While on the highway, Plaintiff Heather Gettis

heard several loud bangs and people started running. Plaintiff Heather Gettis fled the highway

with the stampede of protesters trying to escape the attack by Defendants Jane/John Doe,

Philadelphia Police officers, and their co-conspirators. While making her way to the hilly

embankment next to the highway Plaintiff Heather Gettis suffered tear gas inhalation. During her

effort to reach the hill she was knocked to the ground by the stampeding crowd fleeing the




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onslaught of tear gas and rubber bullets directed at them by Defendants Jane/John Doe,

Philadelphia Police officers, and their co-conspirators. While on the ground she momentarily

blacked out. Plaintiff Heather Gettis was eventually able to fight her way up the hill and escape

through a hole in the fence. As a result of the assault by Defendants Jane/John Doe, Philadelphia

Police officers, Plaintiff Heather Gettis suffered tear gas inhalation, a neck injury, sprained foot,

bruises on her entire left side, psychological harm, and emotional distress. In addition, she suffered

property damage as her phone and glasses were broken during the attack. Plaintiff Heather Gettis

had to seek medical treatment at an Urgent Care Center for her neck injury and sprained foot.

Plaintiff Heather Gettis’s participation in this peaceable protest march ended as the direct result of

the brutal force deployed by Defendants Jane/John Doe, Philadelphia Police officers, and their co-

conspirators against plaintiffs and their fellow protesters. Plaintiff Heather Gettis was traumatized

by the assault and has continued to be treated for the physical injuries that she suffered as a result

of the assault by Defendants Jane/John Doe, Philadelphia Police officers, and co-conspirators.

Reflecting on the actions of Defendants weeks later, Plaintiff Heather Gettis stated, “they herded

us like cattle. They wanted to hurt us.”

       433.    On June 1, 2020, Plaintiff Ezra Ghizzone was participating in a peaceable protest

march in support of the Black Lives Movement in Philadelphia, Pennsylvania. As the march

reached Benjamin Franklin Parkway, Plaintiff Ezra Ghizzone marched onto 676 along with many

of their fellow peaceable protesters. Within minutes, they observed many of her fellow protesters

running in her direction. Plaintiff Ezra Ghizzone observed tear gas coming from the underpass and

began to climb the hill in order to escape the assault. Plaintiff Ezra Ghizzone was hit in the right

arm with a tear gas canister, fired by Defendant Jane/John Doe, a Philadelphia Police

officer. Plaintiff Ezra Ghizzone suffered tear gas inhalation caused by Defendants Jane/John Doe,




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Philadelphia Police officers, and their co-conspirators. Plaintiff Ezra Ghizzone was too exhausted

from the struggle to breathe through the tear gas that completing the climb was impossible.

Defendant John Doe, a Philadelphia Police officer, grabbed Plaintiff Ezra Ghizzone and dragged

Plaintiff down the hill, falsely arrested, zip-tied, and detained Plaintiff for several hours. Prior to

being released, Plaintiff Ezra Ghizzone was issued a citation which was eventually dismissed by

Defendant Mayor Kenney. Plaintiff Ezra Ghizzone’s participation in this peaceable protest march

ended as the direct result of the brutal force deployed by Defendants Jane/John Doe, Philadelphia

Police officers, and their co-conspirators against plaintiffs and their fellow protesters. Plaintiff

Ezra Ghizzone suffered tear gas inhalation, disruption of Plaintiff’s menstrual cycle, physical pain,

psychological harm, and emotional distress caused by the actions of Defendants Jane/John Doe,

Philadelphia Police officers, and their co-conspirators.

        434.     On June 1, 2020, Plaintiff Mia Gitzes participated in a peaceable protest march in

support of the Black Lives Matter movement in Philadelphia, Pennsylvania. Plaintiff Mia Gitzes

along with many of her fellow protestors decided to take the peaceable protest march from

Benjamin Franklin Parkway onto highway I-676. Once on the highway, Plaintiff Mia Gitzes

observed many of her fellow protestors running towards the wall in an effort to escape the tear gas

fired   by     Defendants   Jane/John   Doe,    Philadelphia    Police   officers,   and   their   co-

conspirators. Plaintiff Mia Gitzes eventually made it to the hilly embankment and suffered tear

gas inhalation, psychological harm, and emotional distress as a result of Defendants Jane/John

Doe, Philadelphia Police officers, and their co-conspirators. Plaintiff Mia Gitzes’s participation in

this peaceable protest march ended as the direct result of the brutal force deployed by Defendants

Jane/John Doe, Philadelphia Police officers, and their co-conspirators against plaintiffs and their

fellow protesters.




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       435.    On June 1, 2020, Plaintiff Hayley (Jo) Goddard participated in a peaceable protest

march Philadelphia, Pennsylvania, in support of the Black Lives Matter movement. Along with

many fellow peaceable protestors Plaintiff Hayley Goddard took the peaceable march from

Benjamin Franklin Parkway onto highway I-676. Many of the occupants whose vehicles were

stopped by the march were cheering on the protesters as they entered the underpass. Once in the

underpass Plaintiff Hayley Goddard observed people run in her direction. Defendants Jane/John

Doe, Philadelphia Police officers, and their co-conspirators deployed tear gas and immediately

Plaintiff Goddard suffered the effects of the tear gas. Plaintiff Goddard’s eyes swelled so much

she was unable to see clearly. Defendants Jane/John Doe, Philadelphia Police officers, and co-

conspirators blocked the exit ramps on the highway, forcing protesters to climb the hill. Plaintiff

Goddard followed the protestors who were climbing the hill in order to escape the assault. Plaintiff

Goddard was barely able to breathe as she moved up the hill. Eventually, Plaintiff Goddard

climbed to the top of the hill and made it over the fence with the assistance of others. Once on the

other side of the fence Plaintiff Goddard collapsed from the tear gas inhalation. Plaintiff Goddard

suffered tear gas inhalation, psychological harm, and emotional distress as a result of the actions

of Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators. Plaintiff

Goddard's participation in this peaceable protest march ended as the direct result of the brutal force

deployed by Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators

against plaintiffs and their fellow protesters. According to Plaintiff Goddard it was clear by their

actions that Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators

planned to trap the protesters on the highway.

       436.    On June 1, 2020, Plaintiff Nathan Giello joined a peaceable protest march in

support of the Black Lives Matter movement. The peaceable protest march began near Race Street,




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and eventually, the protesters ended up on Benjamin Franklin Parkway near I-676. Plaintiff Nathan

Giello and his fellow protesters continued the peaceable protest march onto highway I-676. Soon

after, Plaintiff Nathan Giello felt the effect of the tear gas fired into the crowd by Defendants

Jane/John Doe, Philadelphia Police officers, and their co-conspirators. Plaintiff Nathan Giello

suffered tear gas inhalation, psychological harm, and emotional distress, which was directly caused

by Defendants Jane/John Doe, Philadelphia Police officers, or co-conspirators. Plaintiff Nathan

Giello’s participation in this peaceable protest ended as the direct result of the brutal force

deployed by Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators

against Plaintiff and fellow protesters.

       437.    On June 1, 2020, Plaintiff Jacob Gottshall participated in a peaceable protest march

in support of the Black Lives Matter movement in Philadelphia, Pennsylvania. As the march

reached Benjamin Franklin Parkway, Plaintiff Jacob Gottshall, along with his fellow peaceable

protestors marched onto highway I- 676. While on the highway, Plaintiff Jacob Gottshall

witnessed protesters running and screaming toward the hilly embankment and away from the

highway. Plaintiff Jacob Gottshall joined his fellow protesters and left the highway as Defendants

Jane/John Doe, Philadelphia Police officers, and their co-conspirators deployed tear gas at him and

the others on the hill. Dozens of people were trapped behind the fence at the top of the hill as

Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators fired tear gas

canisters right at the protesters. Although it was evident that everyone crushed against the fence

was trying to leave, Defendants Jane/John Doe, Philadelphia Police officers, and their co-

conspirators kept firing the tear gas at the crowd. Plaintiff Jacob Gottshall observed a line of

twenty to twenty-five Defendants Jane/John Doe, Philadelphia Police officers, and their co-

conspirators smiling as they watched people suffer from tear gas inhalation as they were trying to




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escape over the fence. While Plaintiff Jacob Gottshall was on the embankment Defendants

Jane/John Doe, Philadelphia Police officers, and their co-conspirators fired rubber bullets at

him. Plaintiff Jacob Gottshall was clipped by a rubber bullet. Plaintiff Jacob Gottshall suffered

tear gas inhalation, physical pain from a rubber bullet, psychological harm and emotional distress

caused by Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators.

Plaintiff Jacob Gottshall’s participation in this peaceable protest march ended as the direct result

of the brutal force deployed by Defendants Jane/John Doe, Philadelphia Police officers, and their

co-conspirators against plaintiffs and their fellow protesters. For Plaintiff Jacob Gottshall nothing

was more terrifying than when he witnessed a mother and her fourteen year- old trying to escape

the assault. The mother kept crying out “they are gassing my children” While this horrifying event

was unfolding Defendants Jane/John Doe, Philadelphia Police officers, gave her a thumbs up and

laughed at her comment.

       438.    On June 1, 2020, Plaintiff Dalton Gough participated in a peaceable protest march

in support of the Black Lives Matter movement in Philadelphia, Pennsylvania. He, along with

many other peaceable protestors marched from Benjamin Franklin Parkway onto highway I-676

in order to continue their protest on the highway. As Plaintiff Dalton Gough marched into the

underpass, he observed people running in his direction and was confused about what was

happening. Plaintiff Dalton Gough heard a lot of pops then observed Defendants Jane/John Doe,

Philadelphia Police officers, and their co-conspirators firing tear gas at him and the crowd of

peaceable protestors. Eventually, Plaintiff Dalton Gough ran from the highway and onto a hill and

was able to escape the assault by climbing the fence at the top. During the time in which he was

on the hill Plaintiff Dalton Gough suffered tear gas inhalation, psychological harm, emotional

distress caused by Defendants Jane/John Doe, Philadelphia Police officers, and their co-




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conspirators. Plaintiff Dalton Gough’s participation in this peaceable protest march ended as the

direct result of the brutal force deployed by Defendants Jane/John Doe, Philadelphia Police

officers, and their co-conspirators against plaintiffs and their fellow protesters.

       439.    On June 1, 2020, Plaintiff Robert Grote joined a peaceable protest march in support

of the Black Lives Matter movement in Philadelphia, Pennsylvania. Plaintiff Robert Grote along

with many of his fellow protesters moved their peaceable protest march from Benjamin Franklin

Parkway onto highway I-676. As the crowd began to march a group of protestors began to panic

and run in the opposite direction. Shortly after the crowd began moving again Plaintiff Robert

Grote observed Defendant Jane/John Doe, Philadelphia Police officer and/or their co-conspirators

in a vehicle firing canisters of tear gas at him and the crowd of peaceable protesters. Plaintiff

Robert Grote suffered tear gas inhalation both on the highway at I-676 as well as Benjamin

Franklin Parkway once he escaped 676 as a result of the actions of Defendants Jane/John Doe,

Philadelphia Police officers, and their co-conspirators. In addition, Plaintiff Robert Grote suffered

psychological harm and emotional distress. Plaintiff Robert Grote’s participation in this peaceable

protest march ended as the direct result of the brutal force deployed by Defendants Jane/John Doe,

Philadelphia Police officers, and their co-conspirators against plaintiffs and their fellow protesters.

       440.    On June 1, 2020, Plaintiff Rahmi Halaby joined a peaceable protest of march in

support of the Black Lives Matter movement in Philadelphia, Pennsylvania. The march reached

Benjamin Franklin Parkway. The police diverted traffic by blocking the adjacent streets to force

the march onto 22nd Street. As Plaintiff Rahmi Halaby observed an armored police vehicle operated

by Defendants Jane/John Doe, Philadelphia Police officers. Defendants Jane/John Doe,

Philadelphia Police officers, operating the armored vehicle attempted to run over a person on a

bike. The person escaped injury but the bike was mangled. Defendant John Doe, a Philadelphia




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Police officer, popped out of the top of the armored vehicle and fired tear gas cannisters in to the

crowd of people nearby. Plaintiff Rahmi Halaby moved to the 22nd Street bridge overlooking I-

676. Plaintiff Rahmi Halaby observed a group of fellow protesters on their knees in front of the

police vehicles chanting “No Justice! No Peace!” and “I can’t breathe.” Defendants Jane/John Doe,

Philadelphia Police officers, started firing more tear gas into the crowd. Once Plaintiff Rahmi

Halaby began to suffer tear gas inhalation. The impact of the tear gas became overwhelming as it

impaired Plaintiff Rahmi Halaby’s vision and ability to breathe. As the result of the actions of

Defendants Jane/John Doe, Philadelphia Police officers, Plaintiff Rahmi Halaby suffered tear gas

inhalation, impaired vision, psychological injury, and emotional distress. Plaintiff Rahmi Halaby’s

participation in this peaceable protest march ended as the direct result of the brutal force deployed

by Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators against

plaintiffs and their fellow protesters.

        441.    On June 1, 2020, Plaintiff Lauren Hallman participated in a peaceable protest march

in support of the Black Lives Matter movement in Philadelphia, Pennsylvania. During the march,

Plaintiff Lauren Hallman joined many of their fellow peaceable protesters as they marched from

Benjamin Franklin Parkway onto highway I-676. As Plaintiff Lauren Hallman entered the first

underpass Defendants Jane/John Doe, Philadelphia Police officers, and/or their co-conspirators

fired tear gas at them and the other protesters. Plaintiff Lauren Hallman eventually made it to the

hilly embankment next to the highway and was able to escape the assault after suffering tear gas

inhalation, psychological harm and emotional distress caused by Defendants Jane/John Doe,

Philadelphia Police officers, and their co-conspirators. Plaintiff Lauren Hallman’s participation in

this peaceable protest march ended as the direct result of the brutal force deployed by Defendants




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Jane/John Doe, Philadelphia Police officers, and their co-conspirators against plaintiffs and their

fellow protesters.

       442.    On June 1, 2020, Plaintiff Savannah Hamilton participated in a peaceable protest

march in support of the Black Lives Matter movement in Philadelphia, Pennsylvania. Once the

march reached Benjamin Franklin Parkway, Plaintiff Savannah Hamilton, along with many of her

fellow peaceable protestors entered highway I-676 and continued the peaceable protest march onto

the highway. While Plaintiff Savannah Hamilton was on the highway tear gas was deployed by

Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators. Plaintiff

Hamilton ran from the assault and climbed a hill next to the highway to escape. When Plaintiff

Hamilton reached the top, she tried to climb over the fence and while on the fence was grabbed by

Defendant John Doe, a Philadelphia Police officer. Defendant John Doe, a Philadelphia Police

officer, threw Plaintiff Hamilton on the ground by grabbing her backpack. Defendant Jane/John

Doe, Philadelphia Police officer instructed Plaintiff Hamilton to stand up and then falsely arrested

her. Plaintiff Savannah Hamilton’s husband was also falsely arrested. As Defendant John Doe, a

Philadelphia Police officer, was escorting Plaintiff Hamilton from the hill she was thrown to the

ground, grabbed by the back of her hair and told to stop resisting. Plaintiff was then zip-tied and

detained for several hours. Prior to her release Plaintiff Savannah Hamilton was issued a citation

for failure to disperse. The citation was eventually dismissed by Defendant Mayor Kenney.

Plaintiff Savannah Hamilton suffered tear gas inhalation, bruising from excessive use of force,

false arrest, psychological harm and emotional distress caused by Defendants Jane/John Doe,

Philadelphia Police officers, and their co-conspirators. Plaintiff Savannah Hamilton’s participation

in this peaceable protest march ended as the direct result of the brutal force deployed by Defendants




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Jane/John Doe, Philadelphia Police officers, and their co-conspirators against plaintiffs and their

fellow protesters.

       443.    On June 1, 2020, Plaintiff Ahmad Hankinson participated, along with his family

members, in a peaceable protest march in support of the Black Lives Matter movement in

Philadelphia, Pennsylvania. As Plaintiff Ahmad Hankinson was entering the overpass above the

highway I- 676, he observed a Philadelphia Police armored vehicle fire tear gas by Defendants

Jane/John Doe, Philadelphia Police officers, in an attempt to force the protesters off the

overpass. Plaintiff Ahmad Hankinson ran back to the top of the hill to help others who were trying

to escape the tear gas and rubber bullets fired at the protesters who were stuck on I- 676. As he

was helping the individuals suffering from the tear gas attack on the highway, as well as the

overpass, he found it difficult to breathe as he suffered tear gas inhalation. The actions by

Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators caused Plaintiff

Ahmad Hankinson to suffer psychological harm and emotional distress. Plaintiff Ahmad

Hankinson’s participation in this peaceable protest march ended as the direct result of the brutal

force deployed by Defendants Jane/John Doe, Philadelphia Police officers, and their co-

conspirators against plaintiffs and their fellow protesters.

       444.    On June 1, 2020, Plaintiff Alessandra Hankinson participated in a peaceable protest

march in support of the Black Lives Matter movement in Philadelphia, Pennsylvania. While

marching on Benjamin Franklin Parkway Plaintiff Alessandra Hankinson stopped and observed

the crowd marching on Benjamin Franklin Parkway. Eventually she heard a loud explosive noise

and Plaintiff Alessandra Hankinson and her family walked to the overpass and looked down on I-

676. Plaintiff Alessandra Hankinson observed peaceable protesters walking and then quickly

running as tear gas was fired at them by Defendants Jane/John Doe, Philadelphia Police officers,




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and their co-conspirators. The protesters ran toward an embankment with a ten- foot high fence at

the top. Plaintiff Alessandra Hankinson assisted many of the protestors over the fence and suffered

tear gas inhalation caused by Defendants Jane/John Doe, Philadelphia Police officers, and their

co-conspirators. In addition, Plaintiff Alessandra Hankinson suffered psychological harm and

emotional distress. Plaintiff Alessandra Hankinson’s participation in this peaceable protest march

ended as the direct result of the brutal force deployed by Defendants Jane/John Doe, Philadelphia

Police officers, and their co-conspirators against plaintiffs and their fellow protesters.

       445.    On June 1, 2020, Plaintiff Jamila Hankinson participated, along with her family, in

a peaceable protest march in support of the Black Lives Matter movement in Philadelphia,

Pennsylvania. While marching on Benjamin Franklin Parkway she became very emotional

because of all the love and support that she observed from this massive peaceable march in support

of racial justice. While on Benjamin Franklin Parkway she heard several loud bangs and walked

over the overpass to look down onto highway I-676. Plaintiff Jamila Hankinson observed

Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators using tear gas

and pepper spray against the protesters. trying to escape on the hill. Plaintiff Jamila Hankinson

observed a low flying police helicopter using loud noise to try to disperse the protesters. As chaos

ensued Plaintiff Jamila Hankinson and family members tried to assist protesters fleeing the assault

on I-676. While on Benjamin Franklin Parkway Plaintiff Jamila Hankinson suffered tear gas

inhalation, psychological harm and emotional distress caused by Defendants Jane/John Doe,

Philadelphia Police officers, and their co-conspirators. Plaintiff Jamila Hankinson also suffered an

injury to her leg and bruises as a result of the actions of the actions of Defendants Jane/John Doe,

Philadelphia Police officers, and their co-conspirators. Plaintiff Jamila Hankinson’s participation

in this peaceable protest march ended as the direct result of the brutal force deployed by Defendants




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Jane/John Doe, Philadelphia Police officers, and their co-conspirators against plaintiffs and their

fellow protesters.

       446.    On June 1, 2020, Plaintiff Susan Hankinson, along with her family, participated in

a peaceable protest march in support of the Black Lives Matter movement in Philadelphia,

Pennsylvania. While on Benjamin Franklin Parkway Plaintiff Susan Hankinson observed tear gas

deployed against the protesters on highway I-676. She walked over to the fence at the top of the

hill and observed Defendants Jane/John Doe, Philadelphia Police officers, using pepper spray and

tear gas against the protesters attempting to escape up the hill. Plaintiff Susan Hankinson helped

other protestors and suffered tear gas inhalation, psychological harm and emotional

distress. Plaintiff Susan Hankinson’s participation in this peaceable protest march ended as the

direct result of the brutal force deployed by Defendants Jane/John Doe, Philadelphia Police

officers, and their co-conspirators against plaintiffs and their fellow protesters.

       447.    On June 1, 2020, Plaintiff Ashley Hansler participated in a peaceable protest march

in support of the Black Lives Matter movement in Philadelphia, Pennsylvania. As she marched

near the Franklin Institute, she observed an armored police vehicle pull up right where she was

standing and observe Defendants Jane/John Doe, Philadelphia Police officers, throw a flash bang

grenade. Defendants Jane/John Doe, Philadelphia Police officers, then launched multiple tear gas

canisters from the armored police vehicle. Blinded by the tear gas, Plaintiff Ashley Hansler

became separated from her friend. While trying to locate her friend Plaintiff Ashley Hansler

observed a Philadelphia Police helicopter trying to disperse the crowd. Plaintiff Ashley Hansler

suffered tear gas inhalation, psychological harm and emotional distress caused by the actions of

Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators. Plaintiff Ashley

Hansler’s participation in this peaceable protest march ended as the direct result of the brutal force




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deployed by Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators

against plaintiffs and their fellow protesters. Plaintiff Ashley Hansler believes that this brutal

attack was in retaliation by the Philadelphia Police Department and superiors for the protests that

occurred on the two previous days.

        448.   On June 1, 2020, Plaintiff Philip Harder participated in a peaceable protest march

in support of the Black Lives Matter movement in Philadelphia, Pennsylvania. Plaintiff Philip

Harder, along with many of his fellow peaceable protesters marched from Benjamin Franklin

Parkway onto highway I- 676. Eventually, after Defendants Jane/John Doe, Philadelphia Police

officers, and co-conspirators fired gas at Plaintiff Philip Harder and his protesters, Plaintiff went

onto the embankment suffered tear gas inhalation as a tear gas canister landed close to him.

Plaintiff Philip Harder became temporarily incapacitated from the tear gas but eventually made

escaped by walking up one of the ramps. Plaintiff Philip Harder suffered tear gas inhalation,

psychological harm and emotional distress as a direct result of the actions committed by

Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators. Plaintiff Philip

Harder continued to extreme the impact of the trauma weeks after the attack. Plaintiff Philip

Harder’s participation in this peaceable protest march ended as the direct result of the brutal force

deployed by Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators

against plaintiffs and their fellow protesters.

        449.   On June 1, 2020, Plaintiff Willard Harris participated in a peaceable protest march

in support of the Black Lives Matter movement in Philadelphia, Pennsylvania. As the peaceable

protest march made its way onto Benjamin Franklin Parkway, Plaintiff Willard Harris along with

many of his fellow protesters continued their peaceable protest onto highway I-676. While Plaintiff

Willard Harris and a group of fellow protestors made their way into the underpass everyone began




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to run back towards the entrance of the highway. As they were running Plaintiff Willard Harris

and his fellow protestors were bombarded with tear gas by Defendants Jane/John Doe,

Philadelphia Police officers, and their co-conspirators. Plaintiff Willard Harris was trapped behind

the fence at the top of the hilly embankment as he suffered tear gas inhalation, psychological harm,

and emotional distress as Defendants Jane/John Doe, Philadelphia Police officers, and their co-

conspirators continued to fire tear gas onto the hilly embankment even after Plaintiff Willard

Harris and his fellow protestors had left the highway. Plaintiff Willard Harris eventually made it

onto Benjamin Franklin Parkway, but stated he observed many people injured as Defendants

Jane/John Doe, Philadelphia Police officers, and their co-conspirators “trapped us like animals and

unleashed a cruelty a lot of people had never witnessed before.” Plaintiff Willard Harris’s

participation in this peaceable protest march ended as the direct result of the brutal force deployed

by Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators against

plaintiffs and their fellow protesters.

        450.    On June 1, 2020, Plaintiff Blake Hastings participated in a peaceable protest march

in support of the Black Lives Matter movement in Philadelphia, Pennsylvania. He along with

many of his fellow protesters marched from Benjamin Franklin Parkway onto highway I-

676. Suddenly Plaintiff Blake Hastings heard a bang and started to run. Plaintiff Hastings stopped

and kneeled on the highway thinking that Defendants Jane/John Doe, Philadelphia Police officers,

and their co-conspirators would not assault them. Defendants Jane/John Doe, Philadelphia Police

officers, approached firing tear gas at him and his fellow protesters. Once he realized the intention

of Defendants Jane/John Doe, Philadelphia Police officers, and co-conspirators was to harm him

he got up and ran. Plaintiff was grabbed by Defendant Philadelphia Police Officer and falsely

arrested. In the process of conducting the false arrest Defendant John Doe, a Philadelphia Police




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officer, snapped Plaintiff Blake Hastings COVID-19 mask off his face. Following the false arrest

Plaintiff Blake Hastings was zip-tied, detained for several hours, and issued a citation for failure

to disperse. The citation was eventually dismissed by Defendant Mayor Kenney. Plaintiff Blake

Hastings suffered tear gas inhalation, false arrest, psychological harm, and emotional distress

caused by Defendants Jane/John Doe, Philadelphia Police officers, and co-conspirators. Plaintiff

Blake Hastings said the sense of panic was overwhelming and that it was devastating to witness

the suffering others victimized by the brutal attack. Plaintiff Blake Hasting’s participation in this

peaceable protest march ended as the direct result of the brutal force deployed by Defendants

Jane/John Doe, Philadelphia Police officers, and their co-conspirators against plaintiffs and their

fellow protesters.

       451.    On June 1, 2020, Plaintiff Leah Heathershaw joined a peaceable protest march in

support of the Black Lives Matter movement in Philadelphia, Pennsylvania. During the entire

march Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators were

guiding the march all the way to Benjamin Franklin Parkway and began to box the protesters once

the march entered Benjamin Franklin Parkway. Plaintiff Leah Heathershaw noticed that the police

made no effort to block the protest from moving onto highway at I-676. As Plaintiff Leah

Heathershaw entered I-676 she observed the peaceable protestors clapping and chanting when

without warning Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators

began shooting rubber bullets into the crowd. Plaintiff Leah Heathershaw suffered tear gas

inhalation, psychological harm and emotional distress as Defendants Jane/John Doe, Philadelphia

Police officers, and their co-conspirators were firing tear gas into the crowd. Plaintiff Leah

Heathershaw suffered tear gas inhalation for almost two minutes and she was barely able to see or

breathe as it quickly disintegrated from a peaceable march into a horrific scene with people




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struggling to breathe in their effort to escape up the hill and over the fence. After stumbling up

the hill Plaintiff Leah Heathershaw was able to escape onto Benjamin Franklin Parkway. Plaintiff

Leah Heathershaw’s participation in this peaceable protest march ended as the direct result of the

brutal force deployed by Defendants Jane/John Doe, Philadelphia Police officers, and their co-

conspirators against plaintiffs and their fellow protesters.

        452.    On June 1, 2020, Plaintiff Samantha Heth participated in a peaceable protest march

in support of the Black Lives Matter movement in Philadelphia, Pennsylvania. Along with many

of her other fellow protestors Plaintiff Samantha Heth left Benjamin Franklin Parkway and entered

highway I-676. As the peaceable protest was entering the underpass many of the protesters began

stampeding in Plaintiff’s direction. Defendants Jane/John Doe, Philadelphia Police officers, and

co-conspirators fired tear gas from every direction as a cloud of tear gas enveloped Plaintiff

Samantha Heth and all of those around her. Eventually, Plaintiff Samantha Heth ran to the hill as

Defendants Jane/John Doe, Philadelphia Police officers, and co-conspirators launched tear gas

canisters at Plaintiff Samantha Heth and the others on the hill trying to escape. Before she could

reach the fence at the top of the hill Plaintiff Samantha Heth was falsely arrested by Defendant

John Doe, a Philadelphia Police officer. Plaintiff Samantha Heth was zip-tied and detained for

several hours. Prior to her release Plaintiff Samantha Heth was issued a citation for failure to

disperse which was eventually dismissed by Defendant Mayor Kenney. Plaintiff Samantha Heth

suffered tear gas inhalation, psychological harm, emotional distress, and false arrest. Plaintiff’s

participation in this peaceable protest march ended as the direct result of the brutal force deployed

by Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators against

plaintiffs and their fellow protesters.




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       453.    On June 1, 2020, Plaintiff Maxwell Hibbard, with his partner Christina Sorenson,

joined a peaceable protest march in support of the Black Lives Matter movement. The peaceable

protest march began near Race Street, and eventually, the protesters ended up on Benjamin

Franklin Parkway near I-676. Plaintiff Maxwell Hibbard and his fellow protesters continued the

peaceable protest march onto highway I-676. While on the highway, Plaintiff Maxwell Hibbard

observed many of his fellow protestors begin to run in a panic. While on I-676, Defendant Nicoletti

and Defendants Jane/John Doe, Philadelphia Police officers, standing only yards away from

Plaintiff Hibbard, fired tear gas canisters at Plaintiff and his fellow protesters without warning or

provocation. Plaintiff Hibbard observed Defendant Nicoletti intentionally spray Plaintiffs Hough,

Miller, and Sorenson directly in the face with pepper spray at close range. Plaintiff Hibbard and

his fellow protesters left the highway and climbed a hilly embankment adjacent to the highway in

an effort to escape the tear gas and rubber bullets. Defendants Jane/John Doe, Philadelphia Police

officers, continued to throw tear gas canisters and shoot rubber bullets at Plaintiff Hibbard and the

crowd of protesters trying to climb the fence at the top of the hill. Plaintiff Hibbard observed many

of his fellow protesters suffering in pain with tears and mucous covering many of their faces.

Plaintiff escaped the attack when other protesters assisted him over the fence where he could clear

his eyes out. Plaintiff Maxwell Hibbard suffered tear gas inhalation, psychological harm, and

emotional distress as a direct result of the brutal tear gas attack by Defendant Philadelphia Police

Officers and co-conspirators. Plaintiff Maxwell Hibbard’s participation in this peaceable protest

march ended as the direct result of the brutal force deployed by Defendants Jane/John Doe,

Philadelphia Police officers, and their co-conspirators against Plaintiff Maxwell Hibbard and his

fellow protesters.




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       454.    On June 1, 2020, Plaintiff Jessica Hicks joined a peaceable protest march in

support of the Black Lives Matter movement. The peaceable protest march began near Race

Street. Eventually Plaintiff Jessica Hicks, along with her fellow protesters, arrived at Benjamin

Franklin Parkway near I-676. While on the highway, Plaintiff Jessica Hicks heard shots fired

and, immediately, protesters ran back in the direction from which they came. Plaintiff Jessica

Hicks fled onto the hill adjacent to the highway in order to avoid the attack by Defendants

Jane/John Doe, Philadelphia Police officers, and their co-conspirators. Plaintiff Jessica Hicks

climbed the hill and began assisting others over the fence at the top of the hill. While Plaintiff

Jessica Hicks was assisting other protesters in their effort to escape the tear gas and rubber

bullets, Defendants Jane/John Doe, Philadelphia Police officers, launched a tear gas canister that

landed directly at her feet. She was engulfed by a cloud of smoke causing tear gas inhalation.

Plaintiff Jessica Hicks couldn’t move or breathe due to the amount of tear gas she inhaled. Not

long after Plaintiff Jessica Hicks initially suffered tear gas inhalation, she was assisting an older

man with a cane when a second tear gas canister launched by Defendants Jane/John Doe,

Philadelphia Police officers, landed by her feet. Once again Plaintiff Jessica Hicks suffered tear

gas inhalation, causing her to collapse as she could not catch her breath as her lungs filled with

tear gas. Fellow protesters helped Plaintiff Jessica Hicks over the fence. Plaintiff Jessica Hicks

suffered tear gas inhalation, psychological injury, and emotional distress as a direct result of the

actions of Defendants Jane/John Doe, Philadelphia Police officers, and co-conspirators. Plaintiff

Jessica Hicks’s participation in this peaceable protest march ended as the direct result of the

brutal force deployed by Defendants Jane/John Doe, Philadelphia Police officers, and their co-

conspirators against the Plaintiff Jessica Hicks and her and fellow protesters.




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       455.    On June 1, 2020, Plaintiff Anna Lynn Higgins participated in a peaceable protest

in support of the Black Lives Matter movement in Philadelphia, Pennsylvania. The peaceable

protest march began near Race Street, and eventually, the protesters ended up on Benjamin

Franklin Parkway near I-676. Plaintiff Higgins and her fellow protesters continued the peaceable

protest march onto highway I-676. As Plaintiff Higgins was on I-676, she heard people yelling

“tear gas” and then observed the protesters in front of her running back in her direction. Plaintiff

Higgins and her fellow protesters left the highway and climbed a hilly embankment adjacent to

the highway in an effort to escape the tear gas as Defendants Jane/John Doe, Philadelphia Police

officers, continued to throw tear gas canisters at the crowd of protesters trying to climb the fence

at the top of the hill. After making it to the top of the embankment, Plaintiff Higgins was with

fellow protesters on 22nd Street near the overpass of I676. While on 22nd Street, a group of

Defendants Jane/John Doe, Philadelphia Police officers, on bicycles confronted Plaintiff Higgins

and her fellow protesters. While Plaintiff Higgins was exercising her right to peaceably assemble

and protest, Defendant John Doe, a Philadelphia Police officer wearing highway patrol identifying

marks, with the name “Holmes” on his shirt and his badge number covered, approached her and

struck her with his baton. Plaintiff Higgins then fell to the ground. While on the ground, Plaintiff

Higgins tried to shield herself from receiving any other punches thrown. Plaintiff Higgins suffered

tear gas inhalation, a concussion, and cuts and bruises from the assault by Defendants Jane/John

Doe, Philadelphia Police officers, psychological injury, and emotional distress. Plaintiff’s

participation in this peaceable protest march ended as the direct result of the brutal force deployed

by Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators against

Plaintiff and fellow protesters.




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       456.    On June 1, 2020, Plaintiff Thomas Higham participated in a peaceable

protest march in support of the Black Lives Matter movement in Philadelphia, Pennsylvania. He

along with many other peaceable protestors marched onto highway I-676. Once on the highway,

Plaintiff Thomas Higham started running once Defendants Jane/John Doe, Philadelphia Police

officers, and co-conspirators launched tear gas canisters at Plaintiff Higham and his fellow

protesters. In an effort to escape the attack Plaintiff Thomas Higham climbed the hill next to the

highway. Defendants Jane/John Doe, Philadelphia Police officers, and co-conspirators continued

to launch tear gas canisters at Plaintiff Thomas Higham and his fellow protesters while they were

off the hill. Unable to make it over the fence Defendant Jane/John Doe, Philadelphia Police officer

grabbed Plaintiff Thomas Higham falsely arrested him and fell on top of Plaintiff Thomas Higham

before he dragged him down the hill. Plaintiff Thomas Higham suffered tear gas inhalation,

psychological harm, and emotional distress. Plaintiff Thomas Higham was also injured when

Defendant Jane/John Doe, Philadelphia Police Officer fell on top of him as he was being dragged

down the hill. After Plaintiff Thomas Higham was falsely arrested tear gas landed approximately

a foot away from him and he suffered tear gas inhalation a second time. Plaintiff Thomas Higham

has a history of asthma and believed at the time he suffered the tear gas inhalation that he was

going to die. Plaintiff’s participation in this peaceable protest march ended as the direct result of

the brutal force deployed by Defendants Jane/John Doe, Philadelphia Police officers, and their co-

conspirators against plaintiffs and their fellow protesters.

       457.    On June 1, 2020, Plaintiff Diamonik Hough joined a peaceable protest march in

support of the Black Lives Matter movement. The peaceable protest march began near Race Street,

and eventually, the protesters ended up on Benjamin Franklin Parkway near I-676. Plaintiff

Diamonik Hough and his fellow protesters continued the peaceable protest march onto highway I-




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676. While on the highway, Plaintiff Diamonik Hough observed many of his fellow protestors

begin to run in a panic. After being sprayed in the face with tear gas at close range by Defendant

Nicoletti, Plaintiff Diamonik Hough was shot multiple times with rubber bullets as he attempted

to escape the highway and the attack of Defendant Nicoletti and Defendants Jane/John Doe,

Philadelphia Police officers. Plaintiff Diamonik Hough felt the effect of the tear gas fired into the

crowd by Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators.

Plaintiff Diamonik Hough and his fellow protesters left the highway and climbed a hilly

embankment adjacent to the highway in an effort to escape the tear gas and rubber bullets.

Defendants Jane/John Doe, Philadelphia Police officers, continued to throw tear gas canisters and

shoot rubber bullets at the crowd of protesters trying to climb the fence at the top of the hill.

Plaintiff escaped the attack when other protesters assisted him over the fence where he could clear

her eyes out. Plaintiff Diamonik Hough suffered tear gas inhalation, physical injury, psychological

harm, and emotional distress as a direct result of the brutal tear gas attack by Defendant

Philadelphia Police Officers and co-conspirators. Plaintiff Diamonik Hough’s participation in this

peaceable protest march ended as the direct result of the brutal force deployed by Defendants

Jane/John Doe, Philadelphia Police officers, and their co-conspirators against Plaintiff Diamonik

Hough and his fellow protesters.

       458.    On June 1, 2020, Plaintiff Timothy Huff participated in a peaceable protest march

in support of the Black Lives Matter movement in Philadelphia, Pennsylvania. Plaintiff Timothy

Huff marched onto the bridge above highway I-676 and observed an armored Philadelphia Police

vehicle approaching the overpass to try to enter I-676. Defendants Jane/John Doe, Philadelphia

Police officers, inside the armored vehicle began to launch tear gas canisters at Plaintiff Timothy

Huff and the crowd of protesters nearby. Plaintiff Timothy Huff suffered tear gas inhalation,




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psychological harm and emotional distress as a result of the actions of Defendants Jane/John Doe,

Philadelphia Police officers. Plaintiff’s participation in this peaceable protest march ended as the

direct result of the brutal force deployed by Defendants Jane/John Doe, Philadelphia Police

officers, and their co-conspirators against plaintiffs and their fellow protesters.

       459.    On June 1, 2020, Plaintiff Kerri Hughes participated in a peaceable protest march

in support of the Black Lives Matter movement in Philadelphia, Pennsylvania. Plaintiff Kerri

Hughes along with many of her fellow protestors entered highway I-676 to continue the peaceable

protest onto the highway. After she entered the highway Plaintiff Kerri Hughes observed many of

the protestors running from the underpass. Plaintiff Kerri Hughes eventually ran to the hill next

to the highway with many other protesters and suffered tear gas inhalation as Defendants Jane/John

Doe, Philadelphia Police officers, and co-conspirators surrounded the protesters and launched tear

gas which enveloped the entire area in a thick cloud of tear gas. While on the hill Defendant John

Doe, a Philadelphia Police officer, grabbed Plaintiff Kerri Hughes and threw her to the

ground. Plaintiff was falsely arrested; zip-tied and lost her balance as she slipped down the

hill. Plaintiff Kerri Hughes She was taken to the 22nd District detained for several hours and issued

a citation for failure to disperse. The citation later was dismissed by Defendant Mayor Kenney. As

a result of the actions of Defendants Jane/John Doe, Philadelphia Police officers, and co-

conspirators Plaintiff Kerri Hughes suffered tear gas inhalation, causing breathing problems for a

week, psychological harm, and emotional distress, specifically, post -traumatic stress. Plaintiff

Kerri Hughes is concerned that she is still suffering underlying medical conditions triggered by

the tear gas. Plaintiff’s participation in this peaceable protest march ended as the direct result of

the brutal force deployed by Defendants Jane/John Doe, Philadelphia Police officers, and their co-

conspirators against plaintiffs and their fellow protesters.




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        460.    On June 1, 2020, Plaintiff James Hultquist-Todd participated in a peaceable protest

march in support of the Black Lives Matter movement in Philadelphia, Pennsylvania. As the

peaceable protest march made its way onto Benjamin Franklin Parkway, Plaintiff James Hultquist-

Todd along with many of his fellow peaceable protestors took their protest from Benjamin Franklin

Parkway onto the highway at I-676. Plaintiff James Hultquist-Todd stated that it appeared that the

protestors were directed onto the highway because of how the streets were closed by Defendants

Jane/John Doe, Philadelphia Police officers, and their co-conspirators. Plaintiff James Hultquist-

Todd ran towards the embankment as he observed Defendants Jane/John Doe, Philadelphia Police

officers, and their co-conspirators fire tear gas at him and the protesters nearby. Plaintiff James

Hultquist-Todd suffered tear gas inhalation, psychological harm, and emotional distress as a result

of the actions of Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators.

Plaintiff’s participation in this peaceable protest march ended as the direct result of the brutal force

deployed by Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators

against plaintiffs and their fellow protesters.

        461.    On June 1, 2020, Plaintiff Tsarina Islam participated in a peaceable protest march

in support of the Black Lives Matter movement in Philadelphia, Pennsylvania. Plaintiff Tsarina

Islam, along with many of her fellow protestors entered highway I-676 to continue the peaceable

protest onto the highway. After she entered the highway Plaintiff Tsarina Islam observed

protesters running toward the hill adjacent to the highway. Plaintiff Tsarina Islam ran to the hill

with many other protesters and suffered tear gas inhalation as Defendants Jane/John Doe,

Philadelphia Police officers, and co-conspirators surrounded the protesters and launched tear gas

which enveloped the entire area in a thick cloud of tear gas. Recalling the terrifying experience

Plaintiff Tsarina Islam said, “it hit me like a wave, as if I had tried to swallow twenty hot peppers




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at once. It hurt to breathe and stung my eyes.” Plaintiff Tsarina Islam began choking, coughing up

mucus, and thought she was “going to die.” Plaintiff Tsarina Islam suffered tear gas inhalation,

psychological harm, emotional distress, as the result of the actions and conduct of Defendants

Jane/John Doe, Philadelphia Police officers, and their co-conspirators. Plaintiff’s participation in

this peaceable protest march ended as the direct result of the brutal force deployed by Defendants

Jane/John Doe, Philadelphia Police officers, and their co-conspirators against plaintiffs and their

fellow protesters.

       462.    On June 1, 2020, Plaintiff Eryn Johnson participated in a peaceable protest march

in support of the Black Lives Matter movement in Philadelphia, Pennsylvania. Along with many

other fellow protestors Plaintiff Eryn Johnson entered highway I -676 to continue the protest on

the highway. While Plaintiff Eryn Johnson was walking on the highway, she observed a crowd of

protesters start to run in the opposite direction of the march. Quickly, panic ensued. Plaintiff Eryn

Johnson began running up the hill next to the highway while tear gas was being fired at Plaintiff

Eryn Johnson and others on the hill. Plaintiff Eryn Johnson was terrified as everyone was

scrambling up the hill. She had never suffered tear gas inhalation before, could not breathe and

thought she was going to die. Plaintiff’s participation in this peaceable protest march ended as the

direct result of the brutal force deployed by Defendants Jane/John Doe, Philadelphia Police

officers, and their co-conspirators against plaintiffs and their fellow protesters.

       463.    On June 1, 2020, Plaintiff Ivan Juarez participated in a peaceable protest march in

support of the Black Lives Matter movement in Philadelphia, Pennsylvania. As Plaintiff Ivan

Juarez and other marchers approached the on-ramp highway I-676 there were several police

officers standing there but did not attempt to stop the protesters from entering the on-ramp and

march onto I-676. After several minutes on the highway Defendants Jane/John Doe, Philadelphia




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Police officers, and their co-conspirators began to fire tear gas into the crowd. Plaintiff Ivan Juarez

began to climb the hill in an effort to escape the tear gas. As Plaintiff Ivan Juarez was caught in

the crowd on the hill, he could not get over the fence and suffered tear gas inhalation, psychological

harm and emotional distress as a result of the actions of Defendants Jane/John Doe, Philadelphia

Police officers, and their co-conspirators. Plaintiff Ivan Juarez was falsely arrested by Defendant

John Doe, a Philadelphia Police officer, or co-conspirator and eventually searched zip-tied and

forced to kneel on the pavement for a long time. Plaintiff was eventually taken from the location

and detained for several hours at a police district. Plaintiff Ivan Juarez was threatened by Defendant

John Doe, a Philadelphia Police officer, that if he was arrested again that he would be taken to jail.

Plaintiff Ivan Juarez was eventually issued a citation which was later dismissed by Defendant

Mayor Kenney. Plaintiff’s participation in this peaceable protest march ended as the direct result

of the brutal force deployed by Defendants Jane/John Doe, Philadelphia Police officers, and their

co-conspirators against plaintiffs and their fellow protesters.

       464.    On June 1, 2020, Plaintiff Sophia Khan participated in a peaceable protest march

in support of the Black Lives Matter movement in Philadelphia, Pennsylvania. While marching,

the police blocked off several of the adjacent streets along Benjamin Franklin Parkway and it

appeared that the only route for many of the marchers to take was to proceed onto highway I-676.

Eventually, Defendants Jane/John Doe, Philadelphia Police officers, and co-conspirators fired tear

gas into the crowd where Plaintiff Sophia Kahn was located. Plaintiff Sophia Khan suffered tear

gas inhalation as she tried to make her way to the hill adjacent to the highway in order to escape

the attack. After she was gassed, Plaintiff Sophia Khan was falsely arrested on the highway by

Defendant John Doe, a Philadelphia Police officer, or a co-conspirator and taken to the side of the

hill where she was zip-tied and placed on the highway where she remained for a long period of




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time. Plaintiff Sophia Khan was then transported on a bus with people whose COVID-19 masks

were removed by Defendants Jane/John Doe, Philadelphia Police officers. Plaintiff Sophia Khan

was detained at a police district for several hours and eventually issued a civil citation for failure

to disperse which was later dismissed by Defendant Mayor Kenney. Plaintiff Sophia Khan suffered

tear gas inhalation, psychological harm, and emotional distress and false arrest caused by

Defendants John Doe, Philadelphia Police officers, or co-conspirators. Plaintiff’s participation in

this peaceable protest march ended as the direct result of the brutal force deployed by Defendants

Jane/John Doe, Philadelphia Police officers, and their co-conspirators against plaintiffs and their

fellow protesters.

       465.    On June 1, 2020, Plaintiff Delaney Keefe participated in a peaceable protest march

in support of the Black Lives Matter movement in Philadelphia, Pennsylvania. She, along with

fellow protesters, entered highway I-676 to continue the peaceable protest onto the highway.

Plaintiff Delaney Keefe suffered tear gas inhalation as Defendants Jane/John Doe, Philadelphia

Police officers, launched tear gas at Plaintiff Delaney Keefe and her fellow protesters. Plaintiff

Delaney Keefe ran to the embankment next to the highway in an effort to try to escape the attack.

Plaintiff Delaney Keefe reached the hill but was struggling to breathe because of her asthma.

Plaintiff Delaney Keefe fell and was trampled under the stampede of protesters trying to flee the

tear gas assault, rubber bullets and pepper spray launched by Defendants Jane/John Doe,

Philadelphia Police officers, and their co-conspirators. Plaintiff eventually was able to reach

Benjamin Franklin Parkway. Plaintiff Delaney Keefe suffered tear gas inhalation, psychological

harm, and emotional distress. Plaintiff’s participation in this peaceable protest march ended as the

direct result of the brutal force deployed by Defendants Jane/John Doe, Philadelphia Police

officers, and their co-conspirators against plaintiffs and their fellow protesters.




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       466.    On June 1, 2020, Plaintiff Kara Khan was covering the peaceable protest march in

support of the Black Lives Matter movement as a freelance photographer. Plaintiff Kara Khan

was taking photographs and videos as she walked onto highway I- 676 to continue to document

the protest march as it moved from Benjamin Franklin Parkway onto the highway. While taking

photos on the highway Plaintiff Kara Khan observed Defendants Jane/John Doe, Philadelphia

Police officers, walk out from the underpass armed with guns and pepper spray. Plaintiff Kara

Khan began videotaping Defendants Jane/John Doe, Philadelphia Police officers, and their co-

conspirators immediately assaulted Plaintiff Kara Khan multiple times with pepper spray. Plaintiff

Kara Khan informed Defendants that she was there to document the events as a reporter by taking

photographs, Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators

fired tear gas at her. Plaintiff Kara Khan ran up the hill in order to escape the assault by scaling

the fence. As a result of the actions of Defendants Jane/John Doe, Philadelphia Police officers, and

their co-conspirators, Plaintiff Kara Khan suffered injuries to her eyes and face from the pepper

spray, tear gas inhalation, psychological harm, and emotional distress. Plaintiff’s participation in

this peaceable protest march ended as the direct result of the brutal force deployed by Defendants

Jane/John Doe, Philadelphia Police officers, and their co-conspirators against plaintiffs and their

fellow protesters.

       467.    On June 1, 2020, Plaintiff Cooper Kidd participated in a peaceable protest in

support of the Black Lives Matter movement in Philadelphia, Pennsylvania. Along with his fellow

protesters Plaintiff Cooper Kidd left Benjamin Franklin Parkway and marched onto highway I-

676. Plaintiff Cooper Kidd observed other protesters running in the opposite direction and saw

tear gas being fired into the crowd as he began to run up the hill next to the highway. Plaintiff

Cooper Kidd suffered gas inhalation, psychological harm and emotional distress as a result of the




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actions by Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators.

Plaintiff’s participation in this peaceable protest march ended as the direct result of the brutal force

deployed by Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators

against plaintiffs and their fellow protesters.

        468.    On June 1, 2020, Plaintiff Sarah Kinney participated in a peaceable protest march

in support of the Black Lives Matter movement in Philadelphia, Pennsylvania. Plaintiff Sarah

Kinney entered the protest toward the end of the march and as she arrived observed an armored

police vehicle parked on 22nd Street in front of the ramp blocking protesters from leaving highway

I -676. Plaintiff Sarah Kinney ran to the area overlooking the hill to the hill and observed people

on the hill suffering from tear gas inhalation as a result of the tear gas fired by Defendants

Jane/John Doe, Philadelphia Police officers, and their co-conspirators. Plaintiff Sarah Kinney then

observed Defendants Jane/John Doe, Philadelphia Police officers, exit the armored truck, deploy

flash grenades and fire tear gas at her and her fellow protesters. Through the chaos created by the

attack Plaintiff Sarah Kinney witnessed Defendant Jane/John Doe, a Philadelphia Police officer,

drop a tear gas canister from a Police helicopter onto the crowd below. Plaintiff Sarah Kinney was

eventually able to escape the assault by fleeing the scene of the protest march. Plaintiff Sarah

Kinney suffered tear gas inhalation, psychological harm, and emotional distress as a result of the

actions of Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators.

Plaintiff’s participation in this peaceable protest march ended as the direct result of the brutal force

deployed by Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators

against plaintiffs and their fellow protesters.

        469.    On June 1, 2020, Plaintiff Adam Knapp participated in a peaceable protest march

in support of the Black Lives Matter movement in Philadelphia, Pennsylvania. Once the march




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reached Benjamin Franklin Parkway, Plaintiff Adam Knapp, along with many of his fellow

peaceable protesters went onto highway I- 676 to continue the protest. While on I- 676 he observed

a large group of Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators

in full SWAT/Riot gear stationed at the end of the underpass. Plaintiff Adam Knapp observed a

crowd of protesters put their hands up in a show of surrender and peaceable non-violence.

Immediately, he felt a sharp, searing pain as he was struck by a tear gas canister fired by Defendant

John Doe, a Philadelphia Police officer, and/or a co-conspirator. Plaintiff Adam Knapp looked up

and observed Defendants Jane/John Doe, Philadelphia Police officers, firing into the peaceable

protesters as they began to flee the onslaught by running in the opposite direction. Plaintiff Adam

ran off the highway onto the hilly embankment as Defendants Jane/John Doe, Philadelphia Police

officers, launched tear canisters at Plaintiff Adam Knapp and his fellow protesters that were

scrambling up the hill to escape the attack. Adam Knapp witnessed Defendants Jane/John Doe,

Philadelphia Police officers, and their co-conspirators deploy pepper spray at several of the

protesters at the top of the hill. Plaintiff Adam Knapp observed at least six to ten tear gas canisters

launched at the crowd of peaceable protesters on the hill by Defendants Jane/John Doe,

Philadelphia Police officers, and their co-conspirators. Plaintiff Adam Knapp suffered tear gas

inhalation, physical pain and bruising from the rubber bullet, psychological harm, as well as

emotional distress caused by Defendants Jane/John Doe, Philadelphia Police officers, and their co-

conspirators. Plaintiff’s participation in this peaceable protest march ended as the direct result of

the brutal force deployed by Defendants Jane/John Doe, Philadelphia Police officers, and their co-

conspirators against plaintiffs and their fellow protesters.

       470.    On June 1, 2020, Plaintiff Raeann Knight along with a group of friends participated

in a peaceable protest in support of the Black Lives Matter movement in Philadelphia,




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Pennsylvania. Towards the end of the march she, along with many of her fellow protestors, went

from Benjamin Franklin Parkway onto highway I-676. Plaintiff Raeann Knight heard noises and

observed protesters running in her direction. While Plaintiff Raeann Knight was holding hands

with a friend she began to panic as the tear gas launched by Defendants Jane/John Doe,

Philadelphia Police officers, and their co-conspirators filled her lungs. Plaintiff Raeann Knight

struggled to breathe as she made her way onto the hill and over the fence onto Benjamin Franklin

Parkway. Plaintiff Raeann Knight suffered tear gas inhalation, psychological harm, and emotional

distress as a result of the actions of Defendants Jane/John Doe, Philadelphia Police officers, and

their co-conspirators. Plaintiff’s participation in this peaceable protest march ended as the direct

result of the brutal force deployed by Defendants Jane/John Doe, Philadelphia Police officers, and

their co-conspirators against plaintiffs and their fellow protesters.

        471.    On June 1, 2020, Plaintiff Kyra Kochmansky participated in a peaceable protest

march in support of the Black Lives Matter movement in Philadelphia, Pennsylvania. As the march

reached Benjamin Franklin Parkway, Plaintiff Kyra Kochmansky and her fellow peaceable

protesters made their way down onto highway I-676. After marching for several minutes,

protesters ran in her direction. Plaintiff Kyra Kochmansky ran to the hill adjacent to the highway

to escape the attack. While climbing the hill Plaintiff Kyra Kochmansky suffered tear gas

inhalation from canisters launched by Defendants Jane/John Doe, Philadelphia Police officers, and

their co-conspirators at her and her fellow protesters trying to escape the attack. Plaintiff Kyra

Kochmansky struggled to breathe as she made her way onto the hill and over the fence and onto

Benjamin Franklin Parkway. Plaintiff Kyra Kochmansky suffered tear gas inhalation which caused

respiratory problems for several days afterwards, psychological pain and emotional distress.

Plaintiff’s participation in this peaceable protest march ended as the direct result of the brutal force




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deployed by Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators

against plaintiffs and their fellow protesters.

        472.    On June 1, 2020, Plaintiff Joseph Koehler participated in a peaceable protest march

in support of the Black Lives Matter movement in Philadelphia, Pennsylvania. As the march

reached Benjamin Franklin Parkway, Plaintiff Joseph Koehler and her fellow peaceable protesters

made their way down onto highway I-676. Defendants Jane/John Doe, Philadelphia Police officers,

and their co-conspirators dressed in SWAT/Riot gear attack the protesters with tear gas and rubber

bullets. Plaintiff Joseph Koehler initially took a knee on the highway after he observed a protester

next to him get shot with rubber bullets. Once Plaintiff Joseph Koehler realized that Defendants

Jane/John Doe, Philadelphia Police officers, and co-conspirators were going to continue with their

violent attack on him and his fellow protesters, he fled to the hill in an effort to escape the tear gas

and rubber bullets. While on the hill Plaintiff Joseph Koehler struggled to breathe as Defendants

Jane/John Doe, Philadelphia Police officers, and co-conspirators fired tear gas at him and his

fellow protesters on the hill. Plaintiff was injured as he made his escape over the fence. Plaintiff

Josephs Koehler suffered tear gas inhalation, physical injury, psychological injury, and emotional

distress as a result of the actions of Defendants Jane/John Doe, Philadelphia Police officers, and

co-conspirators. Plaintiff’s participation in this peaceable protest march ended as the direct result

of the brutal force deployed by Defendants Jane/John Doe, Philadelphia Police officers, and their

co-conspirators against plaintiffs and their fellow protesters

        473.    On June 1, 2020, Plaintiff Peter Kourahanis participated in a peaceable protest

march in support of the Black Lives Matter movement in Philadelphia, Pennsylvania. As the

peaceable march made its way onto Benjamin Franklin Parkway, Plaintiff Peter Kourahanis and

many of his fellow protesters made their way onto the highway at I-676. Once on the highway,




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Defendants Jane/John Doe, Philadelphia Police officers, and co-conspirators fired tear gas at

Plaintiff Peter Kourahanis and the crowd of peaceable protesters. Plaintiff Peter Kourahanis

struggled to breathe as the result of cloud of tear gas which engulfed him. Plaintiff Peter

Kourahanis suffered tear gas inhalation, psychological harm, and emotional distress as a result of

the actions of Defendants Jane/John Doe, Philadelphia Police officers. Plaintiff’s participation in

this peaceable protest march ended as the direct result of the brutal force deployed by Defendants

Jane/John Doe, Philadelphia Police officers, and their co-conspirators against plaintiffs and their

fellow protesters.

        474.    On June 1, 2020, Plaintiff Bernard M. Lambert participated in a peaceable protest

march in support of the Black Lives Matter movement in Philadelphia, Pennsylvania. Along with

many other peaceable protestors Plaintiff Bernard M. Lambert continued the peaceable protest

march onto highway I-676. While on the highway, Plaintiff Bernard M. Lambert observed a line

of Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators firing pepper

spray as they approached Plaintiff and other protesters. Everyone began to run toward an

embankment adjacent to the highway. Defendants Jane/John Doe, Philadelphia Police officers, and

their co-conspirators fired tear gas at Plaintiff and the crowd of protesters struggling to escape the

onslaught. Plaintiff Bernard M. Lambert suffered tear gas inhalation, psychological harm and

emotional distress as he struggled to breathe while choking from the tear gas. Plaintiff who suffers

from asthma experienced respiratory difficulty for several days following the tear gas inhalation.

Plaintiff’s participation in this peaceable protest march ended as the direct result of the brutal force

deployed by Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators

against plaintiffs and their fellow protesters.




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        475.    On June 1, 2020, Plaintiff Justine LeDonne participated in a peaceable protest

march in support of the Black Lives Matter movement in Philadelphia, Pennsylvania. She along

with many of her other protestors marched from Benjamin Franklin Parkway onto highway I-676

to continue the peaceable protest on the highway. At one point, Plaintiff Justine LeDonne sat

down on the highway as part of her protest. After continuing their march on the highway Plaintiff

Justine LeDonne observed three to five Defendants Jane/John Doe, Philadelphia Police officers,

and their co-conspirators in SWAT/Riot gear fire rubber bullets into the crowd of peaceable

protesters. Out of fear, the crowd of peaceable protesters, including Plaintiff Justine LeDonne sat

back down in fear. As Defendants Jane/John Doe, Philadelphia Police officers, continued firing

tear gas and rubber bullets, Plaintiff Justine LeDonne turned around and tried to escape up the

embankment between 21st and 22nd Street. Defendants Jane/John Doe, Philadelphia Police

officers, approached and without warning, continuously fired tear gas canisters and rubber bullets

into the crowd of protesters attempting to flee up the hill. While trapped in the hill Plaintiff Justine

LeDonne suffered tear gas inhalation as the cloud of tear gas enveloped the entire crowd. Knowing

that she would not make it over the fence because of the tear gas, Plaintiff Justine LeDonne helped

others escape the tear gas and rubber bullets. Plaintiff Justine LeDonne was falsely arrested by

Defendant Jane/John Doe, a Philadelphia Police officer, and/or co-conspirator. During her arrest

she witnessed other protesters treated very aggressively by Defendants Jane/John Doe,

Philadelphia Police officers, and/or their co-conspirators. Following the false arrest Plaintiff

Justine LeDonne was zip-tied, detained for several hours and issued a citation for failure to disperse

which was eventually dismissed by Defendant Mayor Kenney. Plaintiff LeDonne suffered tear

gas inhalation, false arrest, nerve damage to her wrist from the tightly bound zip ties, psychological

injury, and emotional distress as a result of the actions committed by Defendants Jane/John Doe,




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Philadelphia Police officers, and/or their co-conspirators. Plaintiff’s participation in this peaceable

protest march ended as the direct result of the brutal force deployed by Defendants Jane/John Doe,

Philadelphia Police officers, and their co-conspirators against plaintiffs and their fellow protesters.

       476.    On June 1, 2020, Plaintiff Michael Long participated in a peaceable protest in

support of the Black Lives Matter movement in Philadelphia, Pennsylvania. While marching

along Benjamin Franklin Parkway Plaintiff Michael Long, along with a group of fellow protesters

marched across the overpass. While on the overpass Plaintiff Michael Long observed several

armored police, vehicles approach him and his fellow protestors. He observed Defendants

Jane/John Doe, Philadelphia Police officers, and co-conspirators deploy tear gas as it smothered

both him and his fellow protesters. In the midst of the attack by Defendants Jane/John Doe,

Philadelphia Police officers, and their co-conspirators, Plaintiff Michael Long was almost struck

with a tear gas canister. Although he was able to make it out Plaintiff Michael Long suffered tear

gas inhalation, physical injury, psychological injury, and emotional distress caused by Defendants

Jane/John Doe, Philadelphia Police officers, and co-conspirators. Reflecting on this traumatic

experience, Plaintiff Michael Long stated that everyone was terrified when the tear gas was

deployed as there was nowhere to go. Plaintiff’s participation in this peaceable protest march ended

as the direct result of the brutal force deployed by Defendants Jane/John Doe, Philadelphia Police

officers, and their co-conspirators against plaintiffs and their fellow protesters.

       477.    On June 1, 2020, Plaintiff Sebastian Lopez participated in a peaceable protest

march in support of the Black Lives Matter movement in Philadelphia, Pennsylvania. While

marching on Benjamin Franklin Parkway Plaintiff Sebastian Lopez, along with many of his fellow

protesters, eventually marched onto the highway I-676. Shortly after Plaintiff Sebastian Lopez

entered the underpass, he observed rubber bullets fired by Defendants Jane/John Doe, Philadelphia




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Police officers, or co-conspirator strike his friend Jordan. As Plaintiff Sebastian Lopez and his

friend Jordan ran to escape the attack, they were immersed in a cloud of tear gas deployed by

Defendants Jane/John Doe, Philadelphia Police officers, and/or co-conspirators.             Plaintiff

Sebastian Lopez suffered tear gas inhalation, psychological injury, and emotional distress caused

by Defendants Jane/John Doe, Philadelphia Police officers, and co-conspirators. Plaintiff’s

participation in this peaceable protest march ended as the direct result of the brutal force deployed

by Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators against

plaintiffs and their fellow protesters.

        478.    On June 1, 2020, Plaintiff Shawn Lynch participated in a peaceable protest in

support of the Black Lives Matter movement in Philadelphia, Pennsylvania. As Plaintiff Shawn

Lynch and his fellow protesters marched onto Benjamin Franklin Parkway, armored police

vehicles moved in to disperse the protesters on Benjamin Franklin Parkway. Defendants Jane/John

Doe, Philadelphia Police officers, and co-conspirators fired tear gas canisters at the peaceable

protesters, including Plaintiff Shawn Lynch while on Benjamin Franklin Parkway. Plaintiff

suffered tear gas inhalation and was assisted by other protesters. Plaintiff Shawn Lynch decided to

continue the protest march onto highway I-676.        As he approached the entrance ramp to the

highway Plaintiff Shawn Lynch witnessed Defendants Jane/John Doe, Philadelphia Police

officers, attempt to corral and arrest many of the protesters as they were scrambling to escape the

tear gas assault on I- 676. Plaintiff Shawn Lynch tried to go down the ramp as he observed

Defendants Jane/John Doe, Philadelphia Police officers, fire tear gas into the crowd of protesters

on the highway. Forced off the ramp and back up to Benjamin Franklin Parkway, Plaintiff Shawn

Lynch continued to protest with fellow protesters on 22 nd Street. While on 22nd Street a group of

Defendants Jane/John Doe, Philadelphia Police officers, on bicycles ambushed the protesters from




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behind. While Plaintiff Shawn Lynch was asking Defendant John Doe, a Philadelphia Police

officer, why they could not continue to protest on the sidewalk a different Defendant Jane/John

Doe, a Philadelphia Police officer, told Plaintiff Shawn Lynch to “shut the fuck up” and grabbed

him and struck him either with his fist or a hard object. Plaintiff is not sure whether it was with

their fists or clubs. Plaintiff Shawn Lynch was then forcibly thrown to the ground. While on the

ground Plaintiff Shawn Lynch tried to shield himself from numerous punches thrown at him by

several Defendants Jane/John Doe, Philadelphia Police officers. Plaintiff Shawn Lynch was falsely

arrested, zip-tied and placed with many other protesters in a Philadelphia Emergency Patrol

wagon. One of the other individuals in custody with Plaintiff Shawn Lynch was a

journalist. Plaintiff Shawn Lynch was detained for several hours and issued a citation for failure

to disperse. Prior to his release he was threatened by one of Defendants Jane/John Doe,

Philadelphia Police officers, that if he was arrested for protesting again that he would be sent to

state prison. The citation was later dismissed by Defendant Mayor Kenney. Plaintiff Shawn

Lynch suffered gas inhalation and cuts and bruises from the assault by Defendants Jane/John Doe,

Philadelphia Police officers, psychological injury, and emotional distress. Plaintiff’s participation

in this peaceable protest march ended as the direct result of the brutal force deployed by Defendants

Jane/John Doe, Philadelphia Police officers, and their co-conspirators against plaintiffs and their

fellow protesters.

       479.    On June 1, 2020, Plaintiff Gregory Mazur joined a peaceable protest march in

support of the Black Lives Matter movement in Philadelphia, Pennsylvania. Marching on

Benjamin Franklin Parkway Plaintiff Greg Mazur joined fellow protesters onto highway I-676 to

continue the peaceable protest. As Plaintiff Greg Mazur was marching on the highway Defendants

Jane/John Doe, Philadelphia Police officers, and co-conspirators fired tear gas at Plaintiff Greg




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Mazur and the crowd of protesters nearby. Plaintiff Greg Mazur suffered gas inhalation and was

eventually able to climb the embankment and climb over the fence. Plaintiff observed Defendants

Jane/John Doe, Philadelphia Police officers, continue to fire tear gas canisters into the crowd of

protesters, many already in police custody. Plaintiff Gregory Mazur suffered tear gas inhalation,

psychological injury, and emotional distress as a result of the brutal attack brought by Defendants

Jane/John Doe, Philadelphia Police officers, and co-conspirators. Plaintiff’s participation in this

peaceable protest march ended as the direct result of the brutal force deployed by Defendants

Jane/John Doe, Philadelphia Police officers, and their co-conspirators against plaintiffs and their

fellow protesters.

       480.    On June 1, 2020, Plaintiff Lilly McBride joined in a peaceable protest march in

support of the Black Lives Matter movement in Philadelphia, Pennsylvania. The protest march

remained a peaceable protest for the entire day. As the march reached Benjamin Franklin Parkway,

Plaintiff Lilly McBride joined many fellow peaceable protesters as they took their march onto

highway I-676. Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators

dressed in SWAT/Riot gear blocked the highway at the end of the underpass as the marchers

proceeded into the underpass. Plaintiff Lilly McBride heard a number of flash/bang grenades and

immediately felt the impact of the tear gas fired by Defendants Jane/John Doe, Philadelphia Police

officers, and co-conspirators. Along with hundreds of others, Plaintiff Lilly McBride fled the

highway onto a steep grassy embankment to escape the assault. While on the embankment Plaintiff

Lilly McBride suffered tear gas inhalation caused by Defendants Jane/John Doe, Philadelphia

Police officers, and co-conspirators firing tear gas onto the hill. Once Plaintiff Lilly McBride

suffered tear gas inhalation a second time on when Defendants Jane/John Doe, Philadelphia Police

officers, and co-conspirators deployed tear gas at the protesters while on Benjamin Franklin




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Parkway. As a result of the actions taken by Defendants Jane/John Doe, Philadelphia Police

officers, and co-conspirators, Plaintiff Lilly McBride twice suffered tear gas inhalation,

psychological pain, and emotional distress. It took Plaintiff Lilly McBride two to three days to

recover from the residual effects of the tear gas and experienced frightening flashbacks for days

following the attack. Plaintiff’s participation in this peaceable protest march ended as the direct

result of the brutal force deployed by Defendants Jane/John Doe, Philadelphia Police officers, and

their co-conspirators against plaintiffs and their fellow protesters.

       481.    On June 1, 2020, Plaintiff Brian McCaffrey joined a peaceable protest march in

support of the Black Lives Matter movement in Philadelphia, Pennsylvania. Plaintiff Brian

McCaffery, along with many of his fellow protesters marched from Benjamin Franklin Parkway

onto highway I-676. As Plaintiff Brian McCaffrey and his fellow protesters entered the underpass,

he heard shots, explosions and screams from up ahead. Suddenly, a large group of people in front

of him began running and screaming in his direction. As Plaintiff Brian McCaffrey fled with

hundreds of others, he observed armed Defendants Jane/John Doe, Philadelphia Police officers,

and co-conspirators spray protesters with a liquid as explosions and muffled gunfire came at him

from all directions. The attack created total confusion and panic as a peaceable protest march

quickly disintegrated into a stampede of people desperate to escape. Without warning, Plaintiff

Brian McCaffrey witnessed Defendants Jane/John Doe, Philadelphia Police officers, firing tear

gas canisters in his direction. Immediately, Plaintiff Brian McCaffery fled the highway and began

to climb the embankment next to the highway in an effort to escape the attack. Plaintiff Brian

McCaffrey labored up the hill as he and the other fleeing protesters were engulfed in a thick cloud

of tear gas fired at him and others by Defendants Jane/John Doe, Philadelphia Police officers, and

co-conspirators. Struggling to breathe and blinded by smoke of the gas, Plaintiff Brian McCaffrey




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began to panic and dropped his bicycle as other protesters and hoisted him over the fence. Aa a

result of the actions of Defendants Jane/John Doe, Philadelphia Police officers, and co-

conspirators Plaintiff Brian McCaffery suffered tear gas inhalation, psychological injury, and

emotional distress. Plaintiff’s participation in this peaceable protest march ended as the direct

result of the brutal force deployed by Defendants Jane/John Doe, Philadelphia Police officers, and

their co-conspirators against plaintiffs and their fellow protesters.

        482.    On June 1, 2020, Plaintiff Christopher McDaniel joined a peaceable protest march

in support of the Black Lives Matter movement in Philadelphia, Pennsylvania. Plaintiff

Christopher McDaniel was on a skateboard throughout the march and he eventually joined other

protestors to continue the peaceable protest onto 676 highway. While on the highway, he suffered

tear gas inhalation and chemical burns from the tear gas deployed by Defendants Jane/John Doe,

Philadelphia Police officers, and co-conspirators. Plaintiff Christopher McDaniel fled to a grassy

embankment adjacent to the highway with hundreds of his fellow protesters. While on the hill

        483.    Defendants Jane/John Doe, Philadelphia Police officers, and co-conspirators fired

tear gas into the crowd causing Plaintiff Christopher McDaniel to suffer tear gas inhalation.

Suddenly Defendant John Doe, a Philadelphia Police officer, and/or co-conspirator fired a tear gas

canister which struck Plaintiff Christopher McDaniel in the head causing serious bodily injury as

a blood vessel in his eye burst. Plaintiff Christopher McDaniel suffered tear gas inhalation, severe

injury to his head, psychological injury, as well as emotional distress as a result of the actions by

Defendants Jane/John Doe, Philadelphia Police officers, and/or co-conspirators. Plaintiff’s

participation in this peaceable protest march ended as the direct result of the brutal force deployed

by Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators against

plaintiffs and their fellow protesters.




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       484.    On June 1, 2020, Plaintiff Scarlett McIntosh joined a peaceable protest march in

support of the Black Lives Matter movement in Philadelphia, Pennsylvania. As the march made

its way to Benjamin Franklin Parkway Plaintiff Scarlett McIntosh and many of her fellow

peaceable protesters went down the on-ramp onto highway at I-676 to continue their peaceable

protest. While on the highway, Plaintiff Scarlett McIntosh heard a loud bang and observed her

fellow protestors begin to scatter. Within seconds after the initial explosions Plaintiff Scarlett

McIntosh observed Defendants Jane/John Doe, Philadelphia Police officers, and their co-

conspirators fire rubber bullets and tear gas into the crowd. Plaintiff Scarlett McIntosh attempted

to escape the attack by leaving the highway and climbing the hill but was caught in the cloud of

tear gas that engulfed her and the other protesters trapped on the hill. Eventually Scarlett McIntosh

was able to make it onto Benjamin Franklin Parkway. Plaintiff Scarlett McIntosh suffered tear gas

inhalation, psychological injury, and emotional distress as a result of Defendants Jane/John Doe,

Philadelphia Police officers, and their co-conspirators actions by deploying tear gas at her and the

peaceable protesters she was with. Plaintiff’s participation in this peaceable protest march ended

as the direct result of the brutal force deployed by Defendants Jane/John Doe, Philadelphia Police

officers, and their co-conspirators against plaintiffs and their fellow protesters.

       485.    On June 1, 2020, Plaintiff Derrick McNew joined a peaceable protest march in

support of the Black Lives Matter movement in Philadelphia, Pennsylvania. Plaintiff Derrick

McNew, along with many of his fellow protesters, took the peaceable march from Benjamin

Franklin Parkway onto highway I- 676. As Plaintiff Derrick McNew marching with many others,

he entered an underpass as the protesters marching in front of him began to rush back in his

direction. As Defendants Jane/John Doe, Philadelphia Police officers, and co-conspirators closed

in from all directions they began firing tear gas into the crowd. Plaintiff Derrick McNew left the




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highway and began climbing the hill in order to escape the tear gas. Enveloped by the cloud of tear

gas fired by Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators,

Plaintiff Derrick McNew unable to breathe or see, panicked as the surge of desperate people

struggling to escape were pushed up against the fence. Eventually, Plaintiff Derrick McNew was

able to scale the fence and went on to assist others make it over the fence and back onto Benjamin

Franklin Parkway. Plaintiff Derrick McNew suffered tear gas inhalation, psychological injury, and

emotional distress as a result of the actions taken by Defendants Jane/John Doe, Philadelphia

Police officers, and their co-conspirators. Plaintiff’s participation in this peaceable protest march

ended as the direct result of the brutal force deployed by Defendants Jane/John Doe, Philadelphia

Police officers, and their co-conspirators against plaintiffs and their fellow protesters.

       486.    On June 1, 2020, Plaintiff Dominique McQuade participated in a peaceable protest

march in support of the Black Lives Matter movement in Philadelphia, Pennsylvania. As Plaintiff

Dominique McQuade and his fellow marchers made their way across the 22 nd Street bridge many

of the protesters were stopped by a police vehicle driven by Defendants Jane/John Doe,

Philadelphia Police officers, and/or co-conspirators. As the vehicle came to a stop, without

warning Defendants Jane/John Doe, Philadelphia Police officers, and/or co-conspirators fired tear

gas canisters in the direction of Plaintiff Dominique McQuade and the crowd of peaceable

protesters. Suddenly, Defendants Jane/John Doe, Philadelphia Police officers, or co-conspirators

drove the police vehicle toward the crowd forcing Plaintiff Dominique McQuade and the protesters

in the area to scatter in order to avoid getting hit by the vehicle. Defendants Jane/John Doe,

Philadelphia Police officers, or co-conspirators continued to fire tear gas canisters into the crowd

then descended onto highway I-676 all the while firing tear gas canisters into the crowd of

peaceable protestors. Plaintiff Dominique McQuaid suffered tear gas inhalation, psychological




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injury, and emotional distress as a result of Defendants Jane/John Doe, Philadelphia Police

officers, and their co-conspirator’s actions. Plaintiff’s participation in this peaceable protest march

ended as the direct result of the brutal force deployed by Defendants Jane/John Doe, Philadelphia

Police officers, and their co-conspirators against plaintiffs and their fellow protesters.

       487.    On June 1, 2020, Plaintiff Elle Micheli participated in a peaceable protest march in

support of the Black Lives Matter movement in Philadelphia, Pennsylvania. Plaintiff Elle Micheli

joined the march as it eventually moved to Benjamin Franklin Parkway. Eventually, Elle Micheli

joined her fellow protesters on highway I-676. While Plaintiff Elle Micheli and her fellow

protesters were marching on the highway Defendants Jane/John Doe, Philadelphia Police officers,

and co-conspirators, dressed in SWAT/Riot gear, moved in and began firing tear gas at Plaintiff

Elle Micheli and her fellow protesters. Immediately, Plaintiff Elle Micheli ran from the highway

onto a grassy embankment in order to escape the tear gas. As Plaintiff Elle Micheli climbed the

hill, she witnessed Defendants Jane/John Doe, Philadelphia Police officers, and co-conspirators

firing tear gas and using pepper spray on her and her fellow protesters. She also witnessed many

people dragged off the hill by Defendants and arrested. Plaintiff Elle Micheli yelled at Defendants

Jane/John Doe, Philadelphia Police officers, to stop attacking her and her fellow protesters so they

could flee the scene. Defendants Jane/John Doe, Philadelphia Police officers, and co-conspirators

ignored her pleas and continued the assault. Plaintiff Elle Micheli suffered tear gas inhalation and

struggled to breathe as she was crushed against the fence waiting to climb over to escape the

assault. Eventually, Plaintiff she was able to climb the fence to escape the attack. Plaintiff Micheli

suffered tear gas inhalation, psychological injury, and emotional distress as a result of the actions

of Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators. Plaintiff’s

participation in this peaceable protest march ended as the direct result of the brutal force deployed




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by Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators against

plaintiffs and their fellow protesters.

        488.    On June 1, 2020, Plaintiff Brian Gordon Miller joined a peaceable protest march in

support of the Black Live Matter Movement in Philadelphia, Pennsylvania. He, along with

hundreds of other peaceable protesters marched onto 676. While marching on the highway

Defendants Jane/John Doe, Philadelphia Police officers, and co-conspirators, dressed in

SWAT/Riot gear, without warning or provocation, moved in and began firing tear gas at Plaintiff

Brian Gordon Miller and his fellow protesters. Immediately, Plaintiff Brian Gordon Miller ran

from the highway onto a grassy embankment in order to escape the tear gas. As Plaintiff Brian

Gordon Miller was climbing the hill that led to the fence as a tear gas canister was fired by

Defendants Jane/John Doe, Philadelphia Police officers, and co-conspirators at him and his fellow

protesters on the hill. Plaintiff Brian Gordon Miller suffered gas inhalation as he began to choke

and cough. The burning sensation in his throat and lungs was unbearable. Finally, a fellow protester

assisted Plaintiff Brian Gordon Miller over the fence. Once he was over the fence Plaintiff Brian

Gordon Miller observed many of his fellow protesters helping others over the fence as the violent

assault by Defendants Jane/John Doe, Philadelphia Police officers, and co-conspirators escalated.

Plaintiff Brian Gordon Miller described the scene as full of terror and pandemonium as he observed

many victimized by the tear gas screaming and crying, while others were throwing up. Plaintiff

Brian Gordon Miller vividly recalls one older gentleman screaming “I can’t breathe, I can’t

breathe.” For weeks following the assault Plaintiff Brian Gordon Miller had trouble sleeping as

he had recurring nightmares of people swarming him, their eyes full of fear. As a result of the

actions committed by Defendants Jane/John Doe, Philadelphia Police officers, and co-

conspirators, Plaintiff Brian Gordon Miller suffered tear gas inhalation, psychological injury, and




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emotional distress and is presently being treated for post-traumatic stress from the attack.

Plaintiff’s participation in this peaceable protest march ended as the direct result of the brutal force

deployed by Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators

against plaintiffs and their fellow protesters.

        489.    On June 1, 2020, Plaintiff Katharine Miller joined a peaceable protest march in

support of the Black Lives Matter movement. The peaceable protest march began near Race Street,

and eventually, the protesters ended up on Benjamin Franklin Parkway near I-676. Plaintiff

Katharine Miller and her fellow protesters continued the peaceable protest march onto highway I-

676. While on the highway, Plaintiff Katharine Miller observed many of her fellow protestors

begin to run in a panic. After being sprayed in the face with pepper spray at close range by

Defendant Nicoletti, Plaintiff Katharine Miller needed the assistance of her fellow protesters to

escape the highway and the attack of Defendant Nicoletti and Defendants Jane/John Doe,

Philadelphia Police officers. Plaintiff Katharine Miller felt the effect of the tear gas fired into the

crowd by Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators.

Plaintiff Katharine Miller and her fellow protesters left the highway and climbed a hilly

embankment adjacent to the highway in an effort to escape the tear gas. Defendants Jane/John

Doe, Philadelphia Police officers, continued to throw tear gas canisters and shoot rubber bullets at

the crowd of protesters trying to climb the fence at the top of the hill. Plaintiff escaped the attack

when other protesters assisted her over the fence where she could clear her eyes out. Plaintiff

Katharine Miller suffered tear gas inhalation, physical injury, psychological harm, and emotional

distress as a direct result of the brutal tear gas attack by Defendant Philadelphia Police Officers

and co-conspirators. Plaintiff Katharine Miller’s participation in this peaceable protest march

ended as the direct result of the brutal force deployed by Defendants Jane/John Doe, Philadelphia




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Police officers, and their co-conspirators against Plaintiff Katharine Miller and her fellow

protesters.

        490.   On June 1, 2020, Plaintiff Nathaniel Miller joined a peaceable protest in support of

the Black Lives Matter movement as a Legal Observer wearing bright colored clothing and visible

lettering with the words “Legal Observer” prominently displayed. Throughout the day Plaintiff

Nathaniel Miller remained near the front of the march in order to monitor the actions of the

Philadelphia Police and other law enforcement officers as the march progressed. Eventually, the

peaceable protest march reached Benjamin Franklin Parkway, with a group of protesters marching

down onto highway I-676. Plaintiff Nathaniel Miller followed the march onto highway I-676 to

continue to monitor the march. While Plaintiff Nathaniel Miller was monitoring the protest, he

observed Defendants Jane/John Doe, Philadelphia Police officers, and/or co-conspirators arrive in

with armored vehicles. While serving as a Legal Observer monitoring the police, he was targeted

by Defendants Jane/John Doe, Philadelphia Police officers, and/or co-conspirators and shot with

rubber bullets multiple times. Plaintiff Nathaniel Miller experienced severe pain and suffered

contusions as the result of the rubber bullets. At no time did Plaintiff Nathaniel Miller commit any

act or observe any action by any protester that would provoke the violent assault committed by

Defendants Jane/John Doe, Philadelphia Police officers, and/or co-conspirators. Plaintiff

Nathaniel Miller suffered severe physical pain, welts and contusions on his body, psychological

pain and emotional distress based on the actions of Defendants Jane/John Doe, Philadelphia Police

officers, and/or co-conspirators.

        491.   On June 1, 2020, Plaintiff Rahkia Mitchumi participated in a peaceable protest in

support of the Black Lives Matter movement in Philadelphia, Pennsylvania. As the march reached

Benjamin Franklin Parkway, Plaintiff Rakia Mitchumi joined many of her fellow protesters as they




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moved their peaceable protest from Benjamin Franklin Parkway onto highway I-676. While on

the highway, standing on the median and attempting to videotape the march, Plaintiff Rahkia

Mitchumi observed her fellow protesters begin to run back towards her. As chaos ensued Plaintiff

Rahkia Mitchumi observed a semi-conscious man lying on the ground in need of medical

assistance. Plaintiff Rahkia Mitchumi provided him with medical attention. The injured man told

Plaintiff Rahkia Mitchumi that he had been hit in the head with a tear gas canister. At that moment

Plaintiff Rahkia Mitchumi realized that tear gas canisters were deployed as the tear gas engulfed

her and everyone in her vicinity. Plaintiff Rahkia Mitchumi then observed Defendants Jane/John

Doe, Philadelphia Police officers, and co-conspirators, dressed in SWAT/Riot gear, fire tear gas

at her and her fellow protesters. Plaintiff Rahkia Mitchumi suffered tear gas inhalation,

psychological injury, and emotional distress as a result of the actions of Defendants Jane/John

Doe, Philadelphia Police officers, and co-conspirators. Plaintiff’s participation in this peaceable

protest march ended as the direct result of the brutal force deployed by Defendants Jane/John Doe,

Philadelphia Police officers, and their co-conspirators against plaintiffs and their fellow protesters.

       492.    On June 1, 2020, Plaintiff Nancy Mitchell participated in a peaceable protest march

in support of the Black Lives Matter movement in Philadelphia, Pennsylvania. Plaintiff Nancy

Mitchell along with many of her fellow protesters marched from Benjamin Franklin Parkway onto

highway I-676. Many of the drivers that were stopped in traffic as a result of the protest were

honking in solidarity. The protest march continued peaceablely along the highway and into the

underpass. Soon after entering the highway Plaintiff Nancy Mitchell observed protesters run back

in her direction as tear gas followed them out from the underpass. Plaintiff Nancy Mitchell

observed Defendants Jane/John Doe, Philadelphia Police officers, and co-conspirators, dressed in

SWAT/Riot gear moving in from the west fire tear gas at her and her fellow protesters. Plaintiff




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Nancy Mitchell and her fellow protesters sought the closest means of escape, a grassy embankment

adjacent to the highway. At no time was there any warning or order to disperse, just tear gas being

fired into the crowd. As Plaintiff Nancy Mitchell climbed onto the embankment tear gas canisters

were launched into the crowd where Plaintiff Nancy Mitchell was located by Defendants Jane/John

Doe, Philadelphia Police officers, and co-conspirators causing Plaintiff Nancy Mitchell to suffer

tear gas inhalation. As the cloud of tear gas smothered the crowd, one of the protesters standing

next to Plaintiff Nancy Mitchell appeared to be suffering from an asthma attack. As he was gasping

for air, he began to scream that he couldn’t breathe causing Plaintiff Nancy Mitchell to believe

that he was going to die right there on the hill. Within seconds Plaintiff Nancy Mitchell was

smothered by the cloud of tear gas she struggled to breathe as well. Although she was able to get

over the fence and escape the attack, the image of this man struggling to breathe as he feared for

his life has left an indelible imprint on Plaintiff Nancy Mitchell’s mind, one that she will never

forget. Consumed by the cloud of tea gas fired by Defendants Jane/John Doe, Philadelphia Police

officers, and their co-conspirators, Plaintiff Nancy Mitchell suffered tear gas inhalation,

psychological injury, and emotional distress. Plaintiff’s participation in this peaceable protest

march ended as the direct result of the brutal force deployed by Defendants Jane/John Doe,

Philadelphia Police officers, and their co-conspirators against plaintiffs and their fellow protesters.

       493.    On June 1, 2020, Plaintiff Adam Montgomery participated in a peaceable protest

march in support of the Black Lives Matter movement in Philadelphia, Pennsylvania. As the

march proceeded down Benjamin Franklin Parkway there was a blockade of Defendants Jane/John

Doe, Philadelphia Police officers, located on 22nd Street forcing people to march onto highway I-

676. Plaintiff Adam Montgomery was on 22nd Street when he witnessed a tear gas attack on the

protesters on I-676 by Defendants Jane/John Doe, Philadelphia Police officers, and their co-




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conspirators. Another group of Defendants Jane/John Doe, Philadelphia Police officers, fired tear

gas at Plaintiff Adam Montgomery and the protesters as they were standing on the 22 nd Street

overpass and as a result Plaintiff suffered tear gas inhalation, psychological injury, and emotional

distress. Plaintiff Adam Montgomery believed that Defendants Jane/John Doe, Philadelphia Police

officers, blocked them the protest march intentionally in order to begin this attack to disperse the

peaceable protest. Plaintiff’s participation in this peaceable protest march ended as the direct result

of the brutal force deployed by Defendants Jane/John Doe, Philadelphia Police officers, and their

co-conspirators against plaintiffs and their fellow protesters.

       494.    On June 1, 2020, Plaintiff Anzalette Muslim joined a peaceable protest march in

support of the Black Lives Matter movement. The peaceable protest march began near Race Street,

and eventually, the protesters ended up on Benjamin Franklin Parkway near I-676. Plaintiff

Anzalette Muslim and her fellow protesters continued the peaceable protest march onto highway

I-676. As Plaintiff Anzalette Muslim was on I-676, she heard people yelling “tear gas” and then

observed the protesters in front of her running back in her direction. Soon after, Plaintiff Anzalette

Muslim felt the effect of the tear gas fired into the crowd by Defendants Jane/John Doe,

Philadelphia Police officers, and their co-conspirators. Plaintiff Anzalette Muslim and her fellow

protesters left the highway and climbed a hilly embankment adjacent to the highway in an effort

to escape the tear gas as Defendants Jane/John Doe, Philadelphia Police officers, continued to

throw tear gas canisters at the crowd of protesters trying to climb the fence at the top of the hill.

Plaintiff Anzalette Muslim suffered tear gas inhalation, physical injuries, psychological harm, and

emotional distress as the direct result of the actions of Defendants Jane/John Doe, Philadelphia

Police officers, and their co-conspirators. The tear gas became so thick that Plaintiff observed

many of her fellow protesters suffering in pain with tears and mucous covering many of their faces.




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Plaintiff Anzalette Muslim’s participation in this peaceable protest march ended as the direct result

of the brutal force deployed by Defendants Jane/John Doe, Philadelphia Police officers, and their

co-conspirators against Plaintiff Anzalette Muslim and her fellow protesters.

       495.    On June 1, 2020, Plaintiff Benjamin Neates joined a peaceable protest march in

support of the Black Lives Matter movement in Philadelphia, Pennsylvania. As the march made

its way onto Benjamin Franklin Parkway, Plaintiff Benjamin Neates and many of his fellow

protesters continued their peaceable protest onto highway I-676. After several minutes on the

highway Plaintiff Benjamin Neates observed people stampeding toward the embankment next to

the highway. Plaintiff Benjamin Neates joined the crowd and ran towards the embankment as he

observed tear gas fired by Defendants Jane/John Doe, Philadelphia Police officers, and their co-

conspirators. While Plaintiff Benjamin Neates was on the hill attempting to escape, three tear gas

canisters fired by Defendants Jane/John Doe, Philadelphia Police officers, and their co-

conspirators landed close to him as he was quickly engulfed by tear gas making it difficult for him

to breathe. Plaintiff Benjamin Neates suffered tear gas inhalation, psychological injury, and

emotional distress which was caused by Defendants Jane/John Doe, Philadelphia Police officers,

and their co-conspirators. him to suffer tear gas inhalation to the point where he could not breathe.

Plaintiff Benjamin Neates eventually reached Benjamin Franklin Parkway, where he again

suffered tear gas inhalation as a result of Defendants Jane/John Doe, Philadelphia Police officers,

and their co-conspirators. Plaintiff’s participation in this peaceable protest march ended as the

direct result of the brutal force deployed by Defendants Jane/John Doe, Philadelphia Police

officers, and their co-conspirators against plaintiffs and their fellow protesters.

       496.    On June 1, 2020, Plaintiff Linh Ngo joined a peaceable protest in support of the

Black Lives Matter movement in Philadelphia, Pennsylvania. Plaintiff Linh Ngo, along with many




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of her fellow peaceable protestors continued their peaceable protest from Benjamin Franklin

Parkway onto highway I-676. While marching on the highway and then into the underpass the

chants from her fellow protesters echo throughout the underpass. Plaintiff Linh Ngo stated “I

remember this was one of the most beautiful moments she had ever experienced.” As Plaintiff

Linh Ngo took out her phone to record this moment, she heard a loud boom followed by a wave

of people rushing to go back in the opposite direction. Shortly after people started to run, several

protesters stopped in the middle of the mass exodus, sat down with the hands up and began

chanting “hands up don’t shoot.” During the frenzy Plaintiff Ngo began feeling lightheaded and

had difficulty breathing from the tear gas deployed by Defendants Jane/John Doe, Philadelphia

Police officers, and co-conspirators. The tear gas quickly engulfed Plaintiff Linh Ngo as she began

to cough incessantly as people were screaming and running in all directions racing to escape the

attack. Plaintiff Linh Ngo described the scene as a “war zone.” Plaintiff Linh Ngo suffered tear

gas inhalation, disruption of her menstrual cycle, psychological injury, and emotional distress.

Plaintiff’s participation in this peaceable protest march ended as the direct result of the brutal force

deployed by Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators

against plaintiffs and their fellow protesters.

        497.    On June 1, 2020, Plaintiff Megan Oehlbeck joined a peaceable protest march in

support of the Black Lives Matter movement in Philadelphia, Pennsylvania. Plaintiff Megan

Oehlbeck, along with many of her fellow protesters, made their way from Benjamin Franklin

Parkway onto I-676 to continue the peaceable protest. While marching on the highway, Plaintiff

Megan Oehlbeck observed Defendants Jane/John Doe, Philadelphia Police officers, and their co-

conspirators without warning or provocation, fire tear gas and rubber bullets at the protesters,

including Plaintiff Megan Oehlbeck. Plaintiff Megan Oehlbeck ran up the hill adjacent to the




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highway in order to escape the attack. Once on the hill, Plaintiff Megan Oehlbeck found herself

trapped in a crowd of protesters while engulfed by the tear gas launched by Defendants Jane/John

Doe, Philadelphia Police officers. While on the highway, Plaintiff Megan Oehlbeck observed two

Philadelphia Police helicopters flying low and dropping tear gas in the area of the protesters on I-

676. Plaintiff Megan Oehlbeck suffered tear gas inhalation, psychological injury, and emotional

distress as a direct result of actions of Defendants Jane/John Doe, Philadelphia Police officers, and

co-conspirators. Plaintiff Megan Oehlbeck’s participation in this peaceable protest march ended

as the direct result of the brutal force deployed by Defendants Jane/John Doe, Philadelphia Police

officers, and their co-conspirators against the Plaintiff and fellow protesters.

        498.    On June 1, 2020, Plaintiff Linh Ngo joined a peaceable protest in support of the

Black Lives Matter movement in Philadelphia, Pennsylvania. As the march reached Benjamin

Franklin Parkway, Plaintiff Bryan Ortiz, along with many of his fellow peaceable protesters

continued their peaceable protest from Benjamin Franklin Parkway onto highway I-676. While

Plaintiff Bryan Ortiz and his fellow protesters were marching on the highway Defendants

Jane/John Doe, Philadelphia Police officers, and co-conspirators, dressed in SWAT/Riot gear,

moved in and began firing tear gas at Plaintiff Bryan Ortiz and his fellow protesters. Immediately,

Plaintiff Bryan Ortiz ran from the highway in order to escape the tear gas. Plaintiff Bryan Ortiz

suffered tear gas inhalation, psychological injury, and emotional distress caused by Defendant

Jane/John Doe SWAT Officers and co-conspirators. continued to fire tear gas canisters into the

crowd on the hill where Plaintiff Bryan Ortiz was trapped. Eventually, Plaintiff Bryan Ortiz made

it over the fence.

        499.    On June 1, 2020, Plaintiff Gavin Oswald participated in a peaceable protest march

in support of the Black Lives Matter movement in Philadelphia, Pennsylvania. As the marchers




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made their way onto Benjamin Franklin Parkway, Plaintiff Gavin Oswald and his fellow peaceable

protestors continued their protest march onto highway I-676. While marching on the highway

Plaintiff Gavin Oswald observed a commotion towards the front of the crowd. As Plaintiff Gavin

Oswald witnessed people running in all directions, he felt the tear gas hit him and stood to the side

of the highway. Eventually, Plaintiff Gavin Oswald made his way to the embankment adjacent to

the highway. While climbing the embankment Plaintiff Gavin Oswald observed Defendants

Jane/John Doe, Philadelphia Police officers, and their co-conspirators throwing tear gas canisters

onto the hill where he and his fellow protesters were scrambling to escape the attack. Plaintiff

Gavin Oswald eventually made his way up the hilly embankment and escaped onto Benjamin

Franklin Parkway, but only after suffering tear gas inhalation, psychological injury, and emotional

distress caused by Defendants Jane/John Doe, Philadelphia Police officers, and their co-

conspirators. Plaintiff’s participation in this peaceable protest march ended as the direct result of

the brutal force deployed by Defendants Jane/John Doe, Philadelphia Police officers, and their co-

conspirators against plaintiffs and their fellow protesters.

        500.   On June 1, 2020, Plaintiff Jamie Papada joined a peaceable protest march in the

support of the Black Lives Matter movement in Philadelphia, Pennsylvania. Plaintiff Jamie

Papada joined many other fellow peaceable protestors as they made their way from Benjamin

Franklin Parkway to the entrance of I-676. Without provocation or warning an armored vehicle

operated by Defendants Jane/John Doe, Philadelphia Police officers, and/or their co-conspirators

began firing tear gas canisters into the crowd of peaceable protestors standing on the on-ramp to

I-676. Plaintiff Jamie Papada suffered tear gas inhalation as the tear gas engulfed the entire

area.   Plaintiff Jamie Papada suffered tear gas inhalation, psychological harm, and emotional

distress as a result of Defendants Jane/John Doe, Philadelphia Police officers, and their co-




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conspirators. Plaintiff Jamie Papada’s participation in this peaceable protest march ended as the

direct result of the brutal force deployed by Defendants Jane/John Doe, Philadelphia Police

officers, and their co-conspirators against Plaintiff Jamie Papada and fellow protesters.

       501.    On June 1, 2020, Plaintiff Christopher Parish joined a peaceable protest in support

of the Black Lives Matter movement in Philadelphia, Pennsylvania. Plaintiff Christopher Parish

along with his fellow protesters marched from Benjamin Franklin Parkway onto highway I-676 to

continue their peaceable protest. While on the highway, underneath the 22nd Street underpass

people reversed their and began to run toward Plaintiff Christopher Parish as he

witnessed Defendant Jane/John Doe, Philadelphia Police Officer/ or con-conspirator, fire pepper

spray at several peaceable protesters while another Defendant Jane/John Doe, Philadelphia Police

Officer/or co-conspirator launched a tear gas canister into the crowd. Plaintiff Christopher Parish

ran up the embankment next to the highway to escape the tear gas. Trapped on the hill with dozens

of other protesters, Plaintiff Christopher Parish was engulfed by a cloud of tear gas as Defendants

Jane/John Doe, Philadelphia Police officers, and co-conspirators continued to launch tear gas

canisters into the crowd. Plaintiff Christopher Parish pleaded with Defendants Jane/John Doe,

Philadelphia Police officers, and co-conspirators to stop the onslaught as he and the other protesters

“had nowhere to go.” Defendants ignored his pleas as they continued to fire tear gas at the crowd.

Eventually, he was able to escape onto Benjamin Franklin Parkway. Plaintiff Christopher Parish

suffered tear gas inhalation, psychological injury, and emotional distress caused by Defendants

Jane/John Doe, Philadelphia Police officers, and co-conspirators. Plaintiff’s participation in this

peaceable protest march ended as the direct result of the brutal force deployed by Defendants

Jane/John Doe, Philadelphia Police officers, and their co-conspirators against plaintiffs and their

fellow protesters.




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       502.    One June 1, 2020, Plaintiff Malia Paulmier joined a peaceable protest march in

support of the Black Lives Matter movement in Philadelphia, Pennsylvania. As the march reached

Benjamin Franklin Parkway, Plaintiff Malia Paulmier, along with many of her fellow protesters

made their way to highway I-676. Before Plaintiff Malia Paulmier and her fellow protesters could

reach the highway, Defendant Jane/John Doe, Philadelphia Police Officers on bicycles blocked

the entrance ramp with their bikes preventing Plaintiff Malia Paulmier and many of her fellow

protesters from entering the highway. Plaintiff Malia Paulmier did not make it onto the highway

and was trapped with many of her fellow protesters on the 22nd street overpass. On the other side

of the overpass was a line of Jane/John Doe Police Officers and co-conspirators blocking Plaintiff

Malia Paulmier from exiting the overpass. Plaintiff, Malia Paulmier did not hear any warning given

by Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators. Tear gas

canisters were launched at the protesters by Defendants Jane/John Doe, Philadelphia Police

officers, and co-conspirators. Plaintiff Malia Paulmier inhaled an extensive amount of tear gas.

Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators fired a barrage

of rubber bullets. Plaintiff, Malia Paulmier witnessed her boyfriend get shot by a rubber bullet.

Once Defendants Jane/John Doe, Philadelphia Police officers, and co-conspirators finished

releasing the onslaught of tear gas and rubber bullets the police Defendants Jane/John Doe,

Philadelphia Police officers, and co-conspirators pulled back and Plaintiff Malia Paulmier was

able to escape the overpass. As Plaintiff, Malia Paulmier made her way off the overpass she

observed Defendant Jane/John Doe, Philadelphia Police Officers, and their co-conspirators

arresting protesters. Plaintiff’s participation in this peaceable protest march ended as the direct

result of the brutal force deployed by Defendants Jane/John Doe, Philadelphia Police officers, and

their co-conspirators against plaintiffs and their fellow protesters.




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       503.    On June 1, 2020, Plaintiff Il Shim Pearlman joined a peaceable protest march in

support of the Black Lives Matter movement. The peaceable protest march began near Race Street,

and eventually, the protesters ended up on Benjamin Franklin Parkway near I-676. Plaintiff Il Shim

Pearlman and his fellow protesters continued the peaceable protest march onto highway I-676.

Soon after, Plaintiff Il Shim Pearlman felt the effect of the tear gas fired into the crowd by

Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators. Plaintiff

escaped the attack when other protesters assisted him over the fence where he could clear his eyes

out. Once he was on the other side of the fence, Plaintiff Il Shim Pearlman was shot in his stomach

with a rubber bullet by Defendants Jane/John Doe, Philadelphia Police officers, causing him to fall

to the ground. Plaintiff Ilshim Pearlman suffered tear gas inhalation, physical injury, psychological

harm, and emotional distress, which was directly caused by Defendants Jane/John Doe,

Philadelphia Police officers, or co-conspirators. Plaintiff Il Shim Pearlman’s participation in this

peaceable protest ended as the direct result of the brutal force deployed by Defendants Jane/John

Doe, Philadelphia Police officers, and their co-conspirators against Plaintiff and fellow protesters.

       504.    On June 1, 2020, Plaintiff Leila Pearlman participated in a peaceable protest in

support of the Black Lives Matter movement in Philadelphia, Pennsylvania. As the march reached

Benjamin Franklin Parkway, Plaintiff Leila Pearlman, along with many of her fellow protesters

made their way to highway I-676. While on the highway, Plaintiff Leila Pearlman observed people

from the front of the march running back in her direction with their hands in the air. She ran with

them off the highway and onto a hilly embankment. As Plaintiff Leila Pearlman was on the hill

trying to escape by climbing the embankment, she suffered tear gas inhalation, bruises,

psychological injury, and emotional distress as a direct result of the actions of Defendant Jane/John

Doe Philadelphia Police Officer and co-conspirators. Plaintiff’s participation in this peaceable




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protest march ended as the direct result of the brutal force deployed by Defendants Jane/John Doe,

Philadelphia Police officers, and their co-conspirators against plaintiffs and their fellow protesters.

       505.    On June 1, 2020, Plaintiff Tessa Peoples participated in a peaceable protest in

support of the Black Lives Matter movement in Philadelphia, Pennsylvania. Plaintiff Tessa

Peoples joined the peaceable protest march at the very beginning and marched throughout the

City. Plaintiff Tessa Peoples and many of her protesters continued their peaceable protest onto

highway I-676. While on the highway, the crowd in front of her abruptly turned around in a panic

and ran in her direction. Plaintiff Tessa Peoples got up on the median and watched Jane/John Doe

Philadelphia Police Officers and co-conspirators launch tear gas canisters at the peaceable

protesters. Plaintiff Tessa Peoples fled from the highway onto a hill next to the highway to escape

the attack. Plaintiff Tessa Peoples suffered tear gas inhalation and her vision was impaired by the

cloud of tear gas that engulfed the hill. Plaintiff Tessa Peoples was able to scale the fence and

reach Benjamin Franklin Parkway. Once on Benjamin Franklin Parkway Plaintiff Tessa Peoples

suffered tear gas inhalation a second time as Defendants Jane/John Doe, Philadelphia Police

officers, and co-conspirators launched tear gas at Plaintiff Tessa Peoples and her fellow protesters

on Benjamin Franklin Parkway. Plaintiff Tessa Peoples twice suffered tear gas inhalation,

psychological injury, and emotional distress as a result of the assault caused by Defendants

Jane/John Doe, Philadelphia Police officers, and co-conspirators.

       506.    On June 1, 2020, Joe Piette, a veteran of the Vietnam War joined the peaceable

protest march in support of the Black Lives Matter movement. As the march reached Benjamin

Franklin Parkway, Plaintiff Joseph Piette, seventy-four (74) years old, made his way onto highway

I-676 along with many of his fellow peaceable protesters and started taking photographs of the

protest march. While on the highway, Plaintiff Joseph Piette fled the highway onto the grassy




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embankment as tear gas was fired at him and the crowd of fellow protesters on the hill by

Defendants Jane/John Doe, Philadelphia Police officers, and co-conspirators. Eventually, Plaintiff

Joseph Piette made his way off the embankment and over the 21st Street overpass to the other side

of the express at 21 st and Winter. Plaintiff Joseph Piette stopped to take photographs of the as he

had a good view of Defendants Jane/John Doe, Philadelphia Police officers, and conspirators firing

tear gas and rubber bullets at protestors down on the highway below as the protesters tried to flee

up the embankment and over the fence. Defendants Jane/John Doe, Philadelphia Police officers,

and conspirators were approximately 100 feet from where Plaintiff Joseph Piette was located above

I-676. As he was taking photos, suddenly the camera was shot out of his hands as he felt

tremendous pain in his right hand. Immediately after he was shot Plaintiff Joseph Piette looked

down and observed Defendant Jane/John Doe, a Philadelphia Police officer, or co-conspirator on

the highway below approximately twenty feet away stationed on top of one of the armored vehicles

holding a gun. Plaintiff Joseph Piette had been shot with a rubber bullet that broke his camera and

dislocated his finger. In need of immediate medical attention Plaintiff Joseph Piette left the protest

escorted by several fellow protesters and headed toward a hospital emergency room. On their way

to the Emergency Room in the area of 20th and Hamilton, just blocks from the site of the protest

march and assault, one of the armored police vehicles driven by Defendants Jane/John Doe,

Philadelphia Police officers, or con-conspirators, drove up to their location and Defendant

Jane/John Doe or con-conspirator sprayed Plaintiff Joseph Piette with tear gas and then drove

on. As a result of the actions of at least three or more Defendants Jane/John Doe, Philadelphia

Police officers, Plaintiff Joseph Piette twice suffered tear gas inhalation, a dislocated finger, and a

laceration on another finger. Plaintiff’s participation in this peaceable protest march ended as the




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direct result of the brutal force deployed by Defendants Jane/John Doe, Philadelphia Police

officers, and their co-conspirators against plaintiffs and their fellow protesters.

       507.    On June 1, 2020, Plaintiff Adam Pines rode his bike to join the peaceable march in

support of the Black Lives Matter movement in Philadelphia, Pennsylvania. As the march reached

Benjamin Franklin Parkway, Plaintiff Adam Pines, along with many of his fellow protesters, made

their way toward highway I-676. Plaintiff Adam Pines decided to remain on the 22nd street

overpass to film the march on the highway below. While standing on the overpass Plaintiff Adam

Pines witnessed and recorded Defendants Jane/John Doe, Philadelphia Police officers, and co-

conspirators launching tear gas canisters into the crowd of protesters on I-676. The tear gas wafted

up onto the 22nd Street overpass and Plaintiff Adam Pines suffered tear gas inhalation,

psychological injury, and emotional distress. Plaintiff’s participation in this peaceable protest

march ended as the direct result of the brutal force deployed by Defendants Jane/John Doe,

Philadelphia Police officers, and their co-conspirators against plaintiffs and their fellow protesters.

       508.    On June 1, 2020, Plaintiff James Pitts joined the peaceable march in support of the

Black Lives Matter movement in Philadelphia, Pennsylvania. As the march reached Benjamin

Franklin Parkway, Plaintiff James Pitts, along with many of his fellow protesters marched onto

highway I-676. Plaintiff James Pitts was on the highway for about five minutes before Defendants

Jane/John Doe, Philadelphia Police officers, and co-conspirators, fired tear gas canisters at Plaintiff

James Pitts and his fellow peaceable protesters. Defendants Jane/John Doe, Philadelphia Police

officers, and co-conspirators failed to warn anyone prior to releasing the tear gas. Plaintiff James

Pitts was physically overwhelmed by the tear gas inhalation. In addition, the physical pain, Plaintiff

James Pitts suffered psychological injury and emotional distress caused by the actions of

Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators. Plaintiff’s




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participation in this peaceable protest march ended as the direct result of the brutal force deployed

by Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators against

plaintiffs and their fellow protesters.

        509.    On June 1, 2020, Plaintiff Andrew Powers joined a peaceable protest in support of

the Black Lives Matter movement in Philadelphia, Pennsylvania. As the march reached Benjamin

Franklin Parkway, Plaintiff Andrew Powers, along with many of his fellow protesters marched

onto highway I-676. While marching into the underpass Plaintiff Andrew Powers heard loud

explosions as people marching in front of him turn around and run in the opposite direction. He

then observed tear gas canisters launched by Defendants Jane/John Doe, Philadelphia Police

officers, toward the crowd scrambling to leave the highway and escape onto a grassy embankment.

Plaintiff Andrew Powers witnessed people trampled on the hill by the stampede of fleeing

protesters escaping the tear gas. At the top of the hill Plaintiff Andrew Powers assisted other people

over the fence and then he climbed over. As he made it over the fence and onto Benjamin Franklin

Parkway, Plaintiff Andrew Powers observed Defendants Jane/John Doe, Philadelphia Police

officers, grab protesters off the fence. At one point, Plaintiff Andrew Powers stood in front of an

older gentleman in order to protect him from the assault by Defendants Jane/John Doe,

Philadelphia Police officers, and co-conspirators. While Plaintiff Andrew Powers was shielding

the older gentleman with his body Plaintiff was shot in the thigh with a rubber bullet by Defendants

Jane/John Doe, Philadelphia Police officers, /co-conspirator. Intense pain flashed through his body

as the force of the blow sent Plaintiff Andrew Powers to the ground. Plaintiff Andrew Powers was

eventually assisted by his fellow protesters to an area where he received medical attention by

medics. Plaintiff Andrew Powers suffered tear gas inhalation, a large hematoma on his thigh,

psychological injury, and emotional distress as a result of the actions by Defendants Jane/John




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Doe, Philadelphia Police officers, and co-conspirators. At no time did Plaintiff do anything other

than protest to justify the excessive use of force and firing of the rubber bullet into his thigh by

Defendants Jane/John Doe, Philadelphia Police officers. Plaintiff Andrew Powers suffered with a

limp for several days as a result of the injury. Plaintiff’s participation in this peaceable protest

march ended as the direct result of the brutal force deployed by Defendants Jane/John Doe,

Philadelphia Police officers, and their co-conspirators against plaintiffs and their fellow protesters.

       510.    On June 1, 2020, Plaintiff Steven Chase Powers joined a peaceable protest march

in support of the Black Lives Matter movement in Philadelphia, Pennsylvania. Once the march

reached Benjamin Franklin Parkway, Plaintiff Steven Chase Powers along with many of his fellow

protesters, made their way onto highway I-676. Shortly after Plaintiff Steven Chase Powers entered

the highway, he observed Defendants Jane/John Doe, Philadelphia Police officers, and co-

conspirators arrive from multiple directions and cordon off the highway in both directions in order

to block Plaintiff Steven Chase Powers and his fellow protesters from escaping. Protesters fled the

highway due to the onslaught of violence by Defendants Jane/John Doe, Philadelphia Police

officers, and co-conspirators. Plaintiff Steven Chase Powers watched Defendant John Doe, a

Philadelphia officer, emerge from an armored military vehicle with a gun and launch tear gas

canisters in rapid succession at Plaintiff Steven Chase Powers and the crowd of protesters

scrambling from the highway onto the hill to escape. Plaintiff Steven Chase Powers stayed behind

to help protesters injured by the assault. Eventually, Plaintiff Steven Chase Powers led his fellow

protesters up the hill in an attempt to shield them from the onslaught of tear gas and bullets from

Defendants Jane/John Doe, Philadelphia Police officers, and co-conspirators. While on the hill

Plaintiff Steven Chase Powers was completely overcome by tear gas and was no longer able to

breathe or keep his eyes open. Plaintiff Steven Chase Powers suffered gas inhalation,




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psychological injury, and emotional distress from the assault committed by Defendants Jane/John

Doe, Philadelphia Police officers, and their co-conspirators. Plaintiff’s participation in this

peaceable protest march ended as the direct result of the brutal force deployed by Defendants

Jane/John Doe, Philadelphia Police officers, and their co-conspirators against plaintiffs and their

fellow protesters.

       511.    On June 1, 2020, Plaintiff Jacob Prante joined a peaceable protest in support of the

Black Lives Matter movement in Philadelphia, Pennsylvania. The protesters marched from

Benjamin Franklin Parkway onto highway I-676 as all the streets were blocked by Defendants

Jane/John Doe, Philadelphia Police officers, and their co-conspirators. Plaintiff Jacob Prante

believed the reason the streets were blocked by the police was to steer the peaceable protesters

onto I-676. Eventually, While on the highway, Plaintiff Jacob Prante observed Defendants

Jane/John Doe, Philadelphia Police officers, and their co-conspirators, dressed in SWAT/Riot gear,

fire tear gas into the crowd forcing them to back up. Plaintiff Jacob Prante and the crowd of

peaceable protesters ran onto an embankment next to the highway as Defendants Jane/John Doe,

Philadelphia Police officers, and co-conspirators fired tear gas canisters at Plaintiff Jacob Prante

and the crowd as Defendants attempted to corral them on the embankment. Plaintiff Jacob Prante

assisted several of his fellow protesters climb the fence at the top of the embankment in order to

escape the attack. People were crying and screaming that they could not breathe and needed

water. Jacob Prante described the chaotic scene as a “war zone.” Plaintiff Jacob Prante was able

to scale the fence but continued to assist those trapped on the other side by handing water bottles

through the fence so they could wash the tear gas from their faces. Defendants Jane/John Doe,

Philadelphia Police officers, and co-conspirators approached and fired rubber bullets at the

helpless crowd trapped on the hill. One of Defendants Jane/John Doe, Philadelphia Police officers,




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/or co-conspirator shot Plaintiff Jacob Prante through the fence at point blank range striking him

on the lower side of his back. Plaintiff Jacob Prante felt a sharp pain in his back as he felt the

impact of the rubber bullet. When Plaintiff Jacob Prante turned around, he observed Defendant

John Doe, a Philadelphia Police officer, or/ co-conspirator with a gun in his hand only a few feet

away staring at him. Plaintiff Jacob Prante stated this was the most unusual act of cruelty he had

ever witnessed in person. Plaintiff Jacob Prante suffered tear gas inhalation and a

hematoma/contusion on the lower side of his back, psychological injury, and emotional distress

caused by Defendants Jane/John Doe, Philadelphia Police officers, and co-conspirators. Plaintiff’s

participation in this peaceable protest march ended as the direct result of the brutal force deployed

by Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators against

plaintiffs and their fellow protesters.

        512.    On June 1, 2020, Plaintiff Stephen Pressman joined a peaceable protest march in

support of the Black Lives Matter movement in Philadelphia, Pennsylvania. Eventually, Plaintiff

Stephen Pressman, along with many of his fellow protesters, arrived at Benjamin Franklin Parkway

near I-676. Upon getting close to the highway entrance, a line of Defendants Jane/John Doe,

Philadelphia Police officers, stood by while Plaintiff Stephen Pressman and many of his fellow

protesters moved onto the highway. Once on the highway, Plaintiff Stephen Pressman marched

for five minutes until he heard a loud pop and people started to run in his direction. The protesters

were affected by large clouds of tear gas launched by Defendants Jane/John Doe, Philadelphia

Police officers, and co-conspirators. Plaintiff Stephen Pressman, surrounded by tear gas and

suffering from tear gas inhalation, climbed the hill and scaled the fence to escape the attack.

Plaintiff Stephen Pressman suffered tear gas inhalation, psychological injury, and emotional

distress as a direct result of the actions of Defendants Jane/John Doe, Philadelphia Police officers,




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and co-conspirators. Plaintiff Stephen Pressman's participation in this peaceable protest march

ended as the direct result of the brutal force deployed by Defendants Jane/John Doe, Philadelphia

Police officers, and their co-conspirators against the Plaintiff Stephen Pressman and his and fellow

protesters.

        513.   On June 1, 2020, Plaintiff Brad Pulley participated in a peaceable protest march in

support of the Black Live Matter Movement in Philadelphia, Pennsylvania. Once the march

reached Benjamin Parkway Plaintiff Brad Pulley, along with many of his fellow peaceable

protesters marched from Benjamin Franklin Parkway onto highway I-676 to continue their

peaceable protest. As they marched into the second underpass everyone in front of him suddenly

began to turn around and run. Defendant Jane/John Doe Philadelphia Police Officer and co-

conspirators began their attack on the protesters by firing tear gas and pepper spray at the marchers.

As Plaintiff Brad Pulley began to flee to escape the assault he attempted to climb over the median

when he was pushed off the median by the stampeding crowd attempting to run from the assault.

As Plaintiff Brad Pulley was pushed off the median and broke his foot. With a frenzied crowd all

around Plaintiff Brad Pulley struggled to get off the ground as he limped off the highway and onto

the embankment. While on the embankment dragging himself up the hill Defendants Jane/John

Doe, Philadelphia Police officers, and co-conspirators fired tear gas at Plaintiff Brad Pulley and

his fellow protesters on the hill. Plaintiff Brad Pulley suffered tear gas inhalation as he dragged

himself up the hill with a broken foot. Eventually, Plaintiff Brad Pulley, was dragged up the hill

by his friend and he was able to leave the area. As a result of Defendants Jane/John Doe,

Philadelphia Police officers, and co-conspirators actions Plaintiff Brad Pulley suffered gas

inhalation, a broken foot as a result of the assault that created the stampede that ended up forcing

him off the median strip and onto the highway, psychological injury, and emotional




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distress. Plaintiff’s participation in this peaceable protest march ended as the direct result of the

brutal force deployed by Defendants Jane/John Doe, Philadelphia Police officers, and their co-

conspirators against plaintiffs and their fellow protesters.

        514.    On June 1, 2020, Plaintiff Emily Quast participated in a peaceable protest march in

support of the Black Lives Matter movement in Philadelphia, Pennsylvania. While marching

down Benjamin Franklin Parkway Defendants Jane/John Doe, Philadelphia Police officers, began

blocking the areas around the Art Museum almost guiding the protest on I-676. While on the

highway, she noticed that the march was extremely peaceable and at some point, she began to

notice that rubber bullets were being fired in the direction of the peaceable protest. She then

observed smoke in front of her and knew it was a tear case. There was not warning as Defendants

Jane/John Doe, Philadelphia Police officers, blocked the protestors in from both ends. She

observed Defendants Jane/John Doe, Philadelphia Police officers, throwing tear gas into the

crowd. At this point, she was trapped, and people began climbing the embankment attempting to

leave as people were screaming and choking on the tear gas. Plaintiff Emily Quast was pushed up

against the fence waiting for her turn to go over. Eventually she was able to get over however, she

felt like she was going to die as a result of the tear gas inhalation as no one could run from it. There

was nowhere to escape the tear gas. It was the scariest experience of her life.

        515.    On June 1, 2020, Plaintiff Kaitlyn Rafferty participated in a peaceable protest

march in support of the Black Lives Matter movement in Philadelphia, Pennsylvania. As the

march moved towards the Art Museum Defendants Jane/John Doe, Philadelphia Police officers,

and co-conspirators blocked the adjacent streets directing the march onto the area around Benjamin

Franklin Parkway and the entrance ramp to highway I-676 As Plaintiff Kaitlyn Rafferty and many

of her fellow peaceable protesters made their way onto I-676 they began marching east under the




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underpass. Suddenly, many of the protesters began screaming and running in the other direction.

Plaintiff Kaitlyn Rafferty observed Defendant Jane/John Doe Philadelphia Police Officer and co-

conspirators, dressed on SWAT/Riot gear fire rubber bullet at several protesters kneeling on the

ground with their hands in the air, indicating non-violence. Plaintiff Kaitlyn Rafferty along with

many of her fellow protesters fled to the hill adjacent to the highway all the while Defendants

Jane/John Doe, Philadelphia Police officers, and their co-conspirators, fired rubber bullets at them.

Plaintiff Kaitlyn Rafferty began climbing the hill to escape the violent assault as Defendants

Jane/John Doe, Philadelphia Police officers, and co-conspirators fired tear gas canisters at her and

the crowd struggling to climb the hill. The entire hill became engulfed in a cloud of tear gas and

mayhem. While crushed in a crowd of people at the top of the hill waiting to escape over the fence,

Plaintiff Kaitlyn Rafferty observed a young woman next to her passed out. Plaintiff Kaitlyn

Rafferty stayed by her side and used her body as a shield to protect the young woman from getting

trampled from the stampede of hundreds of frightened protesters charging up the hill. At that point

Plaintiff Kaitlyn Rafferty knew she could not make it over the fence as she struggled to breathe

from the tear gas inhalation. With Defendants Jane/John Doe, Philadelphia Police officers, and co-

conspirators swarming the hill, Plaintiff Kaitlyn Rafferty sat down in surrender. Eventually she

was told to stand and start walking down the hill. At the bottom she was immediately arrested, zip-

tied, and forced to lay facing down on the highway barricade, eventually being allowed to sit

upright. Plaintiff’ Kaitlyn Rafferty’s person and backpack were searched more than once as she

observed many of Defendants Jane/John Doe, Philadelphia Police officers, and co-conspirators

mocking and taking photographs of the protesters that were in custody. Eventually she was taken

from the scene to the 17th and Montgomery police district. Defendants Jane/John Doe,

Philadelphia Police officers, and co-conspirators took a photograph of Plaintiff Kaitlyn Rafferty




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in a separate room. Since she was not charged with a crime and only issued a citation. Although

the citation was eventually dismissed by Defendant Mayor Kenney, Plaintiff Kaitlyn Rafferty is

not sure what the police did with her photograph and what agencies have her photograph and a file

on her for simply exercising her First Amendment rights. Plaintiff Kaitlyn Rafferty suffered tear

gas inhalation, false arrest, psychological injury, and emotional distress as a result of the actions

of Defendants Jane/John Doe, Philadelphia Police officers, and co-conspirators. Plaintiff’s

participation in this peaceable protest march ended as the direct result of the brutal force deployed

by Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators against

plaintiffs and their fellow protesters.

        516.    On June 1, 2020, Plaintiff Kathryn Rauth joined a peaceable protest march in

support of the Black Lives Matter movement in Philadelphia, Pennsylvania. Plaintiff Kathryn

Rauth marched for several hours as the marchers made their way through the City. As the march

arrived on Benjamin Franklin Parkway Plaintiff Kathryn Rauth, along with many of her fellow

protesters entered highway I-676. Plaintiff Kathryn Rauth was marching through the underpass

when she observed a line of Jane/john Doe Philadelphia Police Officers and co-conspirators

blocking the other end of the underpass. Suddenly, the protesters marching in front of Plaintiff

Kathryn Rauth reversed their direction and began to run in toward her in a panicked, frenzied state.

Plaintiff Kathryn Rauth witnessed Defendants Jane/John Doe, Philadelphia Police officers, move

toward the front line of the protesters, many kneeling with their hands in the air and begin to fire

pepper spray and tear gas at the protesters. Plaintiff Kathryn Rauth fled the highway to the grassy

embankment next to the highway and became trapped in the massive crowd attempting to escape

the tear gas. While crammed on the hill with hundreds of others fleeing the attack, a tear gas

canister exploded about ten feet in front of Plaintiff Kathryn Rauth. Immersed in a cloud of tear




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gas and struggling to breathe, Plaintiff Kathryn Rauth ran down the hill and headed westbound on

I-676 and ultimately escaped the highway with the help of two fellow protesters. Plaintiff Kathryn

Rauth suffered tear gas inhalation, psychological injury, and emotional distress as a result of the

actions of Defendants Jane/John Doe, Philadelphia Police officers, and co-conspirators. Plaintiff’s

participation in this peaceable protest march ended as the direct result of the brutal force deployed

by Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators against

plaintiffs and their fellow protesters.

        517.    On June 1, 2020, Plaintiff Katelyn Reiersen joined a peaceable protest march in

support of the Black Lives Matter movement. The peaceable protest march began near Race Street,

and eventually, the protesters ended up on Benjamin Franklin Parkway near I-676. Plaintiff

Katelyn Reiersen and her fellow protesters continued the peaceable protest march onto highway I-

676. As Plaintiff Katelyn Reiersen was on I-676, she heard people yelling “tear gas” and then

observed the protesters in front of her running back in her direction. Soon after, Plaintiff Katelyn

Reiersen felt the effect of the tear gas fired into the crowd by Defendants Jane/John Doe,

Philadelphia Police officers, and their co-conspirators. Plaintiff Katelyn Reiersen and her fellow

protesters left the highway and climbed a hilly embankment adjacent to the highway in an effort

to escape the tear gas as Defendants Jane/John Doe, Philadelphia Police officers, continued to

throw tear gas canisters at the crowd of protesters trying to climb the fence at the top of the hill.

Plaintiff Katelyn Reiersen suffered tear gas inhalation, physical injuries, psychological harm, and

emotional distress as the direct result of the actions of Defendants Jane/John Doe, Philadelphia

Police officers, and their co-conspirators. The tear gas became so thick that Plaintiff observed

many of her fellow protesters suffering in pain with tears and mucous covering many of their faces.

Plaintiff Katelyn Reiersen’s participation in this peaceable protest march ended as the direct result




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of the brutal force deployed by Defendants Jane/John Doe, Philadelphia Police officers, and their

co-conspirators against Plaintiff Katelyn Reiersen and her fellow protesters.

       518.    On June 1, 2020, Plaintiff James Richardson joined a peaceable protest march in

support of the Black Lives Matter movement in Philadelphia, Pennsylvania. Plaintiff James

Richardson joined many of his fellow protestors as they took their peaceable protest onto highway

I-676. While on the highway, Plaintiff James Richardson noticed a line of Defendants Jane/John

Doe, Philadelphia Police officers, and co-conspirators blocking the 21st street overpass.

Defendants Jane/John Doe, Philadelphia Police officers, began firing tear gas and rubber bullets

at the peaceable protesters. Plaintiff James Richardson took off running to escape from the attack

brought on by Defendants Jane/John Doe, Philadelphia Police officers. Plaintiff James Richardson

ran to the embankment on the side of the highway. Surrounded by tear gas, Plaintiff James

Richardson struggled to see and breathe as he started to climb and make his way to Benjamin

Franklin Parkway. Once on Benjamin Franklin Parkway, Plaintiff James Richardson stopped to

clean his eyes from the teargas, when Defendants Jane/John Doe, Philadelphia Police officers,

began firing tear gas cannisters onto Benjamin Franklin Parkway. Plaintiff James Richardson

suffered tear gas inhalation as a direct of the actions of Defendants Jane/John Doe, Philadelphia

Police officers, and co-conspirators. Plaintiff’s participation in this peaceable protest march ended

as the direct result of the brutal force deployed by Defendants Jane/John Doe, Philadelphia Police

officers, and their co-conspirators against plaintiffs and their fellow protesters.

       519.    On June 1, 2020, Plaintiff Brittany Robinson joined a peaceable protest march in

support of the Black Lives Matter movement in Philadelphia, Pennsylvania. Plaintiff Brittany

Robinson joined many of her fellow protestors as they took their peaceable protest onto highway

I-676. While marching on the highway Plaintiff Brittany Robinson heard loud bangs as people




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from the front of the crowd began running back in her direction. Plaintiff Brittany Robinson

smelled the tear gas as things quickly turned chaotic. As Plaintiff Brittany Robinson ran onto the

embankment next to the highway, she was engulfed by the tear gas launched toward her and her

fellow protesters by Defendants Jane/John Doe, Philadelphia Police officers, and co-conspirators.

The tear gas was so thick that Plaintiff Brittany Robison struggled to breathe and see, and it was

so overwhelming that her fellow protesters with protection from the gas had to help her and other

affected protesters up the hill and over the fence. Defendants Jane/John Doe, Philadelphia Police

officers, and co-conspirators continued the attack even after Plaintiff Brittany Robinson escaped

onto Benjamin Franklin Parkway by firing tear gas over the fence. Plaintiff Brittany Robinson

suffered tear gas inhalation, bruises, psychological injury, and emotional distress as a result of the

actions of Defendants Jane/John Doe, Philadelphia Police officers, and co-conspirators. Plaintiff’s

participation in this peaceable protest march ended as the direct result of the brutal force deployed

by Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators against

plaintiffs and their fellow protesters.

        520.    On June 1, 2020, Plaintiff Shannon Roche along with her friend, Plaintiff Greg

Mazur, joined a peaceable protest march in support of the Black Lives Matter movement in

Philadelphia, Pennsylvania. As the march reached Benjamin Franklin Parkway, Plaintiff Shannon

Roche, along with many of her fellow protesters, marched onto highway I-676 to continue the

peaceable protest. As Plaintiff Shannon Roche made her way toward the first underpass the crowd

turned around and began a stampede in her direction. Immediately, Plaintiff Shannon Roche fled

the highway and began to climb the embankment in order to escape the tear gas deployed at her

and her fellow protesters by Defendants Jane/John Doe, Philadelphia Police officers, and co-

conspirators. Plaintiff Shannon Roche eventually made it off the highway and up the hill and left




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the scene. Plaintiff Shannon Roche suffered tear gas inhalation which caused a respiratory

irritation that lasted for several days, psychological injury, and emotional distress as a result of the

attack by Defendants Jane/John Doe, Philadelphia Police officers, and co-conspirators. Plaintiff’s

participation in this peaceable protest march ended as the direct result of the brutal force deployed

by Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators against

plaintiffs and their fellow protesters.

        521.    On June 1, 2020, Plaintiff Christopher Romano, with his wife Kelsey, joined a

peaceable protest march in support of the Black Lives Matter movement. The peaceable protest

march began near Race Street, and eventually, the protesters ended up on Benjamin Franklin

Parkway near I-676. Plaintiff Christopher Romano and his fellow protesters continued the

peaceable protest march onto highway I-676. As Plaintiff Christopher Romano was on I-676, he

heard a loud bang and then observed the protesters in front of him running back in his direction.

Plaintiff Christopher Romano was helping a fellow protestor who had been injured when a rubber

bullet ricocheted off of the bike the protestor had been riding and hit his hand. Plaintiff Christopher

Romano was separated from his wife Kelsey during the chaos as Defendants Jane/John Doe,

Philadelphia Police officers, continued to throw tear gas canisters at the crowd of protesters trying

to climb the fence at the top of the hill. Tear gas canisters landed directly at the feet of Plaintiff

Christopher Romano, forcing him to inhale the gas as he tried to escape the embankment. Plaintiff

Christopher Romano suffered tear gas inhalation, physical injuries, psychological harm, and

emotional distress as the direct result of the actions of Defendants Jane/John Doe, Philadelphia

Police officers, and their co-conspirators. The tear gas became so thick that it caused Plaintiff

Christopher Romano to vomit, and he observed many of his fellow protesters suffering in pain,

with tears and mucous covering many of their faces. Plaintiff Christopher Romano’s participation




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in this peaceable protest march ended as the direct result of the brutal force deployed by Defendants

Jane/John Doe, Philadelphia Police officers, and their co-conspirators against Plaintiff Christopher

Romano and his fellow protesters.

       522.    On June 1, 2020, Plaintiff Kelsey Romano, with her husband Christopher, joined a

peaceable protest march in support of the Black Lives Matter movement. The peaceable protest

march began near Race Street, and, eventually, the protesters ended up on Benjamin Franklin

Parkway near I-676. Plaintiff Kelsey Romano and her fellow protesters continued the peaceable

protest march onto highway I-676. As Plaintiff Kelsey Romano was on I-676, she heard a loud

bang and then observed the protesters in front of her running back in her direction. Soon after,

Plaintiff Kelsey Romano felt the effect of the tear gas fired into the crowd by Defendants Jane/John

Doe, Philadelphia Police officers, and their co-conspirators. Plaintiff Kelsey Romano and her

fellow protesters left the highway and climbed a hilly embankment adjacent to the highway in an

effort to escape the tear gas. While running up the hill, Plaintiff Kelsey Romano was shot in her

back with a rubber bullet, causing her to fall to the ground. Plaintiff Kelsey Romano was separated

from her husband Christopher during the chaos as Defendants Jane/John Doe, Philadelphia Police

officers, continued to throw tear gas canisters at the crowd of protesters trying to climb the fence

at the top of the hill. One of the Defendants Jane/John Doe, Philadelphia Police officers, outfitted

in riot gear, falsely arrested Plaintiff Kelsey Romano while she was on the hill and zip-tied her

wrists behind her back. The Defendant Jane/John Doe, a Philadelphia Police officer, then threw

Plaintiff Kelsey Romano down to the ground multiple times before grabbing her by her zip-tied

wrists and pulling her backward down the embankment as she lay on her back. Plaintiff Kelsey

Romano suffered tear gas inhalation, physical injuries, psychological harm, and emotional distress

as the direct result of the actions of Defendants Jane/John Doe, Philadelphia Police officers, and




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their co-conspirators. The tear gas became so thick that Plaintiff Kelsey Romano observed many

of her fellow protesters suffering in pain with tears and mucous covering many of their faces.

Plaintiff Kelsey Romano was detained for several hours and was issued a citation, which was

eventually dismissed by Defendant Mayor Kenney. Plaintiff Kelsey Romano’s participation in this

peaceable protest march ended as the direct result of the brutal force deployed by Defendants

Jane/John Doe, Philadelphia Police officers, and their co-conspirators against Plaintiff Kelsey

Romano and her fellow protesters.

       523.    On May 31, 2020, Plaintiff Jessica Rosenberg, a Reconstructionist Rabbi, went

along with fellow clergy members to peaceably observe the protesters and provide aid. Standing

several blocks from the area of 52nd and Market Streets, Plaintiff Rosenberg observed Defendants

Jane/John Doe, Philadelphia Police officers, and co-conspirators, dressed in SWAT/Riot gear, fire

tear gas into the residential neighborhood for no apparent reason as the military response by the

Defendant Philadelphia Police Department was not in response to any criminal conduct presently

occurring. After about forty minutes, Defendants Jane/John Doe, Philadelphia Police officers, and

co-conspirators started moving toward the crowd, as they launched tear gas in an effort to force

the crowd to disperse. Defendants Jane/John Doe, Philadelphia Police officers, and co-conspirators

fired tear gas canisters in the direction of Plaintiff Rosenberg that narrowly avoided striking her

directly. Plaintiff Rosenberg observed many of her fellow residents, protesters, and observers

suffering in pain with tears and mucous covering many of their faces. Plaintiff Jessica Rosenberg

suffered tear gas inhalation, psychological harm, and emotional distress, which was directly caused

by Defendants Jane/John Doe, Philadelphia Police officers, or co-conspirators. Plaintiff Jessica

Rosenberg’s participation in this peaceable protest ended as the direct result of the brutal force




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deployed by Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators

against Plaintiff and fellow protesters.

       524.    On June 1, 2020, Plaintiff Allison Ruffner joined a peaceable protest march in

support of the Black Lives Matter movement in Philadelphia, Pennsylvania. Plaintiff Allison

Ruffner was marching along with fellow protestors when a group of Defendants Jane/John Doe,

Philadelphia Police officers, and co-conspirators funneled the protesters on I-676. Plaintiff Allison

Ruffner was marching on the highway when she observed a young man in front of her fall and hit

his head. The young man remained on the ground while several fellow protesters provided him

assistance. As Plaintiff Allison Ruffner turned, she observed a line of Defendants Jane/John Doe,

Philadelphia Police officers, and co-conspirators dressed in SWAT/Riot gear, in the underpass

moving in her direction. Plaintiff Allison Ruffner was in the front of the protest march and began

yelling for help because Defendants Jane/John Doe, Philadelphia Police officers, and co-

conspirators were trying to get off the highway. Defendants Jane/John Doe, Philadelphia Police

officers, and co-conspirators who were targeting protesters with tear gas and pepper spray hit

Plaintiff Allison Ruffner. Unable to see or breathe from the tear gas, Plaintiff Allison Ruffner ran

from the underpass. Plaintiff Allison Ruffner suffered tear gas inhalation, psychological injury,

and emotional distress caused by Defendants Jane/John Doe, Philadelphia Police officers, and co-

conspirators. Plaintiff’s participation in this peaceable protest march ended as the direct result of

the brutal force deployed by Defendants Jane/John Doe, Philadelphia Police officers, and their co-

conspirators against plaintiffs and their fellow protesters.

       525.    On June 1, 2020, Plaintiff Masaki Saitoh participated in a peaceable protest march

in support of the Black Lives Matter movement in Philadelphia, Pennsylvania. As many of the

protestors moved from Benjamin Franklin Parkway down to I-676, Plaintiff Masaki Saitoh joined




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them. While on the highway, Plaintiff Masaki Saitoh observed the crowd running in the opposite

direction and then he observed an armored police vehicle and a canister of tear gas fired from the

vehicle     by   Defendants    Jane/John    Doe,     Philadelphia   Police    officers,   and/or   co-

conspirators. Plaintiff ran off the highway and onto the embankment as the tear gas engulfed him.

Once Plaintiff scaled the fence, he assisted his fellow protesters get over the fence to escape the

barrage of tear gas canisters launched by Defendants Jane/John Doe, Philadelphia Police officers,

and co-conspirators. Plaintiff Masaki Saitoh suffered tear gas inhalation, psychological injury, and

emotional distress as a result of the actions of Defendants Jane/John Doe, Philadelphia Police

officers, and co-conspirators. Plaintiff’s participation in this peaceable protest march ended as the

direct result of the brutal force deployed by Defendants Jane/John Doe, Philadelphia Police

officers, and their co-conspirators against plaintiffs and their fellow protesters.

          526.   On June 1, 2020, Plaintiff Ashlyn Sanders joined a peaceable protest march in

support of the Black Lives Matter movement. The peaceable protest march began near Race Street,

and eventually, the protesters ended up on Benjamin Franklin Parkway near I-676. Plaintiff Ashlyn

Sanders and her fellow protesters continued the peaceable protest march onto highway I-676. As

Plaintiff Ashlyn Sanders was on I-676, she heard people yelling “tear gas” and then observed the

protesters in front of her running back in her direction. Soon after, Plaintiff Ashlyn Sanders felt

the effect of the tear gas fired into the crowd by Defendants Jane/John Doe, Philadelphia Police

officers, and their co-conspirators. Plaintiff Ashlyn Sanders and her fellow protesters left the

highway and climbed a hilly embankment adjacent to the highway in an effort to escape the tear

gas as Defendants Jane/John Doe, Philadelphia Police officers, continued to throw tear gas

canisters at the crowd of protesters trying to climb the fence at the top of the hill. Plaintiff Ashlyn

Sanders suffered tear gas inhalation, physical injuries, psychological harm, and emotional distress




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as the direct result of the actions of Defendants Jane/John Doe, Philadelphia Police officers, and

their co-conspirators. The tear gas became so thick that Plaintiff observed many of her fellow

protesters suffering in pain with tears and mucous covering many of their faces. Plaintiff Ashlyn

Sanders’ participation in this peaceable protest march ended as the direct result of the brutal force

deployed by Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators

against Plaintiff Ashlyn Sanders and her fellow protesters.

       527.    On June 1, 2020, Plaintiff Guillermo Santos joined a peaceable protest march in

support of the Black Lives Matter movement in Philadelphia, Pennsylvania. While marching

peaceably through the streets of Philadelphia with his fellow protesters, Plaintiff Guillermo Santos

observed a man being tackled to the ground by Defendant John Doe, a Philadelphia Police officer.

Plaintiff Guillermo Santos felt that, unlike the protesters who were peaceable and calm, Defendants

Jane/John Doe, Philadelphia Police officers, seemed to be looking for confrontation. Eventually,

the peaceable march arrived at Benjamin Franklin Parkway. Plaintiff Guillermo Santos, along with

many of his fellow protesters, made their way onto I -676 to continue their march. Plaintiff

Guillermo Santos, along with several of his fellow protesters, sat down on the highway for a couple

minutes and then continued the march. Plaintiff Guillermo Santos was halfway through the

underpass when many protesters ahead of him began to scream and run back in his direction.

Plaintiff Guillermo Santos witnessed Defendants Jane/John Doe, Philadelphia Police officers, and

co-conspirators fire tear gas canisters and pepper spray into the crowd. Plaintiff Guillermo Santos,

overwhelmed with fear, took off running towards the hill adjacent to the highway. Plaintiff

Guillermo Santos was almost to the top of the hill when he was hit with a strong wave of tear gas

launched by Defendants Jane/John Doe, Philadelphia Police officers, forcing him to collapse. The

crowd of protesters helped Plaintiff Guillermo Santos over the fence, where he sat down and tried




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to catch his breath and clear his vision. Plaintiff Guillermo Santos suffered tear gas inhalation,

psychological injury, and emotional drama as a direct result of the actions done by Defendants

Jane/John Doe, Philadelphia Police officers, and co-conspirators. Plaintiff Guillermo Santos’s

participation in this peaceable protest march ended as the direct result of the brutal force deployed

by Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators against the

Plaintiff and fellow protesters.

       528.    On June 1, 2020, Plaintiff Nina Saligman joined a peaceable protest march in

support of the Black Lives Matter movement in Philadelphia, Pennsylvania. Plaintiff Nina

Saligman along with her fellow protesters calmly marched through the city and eventually made

their way onto highway I-676. Plaintiff Nina Saligman marched on the highway for about five

minutes before Defendants Jane/John Doe, Philadelphia Police officers, and co-conspirators

blocked the march at one end of the underpass. Suddenly, Defendants Jane/John Doe, Philadelphia

Police officers, and co-conspirators released an array of rubber bullets and tear gas forcing Plaintiff

Nina Saligman to abandon the march and run to the embankment on the side of the highway. While

on the hill Plaintiff Nina Saligman felt the impact of the tear gas as . As Plaintiff Nina Saligman

climbed the hill Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators,

launched additional tear gas canisters and fired rubber bullets in the direction of Plaintiff Nina

Saligman and her fellow protesters on the hill. During the attack Defendant Jane/John Doe

Philadelphia Police Officer/ or co-conspirator launched a tear gas canister that struck Plaintiff Nina

Saligman in the leg. Plaintiff Nina Saligman suffered tear gas inhalation, bruises on her leg,

psychological injury, and emotional distress caused by Defendants Jane/John Doe, Philadelphia

Police officers, and co-conspirators. Plaintiff’s participation in this peaceable protest march ended




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as the direct result of the brutal force deployed by Defendants Jane/John Doe, Philadelphia Police

officers, and their co-conspirators against plaintiffs and their fellow protesters.

       529.    On June 1, 2020, Plaintiff Morgan Sarao joined a peaceable Protest march in

support of the Black Lives Matter movement in Philadelphia, Pennsylvania. As the march reached

Benjamin Franklin Parkway, Plaintiff Morgan Sarao, along with fellow protesters, made her way

onto highway I-676. On the highway Plaintiff Morgan Sarao witnessed Defendant Jane/John Doe,

a Philadelphia officer, walk on the concrete median and shoot pepper spray directly at her, barely

missing her. Plaintiff Morgan Sarao was then shot in the face with a rubber bullet. Plaintiff

Morgan Sarao ran to the hilly embankment next to the highway in order to escape the attack. While

Plaintiff Morgan Sarao was climbing the hill, she was engulfed by tear gas launched by Defendants

Jane/John Doe, Philadelphia Police officers, and co-conspirators. Plaintiff Morgan Sarao suffered

a head wound from a rubber bullet, tear gas inhalation, and psychological injury and emotional

distress as a result of the actions of Defendants Jane/John Doe, Philadelphia Police officers, and

co-conspirators. Plaintiff’s participation in this peaceable protest march ended as the direct result

of the brutal force deployed by Defendants Jane/John Doe, Philadelphia Police officers, and their

co-conspirators against plaintiffs and their fellow protesters.

       530.    On June 1, 2020, Plaintiff Jonathan Satlow, a veteran of the Israeli Army,

participated in a peaceable protest march in support of the Black Lives Matter movement in

Philadelphia, Pennsylvania. Once the protest march reached Benjamin Franklin Parkway, Plaintiff

Jonathan Satlow joined many of his fellow peaceable protestors as they marched from Benjamin

Franklin Parkway onto highway I-676. As Plaintiff Jonathan Satlow was marching on the highway,

a fellow protester yelled out that he was hit with pepper spray as he was running in the other

direction, suddenly that same protester suffered a seizure. Plaintiff Jonathan Satlow, as a trained




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medic, began to treat that individual for his injuries. Without warning, Defendants Jane/John Doe,

Philadelphia Police officers, and co-conspirators fired tear gas at Plaintiff Jonathan Satlow and his

fellow protesters as they fled the highway and onto a hilly embankment. Defendants Jane/John

Doe, Philadelphia Police officers, and co-conspirators continued to launch tear gas at Plaintiff

Jonathan Satlow and fellow protesters while they were trying to climb the hill. As Plaintiff

Jonathan Satlow was assisting others to scale the fence at the top of the embankment, he was shot

in the back of his thigh by a rubber bullet fired by Defendant Jane/John Doe, a Philadelphia Police

officer, or co-conspirator. Eventually, Plaintiff Jonathan Satlow was able to get over the fence.

Plaintiff Jonathan Satlow suffered tear gas inhalation, as well as an injury to his thigh that left a

huge hematoma on the back of his thigh, psychological injury, and emotional distress as a result

of Defendants Jane/John Doe, Philadelphia Police officers, and co-conspirators. Plaintiff’s

participation in this peaceable protest march ended as the direct result of the brutal force deployed

by Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators against

plaintiffs and their fellow protesters.

        531.    On June 1, 2020, Plaintiff Jack Sawula joined a peaceable protest march in support

of the Black Lives Matter movement in Philadelphia, Pennsylvania. As the march reached

Benjamin Franklin Parkway, Plaintiff Jack Sawula marched onto the I-676 highway with fellow

protesters. On the highway, Plaintiff Jack Sawula heard flash bombs and observed tear gas

canisters exploding all around the protesters. The tear gas was fired by Defendants Jane/John Doe,

Philadelphia Police officers, and co-conspirators. Plaintiff Jack Sawula also observed tear gas

canisters dropped from a helicopter by Defendants Jane/John Doe, Philadelphia Police officers,

and their co-conspirators. Eventually, Plaintiff Jack Sawula was able to escape the attack. Plaintiff

Jack Sawula suffered from tear gas inhalation, psychological injury, and emotional distress caused




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by Defendants Jane/John Doe, Philadelphia Police officers, and co-conspirators. Plaintiff’s

participation in this peaceable protest march ended as the direct result of the brutal force deployed

by Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators against

plaintiffs and their fellow protesters.

        532.    On June 1, 2020, Plaintiff Erin Scheckenbach participated in a peaceable protest

march in support of the Black Lives Matter movement in Philadelphia, Pennsylvania. As the

protest march made its way to Benjamin Franklin Parkway, Plaintiff Erin Scheckenbach entered

22nd Street. While on 22nd Street, she observed many of the protestors going down onto I-676. She

remained on 22nd Street. Plaintiff Erin Scheckenbach observed a large, armored vehicle operated

by Defendants Jane/John Doe, Philadelphia Police officers, and co-conspirators deploy two to

three blasts of the LRAD noise from the top of the vehicle on 22nd Street. Shortly after the loud

noise was deployed, Defendants Jane/John Doe, Philadelphia Police officers, and co-conspirators

launched tear gas canisters into the crowd of peaceable protestors. Plaintiff Erin Scheckenbach

also observed low-flying helicopters that were utilized by Defendants Jane/John Doe, Philadelphia

Police officers, and co-conspirators to end the protest and force the protesters to disperse the

peaceable protest. Plaintiff Erin Scheckenbach suffered tear gas inhalation, which resulted in

coughing and a bloody nose, psychological injury, and emotional distress caused by Defendants

Jane/John Doe, Philadelphia Police officers, and co-conspirators. Plaintiff’s participation in this

peaceable protest march ended as the direct result of the brutal force deployed by Defendants

Jane/John Doe, Philadelphia Police officers, and their co-conspirators against plaintiffs and their

fellow protesters.

        533.    On June 1, 2020, Plaintiff Mallory Schneider participated in a peaceable protest

march in support of the Black Lives Matter movement in Philadelphia, Pennsylvania. As the




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march made its way onto Benjamin Franklin Parkway, Plaintiff Mallory Schneider, along with

many of her fellow peaceable protesters took their protest onto highway I-676. While on the

highway, Plaintiff Mallory Schneider observed the crowd in front of her run back in her direction

and felt a searing pain in her backside as she was shot in her buttocks with a rubber bullet by

Defendant Jane/John Doe Philadelphia Police Philadelphia Officers and co-conspirators. With a

wound on her backside, Plaintiff Mallory Schneider struggled to cross the highway to escape as

Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators kept firing

rubber bullets and tear gas at her and the crowd of protesters running to escape the attack. The

entire area of 676 was engulfed by tear gas fired by Defendants Jane/John Doe, Philadelphia Police

officers, and their co-conspirators. As Defendants Jane/John Doe, Philadelphia Police officers,

and their co-conspirators began to arrest protesters, Plaintiff Mallory Schneider, assisting a fellow

protester was assaulted a second time by Defendant Jane/John Doe, a Philadelphia Police officer,

and/or co-conspirator struck Plaintiff Mallory Schneider in the face which caused a bruise on her

cheekbone. Defendants Jane/John Doe, Philadelphia Police officers, and co-conspirators fired tear

gas canisters at the protesters and as Plaintiff Mallory Schneider was running up the hill was struck

with a tear gas canister that smashed into her knee causing extreme pain. Eventually, Plaintiff

Mallory Schneider was able to get over the fence despite her injuries. Plaintiff Mallory Schneider

suffered tear gas inhalation, a hematoma to her buttocks as a result of the rubber bullet, bruise to

her face, an injury to her knee, psychological injury, and emotional distress caused by Defendants

Jane/John Doe, Philadelphia Police officers, and co-conspirators. Plaintiff’s participation in this

peaceable protest march ended as the direct result of the brutal force deployed by Defendants

Jane/John Doe, Philadelphia Police officers, and their co-conspirators against plaintiffs and their

fellow protesters.




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        534.    On June 1, 2020, Plaintiff Elias Sell participated in a peaceable protest march in

support of the Black Lives Matter movement in Philadelphia, Pennsylvania. As Plaintiff Elias Sell

marched from City Hall towards the Art Museum, many of the protesters turned onto Benjamin

Franklin Parkway. Plaintiff Elias Sell joined many of his fellow protesters on I-676. Plaintiff Elias

Sell noticed that several police officers at the top of the ramp, made no attempt to stop them from

entering I-676. While on the highway, Plaintiff Elias Sell observed a line of Defendants Jane/John

Doe, Philadelphia Police officers, and their co-conspirators enter the block the highway in front of

the marchers. As the protesters entered the second underpass people started to scream and run in

the opposite direction. Defendants Jane/John Doe, Philadelphia Police officers, then fired tear gas

and pepper spray at the crowd of peaceable protesters. Plaintiff Elias Sell was able to eventually

escape the attack but only after he suffered tear gas inhalation. Plaintiff Elias Sell suffered tear gas

inhalation, psychological injury, and emotional distress as a result of the actions of Defendants

Jane/John Doe, Philadelphia Police officers, and co-conspirators. Plaintiff’s participation in this

peaceable protest march ended as the direct result of the brutal force deployed by Defendants

Jane/John Doe, Philadelphia Police officers, and their co-conspirators against plaintiffs and their

fellow protesters.

        535.    On June 1, 2020, Plaintiff Maheen Shafi joined a peaceable protest march in support

of the Black Lives Matter movement in Philadelphia, Pennsylvania. Once the march reached

Benjamin Franklin Parkway, Plaintiff Maheen Shafi joined many of her fellow peaceable

protesters on I-676 to continue the protest onto the highway. At one point Plaintiff Maheen Shafi

observed many of her fellow protesters running from Defendants Jane/John Doe, Philadelphia

Police officers, and co-conspirators as they fired rubber bullets into the fleeing crowd. Eventually,

Plaintiff Maheen Shafi and her peaceable protestors made their way to the hill as they began to




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suffer from tear gas inhalation. At one point, a tear gas canister fell at the feet of Plaintiff Maheen

Shafi as she was climbing the hill. Plaintiff Maheen Shafi was eventually lifted over the fence by

other peaceable protestors. Plaintiff Maheen Shafi suffered tear gas inhalation, psychological

injury, and emotional distress caused by Defendants Jane/John Doe, Philadelphia Police officers,

and co-conspirators. Plaintiff’s participation in this peaceable protest march ended as the direct

result of the brutal force deployed by Defendants Jane/John Doe, Philadelphia Police officers, and

their co-conspirators against plaintiffs and their fellow protesters.

       536.    On June 1, 2020, Plaintiff Jay Sharma joined a peaceable protest march in support

of the Black Lives Matter movement in Philadelphia, Pennsylvania. Once the march reached

Benjamin Franklin Parkway, Plaintiff Jay Sharma joined many of his fellow peaceable protesters

on I-676 to continue the protest onto the highway. Once on the highway, Plaintiff Jay Sharma

noticed Defendants Jane/John Doe, Philadelphia Police officers, and co-conspirators, lined up on

the other side of the underpass. Plaintiff Jay Sharma witnessed Defendant John Doe, a Philadelphia

Police officer, shoot a young man with a rubber bullet. Plaintiff Jay Sharma did not hear any

warning indicating that tear gas or rubber bullets were going to be shot. While on the highway,

Plaintiff Jay Sharma felt his eyes sting and started to cough as he suffered tear gas inhalation from

tear gas cannisters fired by Defendants Jane/John Doe, Philadelphia Police officers, and co-

conspirators. As Plaintiff Jay Sharma struggled to breathe, he realized the only way to escape the

cloud of tear gas on the highway was to climb the hill on the side of I-676. While climbing the

hill Plaintiff Jay Sharma dodged tear gas canisters that were thrown at him by Defendants

Jane/John Doe, Philadelphia Police officers, and co-conspirators. Plaintiff Jay Sharma suffered

tear gas inhalation, psychological injury, and emotional distress as a result of the actions of

Defendants Jane/John Doe, Philadelphia Police officers, and co-conspirators. Plaintiff’s




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participation in this peaceable protest march ended as the direct result of the brutal force deployed

by Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators against

plaintiffs and their fellow protesters.

        537.    On June 1, 2020, Plaintiff Walter Smolarek joined a peaceable protest march in

support of the Black Lives Matter movement in Philadelphia, Pennsylvania. Initially, the protest

gathered at 3:00 p.m. in front of the Police Administration Building with a rally. Eventually, the

peaceable protestors marched their way all the way to the 22 nd Street on-ramp. The peaceable

protestors eventually marched their way onto 676 to continue their peaceable protest onto the

highway. There was no attempt by any of Defendants Jane/John Doe, Philadelphia Police officers,

standing nearby to prevent them from entering I-676. While protesting on the highway, Plaintiff

Walter Smolarek heard explosions and eventually observed clouds of tear gas forming around him

and the other peaceable protestors. He eventually made his way to the embankment, where

Defendants Jane/John Doe, Philadelphia Police officers, continued to deploy tear gas into the

crowd. Tear gas canisters were fired by Defendants Jane/John Doe, Philadelphia Police officers,

all around Plaintiff Walter Smolarek. Plaintiff Smolarek began suffocating from the tear

gas. Fellow protestors eventually helped him over the fence. Plaintiff Walter Smolarek suffered

tear gas inhalation as a result of the actions of Defendants Jane/John Doe, Philadelphia Police

officers, and their co-conspirators. The actions of Defendants Jane/John Doe, Philadelphia Police

officers, were done in an effort to end the peaceable protest and violate the First Amendment rights

of Plaintiff.

        538.    On June 1, 2020, Plaintiff Gwendolyn Snyder and Plaintiff Matt Sullivan joined a

peaceable protest march in support of the Black Lives Matter movement in Philadelphia,

Pennsylvania. As the march proceeded onto Benjamin Franklin Parkway, Plaintiff Gwendolyn




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Snyder and her husband, Plaintiff Matt Sullivan, along with many of her fellow protesters, entered

I-676 to continue the peaceable protest. Not long into their march on the highway, chaos ensued

as Plaintiff Gwendolyn Snyder and Plaintiff Matt Sullivan were caught in a cloud of tear gas.

Plaintiff Gwendolyn Snyder and Plaintiff Matt Sullivan suffered tear gas inhalation as a direct

result from Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators

releasing a large amount of tear gas on I-676. Plaintiff Gwendolyn Snyder and her husband ran

onto the embankment next to the highway in an effort to escape the attack. While trying to escape

from tear gas, Plaintiff Gwendolyn Snyder watched her husband Plaintiff Matt Sullivan get shot

with two rubber bullets by Defendant John Doe, a Philadelphia Police officer, on the embankment

of I-676. In addition to tear gas inhalation and rubber bullet injuries, Plaintiff Gwendolyn Snyder

and Plaintiff Matt Sullivan were falsely arrested, zip-tied, and detained by Defendants Jane/John

Doe, Philadelphia Police officers. Plaintiff Gwendolyn Snyder was taken to the 22 nd District where

she was issued a citation which was eventually dismissed by Defendant Mayor Kenney. Plaintiff

Gwendolyn Snyder suffered tear gas inhalation, shoulder/wrist injury from the zip ties, a change

in menstrual cycle, psychological injury, and emotional distress. Plaintiff Gwendolyn Snyder’s

injuries were a direct result of the actions by Defendants Jane/John Doe, Philadelphia Police

officers, and co-conspirators. Plaintiff Gwendolyn Snyder’s participation in this peaceable protest

march ended as the direct result of the brutal force deployed by Defendants Jane/John Doe,

Philadelphia Police officers, and their co-conspirators against plaintiffs and their fellow protesters.

       539.    On June 1, 2020, Plaintiff Alyssa Spengler joined a peaceable protest march in

support of the Black Lives Matter movement in Philadelphia, Pennsylvania. Plaintiff Alyssa

Spengler, along with many of her fellow peaceable protesters, marched from Benjamin Franklin

Parkway toward 22nd Street. Plaintiff Alyssa Spengler did not reach the highway but stayed on




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Benjamin Franklin Parkway at the corner of 22nd and Crown Plaza. While standing on 22nd street,

Plaintiff Alyssa Spengler was blocked from exiting as she was trapped between a fence and

Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators. Defendants

Jane/John Doe, Philadelphia Police officers, and co-conspirators lined the street with armored

police vehicles then released multiple tear gas canisters onto 22 nd Street and Benjamin Franklin

Parkway. Plaintiff Alyssa Spengler suffered from tear gas inhalation, psychological injury, and

emotional distress. Plaintiff Alyssa Spengler’s participation in this peaceable protest march ended

as the direct result of the brutal force deployed by Defendants Jane/John Doe, Philadelphia Police

officers, and their co-conspirators against plaintiffs and their fellow protesters.

       540.    On June 1, 2020, Plaintiff Christina Sorenson, with her partner Maxwell Hibbard,

joined a peaceable protest march in support of the Black Lives Matter movement. The peaceable

protest march began near Race Street, and eventually, the protesters ended up on Benjamin

Franklin Parkway near I-676. Plaintiff Christina Sorenson and her fellow protesters continued the

peaceable protest march onto highway I-676. While on the highway, Plaintiff Christina Sorenson

observed many of her fellow protestors begin to run in a panic. After being sprayed in the face

with tear gas at close range by Defendant Nicoletti, Plaintiff Christina Sorenson needed the

assistance of her partner Plaintiff Hibbard to escape the highway and the attack of Defendant

Nicoletti and Defendants Jane/John Doe, Philadelphia Police officers. Plaintiff Christina Sorenson

and her fellow protesters left the highway and climbed a hilly embankment adjacent to the highway

in an effort to escape the tear gas and rubber bullets. Defendants Jane/John Doe, Philadelphia

Police officers, continued to throw tear gas canisters and shoot rubber bullets at the crowd of

protesters trying to climb the fence at the top of the hill. Plaintiff Christina Sorenson escaped the

attack when other protesters assisted him over the fence, where she could clear her eyes out. While




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climbing over the fence, Plaintiff Christina Sorenson landed heavily on the fence, causing

significant bruises. Plaintiff Christina Sorenson suffered tear gas inhalation, physical injury,

psychological harm, and emotional distress as a direct result of the brutal tear gas attack by

Defendant Philadelphia Police Officers and co-conspirators. Plaintiff Christina Sorenson’s

participation in this peaceable protest march ended as the direct result of the brutal force deployed

by Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators against

Plaintiff Christina Sorenson and his fellow protesters.

       541.    On June 1, 2020, Plaintiff Quinten Staton joined a peaceable protest march in

support of the Black Lives Matter movement in Philadelphia, Pennsylvania. As the march reached

Benjamin Franklin Parkway, Plaintiff Quinten Staton, along with many of her peaceable protesters

marched onto I-676 where they were ambushed with tear gas and rubber bullets by Defendants

Jane/John Doe, Philadelphia Police officers, and their co-conspirators. Plaintiff Quinten Staton

was caught in a cloud of tear gas, which caused him to suffer tear gas inhalation after Defendants

Jane/John Doe, Philadelphia Police officers, and co-conspirators, launched tear gas and rubber

bullets against him and his fellow protesters. Plaintiff Quinten Staton’s participation in this

peaceable protest march ended as the direct result of the brutal force deployed by Defendants

Jane/John Doe, Philadelphia Police officers, and their co-conspirators against plaintiffs and their

fellow protesters.

       542.    On June 1, 2020, Plaintiff Cedric Steenberghs joined a peaceable protest march in

support of the Black Lives Matter movement in Philadelphia, Pennsylvania. As the march reached

Benjamin Franklin Parkway, Plaintiff Cedric Steenberghs joined a large group of peaceable

protesters as they made their way onto highway I-676. While protesting on the highway, Plaintiff

Cedric Steenberghs observed Defendants Jane/John Doe, Philadelphia Police officers, and their




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co-conspirators enter the eastbound ramp near 22nd and Arch Streets. Within a few minutes,

Plaintiff Cedric Steenberghs observed protesters reverse direction and run back toward him as they

were hit with pepper spray deployed by Defendants Jane/John Doe, Philadelphia Police officers,

and their co-conspirators. Plaintiff Cedric Steenberghs was standing on the median when he

became engulfed by tear gas from both sides. Plaintiff Cedric Steenberghs witnessed Defendants

Jane/John Doe, Philadelphia Police officers, and their co-conspirators launch a military assault

using tear gas and rubber bullets on Plaintiff Steenberghs and his fellow protesters from both ends

of the highway. Plaintiff Cedric Steenberghs suffered tear gas inhalation, psychological injury, and

emotional distress as a result of the assault by Defendants Jane/John Doe, Philadelphia Police

officers, and their co-conspirators. Plaintiff’s Cedric Steenberghs participation in this peaceable

protest march ended as the direct result of the brutal force deployed by Defendants Jane/John Doe,

Philadelphia Police officers, and their co-conspirators against plaintiffs and their fellow protesters.

       543.    On June 1, 2020, Plaintiff Mackenzie Stocum joined a peaceable protest march in

support of the Black Lives Matter movement in Philadelphia, Pennsylvania. As the march reached

Benjamin Franklin Parkway, Plaintiff Mackenzie Stocum, along with many of her peaceable

protesters, marched onto I-676. Once on the highway, Plaintiff Mackenzie Stockum witnessed

Defendants Jane/John Doe, Philadelphia Police officers, and co-conspirators blocking the

protesters path from continuing the march. Plaintiff Mackenzie Stocum noticed clouds of smoke

were coming from both ends of the highway. Protesters began to run from Defendants Jane/John

Doe, Philadelphia Police officers, as they fired tear gas canisters and rubber bullets into the crowd.

Plaintiff Mackenzie Stocum ran to the hill to flee from Defendants Jane/John Doe, Philadelphia

Police officers, and co-conspirators, attacking against the protesters. As plaintiff Mackenzie

Stocum climbed the hill, the tear gas canisters deployed all around her. Plaintiff Mackenzie Stocum




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climbed the hill and looked back and observed Defendants Jane/John Doe, Philadelphia Police

officers, and co-conspirators, climbing up the hill and falsely arresting them. Plaintiff Mackenzie

Stocum suffered tear gas inhalation, psychological injury, and emotional distress. Plaintiff

Mackenzie Stocum’s participation in this peaceable protest march ended as the direct result of the

brutal force deployed by Defendants Jane/John Doe, Philadelphia Police officers, and their co-

conspirators against plaintiffs and their fellow protesters.

       544.    On June 1, 2020, Plaintiff Matthew Sullivan joined a peaceable protest march in

support of the Black Lives Matter movement in Philadelphia, Pennsylvania. Plaintiff Matthew

Sullivan and his wife, Plaintiff Gwendolyn Snyder, joined many of the protesters as they marched

from Benjamin Franklin Parkway onto I-676 in order to continue the peaceable protest. Shortly

after, Plaintiff Matthew Sullivan entered the highway. Defendants Jane/John Doe, Philadelphia

Police officers, and co-conspirators began firing tear gas at him and the crowd of fellow

protesters. As soon as the tear gas was deployed, Plaintiff Matthew Sullivan and Plaintiff

Gwendolyn Snyder ran as the scene around them tuned to chaos. Eventually, Plaintiff Matthew

Sullivan and Plaintiff Gwendolyn Snyder, left the highway and started climbing the embankment

in an attempt to escape the tear gas. Defendants Jane/John Doe, Philadelphia Police officers,

continued to launch tear gas canisters at the protesters, while they were on the hill trying to escape.

Plaintiff Matthew Sullivan and Plaintiff Gwendolyn Snyder assisted others by pouring water in

their eyes. While Plaintiff Matthew Sullivan was assisting another protester to climb the hill, he

was shot by Defendants Jane/John Doe, Philadelphia Police officers, and/co-conspirator with a

rubber bullet which struck his thigh. Plaintiff Matthew Sullivan immediately turned around and

looked at Defendant Jane/John Doe, a Philadelphia Police officer, who was holding a gun in his

hand. Plaintiff Matthew Sullivan gave Defendant John Doe, a Philadelphia Police officer, the




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“middle finger.” As he turned around, Plaintiff Matthew Sullivan was shot a second time in his

lower back. Plaintiff Matthew Sullivan suffered tear gas inhalation and severe bruising to his thigh

and back as a result of the actions of Defendants Jane/John Doe, Philadelphia Police officers. After

leaving the area I-676 and Benjamin Franklin Parkway, Plaintiff Matthew Sullivan was later

falsely arrested in the area of Spring Garden Street along with his wife, Plaintiff Gwendolyn

Snyder. Plaintiff Matthew Sullivan was placed in zip ties and eventually taken to the 22 nd Police

District where he was detained. Prior to his release Plaintiff Matthew Sullivan was issued a citation

which was eventually dismissed by Defendant Mayor Kenney. Plaintiff Matthew Sullivan suffered

gas inhalation, physical pain and bruises, psychological injury, and emotional distress caused by

the actions of Defendants Jane/John Doe, Philadelphia Police officers, and co-conspirators.

       545.    On June 1, 2020, Plaintiff Allison Terry joined a peaceable protest march in support

of the Black Lives Matter movement in Philadelphia, Pennsylvania. Eventually, as the march

reached Benjamin Franklin Parkway, Plaintiff Allison Terry, along with many of her fellow

protesters, made their way onto I-676. Once on the highway, Plaintiff Allison Terry noticed a line

of Defendants Jane/John Doe, Philadelphia Police officers, dressed in SWAT/Riot gear, lining the

ramp and getting ready to move onto the highway. After marching for a few minutes, Plaintiff

Allison Terry and her fellow protesters abruptly stopped as Defendant John Doe, a Philadelphia

Police officer, standing on the median, fired pepper spray at the protesters. Several other

Defendants Jane/John Doe, Philadelphia Police officers, then fired tear gas and rubber bullets

indiscriminately at the protesters who scrambled up the hill in an effort to escape the onslaught.

Plaintiff Allison Terry was able to climb the hill through the clouds of tear gas. Eventually Plaintiff

Allison Terry scaled the fence to escape the attack. Plaintiff Allison Terry suffered tear gas

inhalation, psychological injury, and emotional distress as a direct result of the actions of




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Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators. Plaintiff

Allison Terry’s participation in this peaceable protest march ended as the direct result of the brutal

force deployed by Defendants Jane/John Doe, Philadelphia Police officers, and their co-

conspirators against the Plaintiff Allison Terry and her and fellow protesters.

       546.    On June 1, 2020, Plaintiff Niama Thomas joined a peaceable protest march in

support of the Black Lives Matter movement. The peaceable protest march began near Race Street,

and eventually, the protesters ended up on Benjamin Franklin Parkway near I-676. Plaintiff Niama

Thomas and her fellow protesters continued the peaceable protest march onto highway I-676. Soon

after, Plaintiff Niama Thomas felt the effect of the tear gas fired into the crowd by Defendants

Jane/John Doe, Philadelphia Police officers, and their co-conspirators. Plaintiff Niama Thomas

suffered tear gas inhalation, psychological harm, and emotional distress, which was directly caused

by Defendants Jane/John Doe, Philadelphia Police officers, or co-conspirators. Plaintiff Niama

Thomas’ participation in this peaceable protest ended as the direct result of the brutal force

deployed by Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators

against Plaintiff and fellow protesters.

       547.    On June 1, 2020, Plaintiff Jeff Todd participated in a peaceable protest march in

support of the Black Lives Matter movement in Philadelphia, Pennsylvania. He, along with many

of his fellow protesters, made his way from Benjamin Franklin Parkway onto I-676. While on the

highway, Plaintiff Jeff Todd heard a loud bang and quickly realized Defendants Jane/John Doe,

Philadelphia Police officers, and their co-conspirators, without warning, were launching tear gas

canisters at the protesters. Plaintiff Jeff Todd was surrounded by tear gas and unable to see or

breathe. Although Plaintiff Jeff Todd was able to make his way off the highway and away from

Benjamin Franklin Parkway, he suffered tear gas inhalation, psychological injury, and emotional




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distress as a direct result of the actions of Defendants Jane/John Doe, Philadelphia Police officers.

Plaintiff Jeff Todd’s participation in this peaceable protest march ended as the direct result of the

brutal force deployed by Defendants Jane/John Doe, Philadelphia Police officers, and their co-

conspirators against plaintiffs and their fellow protesters.

       548.    On June 1, 2020, Plaintiff William Toms joined a peaceable protest march in

support of the Black Lives Matter movement in Philadelphia, Pennsylvania. As the marchers made

their way to Benjamin Franklin Parkway, Plaintiff William Toms along with many of the other

peaceable protesters continued their protest down onto I-676. Eventually, Plaintiff William Toms

observed the marchers ahead of him run back in his direction. Plaintiff William Toms began to

run and when he turned around and looked back, he saw Defendants Jane/John Doe, Philadelphia

Police officers, and their co-conspirators firing tear gas which caused him to be surrounded and

engulfed in tear gas. Along with other protesters, Plaintiff William Toms began to climb the hill

where they were bombarded with additional tear gas canisters by Defendants Jane/John Doe,

Philadelphia Police officers, and their co-conspirators. Plaintiff William Toms observed

Defendants Jane/John Doe, Philadelphia Police officers, dropping tear gas from the helicopter.

Plaintiff William Toms suffered tear gas inhalation, psychological injury, and emotional distress

as a result of the actions of Defendants Jane/John Doe, Philadelphia Police officers, and their co-

conspirators. Plaintiff William Toms’ participation in this peaceable protest march ended as the

direct result of the brutal force deployed by Defendants Jane/John Doe, Philadelphia Police

officers, and their co-conspirators against plaintiffs and their fellow protesters.

       549.    On June 1, 2020, Plaintiff Nicholas Tonetti joined a peaceable protest march in

support of the Black Lives Matter movement in Philadelphia, Pennsylvania. As the march reached

Benjamin Franklin Parkway, Plaintiff Nicholas Tonetti joined many of his fellow protesters and




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continued the march onto highway I-676. Plaintiff Nicholas Tonetti watched hundreds of protesters

flee from Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators, as

they launched tear gas canisters and rubber bullets at the peaceable protesters in an effort to harm

them. Plaintiff Nicholas Tonetti fled to the hill where Defendants Jane/John Doe, Philadelphia

Police officers, and their co-conspirators dragged protesters down the hill to falsely arrest them.

Plaintiff Nicholas Tonetti struggled to breathe due to tear gas that was thrown by Defendants

Jane/John Doe, Philadelphia Police officers, and co-conspirators. Eventually, Plaintiff Nicholas

Tonetti was able to escape the attack. Plaintiff Nicholas Tonetti suffered tear gas inhalation,

burning sensation in his eyes, psychological injury, and emotional distress caused by Defendants

Jane/John Doe, Philadelphia Police officers, and co-conspirators. Plaintiff Nicholas Tonetti’s

participation in this peaceable protest march ended as the direct result of the brutal force deployed

by Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators against

plaintiffs and their fellow protesters.

        550.    On June 1, 2020, Plaintiff Lauren Tramontina joined a peaceable protest march in

support of the Black Lives Matter movement in Philadelphia, Pennsylvania. As the march reached

Benjamin Franklin Parkway, Plaintiff Lauren Tramontina along with many of her fellow protesters

marched onto I-676. On the ramp to the highway Plaintiff Lauren Tramontina noticed that

Defendants Jane/John Doe, Philadelphia Police officers, and co-conspirators, did not try to block

the on ramp to the highway, but rather let the peaceable protesters walk past them down onto I-

676. Plaintiff Lauren Tramontina marched on the highway until the crowd came to a stop due to a

line of Defendants Jane/John Doe, Philadelphia Police officers, and co-conspirators on the other

side of the overpass. Defendants Jane/John Doe, Philadelphia Police officers, and co-conspirators

used tear gas and rubber bullets against the crowd of protesters causing them to flee to the hill next




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to I-676. Plaintiff Lauren Tramontina attempted to flee but was falsely arrested and detained by

Defendant Jane/John Doe, a Philadelphia Police officer. Plaintiff Lauren Tramontina suffered tear

gas inhalation, psychological and emotional distress as a direct result of the actions of Defendants

Jane/John Doe, Philadelphia Police officers, and their co-conspirators. Plaintiff Lauren

Tramontina’s participation in this peaceable protest march ended as the direct result of the brutal

force deployed by Defendants Jane/John Doe, Philadelphia Police officers, and their co-

conspirators against plaintiffs and their fellow protesters.

       551.    On June 1, 2020, Plaintiff Hoan Tran joined a peaceable protest march in support

of the Black Lives Matter movement in Philadelphia, Pennsylvania. Plaintiff Hoan Tran along with

many of his fellow protesters made their way from Benjamin Franklin Parkway onto I-676 to

continue the peaceable protest. Plaintiff Hoan Tran was not on the highway for long before

Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators began their

assault on the peaceable protesters. Plaintiff Hoan Tran watched Defendants Jane/John Doe,

Philadelphia Police officers, release tear gas and rubber bullets in the crowd. Plaintiff Hoan Tran

was subsumed by a cloud of tear gas as he ran to the hill on the side of the highway. Plaintiff Hoan

Tran suffered tear gas inhalation, psychological injury, and emotional distress as a direct result of

the actions by Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators.

Plaintiff Hoan Tran’s participation in this peaceable protest march ended as the direct result of the

brutal force deployed by Defendants Jane/John Doe, Philadelphia Police officers, and their co-

conspirators against plaintiffs and their fellow protesters.

       552.    On June 1, 2020, Plaintiff Minh Tran joined a peaceable protest march in support

of the Black Lives Matter movement in Philadelphia, Pennsylvania. Plaintiff Minh Tran along

with many other peaceable protesters made their way from Benjamin Franklin Parkway onto I-




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676. While on the highway, Plaintiff Minh Tran witnessed Defendants Jane/John Doe,

Philadelphia Police officers, firing tear gas and rubber bullets into the crowd of peaceable

protesters on the highway. Plaintiff Minh Tran began climbing the hill in an effort to escape the

tear gas and rubber bullets fired by Defendants Jane/John Doe, Philadelphia Police officers. While

on the hill, Plaintiff Minh Tran suffered tear gas inhalation, and his eyes burned from the tear gas.

Plaintiff Minh Tran was falsely arrested, and zip-tied by Defendants Jane/John Doe, Philadelphia

Police officers, and taken to the 22nd District and issued a citation. Plaintiff Minh Tran sustained

tear gas inhalation, psychological and emotional distress due to the actions of Defendants

Jane/John Doe, Philadelphia Police officers. Plaintiff Minh Tran’s participation in this peaceable

protest march ended as the direct result of the brutal force deployed by Defendants Jane/John Doe,

Philadelphia Police officers, and their co-conspirators against plaintiffs and their fellow protesters.

        553.   On June 1, 2020, Plaintiff Kayla Trimble joined a peaceable protest march in

support of the Black Lives Matter movement in Philadelphia, Pennsylvania. As the march reached

Benjamin Franklin Parkway, Plaintiff Kayla Trimble marched with many of her fellow peaceable

protesters on I-676. Plaintiff Kayla Trimble was towards the back of the march and by the time

she entered the highway she saw protesters running. Plaintiff Kayla Trimble witnessed Defendants

Jane/John Doe, Philadelphia Police officers, and their co-conspirators launch tear gas canisters and

fire rubber bullets into the crowd of protesters who were trying to escape up the hill . Plaintiff

Kayla Trimble suffered tear gas inhalation, psychological injury, and emotional distress caused by

Defendants Jane/John Doe, Philadelphia Police officers, and co-conspirators. Plaintiff Kayla

Trimble’s participation in this peaceable protest march ended as the direct result of the brutal force

deployed by Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators

against plaintiffs and their fellow protesters.




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        554.    On June 1, 2020, Plaintiff Sandy Trinh joined a peaceable protest march in support

of the Black Lives Matter movement in Philadelphia, Pennsylvania. Before Plaintiff Sandy Trinh

could march down onto I-676, she witnessed Defendants Jane/John Doe, Philadelphia Police

officers, and their co-conspirators, fire tear gas and rubber bullets at the protesters on I-676. As

Plaintiff Sandy Trinh looked down at the highway, she was blocked on the overpass by Defendants

Jane/John Doe, Philadelphia Police officers, and their co-conspirators. Defendants Jane/John Doe,

Philadelphia Police officers, lined the bridge on both sides shooting tear gas and rubber bullets at

the protesters on the bridge, including Plaintiff Sandy Trinh. Plaintiff Sandy Trinh fled from the

onslaught of violence from Defendants Jane/John Doe, Philadelphia Police officers, and their co-

conspirators. Sandy Trinh suffered from tear gas inhalation, and psychological and emotional

distress due to the actions of Defendants Jane/John Doe, Philadelphia Police officers, and co-

conspirators. Plaintiff Sandy Trinh’s participation in this peaceable protest march ended as the

direct result of the brutal force deployed by Defendants Jane/John Doe, Philadelphia Police

officers, and their co-conspirators against plaintiffs and their fellow protesters.

        555.    On June 1, 2020, Plaintiff Spiros Tsonos joined a peaceable protest march in

support of the Black Lives Matter movement in Philadelphia, Pennsylvania. As the march reached

Benjamin Franklin Parkway, Plaintiff Spiros Tsonos, along with many fellow protesters entered I-

676. While on the highway, Defendants Jane/John Doe, Philadelphia Police officers, and co-

conspirators fired tear gas and rubber bullets into the crowd of peaceable protesters which resulted

in a stampede off the highway and onto the hill adjacent to I-676. Plaintiff Spiros Tsonos attempted

to climb the hill in order to escape the tear gas. Plaintiff Spiros Tsonos suffered tear gas inhalation,

a result of the actions of Defendants Jane/John Doe, Philadelphia Police officers. As Plaintiff

Spiros Tsonos was attempting to flee the hill, Defendant Jane/John Doe, a Philadelphia Police




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officer, approached and began striking Plaintiff Spiros Tsonos with his baton on his right leg

causing Plaintiff Spiros Tsonos to fall to the ground. Plaintiff Spiros Tsonos was falsely arrested

by Defendant Jane/John Doe, a Philadelphia Police officer, zip-tied and detained for several hours.

Plaintiff Spiros Tsonos suffered tear gas inhalation, bruising, and lacerations, false arrest,

psychological injury, and emotional distress. Plaintiff Spiros Tsonos’ participation in this

peaceable protest march ended as the direct result of the brutal force deployed by Defendants

Jane/John Doe, Philadelphia Police officers, and their co-conspirators against plaintiffs and their

fellow protesters.

       556.    On June 1, 2020, Plaintiff Caroline Udell joined a peaceable protest march in

support of the Black Lives Matter movement in Philadelphia, Pennsylvania. Plaintiff Caroline

Udell expressed her First Amendment rights with many peaceable protesters by marching on I-

676. After marching for several minutes on the highway, a group of protesters began running.

Plaintiff Caroline Udell saw the tear gas canisters being fired into the crowd of peaceable

protesters. Plaintiff Caroline Udell observed Defendants Jane/John Doe, Philadelphia Police

officers, and co-conspirators release massive amounts of tear gas into the crowd of peaceable

protesters. While Plaintiff Caroline Udell ran, Defendant John Doe, a Philadelphia Police officer,

shot a tear gas canister directly at her, which narrowly missed. Plaintiff Caroline Udell suffered

tear gas inhalation, burning eyes, psychological and emotional distress as a result of the actions of

Defendants Jane/John Doe, Philadelphia Police officers. Plaintiff Caroline Udell’s participation in

this peaceable protest march ended as the direct result of the brutal force deployed by Defendants

Jane/John Doe, Philadelphia Police officers, and their co-conspirators against plaintiffs and their

fellow protesters.




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       557.    On June 1, 2020, Plaintiff Madelyn Van Trieste joined a peaceable protest march

in support of the Black Lives Matter movement in Philadelphia, Pennsylvania. Plaintiff Madelyn

Van Trieste along with many of her fellow protesters made their way from Benjamin Franklin

Parkway onto I-676 to continue their peaceable protest. As Madelyn Van Trieste made her way

into the underpass Plaintiff Madelyn Van Trieste observed tear gas deployed by Defendants

Jane/John Doe, Philadelphia Police officers, and co-conspirators. Plaintiff Madelyn Van Trieste

suffered tear gas inhalation, psychological and emotional harm as a result of the actions of

Defendants Jane/John Doe, Philadelphia Police officers, and co-conspirators firing tear gas into

the crowd of peaceable protesters. Plaintiff Madelyn Van Trieste’s participation in this peaceable

protest march ended as the direct result of the brutal force deployed by Defendants Jane/John Doe,

Philadelphia Police officers, and their co-conspirators against plaintiffs and their fellow protesters.

       558.    On June 1, 2020, Plaintiff Joshua Walker joined a peaceable protest march in

support of the Black Lives Matter movement in Philadelphia, Pennsylvania. Plaintiff Joshua

Walker, along with many of his fellow protesters, made their way from Benjamin Franklin

Parkway onto I-676 to continue the peaceable protest. Plaintiff Joshua Walker was marching on

the highway when he observed Defendants Jane/John Doe, Philadelphia Police officers, and co-

conspirators firing tear gas into the crowd of peaceable protesters. Plaintiff Joshua Walker ran to

the hill adjacent to the highway and began helping others as they struggled to escape the attack.

Plaintiff Joshua Walker was eventually able to climb the fence. Plaintiff Joshua Walker has

asthma and suffered tear gas inhalation. As a result, he suffered severe respiratory problems for

days after the attack. Plaintiff Joshua Walker suffered tear gas inhalation, psychological injury,

and emotional distress as a direct result of the actions by Defendants John Doe, Philadelphia

Police officers, and their co-conspirators. Plaintiff Joshua Walker’s participation in this




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peaceable protest march ended as the direct result of the brutal force deployed by Defendants

Jane/John Doe, Philadelphia Police officers, and their co-conspirators against the Plaintiff and

fellow protesters.

       559.    On June 1, 2020, Plaintiff Sarah Walsh joined a peaceable protest march in support

of the Black Lives Matter movement in Philadelphia, Pennsylvania. As the march reached

Benjamin Franklin Parkway, Plaintiff Sarah Walsh along with many of her fellow protesters made

their way from Benjamin Franklin Parkway on to I-676. Plaintiff Sarah Walsh heard a loud

explosion coming from the front of the march on the highway and witnessed the crowd stampede

in her direction. As Defendant Jane/John Doe Philadelphia Police Officer and co-conspirators fired

tear gas into the crowd of peaceable protesters, Plaintiff Sarah Walsh made her way up the hilly

embankment in order to escape the attack. As she climbed up the hill, she suffered tear gas

inhalation as Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators

fired tear gas canisters towards the crowd of peaceable protesters making their way off I-676. Once

on Benjamin Franklin Parkway, Plaintiff Sarah Walsh again suffered tear gas inhalation as

Defendant Jane/John Doe fired more tear gas canisters over the fence. Plaintiff Sarah Walsh twice

suffered tear gas inhalation, as well as psychological injury and emotional distress caused by

Defendants Jane/John Doe, Philadelphia Police officers, and co-conspirators. Plaintiff Sarah

Walsh has Asthma and as a result of being tear gassed by Defendant Jane/John Doe suffered an

asthma attack. Plaintiff Sarah Walsh’s participation in this peaceable protest march ended as the

direct result of the brutal force deployed by Defendants Jane/John Doe, Philadelphia Police

officers, and their co-conspirators against plaintiffs and their fellow protesters.

       560.    On June 1, 2020, Plaintiff Patrick Wargo joined a peaceable protest march in

support of the Black Lives Matter movement in Philadelphia, Pennsylvania. Plaintiff Patrick




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Wargo along with many of his fellow protesters made their way from Benjamin Franklin Parkway

onto I-676 to continue the peaceable protest. As the march approached Benjamin Franklin

Parkway, Plaintiff Patrick Wargo observed two Defendants John Doe, Philadelphia Police officers,

attempting to block the ramp onto the highway, but as the protesters moved closer the Philadelphia

Police Officers let them onto the highway. As Plaintiff Patrick Wargo arrived at the first underpass

on the highway he observed the protesters panicking as they got pushed against the walls. Plaintiff

Patrick Wargo, along with a crowd of protesters ran to the hilly embankment as Defendants

Jane/John Doe, Philadelphia Police officers, and their co-conspirators began firing tear gas and

rubber bullets into the crowd of protesters on the hill. While attempting to escape the attack,

Plaintiff Patrick Wargo was engulfed by the tear gas that was fired at him and the crowd on the

hill. Plaintiff Patrick Wargo was unable to make it over the fence and was falsely arrested by

Defendant John Doe, a Philadelphia Police officer. Plaintiff Patrick Wargo was zip-tied and taken

into custody and removed from the site of the protest march. Plaintiff Patrick Wargo suffered tear

gas inhalation, psychological injury, and emotional distress and was falsely arrested as the result

of Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators. Plaintiff

Patrick Wargo’s participation in this peaceable protest march ended as the direct result of the brutal

force deployed by Defendants Jane/John Doe, Philadelphia Police officers, and their co-

conspirators against plaintiffs and their fellow protesters.

       561.    On June 1, 2020, Plaintiff Kayla Watkins joined a peaceable protest march in

support of the Black Lives Matter movement in Philadelphia, Pennsylvania. As the march reached

Benjamin Franklin Parkway, Plaintiff Kayla Watkins joined many of her fellow marchers on I-676

to continue the peaceable protest. Within minutes, Plaintiff Kayla Watkins observed police

vehicles moving through the traffic toward the protesters. Without warning Defendants Jane/John




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Doe, Philadelphia Police officers, and their co-conspirators began attacking the crowd with tear

gas and rubber bullets. Plaintiff Kayla Watkins suffered tear gas inhalation which made it

extremely difficult to breathe as she suffers from asthma. Plaintiff Kayla Watkins was able to make

it over the fence with the help of other protesters. Plaintiff Kayla Watkins suffered tear gas

inhalation and psychological injury and emotional distress as a result of the attack by Defendants

Jane/John Doe, Philadelphia Police officers, and their co-conspirators. Plaintiff Kayla Watkins

participation in this peaceable protest march ended as the direct result of the brutal force deployed

by Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators against

plaintiffs and their fellow protesters.

        562.    On June 1, 2020, Plaintiff Skylar Watkins joined a peaceable protest march in

support of the Black Lives Matter movement in Philadelphia, Pennsylvania. Plaintiff Skylar

Watkins along with many of her fellow protesters made their way from Benjamin Franklin

Parkway onto I-676 to continue the peaceable protest. Plaintiff Skylar Watkins observed

Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators blocking the

protesters in all directions. Defendants Jane/John Doe, Philadelphia Police officers, and their co-

conspirators began throwing tear gas into the crowd of peaceable protesters while the protesters

were trying to leave the highway and escape the assault. Plaintiff Skylar Watkins made her way

up the hilly embankment to escape but could not pull herself over the fence as the tear gas engulfed

her. Plaintiff Skylar Watkins stumbled back down the hill and was assisted by one of the drivers

in a vehicle stopped in traffic. This anonymous woman drove Plaintiff Skylar Watkins and another

protester away from the scene. Plaintiff Skylar Watkins suffered tear gas inhalation, psychological

harm as a direct result of the actions by Defendants Jane/John Doe, Philadelphia Police officers,

and their co-conspirators. Plaintiff Skylar Watkins participation in this peaceable protest march




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ended as the direct result of the brutal force deployed by Defendants Jane/John Doe, Philadelphia

Police officers, and their co-conspirators against plaintiffs and their fellow protesters.

       563.    On June 1, 2020, Plaintiff Sean Welch joined a peaceable protest march in support

of the Black Lives Matter movement in Philadelphia, Pennsylvania. Plaintiff Sean Welch joined

the peaceable protesters on I-676 but was only on the highway for minutes when Defendants

Jane/John Doe, Philadelphia Police officers, began their military assault. Defendants Jane/John

Doe, Philadelphia Police officers, began firing tear gas at the protesters, including Plaintiff Sean

Welch. As Plaintiff Sean Welch climbed the hill, suffering from tear gas inhalation, Defendant

John Doe, a Philadelphia Police officer, shot him in the right elbow with a rubber bullet before he

could escape over the fence. Plaintiff Sean Welch experienced extreme pain and a contusion as a

result of the rubber bullet striking his elbow. Plaintiff Sean Welch suffered tear gas inhalation, an

injured elbow, psychological injury, and emotional distress caused by Defendants Jane/John Doe,

Philadelphia Police officers, and co-conspirators. Plaintiff Sean Welch’s participation in this

peaceable protest march ended as the direct result of the brutal force deployed by Defendants

Jane/John Doe, Philadelphia Police officers, and their co-conspirators against plaintiffs and their

fellow protesters.

       564.    On June 1, 2020, Plaintiff Mike Whalen joined a peaceable protest march in support

of the Black Lives Matter movement in Philadelphia, Pennsylvania. Plaintiff Mike Whalen along

with many of his fellow protesters made their way from Benjamin Franklin Parkway onto I-676.

While on the highway, marching into the first underpass, Plaintiff Mike Whalen observed the

crowd of peaceable protesters run in his direction. Without warning or provocation, Defendants

Jane/John Doe, Philadelphia Police officers, and co-conspirators began firing tear gas into the

crowd of peaceable protesters as Plaintiff Mike Whalen and the others tried to flee the assault.




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Plaintiff Mike Whalen observed Defendants Jane/John Doe, Philadelphia Police officers, pulling

fellow protesters off the hill and fence. Plaintiff suffered irritation in his lungs from the tear gas

inhalation and irritation on his skin, psychological injury, and emotional distress as a direct result

of the attack by Defendants Jane/John Doe, Philadelphia Police officers, and their co-

conspirators. Plaintiff Mike Whalen’s participation in this peaceable protest march ended as the

direct result of the brutal force deployed by Defendants Jane/John Doe, Philadelphia Police

officers, and their co-conspirators against plaintiffs and their fellow protesters.

       565.    On June 1, 2020, Plaintiff Faith Williams joined a peaceable protest march in

support of the Black Lives Matter movement in Philadelphia, Pennsylvania. Plaintiff Faith

Williams along with of her fellow protesters made their way from Benjamin Franklin Parkway

onto I-676 to continue the peaceable protest. While on the highway, Defendants Jane/John Doe,

Philadelphia Police officers, and co-conspirators boxed in Plaintiff Faith Williams and the crowd

of peaceable protesters and launched tear gas canisters into the crowd trying to escape over the

fence. Plaintiff Faith Williams suffered tear gas inhalation, a nosebleed, emotional distress, and

psychological harm as the result of the tear gas attacks by Defendants Jane/John Doe, Philadelphia

Police officers, and their co-conspirators. Plaintiff Faith Williams’s participation in this peaceable

protest march ended as the direct result of the brutal force deployed by Defendants Jane/John Doe,

Philadelphia Police officers, and their co-conspirators against plaintiffs and their fellow protesters.

       566.    On June 1, 2020, Plaintiff Kathleen Williams joined a peaceable protest march in

support of the Black Lives Matter movement. The peaceable protest march began near Race Street

and eventually the protesters along with Plaintiff Kathleen Williams ended up on Benjamin

Franklin Parkway near I-676. Plaintiff Kathleen Williams and her fellow protesters continued the

peaceable protest march onto highway I-676. Once on the highway, Plaintiff Kathleen Williams




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marched for several minutes when she noticed the protesters in front of her turn back and start to

run. Defendants Jane/John Doe, Philadelphia Police officers, and co-conspirators started firing tear

gas and rubber bullets into the crowd. Plaintiff Kathleen Williams, cornered by police who were

coming from all directions, decided to run up the embankment to escape the overwhelming amount

of tear gas. Defendants Jane/John Doe, Philadelphia Police officers, and co-conspirators threw

even more tear gas on the hill while protesters were trying to escape. Plaintiff Kathleen Williams

climbed the hill, barely able to see due to the amount of tear gas in the air. While climbing the hill

Plaintiff Kathleen Williams fell and injured her knee. Plaintiff Kathleen Williams suffered tear gas

inhalation, an injured knee, psychological injury, and emotional pain as the direct result of the

actions of Defendants Jane/John Doe, Philadelphia Police officers. Plaintiff Kathleen William’s

participation in this peaceable protest march ended as the direct result of the brutal force deployed

by Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators against

Plaintiff Kathleen Williams and his and fellow protesters.

       567.    On June 1, 2020, Plaintiff Rand Williams joined a peaceable protest march in

support of the Black Lives Matter movement in Philadelphia, Pennsylvania. Plaintiff Rand

Williams along with many of his fellow protesters made their way from Benjamin Franklin

Parkway onto I-676 to continue the peaceable protest. While on the highway, with his fellow

Plaintiff Rand Williams observed Defendant Jane/John Doe Police Officers and co-conspirators

release flash bangs and tear gas canisters into the crowd of peaceable protesters. Plaintiff Rand

Williams suffered tear gas inhalation, psychological injury, and emotional distress as the result of

the actions of Defendants Jane/John Doe, Philadelphia Police officers, and co-conspirators.

Plaintiff Rand Williamson’s participation in this peaceable protest march ended as the direct result




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of the brutal force deployed by Defendants Jane/John Doe, Philadelphia Police officers, and their

co-conspirators against plaintiffs and their fellow protesters.

       568.    On June 1, 2020, Plaintiff Elana Willinsky joined a peaceable protest march in

support of the Black Lives Matter movement in Philadelphia, Pennsylvania. Plaintiff Elana

Willinsky along with many of her fellow protesters, made their way from Benjamin Franklin

Parkway onto I-676 to continue the peaceable protest. Plaintiff Elana Willinsky and her fellow

peaceable protesters marched on I-676, passing an empty police vehicle without incident.

Protesters began to run back in Plaintiff Elana Willinsky’s direction as clouds of tear gas engulfed

the area where they were marching. As Plaintiff Elana Willinsky scrambled up the hilly

embankment Defendants Jane/John Doe, Philadelphia Police officers, and co-conspirators threw

tear gas into the crowd of peaceable protesters nearby where Plaintiff Elana Willinsky was located

on the hill. Plaintiff Elana Willinsky suffered tear gas inhalation, psychological harm and

emotional distress as the result of the tear gas attacks by the Jane/John Doe Philadelphia Police

Officers and co-conspirators. Plaintiff Elana Willinsky’s participation in this peaceable protest

march ended as the direct result of the brutal force deployed by Defendants Jane/John Doe,

Philadelphia Police officers, and their co-conspirators against plaintiffs and their fellow protesters.

       569.    On June 1, 2020, Plaintiff Callum Wilson joined a peaceable protest march in

support of the Black Lives Matter movement in Philadelphia, Pennsylvania. Plaintiff Callum

Wilson along with many of his fellow protesters made their way from Benjamin Franklin Parkway

onto I-676 to continue the peaceable protest. While on the highway, Plaintiff Callum Wilson

observed Defendants Jane/John Doe, Philadelphia Police officers, and co-conspirators begin their

military style attack firing tear gas and rubber bullets into the crowd of peaceable protesters. Tear

gas surrounded Plaintiff Callum Wilson as he made his way off the highway and up the




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embankment to escape the tear gas. While Plaintiff Callum Wilson was choking on the tear gas on

the hill Defendant John Doe, a Philadelphia Police officer, shot Plaintiff Callum Wilson in the

chest with a rubber bullet. Plaintiff Callum Wilson has asthma and suffered tear gas inhalation

and bruising to his chest as a direct result of the actions of Defendants Jane/John Doe, Philadelphia

Police officers, and their co-conspirators. Plaintiff Callum Wilson’s participation in this peaceable

protest march ended as the direct result of the brutal force deployed by Defendants Jane/John Doe,

Philadelphia Police officers, and their co-conspirators against plaintiffs and their fellow protesters.

       570.    On June 1, 2020, Plaintiff Hope Wilson joined a peaceable protest march in support

of the Black Lives Matter movement in Philadelphia, Pennsylvania. Plaintiff Hope Wilson along

with many of her fellow protesters made their way towards I-676 and peaceablely descended onto

it the highway. While on the highway, Defendants Jane/John Doe, Philadelphia Police officers,

appeared near Plaintiff Hope Wilson and started to shoot projectiles into the crowd. Plaintiff Hope

Wilson fled from the highway and ran to the hill where tear gas canisters landed near her feet.

Plaintiff Hope Wilson inhaled a large amount of tear gas, irritation of her eyes, psychological

injury, and emotional distress. For several weeks following the protest Plaintiff Hope Wilson had

trouble breathing. Plaintiff Hope Wilsons participation in this peaceable protest march ended as

the direct result of the brutal force deployed by Defendants Jane/John Doe, Philadelphia Police

officers, and their co-conspirators against plaintiffs and their fellow protesters.

       571.    On June 1, 2020, Plaintiff Seamus Wilson joined a peaceable protest march in

support of the Black Lives Matter movement in Philadelphia, Pennsylvania. Plaintiff Seamus

Wilson along with many of his fellow protesters, made their way from Benjamin Franklin Parkway

onto the I-676 to continue the peaceable protest. While on the highway, Plaintiff Seamus

Wilson observed Defendants Jane/John Doe, Philadelphia Police officers, and their co-




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conspirators fire rubber bullets and tear gas into the crowd of peaceable protesters. As Plaintiff

Seamus Wilson and his fellow protesters attempted to escape the attack Plaintiff Seamus Wilson

was struck in the elbow with a tear gas canister fired by Defendant John Doe, a Philadelphia Police

officer. As the result of the actions by Defendant Philadelphia Police Officers and co-conspirators

Plaintiff Seamus Wilson suffered tear gas inhalation, a fractured elbow, psychological injury, and

emotional distress as the result of Defendants Jane/John Doe, Philadelphia Police officers, and co-

conspirator’s decision launch tear gas and the decision by Defendant Jane/John Doe, a Philadelphia

Police officer, or co-conspirator to fire a tear gas canister that struck Plaintiff Seamus Wilson in

the elbow. Plaintiff Seamus Wilson’s participation in this peaceable protest march ended as the

direct result of the brutal force deployed by Defendants Jane/John Doe, Philadelphia Police

officers, and their co-conspirators against plaintiffs and their fellow protesters.

       572.    On June 1, 2020, Plaintiff Daniel Wofford joined a peaceable protest march in

support of the Black Lives Matter movement in Philadelphia, Pennsylvania. Plaintiff Daniel

Wofford along with many of his fellow protesters made their way from Benjamin Franklin

Parkway onto I-676 highway to continue the peaceable protest. Plaintiff Daniel Wofford was one

of the first peaceable protesters to enter onto I-676. While on the highway, Plaintiff Daniel

Wofford observed Defendants Jane/John Doe, Philadelphia Police officers, approach the peaceable

protesters. Plaintiff Daniel Wofford and other protesters began chanting “hands up don’t shoot” as

he and others put their hands in the air. Just as he placed his hands in the air, Defendant John Doe,

a Philadelphia Police officer, and/or co-conspirator standing by shot Plaintiff Daniel Wofford in

his face with a rubber bullet. The force of the rubber bullet broke Plaintiff’s nose. As Plaintiff

Daniel Wofford began to flee, he was shot in the back of the head, upon information and belief by

the same Defendant John Doe, a Philadelphia Police officer. As Plaintiff Daniel Wofford ran out




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of the underpass, he observed Defendant Jane/John Doe Police Officers and co-conspirators

coming from the other direction. As he was fleeing Plaintiff Daniel Wofford was shot twice more

by a different Defendant John Doe, a Philadelphia Police officer. One shot struck Plaintiff Daniel

Wofford in the back of the head and once in the back. After being struck multiple times by rubber

bullets, another Defendant John Doe, a Philadelphia Police officer, shot a tear gas canister which

struck Plaintiff Daniel Wofford in the face causing a seizure as he collapsed on the highway.

Eventually, with the assistance of fellow protesters, Once Plaintiff Daniel Wofford regained

consciousness, he was to make it over the fence at the top of the embankment. Once over the fence

Plaintiff Daniel Wofford was shot with mace or pepper spray by another Defendant John Doe, a

Philadelphia Police officer. Plaintiff Daniel Wofford suffered tear gas inhalation by Defendant

Jane/John Doe Philadelphia Officers, a broken nose as he was shot by Defendant John Doe, a

Philadelphia Police officer, a seizure as the result of being shot by a different Defendant John Doe,

a Philadelphia Police officer, and multiple bruises from the numerous rubber bullets shot by other

Defendants Jane/John Doe, Philadelphia Police officers, and/or co-conspirators. Plaintiff Daniel

Wofford suffered pain to his eyes and nose from the mace fired at him by another Defendant John

Doe, a Philadelphia officer, as well as psychological injury and emotional distress caused by

Defendants Jane/John Doe, Philadelphia Police officers, and/or co-conspirators. Plaintiff Danial

Wofford’s participation in this peaceable protest march ended as the direct result of the brutal force

deployed by Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators

against plaintiffs and their fellow protesters.

        573.   On June 1, 2020, Plaintiff Amber Wright joined a peaceable protest march in

support of the Black Lives Matter movement in Philadelphia, Pennsylvania. Plaintiff Amber

Wright along with many of her fellow protesters made their way from Benjamin Franklin Parkway




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onto I-676 to continue the peaceable protest. While on the highway, Plaintiff Amber Wright

observed Defendant Jane/John Doe Philadelphia Officers and co-conspirators firing tear gas

canisters into the crowd. Plaintiff Amber Wright and the other protesters began running up the

hilly embankment to escape the assault. Defendants Jane/John Doe, Philadelphia Police officers,

and their co-conspirators began firing tear gas into the crowd of peaceable protesters on the hill,

including Plaintiff Amber Wright as they attempted to make it to the top of the embankment. As

the result of Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators

firing tear gas into the crowd of peaceable protesters, Plaintiff Amber Wright suffered tear gas

inhalation, psychological injury, and emotional distress. Plaintiff Amber Wright made her way to

Benjamin Franklin Parkway where she observed Defendants Jane/John Doe, Philadelphia Police

officers, threatening to throw tear gas out of the top of military vehicles all in an attempt to terrorize

peaceable protesters. Plaintiff Amber Wright’s participation in this peaceable protest march ended

as the direct result of the brutal force deployed by Defendants Jane/John Doe, Philadelphia Police

officers, and their co-conspirators against plaintiffs and their fellow protesters.

        574.    On June 1, 2020, Plaintiff Leah Yancoskie joined a peaceable protest march in

support of the Black Lives Matter movement in Philadelphia, Pennsylvania. Plaintiff Leah

Yancoskie, along with many of her fellow protesters, made their way from Benjamin Franklin

Parkway onto I-676 to continue the peaceable protest. While on the highway, Plaintiff Leah

Yancoskie observed the protesters ahead of her begin to panic, turn around, and run in her

direction. Plaintiff Leah Yancoskie joined the other protesters as they ran up the embankment in

an effort to escape Defendants Jane/John Doe, Philadelphia Police officers, firing tear gas into the

crowd. As Plaintiff Leah Yancoskie was on the hill, she suffered tear gas inhalation as the result

of the actions of Defendants Jane/John Doe, Philadelphia Police officers. Plaintiff Leah Yancoskie




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eventually made it over the fence and then observed Defendants Jane/John Doe, Philadelphia

Police officers, attempting to pull protesters off the fence. As the result of Defendants Jane/John

Doe, Philadelphia Police officers, and their co-conspirators firing tear gas into the crowd of

peaceable protesters, Plaintiff Leah Yancoskie suffered tear gas inhalation, psychological injury,

and emotional distress. Plaintiff Leah Yancoskie’s participation in this peaceable protest march

ended as the direct result of the brutal force deployed by Defendants Jane/John Doe, Philadelphia

Police officers, and their co-conspirators against plaintiffs and their fellow protesters.

       575.    On June 1, 2020, Plaintiff Alyssa Young joined a peaceable protest march in

support of the Black Lives Matter movement in Philadelphia, Pennsylvania. The march reached

Benjamin Franklin Parkway, and Plaintiff Alyssa Young, along with many of her fellow protesters,

continued her march onto highway I-676. Defendant Jane/John Doe, Philadelphia Police officers,

made no attempt to stop the protesters from entering I-676. While on 676, Plaintiff Alyssa Young

and several other protesters sat down on the highway. She and others then proceeded through the

first underpass and continued to march. Once Plaintiff Alyssa Young reached the second

underpass, without warning, she heard a pop and observed smoke pouring into the underpass.

Plaintiff Alyssa Young observed a stampede of her fellow protesters running back in her direction.

Plaintiff Alyssa Young made her way to the only escape route available, a hilly embankment

adjacent to the highway. While on the hill, Defendants Jane/John Doe, Philadelphia Police officers,

and their co-conspirators launched tear gas at Plaintiff Alyssa Young and her fellow protesters,

who were stuck on the hill trying to escape. Eventually, Plaintiff Alyssa Young was able to escape

the attack by climbing the hill and scaling the fence at the top. As the result of the actions of

Defendants Jane/John Doe, Philadelphia Police officers, Plaintiff Alyssa Young suffered tear gas

inhalation, bruises on her body from the fence, psychological harm, and emotional distress.




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Plaintiff Alyssa Young’s participation in this peaceable protest march ended as the direct result of

the brutal force deployed by Defendants Jane/John Doe, Philadelphia Police officers, and their co-

conspirators against plaintiffs and their fellow protesters.

       576.    On June 1, 2020, Plaintiff Zoe Zazzera joined a peaceable protest march in support

of the Black Lives Matter movement in Philadelphia, Pennsylvania. Plaintiff Zoe Zazzera, along

with many of her fellow protesters, progressed from Benjamin Franklin Parkway onto I-676 to

continue the peaceable protest. Once the peaceable protesters entered under the second overpass,

Plaintiff Zoe Zazzera observed Defendants Jane/John Doe, Philadelphia Police officers, throwing

tear gas canisters at the protesters including her. Plaintiff Zoe Zazzera suffered tear gas inhalation,

psychological injury, and emotional distress while on the hill trying to escape the tear gas attack

launched by Defendant Jane/John Doe Philadelphia Police Officer and their co-conspirators.

Plaintiff Zoe Zazzera’s participation in this peaceable protest march ended as the direct result of

the brutal force deployed by Defendants Jane/John Doe, Philadelphia Police officers, and their co-

conspirators against plaintiffs and their fellow protesters.

       577.    On June 1, 2020, Plaintiff Rob Zolitor, a Navy veteran, joined a peaceable protest

march in support of the Black Lives Matter movement in Philadelphia, Pennsylvania. Plaintiff Rob

Zolitor, along with many of his fellow protesters, made his way from Benjamin Franklin Parkway

onto I-676 to continue the peaceable protest. While on the highway, Defendants Jane/John Doe,

Philadelphia Police officers, and their co-conspirators fired tear gas and rubber bullets in all

directions. At no time was there any warning or instruction to disperse given by Defendants

Jane/John Doe, Philadelphia Police officers, or their co-conspirators. Plaintiff Rob Zolitor was on

the embankment trying to escape the tear gas when he was pulled to the ground by Defendant John

Doe, a Philadelphia Police officer, who falsely arrested Plaintiff Rob Zolitor and placed zip ties




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on his wrists. Plaintiff Rob Zolitor was held in custody for several hours and issued a citation that

was eventually dismissed by Defendant Mayor Kenney. Plaintiff Rob Zolitor suffered tear gas

inhalation, false arrest, and nerve damage to his wrists as the zip ties were pulled extremely tight

around his wrists causing his hands to turn purple. Plaintiff Rob Zolitor suffered gas inhalation,

nerve damage to his wrists, psychological injury, and emotional distress as the result of the actions

of Defendants Jane/John Doe, Philadelphia Police officers, and co-conspirators. Plaintiff Robert

Zolitor’s participation in this peaceable protest march ended as the direct result of the brutal force

deployed by Defendants Jane/John Doe, Philadelphia Police officers, and their co-conspirators

against plaintiffs and their fellow protesters.

       578.    On June 1, 2020, Plaintiff Dan Zubrzycki joined a peaceable protest march in

support of the Black Lives Matter movement. The peaceable protest march began near Race Street,

and eventually, the march ended up on Benjamin Franklin Parkway near I-676. Plaintiff Dan

Zubrzycki and many of his fellow protesters continued the peaceable protest march onto highway

I-676. After marching on the highway for a couple minutes, Plaintiff Dan Zubrzycki noticed

protesters running and screaming as they were coming in his direction. Plaintiff Dan Zubrycki

noticed Defendants Jane/John Doe, Philadelphia Police officers, firing teargas and rubber bullets

into the crowd. Plaintiff Dan Zubrzycki ran through the clouds of tear gas up the hill that was

adjacent to the highway. Defendants Jane/John Doe, Philadelphia Police officers, and co-

conspirators continued their assault as Plaintiff Dan Zubrzycki scaled the fence at the top of the

hill. Plaintiff Dan Zubrzycki suffered teargas inhalation, psychological harm, and emotional

distress as a direct result of the actions of Defendants Jane/John Doe, Philadelphia Police officers.

Plaintiff Dan Zubrzyski’s participation in this peaceable protest march ended as the direct result




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of the brutal force deployed by Defendants Jane/John Doe, Philadelphia Police officers, and their

co-conspirators against Plaintiff and his and fellow protesters.

        579.   Officers also began to fire tear gas canisters at people who had left the highway,

directing those canisters at onlookers standing on the North 21st Street overpass.

        580.   With hundreds of demonstrators remained pinned in place on the hill and having

no ability to leave, officers in full body armor began to climb the hill and take them into custody.

Officers violently grabbed demonstrators, dragged them down the hill, and, once at highway level,

placed them in zip-tie handcuffs.

        581.   Demonstrators taken into custody were forced to sit on the highway in close

proximity to each other in the midst of tear gas. Even after protesters were taken into custody, tear

gas canisters continued to be launched onto the hill by officers. Some canisters hit the hill and

rolled down into the faces of the detained protesters. With nowhere to go, the protesters were

forced to inhale the gas directly.

        582.   The protesters were later placed onto buses and taken to a variety of police districts.

There they were given citations for “failure to disperse” in violation of Philadelphia City Code 10-

1603(2). These citations have no legal basis as each person who received a citation had attempted

to “disperse” but was prevented from doing so by the officers’ conduct.

        583.   At no time during the demonstration was any of the force used by law enforcement

officers justified or proportional. On the contrary, all force used was unprovoked, unjustified,

extreme, and unlawful.

   F.      City Policymakers’ Shifting Justifications for the Police Use of Force on the Vine
           Street Expressway




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           584.   In the immediate aftermath of the police action on the Vine Street Expressway,

Commissioner Outlaw asserted that the use of tear gas and ostensible less-lethal munitions was an

appropriate and proportionate response to the demonstration.

           585.   In a statement issued late the night of June 1, Commissioner Outlaw said protesters

“surrounded a State Trooper, who was alone and seated in his vehicle, and began rocking the

vehicle, with the trooper having no safe means of egress.”17

           586.   Commissioner Outlaw also stated on June 1, 2020 that people in the “crowd began

throwing rocks at the officers from the north and south sides, and from the bridges above the

officers. The crowd also began rushing toward the officers.” 18

           587.   Mayor Kenney also claimed that the police action was appropriate, stating through

an official spokesperson on the night of June 1, 2020 that the information about protesters throwing

rocks came from firsthand accounts of high-ranking police commanders who witnessed the

incident.19

           588.   The next day, June 2, 2020, Commissioner Outlaw issued a memorandum to all

officers in the PPD. In that memorandum, Commissioner Outlaw acknowledged that the force

used on the Vine Street Expressway was a result of a deliberate decision by the City’s

policymakers. Commissioner Outlaw wrote: “The City’s decision to deploy less than lethal




17
  Chris Palmer & Ellie Rushing, Philly Police Commissioner Danielle Outlaw, Mayor Jim Kenney apologize for
teargassing of protesters on 676, The Philadelphia Inquirer (June 25, 2020), available at,
https://www.inquirer.com/news/philadelphia-protests-676-teargas-mayor-jim-kenney-danielle-outlaw-
20200625.html.
18
     Id.
19
     Id.



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munitions was deliberate and deemed necessary for safety for both officers and those protesters

who swarmed the interstate highway.” 20

        589.     In the days that followed, members of the public, demonstrators who were present

in West Philadelphia and on the Vine Street Expressway, Philadelphia City Councilmembers, and

the media questioned City officials as to whether there was any evidence to support their assertions

that the use of force was justified.

        590.     Hundreds of demonstrators and local journalists posted videos on various social

media platforms. None of the videos posted displayed any evidence of violence whatsoever or

any other circumstances that would have justified the extreme use of force, including tear gas,

pepper spray, or ostensible less-than-lethal munitions.21

        591.     Despite the absence of evidence to support their claimed justifications for the

extreme use of force, City officials refused to retract or reconsider their statements of June 1, 2020.

Instead, City policymakers provided shifting explanations for how the decision to use tear gas was

made.

        592.     In a City Council budget hearing on June 10, 2020, City Managing Director Brian

Abernathy stated that City policymakers had, on May 31, 2020, given broad authorization for

police to use tear gas. The decision was made, according to Managing Director Abernathy, by the

City’s unified command group. Commissioner Outlaw stated in the same budget hearing that the

decision to use tear gas was left to the “commander on the ground.” At no time in the hearing did



20
  See Max Marin & Ryan Briggs, Philly police commissioner alters use of force policy after tear gas, warns about
press arrests, WHYY (June 2, 2020), available at, https://whyy.org/articles/philly-police-commissioner-alters-use-
of-force-policy-after-tear-gas-warns-about-press-arrests/.
21
  Ryan Briggs & Max Marin, Philly police say tear gas used because 676 protest turned hostile, but there’s no
evidence that happened, WHYY (June 2, 2020), available at, https://whyy.org/articles/philly-police-say-tear-gas-
used-because-676-protest-turned-hostile-but-theres-no-evidence-that-happened/.



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Managing Director Abernathy or Commissioner Outlaw acknowledge that the use of force on the

Vine Street Expressway was improper. On the contrary, Managing Director Abernathy expressly

declined an invitation from City Councilmember Helen Gym to disavow the future use of tear gas

and rubber bullets.22

        593.     Five days later, facing criticism from reports that the City had given broad

authorization for the use of tear gas, Mayor Kenney and Commissioner Outlaw issued a statement

announcing an independent investigation into police actions against protesters in the city. Mayor

Kenney, departing from Managing Director Abernathy’s assertion, stated: “We did not, and would

never, pre-authorize or give police officers free rein to use any type of force against peaceful

protesters exercising their constitutional rights.” Mayor Kenney mentioned the Vine Street

Expressway by name (calling it “the incident on I-676”) but neither he nor Commissioner Outlaw

mentioned the police violence against residents and protesters in West Philadelphia. Additionally,

nowhere in the statement did Mayor Kenney or Commissioner Outlaw acknowledge that the use

of force in West Philadelphia and on the Vine Street Expressway was improper.23

        594.     By June 23, 2020, no City official had retracted the assertion that the use of tear gas

on the Vine Street Expressway was justified by the danger posed to a Pennsylvania State Police

trooper stranded alone in a police vehicle in the midst of the demonstration.




22
  Laura McCrystal, Mayor Jim Kenney approved tear gas use at Philly protests, officials say as City Council
questions police response, The Philadelphia Inquirer (June 10, 2020), available at,
https://www.inquirer.com/news/tear-gas-protests-philadelphia-police-budget-20200610.html.

23
  City of Philadelphia, Mayor Kenney and Police Commissioner Outlaw Announce Plans for Independent After-
Action Investigation of City’s Response to Recent Protests (June 15, 2020), available at,
https://www.phila.gov/2020-06-15-mayor-kenney-and-police-commissioner-outlaw-announce-plans-for-
independent-after-action-investigation-of-citys-response-to-recent-protests/.



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           595.     On that date, the State Police released several hours of dashcam video and audio

footage from the vehicle at issue. The video showed that the trooper had stopped his vehicle in

traffic after demonstrators entered the highway and that the trooper was able to safely and easily

leave the vehicle. As protesters walked past the vehicle, a person broadcasting on police radio can

be heard stating: “All traffic is stopped. Repeat, they’re 'peaceful,' just walking eastbound.” In

short, the dashcam video confirmed that the initial representations used to justify the extreme use

of force were completely false. 24

           596.     Two days later, on June 25, 2020, The New York Times published its

comprehensive video compilation of events on the Vine Street Expressway, reaching two

important conclusions: the demonstration on the highway was not violent and the force used by

police was excessive and unjustified. 25

           597.     That afternoon, Mayor Kenney and Commissioner Outlaw conducted their press

conference in which they both apologized for the excessive use of force against peaceable

demonstrators and acknowledged the need for accountability. 26

           598.     While conceding at the press conference that police had used excessive force and

despite discussing concepts of accountability, Commissioner Outlaw claimed—for the first time

since the June 1 event—that the decision to use tear gas had rested exclusively in the hands of

Deputy Commissioner Dennis Wilson who was, according to Commissioner Outlaw, the “incident



24
   Ryan Briggs, ‘They’re peaceful’: Pa. State Police release dashcam video from I-676 protest tear-gassing, WHYY
(June 23, 2020), available at, https://whyy.org/articles/theyre-peaceful-pa-state-police-release-dashcam-video-from-
i-676-protest-tear-gassing/.
25
     See supra note 1.
26
   Max Marin & Ryan Briggs, Kenney, Outlaw admit they were wrong about 676 protest tear-gassing, officers
involved to be fired, WHYY (June 25, 2020), available at, https://whyy.org/articles/kenney-outlaw-admit-they-
were-wrong-about-676-protest-tear-gassing-officers-involved-to-be-fired/.



                                                       237
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commander” on the Vine Street Expressway. Wilson was, as Commissioner Outlaw publicly

stated, “falling on the sword.” Wilson appeared at the press conference to personally announce

that he would be taking a voluntary demotion. 27

           599.     At no time during the press conference in which she cast responsibility on Deputy

Commissioner Wilson did Commissioner Outlaw explain why her first description of the incident

on June 2, 2020 had identified the decision as a “deliberate” one made by “the City.” 28

           600.     Additionally, Mayor Kenney and Commissioner Outlaw once again failed to

address the police violence against residents and protesters in West Philadelphia, just as they failed

to do in their June 15, 2020 statement.

      G.         The City’s Violations of Plaintiffs’ Constitutional Rights and Plaintiffs’ Harms
                 and Losses

           Each of the Plaintiffs in this action was subjected to the above-described conduct as

follows:

           601.     The actions of the City of Philadelphia and defendants Jane/John Does 1-100

violated all Plaintiffs’ constitutional rights in at least two respects: (1) they violated the rights of

Plaintiffs to be free from the excessive use of force under the Fourth and Fourteenth Amendments

to the U.S. Constitution, and (2) they retaliated against Plaintiffs' exercise of free speech in

violation of Plaintiffs’ rights under the First and Fourteenth Amendments to the U.S. Constitution.

           602.     For each Plaintiff who was detained, taken into custody, and issued a citation, the

City of Philadelphia and Defendants John Does 1-100 violated Plaintiffs’ right to be free from an




27
     Id.
28
     See supra


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unlawful seizure without sufficient legal cause in violation of the Fourth and Fourteenth

Amendments to the U.S. Constitution.

        603.    At all times, the conduct of Defendants John Does 1-100 was with deliberate

indifference, that is with willful, reckless, and callous disregard of plaintiffs’ clearly established

rights under federal and state law.

        604.    All of the unconstitutional actions described above were the result of specific

decisions and/or authorization made on the part of policymakers for the City of Philadelphia, and,

as such, the City is responsible for the violation of plaintiffs’ constitutional rights.

        605.    To the extent that any of the above unconstitutional actions were not decided or

authorized by City policymakers, all such actions were the result of decisions by City policymakers

to delegate such decision-making authority to the persons who did authorize and/or direct the

unconstitutional conduct.

        606.    To the extent that any of the individual John Doe defendants acted outside the

authorization and direction of City policymakers or the persons to whom policymaking authority

was delegated, the City is responsible for failing to properly train, supervise, and/or discipline the

officers who so acted. Given the City’s known history of improper and excessive response to

peaceable protest activity, the City’s failures in this regard were with deliberate indifference to the

risk of constitutional violations.

        607.    As a direct and proximate cause of the named Defendants’ and the Defendant

Jane/John Doe Defendant Police Officers, as well as the City of Philadelphia, each individual

Plaintiff suffered physical and psychological injury, emotional distress, pain and suffering, as well

as financial loss which will be established at trial.

VI.     CAUSES OF ACTION




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                                      COUNT I
                        PLAINTIFFS V. DEFENDANT NICOLETTI
                        AND DEFENDANTS JANE/JOHN DOE 1-100
                         VIOLATION OF FOURTH AMENDMENT:
                              EXCESSIVE USE OF FORCE

        608.   Plaintiffs incorporate all preceding paragraphs herein by reference as though fully

set forth.

        609.   The named Defendants, as well as Defendants Jane/John Doe, Philadelphia Police

supervisors and officers, with deliberate indifference, while acting under the color of state law,

and without legal justification, engaged in excessive and unreasonable force employing various

weapons and methods against the Plaintiffs on May 31, 2020 and June 1, 2020 engaged in lawful

protest. The use of excessive force included, but was not limited to, the use of pepper spray, in

violation of Philadelphia Police Directive 10, the use of tear gas, rubber bullets, flash grenades,

zip ties, low flying helicopters, armored vehicles, metal asps, physical assaults, and other such

methods designed to cause harm to the Plaintiffs.

        610.   As a direct and proximate cause of the actions and conduct of the named

Defendants, as well as Defendants Jane/John Doe, Philadelphia Police supervisors and officers,

the Plaintiffs suffered and continue to suffer physical, emotional, and psychological injury, some

of which may be permanent.

        611.   The named Defendants, as well as the Defendants Jane/John Doe, Philadelphia

Police supervisors and officers, with deliberate indifference and acting under the color of state law,

violated the Plaintiffs’ rights to be free from the use of excessive and unreasonable force as

guaranteed under the Fourth and Fourteenth Amendments to the United States Constitution, as

well as 42 U.S.C. Section 1983.

                                        COUNT II
                                PLAINTIFFS V. DEFENDANTS



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                     FIRST AMENDMENT RIGHT TO FREE SPEECH

        612.   Plaintiffs incorporate all preceding paragraphs herein by reference as though fully

set forth.

        613.   Plaintiffs claim damages for the violation of their rights to free speech, association,

and assembly under the First Amendment of the United States Constitution, as well as the

Pennsylvania Constitution.

        614.   On May 31, 2020 and June 1, 2020, the named Defendants, as well as Defendants

Jane/John Doe, Philadelphia Police supervisors and officers, unlawfully and without legal

justification, while acting under the color of state law, deprived the all of the above named

Plaintiffs’ rights to free speech, association, and assembly as protected by the First and Fourteenth

Amendments to the United States Constitution, as well as 42 U.S.C. Section 1983.

        615.   The named Defendants, as well as Defendants Jane/John Doe, Philadelphia Police

supervisors and officers, by their actions and conduct on May 31, 2020 and June 1, 2020 in

terminating the Black Lives Matter protest marches seeking racial justice in the City of

Philadelphia for all the Plaintiffs with the use of excessive and unreasonable force, and for some

for some of the Plaintiffs, by falsely arresting the Plaintiffs for exercising their rights under the

First Amendment, violated their individual rights to free expression, to association, and assembly.

        616.   The actions and conduct of the named Defendants, as well as Defendants Jane/John

Doe, Philadelphia Police supervisors and officers, in terminating the protests marches on May 31,

2020 and June 1, 2020, violated the rights of all of the named Plaintiffs to continue to engage in

their First Amendment rights during the marches for racial justice on both of above mentioned

dates, and acted with deliberate indifference toward the Plaintiffs’ individual First Amendment

rights. For some of the Plaintiffs, the actions and conduct by the named Defendants, as well as




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Defendants Jane/John Doe, Philadelphia Police supervisors and officers, had a chilling effect on

their individual right to rights to free speech, association and assembly under the First Amendment.

        617.    As a direct and proximate cause of the named Defendants’ actions and conduct, as

well as the actions and conduct of Defendants Jane/John Doe, Philadelphia Police supervisors and

officers, the Plaintiffs suffered a deprivation of their First Amendment rights to continue to engage

in free speech, association and assembly on May 31, 2020 and June 1, 2020, and for some of the

Plaintiffs created a chilling effect on the exercise of their First Amendment rights in the future.

        618.    As a direct and proximate cause of the named Defendants, as well as Defendants

Jane/John Doe, Philadelphia Police supervisors and officers, unlawful and unconstitutional actions

and conduct, all of the Plaintiffs suffered emotional distress, pain, and suffering. Some Plaintiffs

suffered physical pain and suffering as well as financial loss, which will be established at trial.

                                   COUNT III
                           PLAINTIFFS V. DEFENDANTS
                      RETALIATION AGAINST FREE EXPRESSION

        619.    Plaintiffs incorporate all preceding paragraphs herein by reference as though fully

set forth.

        620.    All defendants caused the unlawful retaliation against plaintiffs’ free expression

and speech in violation of plaintiffs’ rights under the First and Fourteenth Amendments to the U.S.

Constitution.

                                         COUNT IV
                     PLAINTIFFS V. DEFENDANTS JANE/JOHN DOE 1-100
                   VIOLATION OF FOURTH AMENDMENT: FALSE ARREST
                              AND UNLAWFUL DETENTION
                                 (42 U.S.C. SECTION 1983)

        621.    Plaintiffs incorporate all preceding paragraphs herein by reference as though fully

set forth.




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        622.   Defendants caused the unlawful seizure of plaintiffs who were arrested when they

detained them without sufficient legal cause for an alleged failure to disperse.

        623.   At no time during the protest marches on May 31, 2020 and June 1, 2020 did the

Plaintiffs commit any offense against the laws of the Commonwealth of Pennsylvania or United

States to justify a lawful seizure under the Fourth Amendment of the United States Constitution.

The named Defendants, as well as Defendants Jane/John Doe, Philadelphia Police supervisors and

officers, with deliberate indifference, while acting under the color of state law, and without

reasonable suspicion or probable cause or legal justification, falsely arrested and subsequently

detained many of the Plaintiffs, and/or attempted to arrest the Plaintiffs in violation of their

individual rights under the Fourth and Fourteenth Amendments to the United States Constitution,

as well as Section 42 U.S.C. Section 1983.

                                        COUNT V
                                PLAINTIFFS V. DEFENDANTS
                                 CONSPRIACY TO VIOLATE
                          FIRST AND FOURTH AMENDMENT RIGHTS

        624.   Plaintiffs incorporate all preceding paragraphs herein by reference as though fully

set forth.

        625.   The named Defendants, as well as Defendants Jane/John Doe, Philadelphia Police

supervisors and officers, agreed among themselves, as well as jointly and in concert with the

Pennsylvania State Police, and the Pennsylvania National Guard, and without legal justification

regarding the Plaintiffs’ First Amendment rights and without reasonable suspicion or probable

cause regarding the Plaintiffs’ Fourth Amendment rights, to violate those individual rights on May

31, 2020 and June 1, 2020. The named Defendants, as well Defendants Jane/John Doe,

Philadelphia Police supervisors and officers, while acting under the color of state law and with

deliberate indifference, acted jointly and in concert with each other, as well as with the



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Pennsylvania State Police and the Pennsylvania National Guard, conspired to interfere, terminate

and/or deprive the Plaintiffs’ of their First Amendment rights to speech, association and assembly.

        626.    In addition to the above, the named Defendants, as well as Defendants Jane/John

Doe, Philadelphia Police supervisors and officers, while acting under the color of state law and

with deliberate indifference, engaged in an agreement among themselves and with the

Pennsylvania State Police, Pennsylvania National Guard, to act jointly and in concert and

conspiracy with each other to retaliate against the Plaintiffs for exercising their First Amendment

rights to free speech, association and assembly on May 31, 2020 and June 1, 2020.

        627.    The named Defendants, as well as Defendants Jane/John Doe, Philadelphia Police

supervisors and officers, while acting under the color of state law and with deliberate indifference,

acted jointly and in concert with federal law enforcement, including the FBI to chill the First

Amendment rights of many of the Plaintiffs by permitting the FBI access to the Philadelphia Police

Department facilities in order to subject those Plaintiffs arrested and detained by Philadelphia

Police to interrogation by the FBI regarding their lawful protest activities in violation of their First

Amendment rights.

        628.    The named Defendants, as well as the Defendant Jane/John Doe Supervisors and

Officers, while acting under the color of state law and with deliberate indifference, acted jointly

and in concert and conspiracy among themselves and with the Pennsylvania State Police and

Pennsylvania National Guard to violate the Fourth Amendment rights of the Plaintiffs to falsely

arrest and detain, or attempt to falsely arrest and detain the Plaintiffs and to engage in excessive

and unreasonable force.

        629.    As a direct and proximate cause of the joint and concerted action and conspiracy

by the named Defendants, Defendants Jane/John Doe, Philadelphia Police supervisors and officers,




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as well as the Pennsylvania State Police and Pennsylvania National Guard, the Plaintiffs’ suffered

physical, emotional and psychological injury and financial loss, some of which may be permanent.

        630.    The above asserted agreement, joint and concerted action and conspiracy by the

named Defendants, as well as Defendants Jane/John Doe, Philadelphia Police supervisors and

officers, the Plaintiffs’ rights were violated under the First, Fourth and Fourteenth Amendments to

the United States Constitution were violated, as well as 42 U.S.C. Section 1983.

                                       COUNT VI
                    PLAINTIFFS V. DEFENDANTS CITY OF PHILADELPHIA,
                             KENNEY, OUTLAW, AND WILSON
                      FAILURE TO TRAIN, SUPERVISE, AND DISCIPLINE
                           PURUSANT TO 42 U.S.C. SECTION 1983

        631.    Plaintiffs incorporate all preceding paragraphs herein by reference as though fully

set forth.

        632.    Prior to May 30, and June 1, 2020, the City of Philadelphia, and the policy makers

within the Philadelphia Police Department, including Defendants Mayor Kenney, Police

Commissioner Outlaw as a policy maker, and former Deputy Commissioner Wilson, developed

and maintained policies and/or customs and practices exhibiting deliberate indifference to the

constitutional rights of individuals engaged in protests, policies and/or customs and practices that

caused the violation of Plaintiffs’ rights in the instant case.

        633.    Defendants, as a matter of policy and custom and/or practice has with deliberate

indifference, failed to adequately and properly investigate claims that police had used excessive

force and wrongfully arrested individuals engaged in lawful protests. This policy has been in place

for years and was the direct cause of the Plaintiffs’ harm in this case, all of whom were either

engaged in a peaceable protest or bystanders lawfully observing the peaceable protest. This policy

and custom and/or practice caused the named Defendants, as well as the Defendant Jane/John Doe




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Philadelphia Police Supervisors and Officers in this case to engage in the unlawful,

unconstitutional conduct as described in detail in this complaint, including violating the First and

Fourth Amendment rights of protesters, and retaliating against protesters for exercising their rights

under the First Amendment.

       634.    Defendants, as a matter of policy and custom and/or practice has with deliberate

indifference, failed to adequately and properly supervise and train police officers, including the

named Defendants, as well as Defendants Jane/John Doe, Philadelphia Police supervisors and

officers, in this case, regarding the constitutional rights of protestors to engage in free speech

activities, as well as be free from excessive use of force and unlawful arrest, thereby adequately

and properly discourage further constitutional violations against protestors and others by police

Supervisors and Police Officers. The City of Philadelphia does not require adequate and proper in-

service training of the Philadelphia Police Officers, and does not provide for adequate and proper

retraining of its officers who were known to have engaged in violating the rights of protesters to

exercise their First Amendment rights and to be free from excessive use of force and false arrests

of protestors and others, protected by the First Amendment. The failure to adequately and properly

train the named Defendants, as well as Defendants Jane/John Doe, Philadelphia Police supervisors

and officers, in this case, caused the all of the Defendants to engage in the unlawful and

unconstitutional conduct as described above.

       635.    Defendants, as a matter of policy and custom and/or practice has with deliberate

indifference, failed to adequately and properly discipline and sanction police officers, including

the named Defendants, as well as Defendants Jane/John Doe, Philadelphia Police supervisors and

officers, in this case, for violating the constitutional rights of protestors, thereby failing to

adequately and properly discourage further constitutional violations on the part of its police




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officers. The City of Philadelphia failed to discipline and sanction those Police Supervisors and

Officers engaged in conduct which violated the First Amendment rights of protestors, thereby

causing and encouraging police, including the named Defendants, as well as Defendants Jane/John

Doe, Philadelphia Police supervisors and officers, to engage in the unlawful and unconstitutional

conduct described above.

        636.    As a result of the above-described policies, customs, and/or practices, Defendants,

as well as Defendants Jane/John Doe, Philadelphia Police supervisors and officers, believe their

actions and conduct would be sanctioned, or not properly monitored by Police Supervisors and

that their misconduct would therefore not be investigated, but rather would be encouraged and/or

tolerated.

        637.    The above-described policies and customs and/or practices demonstrate a

deliberate indifference on the part of the policymakers for the City of Philadelphia Police

Department, to the constitutional rights, specifically the First, Fourth and Fourteenth Amendments

of the United States Constitution, of those engaged in protests and therefore, caused the violation

of Plaintiffs’ rights alleged in this complaint.

        638.    As a direct and proximate cause of the unlawful and unconstitutional actions and

conduct engaged in by the named Defendants, Defendants Jane/John Doe, Philadelphia Police

supervisors and officers, as well as the Defendant City of Philadelphia, each individual Plaintiff

suffered physical and psychological injury, emotional distress, pain and suffering, and for some if

not all, financial loss which will be established at trial.

                                        COUNT VII
                                         ASSAULT
                           PLAINTIFFS VS. DEFENDANT NICOLETTI
                           AND DEFENDANT JANE/JOHN DOE 1-100




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        639.    The allegations set forth in the preceding paragraphs are incorporated as though

fully set forth herein.

        640.    Defendants intended to and actually placed Plaintiffs in fear of imminent,

unwarranted, unprivileged, offensive bodily contact.

        641.    As a consequence of these actions, Plaintiffs suffered bodily injury.

        642.    The acts of Defendants, as set forth above, constituted the tort of assault, all to

Plaintiffs’ great detriment and loss.

                                       COUNT VIII
                                         BATTERY
                           PLAINTIFFS VS. DEFENDANT NICOLETTI
                           AND DEFENDANT JANE/JOHN DOE 1-100

        643.    The allegations set forth in the preceding paragraphs are incorporated as though

fully set forth herein.

        644.    Defendants intended to subject Plaintiffs to harmful offensive bodily contact and

did, in fact, subject them to such bodily contact.

        645.    As a consequence of these actions, Plaintiffs suffered bodily injury.

        646.    The acts of Defendants, as set forth above, constituted the tort of battery, all to

Plaintiffs’ great detriment and loss.

                                    COUNT IX
                INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
                       PLAINTIFFS VS. DEFENDANT NICOLETTI
                       AND DEFENDANT JANE/JOHN DOE 1-100

        647.    The allegations set forth in the preceding paragraphs are incorporated as though

fully set forth herein.

        648.    Defendants intentionally, recklessly, willfully, and without legal justification, by

extreme and outrageous conduct caused severe emotional distress to Plaintiffs.




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         649.   The acts of Defendants alleged in the preceding paragraphs constitute the tort of

intentional infliction of emotional distress outrageous conduct all to Plaintiffs great detriment and

loss.

    WHEREFORE, Plaintiffs respectfully request:

    A.      Compensatory damages as to all defendants;

    B.      Punitive damages as to all named Defendants as well as Jane/John Does 1-100;

    C.      Reasonable attorneys’ fees and costs;

    D.      Such other and further relief as may appear just and appropriate.

    Plaintiffs hereby demands a jury trial.




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